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                          EXHIBIT A




                                                                  App. 1
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                                                     KRAGE & JANVEY, L.L.P.
                                               ATTORNEYS AND COUNSELORS AT LAW
                                                         2100 ROSS A VE.
                                                           SUITE 2600
                                                      DALLAS, TEXAS 75201
                                                     TELEPHONE 214/969-7500
                                                     FACSIMILE 214/220-0230


                                                            STATEMENT

  Stanford Financial Group Receivership
  1029 State Highway 6 North, Suite 650 #272
  Houston, Texas 77079

                                                                                            February 4, 2015

  For Professional Services Rendered Through                                                January 31, 2015

                                                            Client Statement

   Previous Balance (With No Court Ordered Holdbacks)                                            $446,109.72
            Total Current Fees                                                                     29,315.00
            Plus Expenses                                                                                0.00
            Less 20% Discounted Fees                                                               (5,863.00)
   Total Current Billable Fees and Expenses (With No Court Ordered Holdbacks)                     $23,452.00
   Less Payment received in January, 2015                                                              (0.00)

   Total Outstanding Billable Charges (With No Court Ordered Holdbacks)                          $469,561. 72
   (January, 2015)

                     Break-Down of Hours Before Additional Court Ordered Hold Back

                                            Hours                Rate           Charges       Discount
   Ralph S. Janvey                          53.30                550           $29,315.00     $5,863.00
   Valerie P. Thomas                         0.00                275                 0.00          0.00
                                                                               $29,315.00     $5,863.00




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                                                                                            App. 2
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                                                   KRAGE & JANVEY, L.L.P.
                                             ATTORNEYS AND COUNSELORS AT LAW
                                                       2100 ROSS AVE.
                                                         SUITE 2600
                                                    DALLAS, TEXAS 75201
                                                   TELEPHONE 214/969-7500
                                                   FACSIMILE 214/220-0230



  SEC v. Stanford
                                                                                     February 4, 2015
                                                                                     4-55


  For Professional Services Rendered Through                                         January 31, 2015
                                                          Client Statement
   Previous Balance January 6, 2015                                                           $83,490.42
   Total Current Charges                                                                       29.315.00

   Balance Due                                                                               $112,805.42




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                                                                                            App. 3
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                                                    KRAGE & JANVEY, L.L.P.
                                              ATIORNEYS AND COUNSELORS AT LAW
                                                        2100 ROSS AVE.
                                                          SUITE 2600
                                                     DALLAS, TEXAS 75201
                                                    TELEPHONE 214/969-7500
                                                    FACSIMILE 214/220-0230



  SEC v. Stanford                                                                    Invoice No. 26664
                                                                                     February 4, 2015
                                                                                     4-55


  For Professional Services Rendered Through                                         January 31, 2015
  In connection with
     2 Litigation                                                                                  Hours

  RALPH S. JANVEY
   01103115        Review various pleadings in Romero matter in preparation for trial.              2.50
   01/05/15        Review court filings.                                                             .50
   01/06/15        Review Receiver's Response to
                                       (.30); review court filings (.20).
   01106115        Telephone conference with David Arlington regarding University of                    .10
                   Miami's trial.
   01107115        Telephone conference with David Arlington (.10); review court filings (.20);     1.80
                   begin review of University of Miami documents in preparation for trial
                   (1.50).
   01/09/15        Review documents for University of Miami trial.                                  1.70
   01/09/15        Review summary of                                   (.10); review and execute     .30
                                                             (.10); e-mail to Meggie Gilstrap of
                   Baker Botts (.10).
   01/09/15        Review documents for Romero trial.                                               1.50
   01/10/15        Review documents in preparation for Romero trial.                                2.00
   01/11/15        Review Tolentino deposition (1.0); review Juan Rodriguez deposition (1.0);       3.00
                   review Romero deposition in preparation for Romero trial (1.0).
   01/12/15        Review University of Miami's pleadings, discovery and expert report in           1.60
                   preparation for trial.
   01/14/15        Review various court filings in Romero litigation.                                .80
   01I15115        Conference with Kevin Sadler and Scott Powers to prepare for Romero trial.       6.00
   01/16/15        Review Response and Objections to University of Miami's second set of             .50
                   Interrogatories (.40); review e-mail from David Arlington (.10).
   01/16/15        Conference with Kevin Sadler and Scott Powers to prepare for Romero trial.       6.00
   01/21/15        Review various court filings.                                                    1.00
   01/22/15        Review court filings.                                                             .70
   01/23/15        Address Barnes mediation (. 70); review court filings and orders ( .50).         1.20
   01/24/15        Review Yolanda Suarez deposition for Romero trial.                               1.00


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                                                                                            App. 4
Case 3:09-cv-00298-N Document 2174-1 Filed 07/16/15                         Page 5 of 262 PageID 60948
                                                   KRAGE & JANVEY, L.L.P.
                                             ATIORNEYS AND COUNSELORS AT LAW
                                                       2100 ROSS AVE.
                                                         SUITE 2600
                                                    DALLAS, TEXAS 75201
                                                   TELEPHONE 214/969-7500
                                                   FACSIMILE 214/220-0230



  SEC v. Stanford                                                                   Invoice No. 26664
                                                                                    February 4, 2015
                                                                                    4-55


  For Professional Services Rendered Through                                        January 31, 2015
   01124115 Finish reading Romero deposition and exhibits in preparation for trial.                2.00
   01/25/15 Review Karyl Van Tassel deposition for Romero case.                                    2.00
   01/26/15 Review various reports, discovery requests and other documents m                       5.00
            preparation for Romero trial.
   01/27/15 Prepare for Romero trial by reviewing documents and trial exhibits (4.0);              5.00
            conference with Kevin Sadler and Scott Powers (1.0).
   01/28/15 Review court filings.                                                                   .30
   01/29/15 Review documents in preparation of Romero trial.                                       2.50
   01/29/15 Review court filings.                                                                   .40
   01/30/15 Prepare for Romero trial and review documents.                                         2.50



                                                           Hours      Rate
                       Ralph S. Janvey                     52.4       $550
  Fees                                                                                     $28,820.00
  Total Fees & Disbursements                                                               $28.820.00

  Total Current Charges                                                                    $28,820.00

  Invoice Amount                                                                           $28,820.00




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                                                                                           App. 5
Case 3:09-cv-00298-N Document 2174-1 Filed 07/16/15 Page 6 of 262 PageID 60949
                            KRAGE & JANVEY, L.L.P.
                               ATTORNEYSANDCOUNSELORSATLAW
                                        2100 ROSS AVE.
                                          SUITE 2600
                                      DALLAS, TEXAS 75201
                                    TELEPHONE 214/969-7500
                                     FACSIMILE 214/220-0230



  SEC v. Stanford                                                       Invoice No. 26665
                                                                       February 4, 2015
                                                                       4-55


  For Professional Services Rendered Through                           January 31, 2015


  In connection with
     4 Administration                                                                  Hours

  RALPH S. JANVEY
   01109115 Review and forward various state tax forms to Jeanette Day.                   .10
   01109115 Approve wire transfers and execute checks for accounts payable.               .10
   01114/15 Approve wire transfers.                                                       .10
   0l/29/15 Approve and send wire transfers.                                              .10
   01130115 Execute checks for accounts payable (.10); approve extension on lease in      .50
            Houston (.20); e-mail David (.20).



                                               Hours     Rate
                Ralph S. Janvey                .90        $550
  Fees                                                                        $495.00
  Total Fees & Disbursements                                                  $495.00

  Total Current Charges                                                       $495.00

  Invoice Amount                                                               $495.00




                                                                              App. 6
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                                                     KRAGE & JANVEY, L.L.P.
                                               ATfORNEYSANDCOUNSELORSATLAW
                                                         2100 ROSS AVE.
                                                           SUITE 2600
                                                      DALLAS, TEXAS 75201
                                                     TELEPHONE 214/969-7500
                                                     FACSIMILE 214/220-0230


                                                             STATEMENT

  Stanford Financial Group Receivership
  1029 State Highway 6 North, Suite 650 #272
  Houston, Texas 77079

                                                                                                March 3, 2015

  For Professional Services Rendered Through                                                 February 28, 2015

                                                             Client Statement

    Previous Balance (With No Court Ordered Holdbacks)                                             $469,561.72
             Total Current Fees                                                                       73,260.00
             Plus Expenses                                                                                 0.00
             Less 20% Discounted Fees                                                               (14,652.00)
    Total Current Billable Fees and Expenses (With No Court Ordered Holdbacks)                      $58,608.00
    Less Payment received in February, 2015                                                         (22,968.69)

    Total Outstanding Billable Charges (With No Court Ordered Holdbacks)                           $505,201.03
    (February, 2015)

                     Break-Down of Hours Before Additional Court Ordered Hold Back

                                            Hours                 Rate           Charges        Discount
   Ralph S. Janvey                          133.00                550           $73,150.00     $14,630.00
   Valerie P. Thomas                           .40                275               110.00          22.00
                                                                                $73,260.00     $14,652.00




                                                                                             App. 7
  vc\Stanford\Billing Sumrnaries\... February 28 2015.docx
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                                                    KRAGE & JANVEY, L.L.P.
                                              ATTORNEYS AND COUNSELORS AT LAW
                                                        2100 ROSS AVE.
                                                          SUITE 2600
                                                     DALLAS, TEXAS 75201
                                                    TELEPHONE 214/969-7500
                                                    FACSIMILE 214/220-0230



 SEC v. Stanford
                                                                                      March 3, 2015
                                                                                      4-55


 For Professional Services Rendered Through                                           February 28, 2015
                                                            Client Statement
  Previous Balance February 4, 2015                                                           $112,805.42
  Payment Received                                                                             -31,776.09
  Total Current Charges                                                                         73.260.00

  Balance Due                                                                                 $154,289.33




                                                                                             App. 8
 vc\Stanford\Billing Summaries\. .. February 28 2015.docx
Case 3:09-cv-00298-N Document 2174-1 Filed 07/16/15             Page 9 of 262 PageID 60952
                                     KRAGE & JANVEY, L.L.P.
                                 ATTORNEYS AND COUNSELORS AT LAW
                                           2100 ROSS AVE.
                                             SUITE2600
                                        DALLAS, TEXAS 75201
                                       TELEPHONE 214/969-7500
                                       FACSIMILE 214/220-0230


  SEC v. Stanford                                                         Invoice No. 26712
                                                                          March 3, 2015
                                                                          4-55


  For Professional Services Rendered Through                              February 28, 2015
  In connection with
     2 Litigation                                                                         Hours


  RALPH S. JANVEY

   02/01/15   Review documents in preparation for Romero trial.                            1.80
   02/02/15   Review documents in preparation for Romero trial.                            1.70
   02/02/15   Review court filings.                                                         .30
   02/02/15   Conference with Kevin Sadler to prepare for Romero trial.                    6.00
   02/03/15   Conference with Kevin Sadler to prepare for Romero trial.                    6.00
   02/04/15   Conference with Kevin Sadler to prepare for Romero trial.                    6.00
   02105115   Conference with Kevin Sadler to prepare for Romero trial.                    7.50
   02/06/15   Attend pretrial conference in Romero trial (3.0); conference with Kevin      8.00
              Sadler (2.0); preparation for trial (3.0).
   02/07/15   Review documents in preparation for Romero trial.                            4.00
   02/08/15   Conference with Kevin Sadler to prepare for Romero trial.                    7.00
   02/09/15   Attend Romero trial.                                                        10.00
   02/10/15   Attend Romero trial.                                                        10.00
   02/11/15   Attend Romero trial.                                                        10.00
   02/12/15   Attend Romero trial.                                                        10.00
   02/13/15   Attend Romero trial.                                                         5.00
   02/16/15   Conference with David Arlington and Ashley Carr regarding preparation for    5.50
              University of Miami's deposition and trial.
   02/16/15   Review Chase McCarthy deposition.                                            1.20
   02/17/15   Review Peter Ortner deposition.                                              1.20
   02/17/15   Review Soraida Diaz deposition.                                               .80
   02/17115   Conference with David Arlington and Ashley Carr regarding University of      4.00
              Miami deposition.
   02/18/15   Review court filings.                                                         .50
   02/18/15   Review documents in preparation for University of Miami's deposition.        2.00
   02/19115   Review court filings.                                                         .30
   02/20/15   Review documents in preparation for University of Miami's deposition.        4.00
   02/22/15   Review documents for University of Miami's deposition.                       2.00
   02/23115   Review documents for University of Miami's deposition.                       3.50




                                                                                 App. 9
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                                     KRAGE & JANVEY, L.L.P.
                                 AlTORNEYSANDCOUNSELORSATLAW
                                           2100 ROSS AVE.
                                             SUITE 2600
                                        DALLAS, TEXAS 75201
                                       TELEPHONE 214/969-7500
                                       FACSIMILE 214/220-0230

  SEC v. Stanford                                                      Invoice No. 26712

                                                                       March 3, 2015

                                                                       4-55



  For Professional Services Rendered Through                           February 28, 2015

   02/24/15 Telephone conference with Mike Kuckelman, Kevin Sadler, Kathryn Lewis          .30
            and Scott Powers regarding                     .
   02/24/15 Telephone conference with David Arlington and Ashley Carr regarding        5.00
            University of Miami's litigation (.50); review documents for deposition
            (4.50).
   02/25/15 Prepare for University of Miami's deposition.                              3.00
   02/26/15 Attend University of Miami's deposition.                                   6.00
   02/27/15 Review and execute plaintiffs first supplemental answer to Merge            .30
            Healthcare litigation; e-mail to Scott Powers.



                                               Hours     Rate
                 Ralph S. Janvey               132.90    $550
  Fees                                                                        $73,095.00
  Total Fees & Disbursements                                                  $73.095.00

  Total Current Charges                                                       $73,095.00

  Invoice Amount                                                              $73,095.00




                                                                         App. 10
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                                        KRAGE & JANVEY, L.L.P.
                                  ATIORNEYS AND COUNSELORS AT LAW
                                            2100 ROSS AVE.
                                              SUITE2600
                                          DALLAS, TEXAS 75201
                                        TELEPHONE 214/969-7500
                                         FACSIMILE 214/220-0230


  SEC v. Stanford                                                        Invoice No. 26713

                                                                         March 3, 2015

                                                                         4-55



  For Professional Services Rendered Through                             February 28, 2015

  In connection with
     4 Administration                                                                    Hours


            VALERIE P. THOMAS
   02/11/15 Address wires.                                                                   .10
            RALPH S. JANVEY
   02/18/15 Approve wire transfers.                                                          .10
            VALERIE P. THOMAS
   02/18/15 Address wires.                                                                   .10
   02/20/15 Address wires.                                                                   .10
   02/26/15 Address wires.                                                                   .10




                                                Hours      Rate
                 Ralph S. J anvey               .10        $550
                    Valerie P. Thomas           .40        $275
  Fees                                                                          $165.00
  Total Fees & Disbursements                                                    $165.00

  Total Current Charges                                                         $165.00

  Invoice Amount                                                                $165.00




                                                                           App. 11
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                                                KRAGE & JANVEY, L.L.P.
                                             A1TORNEYSANDCOUNSELORSATLAW
                                                      2100 ROSS AVE.
                                                        SUITE2600
                                                    DALLAS, TEXAS 75201
                                                  TELEPHONE 214/969-7500
                                                   FACSIMILE 2I4/220-0230


                                                    STATEMENT

  Stanford Financial Group Receivership
  1029 State Highway 6 North, Suite 650 #272
  Houston, Texas 77079

                                                                                        April 2, 2015

  For Professional Services Rendered Through                                           March 31, 2015

                                                    Client Statement

   Previous Balance (With No Court Ordered Holdbacks)                                     $505,201.03
            Total Current Fees                                                              32,450.00
            Plus Expenses                                                                         0.00
            Less 20% Discounted Fees                                                        (6,490.00)
   Total Current Billable Fees and Expenses (With No Court Ordered Holdbacks)              $25,960.00
   Less Payment received in March, 2015                                                         (0.00)

   Total Outstanding Billable Charges (With No Court Ordered Holdbacks)                   $531,161.03
   (March, 2015)

                    Break-Down of Hours Before Additional Court Ordered Hold Back

                                         Hours           Rate             Charges       Discount
   Ralph S. Janvey                       57.50           550             $31,625.00     $6,325.00
   Valerie P. Thomas                      3.00           275                 825.00        165.00
                                                                         $32,450.00     $6,490.00




                                                                                      App. 12
  vc\Stanford\Billing Summaries\02-28-2015
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                                                 KRAGE & JANVEY, L.L.P.
                                              ATIORNEYS AND COUNSELORS AT LAW
                                                        2100 ROSS AVE.
                                                          SUITE 2600
                                                     DALLAS, TEXAS 75201
                                                    TELEPHONE 214/969-7500
                                                    FACSIMILE 214/220-0230



   SEC v. Stanford
                                                                                  April 2, 2015
                                                                                  4-55


   For Professional Services Rendered Through                                     March 31, 2015

                                                      Client Statement

    Previous Balance March 3, 2015                                                        $154,289.33

    Total Current Charges                                                                    32.450.00



    Balance Due                                                                           $186,739.33




   vc\Stanford\Billing Summaries\02-28-2015

                                                                                    App. 13
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                                       KRAGE & JANVEY, L.L.P.
                                   ATTORNEYS AND COUNSELORS AT LAW
                                             2100 ROSS AVE.
                                               SUITE 2600
                                          DALLAS, TEXAS 75201
                                         TELEPHONE 214/969-7500
                                         FACSIMILE 214/220-0230


  SEC v. Stanford                                                                Invoice No. 26768
                                                                                 April 2, 2015
                                                                                 4-55

  For Professional Services Rendered Through                                     March 31, 2015

  In connection with
     2 Litigation                                                                                 Hours


  RALPH S. JANVEY
   03/02/15     Review various court filings.                                                      .50
   03/02/15     Review Fifth Circuit brief in Alguire, et al appeal.                              1.00
   03/02/15     Begin review of documents regarding Barnes trial.                                 1.50
   03/03/15     Review documents in preparation for Willis deposition (1.50); review draft        3.00
                                         (1.00); e-mails with Scott Powers (.50).
   03/03/15     Continue review of documents in preparation for Barnes trial.                     1.50
   03/04/15     Conference with Scott Powers and Doug Buncher regarding Willis                    4.00
                deposition.
   03/05/15     Conference with Kevin Sadler and David Arlington regarding multiple                1.00
                matters.
   03/05/15     Conference with Scott Powers regarding various matters (1.00); attend             5.00
                Willis deposition (4.00).
   03/06/15     Review deposition of Ben Barnes for trial preparation.                             1.00
   03/07/15     Review brief of United States of America filed in Stanford criminal appeal.        1.30
   03/07 /15    Review brief filed in 5th Circuit arbitration issue in four consolidated cases.    1.20
   03/07 /l 5   Review Amicus brief filed in Eleventh Circuit on Wiand ligitation.                  .70
   03/09/15     Review James Davis deposition in preparation for Barnes trial.                      .80
   03/09/15     Review Magistrate Order Denying Defendant's Motion to Compel                        .30
                Production of Documents from the Receiver in Proskauer litigation.
   03/09/15     Review Receiver's Objections and Responses and related documents to                1.00
                Linda Wingfield's First Set of Interrogatories (.90); execute and e-mail
                signed verification (.10).
   03/09/15     Review Receiver's Amended Objections and Answer regarding University                .50
                of Miami's litigation (.10); execute and e-mail signed verification (.40).
   03/10/15     Review Motions and Briefs filed by University of Miami.                             .80
   03/10/15     Review Ken Caperton deposition of Barnes trial.                                    1.20
   03/10/15     Review expert report of James Landon regarding Barnes trial.                        .90
   03/11/15     Review transcript and prepare errata sheet from deposition in University of        1.00
                Miami trial.
   03/11/15     Review 5th Circuit Opinion in Golf Channel case.                                    .50
   03/11/15     Review depositions of Reed and Delk for Barnes trial.                              1.70




                                                                                   App. 14
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                                    KRAGE & JANVEY, L.L.P.
                                ATTORNEYS AND COUNSELORS AT LAW
                                          2100 ROSS AVE.
                                            SUITE 2600
                                       DALLAS, TEXAS 75201
                                      TELEPHONE 214/969-7500
                                      FACSIMILE 214/220-0230


  SEC v. Stanford                                                           Invoice No. 26768
                                                                            April 2, 2015
                                                                            4-55

  For Professional Services Rendered Through                                March 31, 2015



   03/12/15 Review multiple court filings in ongoing matters.                                 .70
   03/13/15 Review multiple court filings.                                                    .50
   03/13/15 Telephone conference with Scott Powers and Ben Krage regarding SEC                .30
            issues.
   03/18/15 Review court filings.                                                             .50
   03/19/15 Telephone conference with David Arlington regarding University of Miami.          .10
   03/19/15 Review                                           and e-mail executed              .20
                        to Mike Kuckleman and Kathryn Lewis.
   03/19/15 Address Barnes settlement.                                                        .10
   03/20/15 Review court filings.                                                             .50
   03/22/15 Review and execute settlement agreement and release with Thomas Moran             .30
            and e-mail to Scott Powers.
   03/23/15 Review and execute agreement with CSI from University of Miami trial.             .30
   03/23/15 Review court filings.                                                             .50
   03/23/15 Review responses and objections to Pi's second set of discovery requests          .50
            and e-mail verification to Ashley Carr.
   03/24/15 Telephone conference with David Arlington regarding University of Miami.          .10
   03/24/15 Telephone conference with Brendan Day regarding Dillon Gage.                      .10
   03/24/15 Review filings related to University of Miami (.40); review filing related to     .50
            Dillon Gage (.10).
   03/25115 Review Golf Channel filings for enbanc hearing on Fifth Circuit decision.         .50
   03125115 Review documents for University of Miami trial.                                  2.00
   03/26/15 Review documents in preparation for University of Miami trial (1.90);            2.00
            telephone conference with David Arlington (.10).
   03/27/15 Review documents to prepare for University of Miami trial.                       4.00
   03/30/15 Review and execute settlement agreements with certain net winners.                .50
   03/30/15 Review documents for University of Miami trial.                                  5.00
   03/31/15 Review documents in preparation of University of Miami's trial (6.70);           7.00
            telephone conference with David Arlington (.30).




                                                                              App. 15
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                                  KRAGE & JANVEY, L.L.P.
                               AITORNEYS AND COUNSELORS AT LAW
                                         2100 ROSS AVE.
                                           SUITE 2600
                                      DALLAS, TEXAS 75201
                                     TELEPHONE 214/969-7500
                                     FACSIMILE 214/220-0230


  SEC v. Stanford                                                  Invoice No. 26768
                                                                   April 2, 2015
                                                                   4-55

  For Professional Services Rendered Through                       March 31, 2015



                                               Hours    Rate
                Ralph S. Janvey                56.60    $550
  Fees                                                                   $31,130.00
  Total Fees & Disbursements                                             $31.130.00

  Total Current Charges                                                  $31,130.00

  Invoice Amount                                                         $31,130.00




                                                                     App. 16
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                                   KRAGE & JANVEY, L.L.P.
                               ATfORNEYSANDCOUNSELORSATLAW
                                         2100 ROSS AVE.
                                           SUITE 2600
                                      DALLAS, TEXAS 75201
                                     TELEPHONE 214/969-7500
                                     FACSIMILE 214/220-0230


   SEC v. Stanford                                                   Invoice No. 26769
                                                                     April 2, 2015
                                                                     4-55

   For Professional Services Rendered Through                        March 31, 2015
   In connection with
      4 Administration                                                              Hours


             Ralph S. Janvey
    03/05/15 Approve wire transfers.                                                   .10
             Valerie P. Thomas
    03/05/15 Address wires.                                                            .10
             Ralph S. Janvey
    03/06/15 Execute checks for accounts payables.                                     .10
             Valerie P. Thomas
    03/10/15 Begin process to add new online banking user.                             .40
    03/11/15 Set up new online banking user.                                           .60
             Ralph S. Janvey
    03/12/15 Approve wire transfers.                                                   .10
             Valerie P. Thomas
    03/12/15 Address online banking issues.                                           1.70
             Ralph S. Janvey
    03/19/15 Review Ernst & Young proposal of 2015 engagement; execute engagement      .30
             letter and e-mail to Andy Beakey.
    03/20/15 Approve wire transfers.                                                   .10
             Valerie P. Thomas
    03/20/15 Address wires.                                                            .10
             Ralph S. Janvey
    03/25/15 Approve wire transfers.                                                   .10
             Valerie P. Thomas
    03/25/15 Address wires.                                                            .10
             Ralph S. Janvey
    03/27/15 Executed checks for accounts payable.                                     .10




                                                                       App. 17
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                                    KRAGE & JANVEY, L.L.P.
                               ATTORNEYS AND COUNSELORS AT LAW
                                         2100 ROSS AVE.
                                           SUITE 2600
                                      DALLAS, TEXAS 75201
                                     TELEPHONE 214/969-7500
                                     FACSIMILE 214/220-0230


  SEC v. Stanford                                                    Invoice No. 26769
                                                                     April 2, 2015
                                                                     4-55

  For Professional Services Rendered Through                         March 31, 2015


                                               Hours    Rate
                Ralph S. J anvey               .90      $550

                Valerie P. Thomas          3.00         $275

  Fees                                                                      $1,320.00

  Total Fees & Disbursements                                                $1.320.00

  Total Current Charges                                                     $1,320.00

  Invoice Amount                                                            $1,320.00




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                           EXHIBIT B




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                                            Attorneys At Law
                                             P. O. BOX 301251
                                         DALLAS, TEXAS 75303-1251
                                           TAXPAYER I.D. #XX-XXXXXXX




 Stanford Financial Group Receivership                                  Invoice No.       1440933
 ATTN: Mr. Ralph S. Janvey, Receiver                                    Invoice Date      April 29, 2015
 2100 Ross Avenue
 Suite 2600                                                             Attorney          K M Sadler
 Dallas TX 75201




           079716.0102          Cross Border Receivership Matters
                                         Hours                              Description
01/19/15      K M Sadler                   .80 Reviewed and responded to emails from JL counsel regarding
                                               litigation matters (.8)
01/26/15      D T Arlington                .30 Reviewed draft position statement proposed by JLs and
                                               communicated with team regarding same.
01/27/15      D T Arlington                .10 Communicated with Annette Escobar regarding                          .
01/30/15      D T Arlington                .20 Communicated with counsel for JLs regarding                      .
              Matter Total                1.40


           079716.0106          Coin and Bullion Operations
                                         Hours                              Description
01/07/15      D T Arlington                .10 Communicated with team regarding                    issues.
01/07/15      K M Sadler                   .60 Reviewed issues regarding                       and emails to/from
                                               Arlington regarding same (.6)
              Matter Total                0.70


           079716.0109          Insurance Matters
                                         Hours                              Description
01/05/15      L E Dodge                    .90 Sent requested documents on disc to K. Lewis (.6); prepared letter to
                                               K. Lewis (.3).




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                                    Hours                              Description
01/06/15     S D Powers                .20 Drafted email to K. Lewis commenting on document production
                                           protocol revisions from Lloyd's.
01/19/15     S D Powers                .90 Phone conference with K. Lewis regarding document production
                                           issues (.3); reviewed
                                           issue and drafted, reviewed emails regarding same (.6).
01/19/15     K M Sadler               1.20 Emails to insurance counsel regarding amicus brief and review and
                                           edits
                                           (1.2)
             Matter Total            3.20


           079716.0112       Private Equity Matters
                                    Hours                              Description
01/22/15     D T Arlington             .10 Communicated with team regarding                        document
                                           review.
01/22/15     A A Carr                  .20 Conference with C. Norfleet regarding review of Stein and Fusselman
                                           productions (.1); emails to K. Koscheski and IT department regarding
                                           C. Norfleet's access to relevant documents (.1).
01/23/15     A A Carr                  .20 Follow-up email to Ed Bearman regarding status of document
                                           production from Tal Kimmel (.1); email to D. Arlington regarding
                                           same (.1)
             Matter Total            0.50


           079716.0113       Receivership Corporate Matters
                                    Hours                              Description
01/30/15     D T Arlington             .80 Reviewed lease amendment and landlord agreement concerning
                                           cleaning services and communicated with client and Receivership
                                           staff regarding same.
             Matter Total            0.80


           079716.0114       Real Estate Matters
                                    Hours                              Description
01/13/15     K E Schlanger             .30 Correspondence with Sandy Hale regarding
                                                        (.3).
             Matter Total            0.30


           079716.0116       Litigation Administration




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                                Hours                                Description
01/05/15    K Corral             4.90 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.50); updated file drive with
                                      one new filing in the '297 (Janvey v. Romero) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '775 (Directors & Officers)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '2151
                                      (Reeves) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '724 (Relief Def) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '478 (Gilbe) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '528 (Janvey v. Buck's Bits) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '415 (Janvey v. Posada) matter in
                                      the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '366 (Janvey vs.
                                      Venger) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '617 (Janvey v. Johnson) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '725 (Janvey v. Barr et al.) matter in the Northern District
                                      of Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '3931 (Janvey v. Dokken et al) matter in
                                      the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '844 (Janvey v.
                                      Indigo Trust) matter in the Northern District of Texas, in preparation
                                      for attorney review (.10); updated file drive with one new filing in the
                                      '1002 (Janvey v Fernandez) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with one
                                      new filing in the '527 (Janvey v. Barnes) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with two new filings in the '1274-N (Troice) matter in the
                                      Northern District of Texas, in preparation for attorney review (.20);
                                      updated file drive with one new filing in the '1736 (Lloyd's of
                                      London) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '2199-N (Turk) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '3980 (OSIC v. Willis) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with two new filings in the '20411 (USA v. Stanford) matter in the
                                      US 5th Circuit Court, in preparation for attorney review (.20);
                                      updated file drive with one new filing in the '20115 (USA v. Kuhrt)
                                      matter in the US 5th Circuit Court, in preparation for attorney review
                                      (.10); updated file drive with eleven new filings in the '10857
                                      (Alguire) matter in the US 5th Circuit Court, in preparation for
                                      attorney review (.90); updated file drive with eleven new filings in
                                      the '10945 (Tonarelli) matter in the US 5th Circuit Court, in
                                      preparation for attorney review (.90); updated file drive with three




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                                Hours                                 Description
                                        new filings in the '00329 (Sjoblom Bankruptcy) matter in the DC
                                        Bankruptcy Court, in preparation for attorney review (.30); updated
                                        file drive with one new filing in the '26722 (Brickey Bankruptcy)
                                        matter in the Western District of Tennessee Bankruptcy Court, in
                                        preparation for attorney review (.10).
01/06/15    K Corral             3.70 Updated file drive with one new filing in the '775 (Directors &
                                      Officers) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '366 (Janvey vs. Venger) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with three
                                      new filings in the '724 (Relief Def) matter in the Northern District of
                                      Texas, in preparation for attorney review (.30); updated file drive
                                      with three new filings in the '10857 (Alguire) matter in the US 5th
                                      Circuit Court, in preparation for attorney review (.30); updated file
                                      drive with three new filings in the '10945 (Tonarelli) matter in the US
                                      5th Circuit Court, in preparation for attorney review (.30); updated
                                      file drive with fourteen new filings in the '11014 (Rincon) matter in
                                      the US 5th Circuit Court, in preparation for attorney review (1.0);
                                      updated file drive with fourteen new filings in the '11093 (Giusti)
                                      matter in the US 5th Circuit Court, in preparation for attorney review
                                      (1.0); updated file drive with three new filings in the '11118
                                      (Rishmague v. Winter) matter in the US 5th Circuit Court, in
                                      preparation for attorney review (.30); updated file drive with three
                                      new filings in the '11119 (Rupert v. Winter) matter in the US 5th
                                      Circuit Court, in preparation for attorney review (.30).
01/07/15    K Corral             1.10 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.40); updated file drive with one new filing in the '3731
                                      (Reynaud) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '00041 (Janvey v. Univ. of Miami) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '297 (Janvey v. Romero) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '3635 (Janvey v. Bogar,
                                      et al) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '20411 (USA v. Stanford) matter in the US 5th Circuit Court, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '11118 (Rishmague v. Winter) matter in the US 5th
                                      Circuit Court, in preparation for attorney review (.10); updated file
                                      drive with one new filing in the '11119 (Rupert v. Winter) matter in
                                      the US 5th Circuit Court, in preparation for attorney review (.10).
01/08/15    K Corral             2.10 Updated file drive with three new filings in the '1002 (Janvey v
                                      Fernandez) matter in the Northern District of Texas, in preparation
                                      for attorney review (.30); updated file drive with two new filings in
                                      the '724 (Relief Def) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with two new
                                      filings in the '366 (Janvey vs. Venger) matter in the Northern District
                                      of Texas, in preparation for attorney review (.20); updated file drive
                                      with two new filings in the '415 (Janvey v. Posada) matter in the




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                                Hours                                 Description
                                        Northern District of Texas, in preparation for attorney review (.20);
                                        updated file drive with two new filings in the '528 (Janvey v. Buck's
                                        Bits) matter in the Northern District of Texas, in preparation for
                                        attorney review (.20); updated file drive with two new filings in the
                                        '478 (Gilbe) matter in the Northern District of Texas, in preparation
                                        for attorney review (.20); updated file drive with two new filings in
                                        the '617 (Janvey v. Johnson) matter in the Northern District of Texas,
                                        in preparation for attorney review (.20); updated file drive with two
                                        new filings in the '725 (Janvey v. Barr et al.) matter in the Northern
                                        District of Texas, in preparation for attorney review (.20); updated
                                        file drive with two new filings in the '844 (Janvey v. Indigo Trust)
                                        matter in the Northern District of Texas, in preparation for attorney
                                        review (.20); updated file drive with two new filings in the '931
                                        (Janvey v. Dokken et al) matter in the Northern District of Texas, in
                                        preparation for attorney review (.20).
01/09/15    K Corral             3.40 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.60); updated file drive with one new filing in the '1274-N
                                      (Troice) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '1600 (Troice v. Proskauer) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with one
                                      new filing in the '4641 (Janvey v. Greenberg Traurig) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '477 (Janvey v.
                                      Proskauer Rose) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '342 (Criminal US v Stanford) matter in the Southern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with four new filings in the '10857 (Alguire) matter in the
                                      US 5th Circuit Court, in preparation for attorney review (.40);
                                      updated file drive with four new filings in the '10945 (Tonarelli)
                                      matter in the US 5th Circuit Court, in preparation for attorney review
                                      (.40); updated file drive with four new filings in the '11014 (Rincon)
                                      matter in the US 5th Circuit Court, in preparation for attorney review
                                      (.40); updated file drive with four new filinsg in the '11093 (Giusti)
                                      matter in the US 5th Circuit Court, in preparation for attorney review
                                      (.40); updated file drive with two new filings in the '11118
                                      (Rishmague v. Winter) matter in the US 5th Circuit Court, in
                                      preparation for attorney review (.20); updated file drive with two new
                                      filings in the '11119 (Rupert v. Winter) matter in the US 5th Circuit
                                      Court, in preparation for attorney review (.20); updated file drive with
                                      one new filing in the '1873 (Vargas) matter in the Southern District of
                                      Florida Bankruptcy, in preparation for attorney review (.10); updated
                                      file drive with two new filings in the '00329 (Sjoblom Bankruptcy)
                                      matter in the DC Bankruptcy Court, in preparation for attorney
                                      review (.20).
01/12/15    K Corral             1.50 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.70); updated file drive with one new filing in the '724
                                      (Relief Def) matter in the Northern District of Texas, in preparation
                                      for attorney review (.10); updated file drive with one new filing in the
                                      '477 (Wealth Management) matter in the Northern District of Texas,




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                                Hours                                 Description
                                        in preparation for attorney review (.10); updated file drive with
                                        sixteen new filings in the '297 (Janvey v. Romero) matter in the
                                        Northern District of Texas, in preparation for attorney review (1.0);
                                        updated file drive with one new filing in the '559 (Gagosian Gallery)
                                        matter in the Northern District of Texas, in preparation for attorney
                                        review (.10); updated file drive with two new filings in the '3560
                                        (Janvey v. Amadio) matter in the Northern District of Texas, in
                                        preparation for attorney review (.20); updated file drive with one new
                                        filing in the '00041 (Janvey v. Univ. of Miami) matter in the Northern
                                        District of Texas, in preparation for attorney review (.10); updated
                                        file drive with one new filing in the '1873 (Vargas) matter in the
                                        Southern District of Florida Bankruptcy Court, in preparation for
                                        attorney review (.10).
01/13/15    K Corral              .20 Updated file drive with two new filings in the '559 (Gagosian
                                      Gallery) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20).
01/14/15    K Corral             1.80 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.30); updated file drive with one new filing in the '559
                                      (Gagosian Gallery) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with three
                                      new filings in the '297 (Janvey v. Romero) matter in the Northern
                                      District of Texas, in preparation for attorney review (.30); updated
                                      file drive with one new filing in the '1274-N (Troice) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with four new filings in the '1600 (Troice v.
                                      Proskauer) matter in the Northern District of Texas, in preparation for
                                      attorney review (.40); updated file drive with one new filing in the
                                      '00041 (Janvey v. Univ. of Miami) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '477 (Janvey v. Proskauer Rose) matter in
                                      the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with two new filings in the '3980 (OSIC v.
                                      Willis) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20); updated file drive with one new filing in the
                                      '3731 (Reynaud) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '00025 (Janvey v. Reese) matter in the Middle District of
                                      Louisiana, in preparation for attorney review (.10).
01/15/15    K Corral              .10 Updated file drive with one new filing in the '02584 (Janvey v.
                                      Alvarado) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10).
01/16/15    K Corral             2.00 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.40); updated file drive with two new filings in the '02584
                                      (Janvey v. Alvarado) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with one new
                                      filing in the '1274-N (Troice) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with five
                                      new filings in the '1600 (Troice v. Proskauer) matter in the Northern
                                      District of Texas, in preparation for attorney review (.50); updated




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                                Hours                                 Description
                                        file drive with two new filings in the '2199-N (Turk) matter in the
                                        Northern District of Texas, in preparation for attorney review (.20);
                                        updated file drive with five new filings in the '477 (Janvey v.
                                        Proskauer Rose) matter in the Northern District of Texas, in
                                        preparation for attorney review (.50); updated file drive with one new
                                        filing in the '1873 (Vargas) matter in the Southern District of Florida
                                        Bankruptcy Court, in preparation for attorney review (.10).
01/20/15    K Corral             1.90 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.50); updated file drive with one new filing in the '00025
                                      (Janvey v. Reese) matter in the Middle District of Louisiana, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '3635 (Janvey v. Bogar, et al) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '3560 (Janvey v. Amadio) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '2384 (Rotstain)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with two new filings in the '1177
                                      (Libyan Investment) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with one new
                                      filing in the '724 (Relief Def) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with three new filings in the '297 (Janvey v. Romero) matter in the
                                      Northern District of Texas, in preparation for attorney review (.30);
                                      updated file drive with one new filing in the '1274-N (Troice) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with two new filings in the '3980 (OSIC v.
                                      Willis) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20); updated file drive with one new filing in the
                                      '1873 (Vargas) matter in the Southern District of Florida Bankruptcy
                                      Court, in preparation for attorney review (.10).
01/21/15    K Corral              .50 Updated file drive with two new filings in the '559 (Gagosian
                                      Gallery) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20); updated file drive with two new filings in the
                                      '724 (Relief Def) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with one new
                                      filing in the '297 (Janvey v. Romero) matter in the Northern District
                                      of Texas, in preparation for attorney review (.10).
01/22/15    K Corral             2.10 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.50); updated file drive with two new filings in the '724
                                      (Relief Def) matter in the Middle District of Louisiana, in preparation
                                      for attorney review (.20); updated file drive with one new filing in the
                                      '366 (Janvey vs. Venger) matter in the Middle District of Louisiana,
                                      in preparation for attorney review (.10); updated file drive with one
                                      new filing in the '931 (Janvey v. Dokken et al) matter in the Middle
                                      District of Louisiana, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '775 (Directors &
                                      Officers) matter in the Middle District of Louisiana, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '1002 (Janvey v Fernandez) matter in the Middle District of




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                                Hours                                  Description
                                        Louisiana, in preparation for attorney review (.10); updated file drive
                                        with three new filings in the '2199-N (Turk) matter in the Middle
                                        District of Louisiana, in preparation for attorney review (.30);
                                        updated file drive with two new filings in the '303 (IC v. ALSAC)
                                        matter in the Middle District of Louisiana, in preparation for attorney
                                        review (.20); updated file drive with one new filing in the '3127 (Lilie
                                        v. STC) matter in the Middle District of Louisiana, in preparation for
                                        attorney review (.10); updated file drive with one new filing in the
                                        '11118 (Rishmague v. Winter) matter in the US 5th Circuit Court, in
                                        preparation for attorney review (.10); updated file drive with one new
                                        filing in the '11119 (Rupert v. Winter) matter in the US 5th Circuit
                                        Court, in preparation for attorney review (.10); updated file drive with
                                        two new filings in the '1873 (Vargas) matter in the Southern District
                                        of Florida Bankruptcy Court, in preparation for attorney review (.20).
01/23/15    A L Hix              1.80 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.8); updated file drive with one new filing in the '1600
                                      (Troice v. Proskauer) matter in the Northern District of Texas, in
                                      preparation for attorney review (.1); updated file drive with one new
                                      filing in the '1736 (Lloyd's of London) matter in the Northern District
                                      of Texas, in preparation for attorney review (.1); updated file drive
                                      with one new filing in the '2199-N (Turk) matter in the Northern
                                      District of Texas, in preparation for attorney review (.1); updated file
                                      drive with one new filing in the '762 (OSIC v. Bank of Antigua)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.1); updated file drive with one new filing in the '41 (Janvey
                                      v. Univ. of Miami) matter in the Northern District of Texas, in
                                      preparation for attorney review (.1); updated file drive with one new
                                      filing in the '1002 (Janvey v Fernandez) matter in the Northern
                                      District of Texas, in preparation for attorney review (.1); updated file
                                      drive with one new filing in the '931 (Janvey v. Dokken et al) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.1); updated file drive with one new filing in the '366 (Janvey vs.
                                      Venger) matter in the Northern District of Texas, in preparation for
                                      attorney review (.1); updated file drive with one new filing in the '724
                                      (Relief Def) matter in the Northern District of Texas, in preparation
                                      for attorney review (.1); updated file drive with one new filing in the
                                      '1177 (Libyan Investment) matter in the Northern District of Texas, in
                                      preparation for attorney review (.1).
01/26/15    K Corral             3.00 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.30); updated file drive with seven new filings in the '297
                                      (Janvey v. Romero) matter in the Northern District of Texas, in
                                      preparation for attorney review (.60); updated file drive with four new
                                      filings in the '724 (Relief Def) matter in the Northern District of
                                      Texas, in preparation for attorney review (.30); updated file drive
                                      with two new filings in the '477 (Wealth Management) matter in the
                                      Northern District of Texas, in preparation for attorney review (.20);
                                      updated file drive with two new filings in the '559 (Gagosian Gallery)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.20); updated file drive with one new filing in the '775
                                      (Directors & Officers) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new




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                                Hours                                  Description
                                        filing in the '2199-N (Turk) matter in the Northern District of Texas,
                                        in preparation for attorney review (.10); updated file drive with one
                                        new filing in the '4641 (Janvey v. Greenberg Traurig) matter in the
                                        Northern District of Texas, in preparation for attorney review (.10);
                                        updated file drive with two new filings in the '1873 (Vargas) matter in
                                        the Southern District of Florida Bankruptcy, in preparation for
                                        attorney review (.20); updated file drive with one new filing in the
                                        '20411 (USA v. Stanford) matter in the US 5th Circuit Court, in
                                        preparation for attorney review (.10); updated file drive with two new
                                        filings in the '10857 (Alguire) matter in the US 5th Circuit Court, in
                                        preparation for attorney review (.20); updated file drive with two new
                                        filings in the '10945 (Tonarelli) matter in the US 5th Circuit Court, in
                                        preparation for attorney review (.20); updated file drive with two new
                                        filings in the '11014 (Rincon) matter in the US 5th Circuit Court, in
                                        preparation for attorney review (.20); updated file drive with two new
                                        filings in the '11093 (Giusti) matter in the US 5th Circuit Court, in
                                        preparation for attorney review (.20).
01/27/15    K Corral              .60 Updated file drive with one new filing in the '298 (MAIN) matter in
                                      the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with two new filings in the '297 (Janvey v.
                                      Romero) matter in the Northern District of Texas, in preparation for
                                      attorney review (.50).
01/28/15    K Corral             3.20 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.60); updated file drive with three new filings in the '527
                                      (Janvey v. Barnes) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with one new
                                      filing in the '3560 (Janvey v. Amadio) matter in the Northern District
                                      of Texas, in preparation for attorney review (.10); updated file drive
                                      with six new filings in the '724 (Relief Def) matter in the Northern
                                      District of Texas, in preparation for attorney review (.50); updated
                                      file drive with three new filings in the '366 (Janvey vs. Venger)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.20); updated file drive with six new filings in the '298
                                      (MAIN) matter in the Northern District of Texas, in preparation for
                                      attorney review (.50); updated file drive with one new filing in the
                                      '297 (Janvey v. Romero) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '4641 (Janvey v. Greenberg Traurig) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with three new filings in the '3980 (OSIC v. Willis)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.20); updated file drive with two new filings in the '27851
                                      (Vargas) matter in the Southern District of Florida Bankruptcy Court,
                                      in preparation for attorney review (.20); updated file drive with one
                                      new filing in the '20411 (USA v. Stanford) matter in the US 5th
                                      Circuit Court, in preparation for attorney review (.10); updated file
                                      drive with one new filing in the '10857 (Alguire) matter in the US 5th
                                      Circuit Court, in preparation for attorney review (.10); updated file
                                      drive with one new filing in the '10945 (Tonarelli) matter in the US
                                      5th Circuit Court, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '11014 (Rincon) matter in the US




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                                Hours                                 Description
                                        5th Circuit Court, in preparation for attorney review (.10); updated
                                        file drive with one new filing in the '11093(Giusti) matter in the US
                                        5th Circuit Court, in preparation for attorney review (.10).
01/29/15    K Corral              .80 Updated file drive with one new filing in the '528 (Janvey v. Buck's
                                      Bits) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with three new filings in the
                                      '724 (Relief Def) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with one new
                                      filing in the '1002 (Janvey v Fernandez) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '366 (Janvey vs. Venger) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with two new filings in the '3559 (Janvey v.
                                      Staley) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20); updated file drive with one new filing in the
                                      '27851 (Vargas) matter in the Southern District of Florida Bankruptcy
                                      Court, in preparation for attorney review (.10).
01/30/15    K Corral             1.70 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.40); updated file drive with one new filing in the '724
                                      (Relief Def) matter in the Northern District of Texas, in preparation
                                      for attorney review (.10); updated file drive with one new filing in the
                                      '366 (Janvey vs. Venger) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '931 (Janvey v. Dokken et al) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '1002 (Janvey v Fernandez)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '1600
                                      (Troice v. Proskauer) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '1115 (Wilkinson v. BDO) matter in the Northern District
                                      of Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '1447 (IC v. BDO) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '3980 (OSIC v. Willis) matter in
                                      the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '3731 (Reynaud)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '10857
                                      (Alguire) matter in the US 5th Circuit Court, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '10945 (Tonarelli) matter in the US 5th Circuit Court, in preparation
                                      for attorney review (.10); updated file drive with one new filing in the
                                      '11014 (Rincon) matter in the US 5th Circuit Court, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '11093 (Giusti) matter in the US 5th Circuit Court, in preparation for
                                      attorney review (.10).
            Matter Total        36.40




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           079716.0117       Litigation - SEC vs. SIB, et al
                                    Hours                                Description
01/02/15     E D Reeder               2.00 Coordinated with vendor regarding delivery of videotapes and
                                           spreadsheet listing all converted video files; made revisions to same
                                           (1.3); forwarded revised spreadsheet to Ari Cuenin and coordinated
                                           with same regarding organization and file/shared drive location of the
                                           tapes and the digital files (.6) direction to records management
                                           personnel regarding recording of the media into the physcial filing
                                           system (.1).
01/05/15     D T Arlington            1.60 Reviewed litigation deadlines (0.4); communicated with team and
                                           Gilardi regarding notice estimate (0.1); reviewed documents for
                                           potential Ponzi scheme trial exhibits (1.1).
01/05/15     A Cuenin                 4.70 Drafted Rupert and Rishmague amicus brief (3.3); reviewed lists of
                                           videos for possible appearance of key trial figures including Romero
                                           (1.4).
01/05/15     E D Reeder               1.60 Revised spreadsheet listing and notating Wish Picture Shows videos
                                           and reported to Ari Cuenin regarding status of downloading
                                           additionial video files to his computer (1.2); reviewed all
                                           spreadsheets listing videos for any containing
                                                            and reported to Ari Cuenin (.4).
01/06/15     D T Arlington            2.10 Further reviewed documents for potential Ponzi scheme trial exhibits.
01/06/15     A Cuenin                 6.30 Continued drafting Rishmague and Rupert appellate amicus brief
                                           (3.5); reviewed and noted appearances of key individuals in
                                                           compilation video from Wish Picture Shows (2.5);
                                           summarized additional materials from Wish Picture Shows reviewed
                                           for possible appearance of Romero (.3).
01/06/15     S D Powers                .10 Reviewed letter from DOJ approving subpoena for
                                           materials and drafted, reviewed emails regarding same.
01/06/15     E D Reeder               1.80 Reviewed TPC Q4 2005 video at Ari Cuenin's request to determine if
                                           a partial file was a conversion error or on the original tape (.6); re-
                                           copied DVD that was damaged in conversion and shipped overnight
                                           to Ari Cuenin (.3); coordinated with vendor regarding cross-reference
                                           of listings and inconsistencies between the two lists of Wish Picture
                                           Shows videos (.5); emails with Ari Cuenin to reconcile list of 118
                                           videos to match Dallas copy of the hard drive containing same (.4).
01/07/15     K Corral                 2.20 Retrieving all 2014 court filied motions per attorney Cuenin's request.
01/07/15     A Cuenin                 6.20 Continued drafting brief Rishmague and Rupert amicus brief (5.9);
                                           checked Wish Picture Shows video original to verify conversion was
                                           done properly (.3).
01/07/15     A L Hix                  1.30 Review and organize motions filed in 2014 in Stanford cases per
                                           request of A. Cuenin related to Rishmague appeal.
01/07/15     E D Reeder               1.10 Revised Wish Picture Shows video list to match vendor's list (.3);
                                           coordinated with vendor regarding conversion of additional betamax
                                           format video and monitored uploading of other videos to Ari Cuenin's
                                           desktop (.8).




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                                Hours                               Description
01/07/15    K M Sadler           1.00 Conferences with Powers (.5); conferences with Arlington (.5)
01/07/15    J M Whittlesey       1.00 Research cases involving Ralph S. Janvey which had motions filed in
                                      2014, as requested by A. Cuenin.
01/08/15    K Corral              .30 Coordinating with clerk the execution of collecting all 2014 court
                                      filied motions per attorney Cuenin's request.
01/08/15    A Cuenin             4.60 Continued drafting amicus brief.
01/08/15    A L Hix              4.50 Review, analyze, and organize motions filed in 2014 in Stanford
                                      cases per request of A. Cuenin related to Rishmague appeal. .
01/09/15    A A Carr             3.70 Detailed review of and updates to deadlines chart.
01/09/15    K Corral             1.80 Continue collecting all 2014 court filied motions per attorney
                                      Cuenin's request related to Rishmague appeal.
01/09/15    A Cuenin             1.90 Continued drafting amicus brief in Rupert matter.
01/09/15    A L Hix              1.30 Review, analyze, and organize motions filed in 2014 in Stanford
                                      cases per request of A. Cuenin related to Rishmague appeal. .
01/09/15    E D Reeder            .70 Located video files and transcription, where applicable, for Ari
                                      Cuenin.
01/09/15    E D Reeder           2.30 Reviewed shared drive and PACER for all cases filed by Ralph
                                      Janvey as plaintiff and prepared spreadsheet listing of same.
01/10/15    S Faridifar           .20 Updated deadlines chart in connection with multiple litigation
                                      matters.
01/11/15    A Cuenin             2.00 Drafted motion to appear as amicus curiae in Rupert and Rishmague
                                      (2.0).
01/12/15    D T Arlington        2.00 Reviewed briefing relating to Rishmague and Rupert appeals,
                                      researched regarding related issues and communicated with team
                                      regarding same.
01/12/15    B A Day              2.00 Updated deadlines chart for WMSL, Net-Winner, Wieselberg, and
                                      Dillon Gage lawsuits (2.0).
01/12/15    E D Reeder           1.60 Made revisions to the list of cases brought by Janvey as plaintiff and
                                      assigned further revisions to Daniel Jackson (1.0); reviewed same and
                                      forwarded it to Kevin Sadler and Scott Powers (.6).
01/12/15    K M Sadler            .60 Reviewed issues regarding draft amicus brief in Rishmague appeal
                                      (.4); conferences with Arlington regarding same (.2)
01/13/15    A A Carr              .10 Contacted J. Middendorf at Bureau of Prisons regarding production
                                      (.1)
01/13/15    E D Reeder           2.80 Reviewed list of cases brought by Janvey as prepared by clerk (.3);
                                      located each case on PACER and corrected as to number of
                                      defendants in each case and revised the spreadsheet (2.5).
01/14/15    D T Arlington        2.10 Prepared for and participated in litigation team status meeting (2.0);
                                      worked on revised task list (0.1).




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                                Hours                               Description
01/14/15    S F Cagniart         1.30 Prepared for and attended Stanford litigation meeting.
01/14/15    A A Carr             1.20 Prepared for and attended Stanford team meeting with D. Arlington,
                                      B. Day, S. Faridifiar, S. Cagniart, M. Wood, R. Fusco, C. Norfleet, J.
                                      Himmel, M. Dwertman, L. Dodge, E. Reeder, D.Jackson, and K.
                                      Koscheski.
01/14/15    A A Carr              .80 Brief review of                   and emails with S. Powers regarding
                                      same
01/14/15    B A Day              1.50 Prepared for and attended litigation strategy meeting with D.
                                      Arlington, A. Carr, S. Cagniart, S. Faridifar, M. Wood, J. Himmel,
                                      M. Dwertman, and R. Fusco.
01/14/15    L E Dodge            1.20 Met with Stanford team to discuss upcoming deadlines and
                                      tasks/projects in various Stanford matters (1.2).
01/14/15    M R Dwertman         1.20 Met with Stanford team concerning upcoming litigation and
                                      associated deadlines.
01/14/15    S Faridifar          1.30 Met with Stanford team regarding various litigation matters.
01/14/15    R W Fusco            1.70 Prepared for and participated in conference call team meeting (1.0);
                                      downloaded and reviewed recent class action pleadings, and
                                      discussed same with D. Arlington (0.7).
01/14/15    J M Himmel           1.30 Prepared for and attended litigation coordination meeting with D.
                                      Arlington and all other attorneys and staff working on Stanford cases.
01/14/15    D K Jackson          1.20 Attended litigation coordination meeting to discuss upcoming
                                      deadlines.
01/14/15    K B Koscheski        1.20 Attended litigation coordination meeting to discuss pending tasks and
                                      upcoming deadlines.
01/14/15    C J Norfleet          .70 Participate in litigation team strategy and logistics planning
                                      conference call.
01/14/15    E D Reeder           3.60 Continued review of docket sheets for data to include in spreadsheet
                                      listing of all suits brought by Janvey (1.0); office conference with
                                      Sherwin Faridifar regarding status on consolidated and severed cases
                                      (.4); revised the spreadsheet to tally the number of defendants (.3);
                                      marked several hard drives containing videos for file placement in
                                      Dallas and Austin (.3); delivered additional Beta format videos to
                                      vendor and gave him instructions for conversion (.5); made further
                                      revisions to the spreadsheet listing plaintiff cases to include OSIC law
                                      suits (1.1).
01/14/15    E D Reeder           1.20 Attended Stanford team meeting regarding litigation .
01/14/15    M C Wood             1.20 Prepared for and attended group meeting regarding case status
                                      updates.
01/15/15    D T Arlington         .20 Reviewed litigation deadlines and communicated with team regarding
                                      same.
01/15/15    A A Carr             3.50 Reviewed all production from                               (2.8);




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                                Hours                                Description
                                        drafted summary regarding same and sent to S. Powers (.3); emails
                                        with S. Powers regarding same (.2); coordinated saving and filing
                                        production with support staff (.2)
01/15/15    S D Powers            .30 Exchanged emails with A. Carr regarding
                                                                     and initial review of tagged emails.
01/15/15    E D Reeder           1.00 Coordinated with vendor regarding formatting and download of two
                                      additional Beta tapes and reported to Ari Cuenin (.4); added notes to
                                      spreadsheet and shared drive regarding location of digital files (.3);
                                      loaded transcripts of pertinent Wish Picture Shows videos to shared
                                      drive (.3).
01/16/15    A A Carr              .20 Compiled                      production and saved same to shared
                                      drive.
01/16/15    D K Jackson           .10 Saved Stanford Wish Picture Shows video transcriptions to shared
                                      drive.
01/20/15    S Faridifar           .30 Updated deadlines chart in connection with multiple litigation
                                      matters.
01/20/15    S D Powers            .70 Conferred with A. Carr regarding review of                   emails
                                      (.2); conferred with           regarding use of
                                                and further conference with K. Sadler regarding same (.5).
01/20/15    K M Sadler           1.50 Conferences with Arlington regarding litigation related tasks
                                              (1.0); reviewed issues regarding email from Examiner
                                      regarding                                   (.2); reviewed reply brief
                                      regarding R&R on dismissing counterclaims (.3)
01/21/15    D T Arlington         .10 Communicated with Snyder regarding
                                                     and communicated with team regarding same (0.3);
                                      reviewed requests from BDO counsel regarding claim information
                                      and communicated with team regarding same (0.3).
01/21/15    S D Powers           1.40 Reviewed task list and upcoming deadlines and updated same (.7);
                                      reviewed, analyzed recent pleadings updates (.7).
01/21/15    E D Reeder           1.10 Reviewed Tolentino scheduling order and added all deadlines to chart
                                      (.5); began comparing list of all cases file by Janvey to deadlines
                                      chart to locate any possible missing cases (.6).
01/21/15    K M Sadler            .30 Reviewed and responded to email from receiver.
01/22/15    D T Arlington         .50 Reviewed litigation deadlines and communicated with team regarding
                                      same.
01/23/15    L E Dodge             .30 Organized corporate data for Stanford entities (.3).
01/24/15    S Faridifar           .30 Updated deadlines chart in connection with multiple litigation
                                      matters.
01/25/15    D T Arlington         .30 Communicated with team regarding interim status report (0.2);
                                      communicated with class counsel regarding Ringtail access (0.1).
01/25/15    A A Carr             1.70 Reviewed and updated sections of litigation report in anticipation of




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                                    Hours                                 Description
                                            handing off the project to the Examiner.
01/26/15     A A Carr                 1.20 Review of list of cases in which Janvey appears as Plaintiff to
                                           determine whether any updates to deadlines chart are necessary (.9);
                                           corresponded with E. Reeder and S. Powers regarding same (.3)
01/26/15     B A Day                   .60 Updated task lists (0.6).
01/26/15     E D Reeder               4.50 Compared list of cases filed by Janvey as plaintiff with deadlines
                                           chart (2.1); reviewed cases not listed on deadlines chart with Ashley
                                           Carr (.4); coordinated with IT regarding video files on shared drive
                                           whose audio will not play and reported to attorneys regarding a
                                           workaround (.5); compared list of Janvey plaintiff cases with
                                           deadlines chart and listed for Ashley Carr (1.5).
01/27/15     S Faridifar               .20 Updated deadlines chart in connection with multiple Stanford
                                           litigation matters.
01/27/15     E D Reeder               1.10 Briefly reviewed Island Club video and downloaded the file to the
                                           shared drive (.3); organized videos, transcripts of their audio, and
                                           video files and forwarded locationg information to Ari Cuenin and
                                           Ashley Carr (.8).
01/28/15     S D Powers                .40 Reviewed records related to materials copied from
                                                                                                       regarding
                                            same.
01/29/15     D T Arlington             .50 Reviewed and organized multiple case communications.
01/29/15     S D Powers                .40 Exchanged emails with

             Matter Total          110.80


           079716.0123       Canada Litigation Matters
                                    Hours                                Description
01/15/15     D T Arlington            1.20 Reviewed issues relating to
                                           and communicated with team regarding related issues.
01/24/15     D T Arlington             .10 Communicated with team regarding notice translation.
01/30/15     D T Arlington             .50 Reviewed updated list of                              and
                                           communicated with team regarding related issues.
             Matter Total            1.80


           079716.0126       Broker Litigation
                                    Hours                                Description
01/01/15     M C Wood                 4.50 Reviewed material to prepare response to Former Employees'
                                           objection to magistate's recommendation that counterclaims be
                                           dismissed; reviewed case law cited in briefing material; began




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                                Hours                                Description
                                        drafting response to objection.
01/02/15    D T Arlington         .20 Communicated with team regarding response to objection regarding
                                      report and recommendation by Healthcare Group.
01/02/15    J M Himmel           7.70 Researched secondary sources and federal case law to determine
                                                                                           and respond to
                                      the                                                           .
01/03/15    D T Arlington        1.00 Reviewed draft response to Healthcare Group's objections to
                                      magistrate report.
01/03/15    M C Wood             2.70 Reviewed                       to response to Healthcare Group's
                                      objection and revised draft; continued drafting response to Former
                                      Employees' objection.
01/04/15    D T Arlington         .40 Reviewed research relating to       and communicated with team
                                      regarding same in context of response to objections to magistrate
                                      report.
01/04/15    M C Wood             5.40 Reviewed comments from team regarding draft response to
                                      Healthcare Group's objections and revised draft accordingly;
                                      researched and added section to draft concerning                  .
01/05/15    D T Arlington        2.50 Reviewed research and response to Healthcare Group's objections and
                                      communicated with team regarding same.
01/05/15    S F Cagniart         6.80 In preparing Fifth Circuit brief in Alguire arbitration appeal, reviewed
                                      district court briefing and order and researched and outlined argument
                                      that

                                                                             (5.4); reviewed notes on
                                        miscellaneous arguments raised by various appellants in the appeal
                                        and outlined responses (1.1); discussed with M. Dwertman needed
                                        research on                    in Giusti and Rincon consolidated
                                        appeals and on the                                 arguments raised
                                        by Rawl and Tidwell (0.3).
01/05/15    M R Dwertman         5.20 Discussed new assignments with S. Cagniart (.3); reviewed district
                                      court documents in Rincon Case (1.6); reviewed district court
                                      documents in Giusti case (1); read Guisti and Rincon appellate briefs
                                      (.5); began research by reviewing primary sources concerning waiver
                                      argument cited in briefing and key citing cases (1.8).
01/05/15    M S Gilstrap          .70 Check bar date in Vargas case (.2); begin drafting proof of claim (.5).
01/05/15    J M Himmel           8.40 Meeting with S. Cagniart to discuss research regarding the
                                                              (.4); Researched secondary sources and case
                                      law and drafted two emails summarizing research regarding the
                                                                       (8).
01/05/15    S D Powers            .20 Conferred with O. Alaniz regarding upcoming deadlines in Vargas
                                      bankruptcy.
01/05/15    K M Sadler           1.00 Reveiwed briefing, provided comments and emails to/from M. Wood
                                      and D. Arlington regarding response to objections to R&R (1.0)




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                                Hours                                Description
01/05/15    M C Wood             7.60 Researched issues related to
                                                                        ; continued drafting response to
                                        former employees' objection; emails concerning final draft of
                                        response to Healthcare Group's objection; researched issues raised by
                                        legal team; finalized Healthcare response and coordinated filing of
                                        same.
01/06/15    O J Alaniz            .20 Delegation of assignments in Vargas bankruptcy case to M. Gilstrap.
01/06/15    D T Arlington         .70 Briefly reviewed response to former employees' objections to report
                                      and recommendation and conferences with team regarding same.
01/06/15    S F Cagniart         5.90 In preparing Fifth Circuit brief in Alguire arbitration appeal, reviewed
                                      research by J. Himmel on
                                                                                              and discussed
                                      same with J. Himmel by email (0.5); continued reviewing and
                                      outlining argument that the


                                        (5.4).
01/06/15    M R Dwertman         3.90 Read Giusti original Answer (.2); created timeline of pleadings and
                                      orders in Giusti case and made note of arguments concerning
                                                                   (1.2); researched
                                                                                                     (2.5).
01/06/15    M S Gilstrap         2.20 Drafted and revised Vargas proof of claim.
01/06/15    J M Himmel            .30 Reviewed and responded to email from S. Cagniart regarding
                                                               in response to the argument raised by the
                                      Foster defendants.
01/06/15    E D Reeder           1.30 Several telephone conferences with clerk of the district court
                                      regarding record on appeal for consolidated appeal to the Fifth Circuit
                                      (.8); reported status of shipment of same to Stephanie Cagniart; (.2);
                                      followed up on the phone the with clerk regarding supplements to the
                                      record (.2); instructions to clerk regarding overnight shipment of the
                                      original record (.1).
01/06/15    M C Wood              .80 Revised response to former employees' objection to include argument
                                                             ; conferred with D. Arlington about same.
01/07/15    O J Alaniz           1.60 Review and analyze deadlines including Rule 26 disclosures in
                                      Vargas adversary proceeding(.3 ); analysis of deadlines in scheduling
                                      order (.3 ); analysis of dischargeability complaint (.9 ); review emails
                                      from defendant's counsel regarding extension of deadlines (.1).
01/07/15    D T Arlington        1.50 Reviewed draft response to former employees' objections to report
                                      and recommendation, investigated related issues and communicated
                                      with team regarding same.
01/07/15    M R Dwertman         5.70 Reviewed Rincon's motion to dismiss (.3); reviewed court documents
                                      filed in Rincon case and created timeline (.7); updated prior briefing
                                      and began drafting outline for new briefing, conducting further
                                      research as necessary (4.7)




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                                Hours                                 Description
01/07/15    S Faridifar           .40 Exchanged e-mails with counsel for Vargas and S. Powers regarding
                                      extension for filing answer to adversary complaint (.2); exchanged
                                      emails with counsel for Vargas, S. Powers, and O. Alaniz regarding
                                      continuing deadlines (.2).
01/07/15    J M Himmel           3.20 Researched federal case law regarding



01/07/15    D K Jackson          2.50 Reviewed broker appeal ROA documents against PACER docket.
01/07/15    E D Reeder            .90 Downloaded the files from the clerk's disc containing the record on
                                      appeal (.8); instructions to clerk regarding organizing same on the
                                      shared drive (.1).
01/08/15    O J Alaniz            .60 Review draft proof of claim (.1); emails with S. Powers, K. Sadler,
                                      and M. Gilstrap regarding same (.1); telephone conference with
                                      Vargas's counsel regarding deadlines and case issues (.2); review
                                      related motion and draft order (.2).
01/08/15    D T Arlington        1.50 Further reviewed response to former employees' objections to report
                                      and recommendation concerning dismissal of counterclaims and
                                      communicated with team regarding same.
01/08/15    M R Dwertman          .20 Discussed issues concerning           in Rincon and Giusti cases with
                                      S. Cagniart.
01/08/15    M R Dwertman         1.20 Reviewed Giusti briefing, verifying accuracy of dates and noting
                                      arguments to raise in briefing outline.
01/08/15    M C Wood              .50 Revised response to Former Employee objection based on D.
                                      Arlington's comments.
01/09/15    D T Arlington        1.00 Coordinated with team regarding finalizing response to former
                                      employees' objections to report and recommendation concerning
                                      counterclaims and reviewed revisions.
01/09/15    S F Cagniart         1.40 Edited, finalized and filed Receiver's response to former employees'
                                      and Robert J. Bruno's objections to the report and recommendation of
                                      Magistrate Judge Nancy Koenig.
01/09/15    M R Dwertman         5.20 Continued drafting outline of                    for brief.
01/09/15    M S Gilstrap          .50 Finalized and filed Vargas proof of claim.
01/09/15    J M Himmel           7.10 Reviewed the Receiver's initial responses to defendants' motions to
                                      compel arbitration, briefings in Alguire I - III, and district court
                                      briefing following remand to determine what arguments were raised
                                      at each stage in the trial and appeals process (4.4); Drafted email to S.
                                      Cagniart summarizing

                                                              2.7).
01/10/15    S F Cagniart          .60 Reviewed research e-mail memorandum by J. Himmel regarding
                                                    in the Fifth Circuit Alguire arbitration appeal and
                                      discussed follow-up research on same with J. Himmel.




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                                Hours                                Description
01/10/15    S Faridifar           .20 Reviewed Receiver's proof of claim filed in Vargas bankruptcy
                                      matter.
01/13/15    S Faridifar           .10 Call and emails with M. Gilstrap regarding initial disclosures in
                                      Vargas bankruptcy matter.
01/13/15    M S Gilstrap         2.10 Draft initial disclosures in adversary proceeding.
01/13/15    J M Himmel            .70 Searched for secondary sources discussing




01/14/15    S F Cagniart         3.60 In preparing brief for Janvey v. Alguire broker appeal, continued
                                      researching and outlining argument that

                                              .
01/15/15    O J Alaniz            .10 Emails with M. Hoffman regarding pretrial conference continuance.
01/15/15    M R Dwertman          .50 Read and noted cases from S. Cagniart concerning                      .
01/15/15    M R Dwertman         1.20 Read and noted Tidwell and Rawl briefs, with particular focus on
                                                                            arguments.
01/15/15    R M Fontenla         1.10 Emails with O. Alaniz regarding amended notice of hearing (0.3);
                                      draft amended notice of hearing (0.4); file amended notice of hearing
                                      with Southern District of Texas Bankruptcy Court via Electronic Case
                                      Filing System (0.4).
01/16/15    S F Cagniart         4.20 In preparing outline of brief for Janvey v. Alguire appeal in the Fifth
                                      Circuit, reviewed Texas cases on


01/16/15    M R Dwertman         5.70 Revised Tidwell and Rawl record exceprts and other background
                                      documents concerning                                 arguments
                                      (2.6); began researching                       for inclusion in brief
                                      (3.1).
01/19/15    S F Cagniart         5.20 In preparing outline of brief for Janvey v. Alguire appeal in the Fifth
                                      Circuit, reviewed Texas cases on


01/20/15    S F Cagniart         9.70 In preparing brief for Janvey v. Alguire Fifth Circuit appeal, reviewed
                                      and commented on research and outline of
                                                                 prepared by M. Dwertman (1.5); reviewed
                                      cases on


                                                                              and continued developing brief
                                        outline to incorporate same (8.2).
01/20/15    M R Dwertman         8.30 Reviewed S. Cagniart comments to                     (.5); reviewed
                                      Guisti and Rincon contracts focusing on
                                                 (.4); reviewed Giusti Record on Appeal (volumes 101359,
                                      101360, 101361) for reference to initial production of contracts and




                                                                                       App. 38
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                                Hours                                 Description
                                        added record citations to draft briefing (1.9); researched
                                                                                                     (2.7);
                                        researched
                                                     (2.8).
01/20/15    R M Fontenla         1.10 Emails with O. Alaniz regarding second amended notice of hearing
                                      (0.3); drafted second amended notice of hearing (0.4); filed second
                                      amended notice of hearing with Southern District of Texas
                                      Bankruptcy Court via Electronic Case Filing System (0.4).
01/21/15    O J Alaniz            .30 Reviewed and commented on motion to reset pretrial conference (.2);
                                      correspondence with defense counsel (.1).
01/21/15    S F Cagniart          .90 Reviewed arbitration agreements at issue in appeal (0.2); discussed
                                      research on                                with M. Dwertman (0.7).
01/21/15    M R Dwertman         5.70 Conducted additional                         and drafted summary of
                                      research (3.7); discussed research with S. Cagniart (.3); reviewed
                                      Tidwell and Rawl records, focusing on issues of
                                                        (1.7).
01/21/15    S Faridifar           .60 Reviewed motion to continue and answer filed by Vargas in
                                      bankruptcy proceedings and addressed related issues, including
                                      reviewing case cited by Vargas and exchanging emails with S.
                                      Powers regarding same.
01/22/15    D T Arlington         .50 Addressed inquiry regarding frozen account (0.1); reviewed Collier
                                      case and related communications (0.4).
01/22/15    M R Dwertman         9.90 Researched application of
                                      (2.1); drafted outline of                     argument for brief (3.4);
                                      researched
                                                           (2.9); drafted outline of
                                      argument for brief (1.5).
01/22/15    J M Himmel            .70 Reviewed Fifth Circuit case sent to me by S. Cagniart and sent email
                                      summarizing the case and its potential incorporation in our response
                                      to


01/22/15    S D Powers            .40 Reviewed Collier case cited in Vargas answer and drafted, reviewed
                                      emails regarding same.
01/22/15    K M Sadler           1.00 Reviewed case decision and related researrch regarding
                                                                    (1.0)
01/23/15    M R Dwertman          .10 Read                    from S. Cagniart to determine relevancy to briefing.
01/23/15    E D Reeder            .30 Arranged for Northern District of Texas clerk to deliver supplemental
                                      record.
01/24/15    B A Day               .20 Corresponded with K. Sadler and D. Arlington concerning claims
                                      against                                  (0.2).
01/26/15    S F Cagniart         7.90 In preparing outline of Fifth Circuit brief for Janvey v. Alguire
                                      appeal, reviewed district court order and prior briefing on
                                                as well as authorities cited therein (5.6); performed new




                                                                                           App. 39
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                                    Hours                                  Description
                                            research on              , including review of case law and secondary
                                            sources (2.0); began outlining response argument (0.3).
01/27/15     O J Alaniz                .20 Review Vargas answer to complaint.
01/27/15     S F Cagniart            12.20 In drafting response brief for Fifth Circuit appeal in Janvey v.
                                           Alguire, reviewed bankruptcy statutes and cases discussed in district
                                           court's opinion and appellants' briefs (1.6); reviewed statutes
                                           governing federal equity receivers and began researching legislative
                                           history (1.8); continued reviewing and analyzing all cases cited by
                                           District Court and appellants regarding                           , and
                                           outlining and drafting response section of brief on same (8.8).
01/27/15     M R Dwertman             5.20 Researched                 applying federal law to identify similar fact
                                           patterns for inclusion in the brief (1.1); drafted section responding to
                                                                                              (4.1).
01/28/15     C Montalvo               3.00 Researched Securities Act of 1933 and Securities Act of 1934
                                           legislative history for Congressional intent of three sections for
                                           Stephanie Cagniart.
01/28/15     R Pravata                2.80 Researched legislative history for Stephanie Cagniart.
01/30/15     S F Cagniart             1.10 In preparing brief in Fifth Circuit appeal of Janvey v. Alguire,
                                           continued reviewing relevant case law and outlining                        .
01/31/15     B A Day                   .30 Discussed broker-related briefing with S. Cagniart (0.3).
             Matter Total          202.30


           079716.0127       Investor Litigation
                                    Hours                                 Description
01/01/15     K M Sadler               1.00 Reviewed and provided comments on reply brief (.6); reviewed issues
                                           regarding
                                                     (.4)
01/05/15     D T Arlington             .40 Addressed inquiry from court regarding substitution motions (0.1);
                                           communicated with team regarding status of                   (0.3).
01/05/15     B A Day                   .40 Discussed remaining                     with D. Arlington (0.2);
                                           corresponded with counsel for the
                                                                       (0.1); corresponded with D. Arlington
                                           concerning                                               (0.1).
01/06/15     D T Arlington             .10 Responded to court inquiry regarding motions for substituted parties.
01/06/15     B A Day                  4.40 Corresponded with J. Day concerning                            (0.1);
                                           continued revising materials in support of
                                                            discussed issues with respect to same with D.
                                           Arlington (4.3).
01/07/15     D T Arlington             .20 Reviewed scheduling order.
01/07/15     B A Day                  3.00 Continued reviewing data and other information regarding




                                                                                             App. 40
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                                Hours                                Description
                                                                        (3.0).
01/07/15    M R Dwertman          .50 Compared consolidated scheduling order with proposed consolidated
                                      scheduling order, tracking and communicating differences to B. Day.
01/07/15    K M Sadler            .40 Reviewed issue regarding                                  (.4)
01/08/15    B A Day               .60 Reviewed M. Dwertman analysis of net-winner scheduling orders
                                      (0.1); gathered additional potential service addresses for
                                                    and updated summaries with respect to same (0.5).
01/09/15    D T Arlington         .10 Reviewed email from                                                       and
                                      communicated with team regarding same.
01/09/15    B A Day              3.80 Continued detailed review of transactional information relating to the

                                                                 (3.8).
01/09/15    M R Dwertman          .40 Reviewed January 7, 2015 consolidated scheduling orders for
                                      consistency.
01/12/15    B A Day              6.50 Continued to review detailed transactional information relating to the

                                                                                       (6.5).
01/12/15    K M Sadler            .80 Reviewed correspondence to Court from
                                           (.2); reviewed discovery from
                                           (.4); conference with Arlington regarding               (.2)
01/13/15    D T Arlington         .20 Reviewed status of                                                  and
                                      communicated with team regarding same.
01/13/15    B A Day              6.80 Continued reviewing detailed FTI analyses and transactional
                                      information with respect to
                                                                         (6.6); corresponded with D.
                                      Arlington concerning status of                              (0.2).
01/14/15    D T Arlington         .20 Communicated with team regarding


01/14/15    B A Day              1.40 Discussed
                                      and revised materials in accordance with additional findings (1.0);
                                      corresponded with counsel for the Bergerons concerning deadline for
                                      responding to the Receiver's prior discovery requests (0.4).
01/15/15    D T Arlington        3.20 Reviewed
                                                                                   per Court's request.
01/15/15    B A Day              6.70 Reviewed
                                                 and discussed same with D. Arlington, in the context of
                                      responding to
                                                              (5.0); corresponded with counsel for
                                                                        (0.1); finalized
                                      (0.3); finalized
                                      (0.2); corresponded with counsel for the
                                                  (0.1); corresponded with counsel for
                                                                                    (0.1); corresponded with




                                                                                        App. 41
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                                Hours                               Description
                                        counsel for the                                            (0.1);
                                        drafted                                    and discussed same with
                                        opposing counsel (0.8).
01/15/15    K M Sadler           1.00 Reviewed issues regarding
                                            (.4); conferences with Arlington regarding response to
                                                     and edits to draft of same (.6)
01/16/15    D T Arlington        3.30 Further worked on letter to Court in response to          and
                                      communicated with team regarding same (1.5); reviewed draft motion
                                      for attorneys' fees and communicated with team regarding same (1.4);
                                      reviewed                   and communicated with team regarding
                                      same (0.4).
01/16/15    B A Day              5.50 Corresponded with counsel for
                                                 and discussed same with K. Sadler (0.6); corresponded
                                      with counsel for
                                                 (0.2); corresponded with counsel for
                                                                      and conducted review of prior
                                      discovery responses concerning claims against him (0.4);
                                      corresponded with
                                                  (0.1); corresponded with J. Day concerning status of
                                      settlement payments (0.1); reviewed and revised draft letter to the
                                      Court concerning                                        (0.2);
                                      corresponded with K. Sadler concerning
                                                                                            concerning
                                      same (0.7); corresponded with K. Sadler concerning
                                                                    (0.2); corresponded with K. Sadler
                                      concerning
                                                                                                     (0.7);
                                      corresponded with counsel for
                                                 (0.1); corresponded with




                                                                          (2.2).
01/16/15    K M Sadler           1.00 Reviewed further correspondence from                 (.3); conference
                                      with Arlington regarding same (.3); conference with Day regarding
                                                                                  (.4)
01/18/15    B A Day              5.10 Further corresponded with K. Sadler concerning

                                                                                                     with
                                        respect to same (2.5); drafted
                                                  and sent same to opposing counsel (0.5); drafted

                                                                                         and corresponded
                                        with opposing counsel regarding same (1.0); drafted
                                                                                                      and
                                        corresponded with opposing counsel regarding same (1.1).
01/19/15    B A Day              8.70 Drafted




                                                                                        App. 42
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                                                                                         Page 24




                                Hours                                Description
                                        discussed same with opposing counsel (0.7); discussed
                                                                                        with K. Sadler and
                                        opposing counsel (0.8); discussed status of
                                        with D. Arlington (0.1); corresponded with

                                                       (0.3); corresponded with

                                                                                            (0.5); finalized
                                                                        (0.2); finalized and filed motion to
                                        dismiss with respect to Mentz (0.2); revised motion to substitute with
                                        respect to                         reviewed prior correspondence
                                        concerning same, conducted related legal research, and conferred
                                        with opposing counsel regarding motion (2.5); discussed potential
                                                                                      and requested data relevant
                                        to same from FTI (0.5); further reviewed detailed FTI analyses and
                                        related data with respect to the
                                                                               (2.9).
01/19/15    K M Sadler            .40 Emails to/from Brendan regarding
                                      (.4)
01/20/15    D T Arlington        5.50 Further reviewed draft of attorneys' fees motion and met and
                                      communicated with team regarding same (2.8); further reviewed
                                      issues relating to                           and met with B. Day
                                      regarding same and               (2.6); reviewed status of              s
                                      (0.1).
01/20/15    A A Carr             1.20 Prepared for and attended meeting regarding motion for attorney's
                                      fees with B Day, D. Arlington, and J Himmel.
01/20/15    B A Day              8.90 Discussed and reviewed issues with respect to
                                                     with D. Arlington and FTI (2.6); corresponded with
                                      counsel for
                                      (0.4); reviewed draft materials for use in attorneys' fees section of the
                                      motion for entry of final judgment in the net-winner lawsuits and
                                      discussed issues with respect to same with D. Arlington, A. Carr, and
                                      J. Himmel (3.2); discussed
                                              with D. Arlington and opposing counsel (0.3); reviewed
                                      information concerning

                                                     (1.8); finalized
                                                      (0.6).
01/20/15    J M Himmel           2.30 Preparation for meeting with D. Arlington, B. Day, and A. Carr
                                      regarding the motion for attorneys' fees in the Net Winner case (.1);
                                      Meeting with D. Arlington, B. Day, and A. Carr regarding the draft
                                      motion for attorneys' fees, with focus on method of apportionment of
                                      fees (1.1); Sent email to participants summarizing the meeting's key
                                      issues and upcoming tasks and deadlines (.2); Began edits to draft of
                                      motion for attorneys' fees (.9).
01/21/15    B A Day              6.70 Continued review of                     and discussed issues with
                                      respect to same with FTI (1.2); drafted




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                                Hours                                Description

                                               and discussed same with opposing counsel (2.5); drafted

                                                                                   and opposing counsel (1.3);
                                        communicated with counsel for
                                                    (0.4); corresponded with counsel for
                                                                           (0.1); corresponded with counsel for
                                                                                         (0.2); continued
                                        review of legal and factual issues with respect to attorneys' fees
                                        request in the net-winner lawsuits (0.2); reviewed orders referring
                                        certain claims against net winners to Magistrate Judge Stickney and
                                        discussed same with K. Sadler, J. Pulliam, T. Durst, and J. Trulock
                                        (0.5); finalized and filed motion to dismiss regarding the Letards and
                                        corresponded with opposing counsel concerning same (0.3).
01/21/15    J M Himmel           2.60 Drafted detailed email memo to B. Day and A. Carr regarding



                                                                                              (1.9); searched
                                        for federal and Texas case law discussing

                                                                          (.7).
01/22/15    D T Arlington        2.40 Reviewed issues relating to attorneys' fees motion and communicated
                                      with team regarding same (1.1); reviewed order regarding settlement
                                      conference and communicated with team regarding related issues and
                                      preparation (1.0); reviewed draft severance motion from Magness and
                                      communicated with team regarding same (0.3).
01/22/15    S F Cagniart          .20 Reviewed proposed motion to sever by Magness defendants and e-
                                      mailed suggested changes and concerns to D. Arlington.
01/22/15    A A Carr              .40 Conferences with B. Day and J. Himmel regarding motion for
                                      attorney's fees.
01/22/15    B A Day              5.50 Corresponded with C. Graham concerning status of
                                                       (0.1): continued gathering and reviewing information
                                      for use in attorneys' fees request in the net-winner lawsuits and in
                                      preparation for January 29th settlement conference before Magistrate
                                      Judge Stickney (5.0); revised
                                                       and discussed same with opposing counsel (0.2);
                                      finalized                                  (0.2).
01/22/15    J M Himmel           5.40 Edited draft motion for attorneys' fees in the Net Winner case,
                                      including adding legal argument section concerning




                                               (2.9); Reviewed appendix in support of the motion for
                                        attorneys' fees in the Political Committees' case for reference and
                                        compiled and sent a list of questions pertaining to the Net Winner
                                        appendix to D. Arlington, B. Day, and A. Carr (2.3); Emailed B. Day




                                                                                        App. 44
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                                Hours                                 Description
                                        and A. Carr regarding cases
                                                                               (.2).
01/22/15    K M Sadler           1.30 Reviewed memo regarding motion for fees (.5); conferences with and
                                      emails to/from Arlington regarding                        (.8)
01/23/15    D T Arlington         .70 Reviewed issues relating to attorneys' fees motion and communicated
                                      with team regarding same (0.3); communicated with team regarding
                                      preparation for                        and addressed related issues
                                      (0.4).
01/23/15    A A Carr             1.50 Emails with J. Himmel, B. Day, and D. Arlington regarding issues
                                      related to motion for attorney's fees(.6); review of cases sent by J.
                                      Himmel (.6); corresponded with accounting regarding data for motion
                                      (.3)
01/23/15    B A Day              7.00 Continued compiling information for use at

                                                  (3.6); finalized
                                                                         drafted and filed agreed extensions of
                                        substitution with respect to same, and corresponded with opposing
                                        counsel (1.9); corresponded with
                                                                                (0.3); corresponded with

                                                     (0.2); corresponded with
                                                                          (0.4); discussed
                                        to attorneys' fees request in the net-winner lawsuits with D.
                                        Arlington, J. Himmel, and A. Carr concerning (0.6).
01/23/15    J M Himmel           4.60 Updated legal argument section of the draft motion and brief in
                                      support of attorneys' fees in the net winner case to
                                                                             (.8); Drafted declaration in
                                      support of motion for attorneys' fees (3.8)
01/23/15    K M Sadler           1.50 Conferences with Arlington regarding                          and
                                      preparing for                     (1.5);
01/24/15    D T Arlington         .20 Communicated with team regarding issues relating to


01/24/15    B A Day              3.30 Continued compiling


                                            (3.3).
01/25/15    B A Day              3.50 Further compiled and analyzed information for
                                                                                        and discussed results
                                        of such analysis with K. Sadler and D. Arlington (3.5).
01/26/15    D T Arlington        1.80 Telephone conference with B. Day regarding
                                      and related issues (0.2); reviewed Magness motion to sever and
                                      communicated with team regarding same (0.4); further communicated
                                      with team regarding
                                      (0.5); addressed Examiner's inquiry concerning
                                                  and communicated with team regarding same (0.2).




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                                Hours                                Description
01/26/15    A A Carr              .50 Emails with E. Schultz at Transperfect regarding update to translated
                                      letter (.2); emails to D. Arlington regarding same (.1); emails with
                                      accounting department regarding time entries

                                                                   (.2)
01/26/15    B A Day              8.00 Updated net-winner statistics for use
                                                                                                  (0.3);
                                        reviewed information regarding
                                                                   (0.4); prepared submission for Magistrate
                                        Judge Stickney for purposes of
                                                 with respect to same with K. Sadler and D. Arlington (5.1);
                                        discussed status of                           with the Examiner (0.1);
                                        drafted agreed motion to dismiss with respect to the Estate of Billie
                                        Ruth McMorris (0.4); corresponded with K. Sadler concerning
                                                                                             and finalized
                                        same (0.4); corresponded with K. Sadler concerning

                                                                           (0.8); drafted agreed dismissal with
                                        respect to R. Glen Sherrill and discussed same with opposing counsel
                                        (0.2); drafted agreed dismissal with respect to Michael Staid and
                                        discussed same with him (0.3).
01/26/15    J M Himmel           2.30 Completed draft declaration

                                                                                         (1.6); Updated brief
                                        in support of Receiver's motion for attorneys' fees with



                                        (.7).
01/26/15    K M Sadler           2.20 Reviewed issues, strategy and briefing regarding
                                                                                            (2.2)
01/27/15    D T Arlington        8.30 Reviewed and revised position paper to court for
                                                  and communicated with team regarding same,
                                                                              (5.3); reviewed status of
                                      discussions with                            (0.1); telephone
                                      conference with counsel regarding                          (0.2);
                                      further reviewed
                                                                     (1.9); further reviewed draft motion to
                                      sever from Magness and communicated with counsel regarding same
                                      (0.4); prepared email to Examiner regarding
                                                  and reviewed related materials (0.4).
01/27/15    S F Cagniart          .10 Edited motion to sever Receiver's claims against the Magness
                                      Defendants.
01/27/15    A A Carr             2.10 Updated
                                                               (1.7); reviewed spreadsheet and made edits to
                                        same (.3); circulated same (.1)
01/27/15    B A Day              9.20 Drafted                                                       Mauricio




                                                                                        App. 46
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                                Hours                                  Description
                                                      and discussed same with opposing counsel (0.5);
                                        discussed                                                    with K.
                                        Sadler and D. Arlington and                              (1.7);
                                        corresponded with counsel for
                                                             (0.1); continued drafting letter to Magistrate
                                        Judge Stickney for purposes of the January 29th settlement
                                        conference and sent draft of same to K. Sadler and D. Arlington for
                                        review and comment (5.5); gathered additional materials and statistics
                                        for use at the Jan. 29th settlement conference (1.4).
01/27/15    L E Dodge             .20 Assisted B. Day with pre-judgment interest calculations (.2).
01/27/15    J M Himmel           2.10 Review o
                                                                                               (2); Review of
                                        draft letter to Judge Stickney regarding upcoming settlement
                                        conference (.1).
01/27/15    K M Sadler           1.60 Reviewed and provided comment on submission to Magistrate (1.2);
                                      conference with Arlington regarding     (.4)
01/28/15    D T Arlington       10.30 Traveled to Dallas for settlement conference (3.4); reviewed issues
                                      relating to                 and communicated with team regarding
                                      same (0.5); reviewed issues relating to                    and
                                      communicated with team regarding same (0.5); compiled and
                                      reviewed data in preparation for settlement conference and to
                                                                   and communicated with team regarding
                                      same (3.5); reviewed draft request for attorneys' fees and
                                      communicated with team regarding same (1.3); addressed
                                                                (0.2); worked on and finalized letter to court
                                      regarding                         and communicated with team
                                      regarding same (0.9).
01/28/15    A A Carr             1.90 Reviewed draft of motion for attorney's fees (.8); discussed issues
                                      related to attorney's fees motion with D .Arlington and B. Day (.2)
                                      ;email and conferences with team regarding
                                                    (.3); email and conference with team regarding
                                            (.4); review of spreadsheets for                       (.2)
01/28/15    B A Day              8.30 Continued to prepare for
                                      with respect to same with K. Sadler and D. Arlington (5.7); updated
                                      memorandum and Excel chart concerning
                                                              (0.6); discussed net-winner attorneys' fees
                                      request with A. Carr and D. Arlington (0.2); corresponded with
                                      counsel for
                                                         (0.1); finalized and filed motions to dismiss with
                                      respect to the Estate of Billie Ruth McMorris, R. Glen Sherrill, and
                                      Michael E. Staid (0.9); corresponded with K. Sadler and D. Arlington
                                      regarding
                                                               (0.2); drafted and filed stipulated extension
                                      with respect to Womack substitution (0.3); reviewed communications
                                      fro
                                                                                          (0.3).
01/28/15    L E Dodge            1.10 Prepared notebooks for Stickney settlement conference (1.1).




                                                                                       App. 47
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                                Hours                               Description
01/28/15    J M Himmel           3.70 Searched for additional case law regarding
                                                 and compiled and highlighted additional cases for inclusion
                                      in D. Arlington's settlement conference notebook (2.9); Edited draft
                                      brief in support of the Receiver's motion for attorneys' fees in the Net
                                      Winner case
                                                                                 (.8).
01/28/15    K M Sadler           4.80 Conferences with Arlington to review issues related to
                                                in advance of conference with Judge Stickney (4);
                                      conference with Arlington and Day regarding motion for final
                                      judgment issues (.8)
01/29/15    D T Arlington        9.60 Prepared for and attended settlement conference (4.0); conferences
                                      with team regarding motion for entry of final judgment and request
                                      for attorneys fees, reviewed related drafts, and investigated related
                                      issues (2.8); returned from Dallas (2.8).
01/29/15    A A Carr             2.30 Calls with K. Sadler, D. Arlington, B. Day, and J. Himmel regarding
                                      status of
                                                             (1.2); conferences with J. Himmel and B. Day
                                      regarding changes to brief (.6); reviewed updated draft of same (.2);
                                      ran                                                              and
                                      corresponded with team regarding same (.3).
01/29/15    B A Day              6.10 Discussed
                                                                                       with K. Sadler, D.
                                        Arlington, A. Carr, and J. Himmel and gathered statistics in
                                        furtherance of same (4.7); revised
                                                                                            and discussed
                                        same with opposing counsel (0.1); drafted agreed dismissal with
                                        respect to Warnock and discussed same with opposing counsel (0.2);
                                        drafted                                                 and
                                        corresponded with opposing counsel concerning same (0.5);
                                        corresponded with opposing counsel concerning
                                                                         (0.1); reviewed additional
                                        communication from
                                                                     (0.3); reviewed
                                                                      and discussed same with K. Sadler and
                                        D. Arlington (0.2).
01/29/15    L E Dodge             .90 Researched                                          , as requested by D.
                                      Arlington (.9).
01/29/15    J M Himmel           5.40 Calls with K. Sadler, D. Arlington, B. Day, and A. Carr regarding


                                                                                         (1.2); Discussion
                                        with A. Carr and B. Day regarding

                                                                                   and sent to B. Day and A.
                                        Carr for review (4.2).
01/29/15    K M Sadler           6.50 Conferences with Arlington to review net winner claims and data in
                                      preparation for conference (1.5); attend settlement conference with




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                                   Hours                                Description
                                           Judge Stickney (3.0); reviewed motion for
                                           with Arlington (1.0); conferences with Day and Arlington regarding
                                           multiple net winner cases (1.0)
01/30/15     D T Arlington           .80 Communicated with team regarding issues relating to attorneys' fees
                                         motion (0.5); reviewed issues relating to defendants subject to motion
                                         for entry of final judgment and communicated with team regarding
                                         same (0.3).
01/30/15     B A Day               10.50 Drafted and revised
                                                                (10.5).
01/30/15     L E Dodge              1.10 Recalculated prejudgment interest on settlement offers (1.1).
01/31/15     D T Arlington          1.00 Reviewed draft motion for entry of final judgment and request for
                                         attorneys' fees and communicated with team regarding same.
01/31/15     B A Day                 .80 Revised motion
                                                and discussed issues with respect to same with D. Arlington
                                         and K. Sadler (0.8).
01/31/15     J M Himmel             1.40 Reviewed D. Arlington's edits to the Receiver's motion and brief in
                                         support of attorneys' fees in the net winner case and began
                                         corresponding edits to the proposed order and D. Arlington's
                                         declaration in support of this motion.
             Matter Total         245.70


           079716.0129       Claims Management
                                   Hours                                  Description
01/05/15     D T Arlington           .10 Reviewed inquiry from claimant regarding claims transfer.
01/05/15     M R Dwertman            .20 Communicated with B. Day concerning documentation for claim
                                         group     .
01/07/15     M R Dwertman            .20 Reviewed draft conditional notice of determination (.1); reviewed
                                         proposed language to add to certification order and sent files to B.
                                         Day (.1).
01/09/15     B A Day                 .90 Reviewed correspondence and voicemails from Fulcrum concerning
                                         certain                  subject to proposed transfer and
                                         corresponded with Fulcrum, M. Dwertman, and J. Himmel
                                         concerning same (0.4); reviewed correspondence            concerning
                                         his proposed transfer, corresponded with him, M. Dwertman, and J.
                                         Himmel concerning same, and issued acknowledgement with respect
                                         to same (0.4); issued acknowledgements of transfer with respect to
                                         claim groups                    (0.1).
01/09/15     M R Dwertman            .50 Reviewed revised notice of transfer for claim group        (.1);
                                         communicated with purchaser re: claim group         (.1); drafted
                                         acknowledgement and sent notification to Gilardi for claim group
                                               (.3).
01/12/15     D T Arlington           .20 Communicated with team regarding Examiner's inquiry concerning




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                                Hours                                Description
                                        claim purchase terms.
01/12/15    B A Day               .10 Discussed proposed subsequent transfers with L. Boyd of Fulcrum
                                      (0.1).
01/12/15    M R Dwertman         2.20 Saved e-mail transmittal to purchaser and migrated materials for
                                      claim groups                            to "complete" folder and
                                      updated spreadsheet (.2); reviewed revised transfer and drafted
                                      confirm request for claim group       (.3); reviewed notice of
                                      subsequent transfer for claim groups

                                                             verifying accuracy of claim and account
                                        numbers on schedule (.9); updated tracking spreadsheet to reflect
                                        subsequent transfers (.4); drafted acknowledgement for bulk transfer
                                        of above claim groups and accompanying email to Gilardi (.4).
01/13/15    B A Day               .20 Issued acknowledgement of transfer with respect to claim group
                                      (0.1); corresponded with Fulcrum regarding proposed subsequent
                                      claim transfers (0.1).
01/13/15    M R Dwertman         1.60 Drafted acknowledgement for claim group             and sent notice to
                                      Gilardi (.2); saved transmittal email for claim group         and
                                      updated spreadsheet (.1); reviewed schedule for subsequent bulk
                                      transfer of claim groups
                                                                                                     (.7);
                                      updated tracking spreadsheet and moved files to reflect subsequent
                                      transfer of these                                (.3); drafted
                                      acknowledgement for bulk transfer of
                                      and sent notice of transfer to Gilardi (.3).
01/14/15    M R Dwertman          .10 Communicated with Gilardi re: bulk transfer of


01/15/15    B A Day               .30 Issued acknowledgements of subsequent notices of transfer with
                                      respect to claim groups


                                                                             (0.3).
01/15/15    M R Dwertman         2.50 Discussed                                    with D. Arlington (.2);
                                      cross-referenced original mailing list from                         with
                                      original list sent from Gilardi, identifying claimant names on Gilardi's
                                      list that did not appear on the list from                      (2);
                                      drafted questions to Gilardi regarding these claimant names (.1);
                                      discussed issues with D. Arlington and sent updated list and
                                      corresponding questions to Gilardi requesting response (.2).
01/15/15    M R Dwertman          .20 Communicated with B. Day concerning
                                                              transfers (.1); saved transmittal e-mails to
                                      purchaser concerning these two bulk transfers and updated
                                      spreadsheet (.1).
01/15/15    M R Dwertman          .70 Reviewed Gilardi responses to questions concerning
                                               mailing list, modified list accordingly, and sent updated list
                                      with outstanding questions to D. Arlington.




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                                   Hours                                 Description
01/16/15     D T Arlington            .20 Reviewed inquiry from          concerning status of claims and
                                          communicated with team regarding same.
01/16/15     B A Day                  .10 Corresponded with S. Powers concerning potential claims in the
                                          Receiver's claims database (0.1).
01/20/15     B A Day                  .10 Discussed                      with D. Arlington and FTI (0.1).
01/21/15     D T Arlington            .20 Review                  regarding claim change and communicated
                                          with team regarding same.
01/23/15     M R Dwertman            1.70 Reviewed certification notices for claim groups


                                                                                     (1.4); updated certification
                                           status on tracking spreadsheet (.3).
01/23/15     K M Sadler               .40 Reviewed issues regarding inquiries regarding claims transfers (.4)
01/26/15     D T Arlington            .20 Communicated with                       regarding inquiry concerning
                                          claims transfer.
01/28/15     B A Day                  .10 Discussed claims administration issues with Gilardi (0.1).
01/30/15     D T Arlington            .40 Reviewed status of claims transfers (0.2); addressed inquiry regarding
                                                        (0.2).
01/30/15     M R Dwertman             .20 Reviewed D. Arlington comments to                            mailing list
                                          and made requested revisions.
01/31/15     M R Dwertman            2.10 Finalized list of                       names and addresses.
             Matter Total          15.70


           079716.0133       Barnes, Ben
                                   Hours                                 Description
01/01/15     L E Dodge               6.70 Reviewed latest draft of                         (1.8); cite-checked
                                          new citations in report (.8); compiled exhibits cited in report (1.9);
                                          updated list of documents that
                                                   (1.3); identified documents not yet produced (.9).
01/02/15     D T Arlington            .50 Communicated with team regarding report exhibits.
01/02/15     L E Dodge               1.80 Prepared documents in folder for subsequent production by FTI (.2);
                                          prepared                    (1.1); updated list of documents
                                                             (.3); sent message and list to J. Castillo regarding
                                          production of documents (.2).
01/02/15     D K Jackson              .40 Compiled documents in Ringtail binder for supplemental production.
01/02/15     D K Jackson             2.30 Compiled KVT exhibits and cover pages to her report.
01/02/15     D K Jackson              .20 Indexed Stanford print documents to List of Videos from Wish
                                          Picture Shows.




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                                Hours                                Description
01/02/15    D K Jackson          1.10 Cite-checked citations to B. Barnes and R. Delk's deposition
                                      testimony in
01/04/15    L E Dodge            1.30 Sent Caperton and Renouf transcripts and exhibit to M. Russell (.6);
                                      reconciled
                                            (.7).
01/05/15    D T Arlington        3.70 Communicated with team and                                and
                                      reviewed draft of same and related materials (3.4); communicated
                                      with team regarding production issues (0.3).
01/05/15    L E Dodge             .50 Reviewed                                          (.5).
01/05/15    D K Jackson          3.10 Cite checked
01/06/15    D T Arlington         .80 Reviewed updated                  and communicated with team and
                                      FTI regarding same and exhibit issues.
01/06/15    L E Dodge            4.10 Reviewed current                     (1.7); reviewed exhibits
                                      compiled (1.2); downloaded new production (.3); assisted with
                                      compiling newly-produced documents                         (.9).
01/06/15    D K Jackson          2.90 Cite-checked
01/06/15    D K Jackson           .60 Compiled newly produced                                     .
01/07/15    D T Arlington        3.50 Reviewed               and communicated with team and OSIC
                                      counsel regarding same (3.3); communicated with team and OSIC
                                      counsel regarding mediation (0.2).
01/07/15    L E Dodge             .40 Reviewed S. Hamm's deposition transcript for any references to B.
                                      Barnes (.4).
01/08/15    D T Arlington        1.30 Telephone conference with                              (0.2); further
                                      reviewed               and communicated with the team, FTI, and
                                      committee counsel regarding same (0.8); coordinated with Committee
                                      counsel and client regarding mediation (0.3).
01/08/15    K M Sadler            .50 Reviewed issues regarding                    emails from Arlington (.5)
01/09/15    D T Arlington         .70 Further reviewed
                                      (0.4); reviewed and coordinated with team regarding service of expert
                                      disclosures (0.3).
01/09/15    L E Dodge            6.20 Reviewed and revised list of documents
                                                                                       (2.7); prepared
                                                                         (.4); reviewed and revised expert
                                        disclosures (1.2); prepared transmittal letter to J. Madrid (.5);
                                        prepared email and FTP link to J. Madrid transmitting expert
                                        disclosures, KVT report, and KVT exhibits (.9); prepared disc
                                        containing KVT exhibits cited in her report (.5).
01/09/15    E D Reeder            .20 Assisted with                           and delivery of same.
01/12/15    D T Arlington         .30 Coordinated with team and client regarding mediation.
01/16/15    D T Arlington         .40 Reviewed materials concerning upcoming mediation and
                                      communicated with team regarding related issues.




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                                   Hours                                Description
01/20/15     D T Arlington            .40 Coordinated with team regarding mediation (0.2); coordinated with
                                          Castillo regarding providing materials to mediator and related issues
                                          (0.2).
01/21/15     D T Arlington            .40 Communicated with team and counsel regarding mediation
                                          preparation and materials.
01/21/15     L E Dodge                .90 Prepared notebook of KVT's report and exhibits (.9).
01/22/15     D T Arlington            .70 Gathered and reviewed materials in preparation for mediation.
01/22/15     L E Dodge                .80 Compressed and uploaded all Barnes notebooks to FTP, as requested
                                          by D. Arlington (.8).
01/23/15     D T Arlington           6.50 Attended mediation (6.0); follow up discussions with team (0.5).
01/23/15     K M Sadler               .20 Conference with Arlington regarding results of mediation (.2)
01/29/15     L E Dodge                .40 Uploaded exhibits to KVT's report to FTP and sent refreshed link to
                                          J. Madrid's paralegal (.4).
             Matter Total          53.80


           079716.0134       Wealth Management Services, Ltd./David Nanes
                                   Hours                                Description
01/06/15     D T Arlington            .30 Communicated with team regarding                          and related
                                          subpoenas.
01/06/15     B A Day                  .20 Discussed WMSL subpoenas with D. Arlington (0.2).
01/10/15     D T Arlington            .10 Communicated with team regarding objections to magistrate order.
01/10/15     B A Day                  .40 Discussed procedure regarding objections to magistrate's order in the
                                          WMSL case with K. Sadler and D. Arlington (0.4).
01/12/15     K M Sadler               .40 Reviewed Order regarding discovery and emails to Day/Arlington
                                          regarding objections (.4)
01/14/15     B A Day                  .90 Discussed research tasks relating to objection to WMSL magistrate
                                          order and                                     with M. Wood (0.9).
01/14/15     M C Wood                 .70 Meeting with B. Day to discuss


01/18/15     M C Wood                5.00 Combined prior briefing regarding motions to compel into initial
                                          draft; began researching issues relating to
                                                                      ; continued drafting objection to order on
                                          motions to compel.
01/19/15     M C Wood                5.90 Continued drafting objection to order denying motions to compel;
                                          researched                                                   and
                                          other legal issues.
01/20/15     D T Arlington            .10 Coordinated with team and investigator regarding status of




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                                    Hours                                Description
01/20/15     B A Day                   .10 Discussed objections to magistrate order in WMSL case with M.
                                           Wood (0.1).
01/20/15     M C Wood                 4.40 Researched
                                                    ; researched issues related to
                                                          revised and completed first draft of objections to order
                                           denying motions to compel.
01/21/15     B A Day                  2.40 Reviewed and revised draft objections to Magistrate Koenig's order
                                           concerning WMSL discovery issues and conducted legal research in
                                           support of such objections (2.4).
01/22/15     D T Arlington            1.80 Telephone conference with investigator regarding
                                                                        (0.7); forwarded additional materials to
                                           investigator (0.1); reviewed magistrate's order (0.2); reviewed
                                           objections to magistrate report and communicated with team
                                           regarding same (0.8).
01/22/15     B A Day                  5.60 Discussed revisions to objections in WMSL case with M. Wood and
                                           D. Arlington and conducted legal research with respect to same (1.3);
                                           further revised objections in WMSL case and discussed same with D.
                                           Arlington and M. Wood (4.3).
01/22/15     K M Sadler                .70 Reviewed draft objections to Magistrate Order and provided
                                           comments (.7)
01/22/15     M C Wood                 4.70 Revised draft of objections to magistrate order denying our motions
                                           to compel based on several iterations of feedback from legal team.
01/23/15     D T Arlington             .40 Communicated with team regarding objections to magistrate report
                                           (0.2); telephone conference with investigator regarding plan of action
                                           (0.2).
01/23/15     B A Day                   .40 Corresponded with M. Wood and K. Sadler concerning objections
                                           and expedited briefing schedule (0.4).
01/23/15     K M Sadler                .40 Reviewed and provided comment on objection to Order (.4)
01/23/15     M C Wood                 2.40 Attention to comments from legal team on draft of Receiver's
                                           objection to magistrate's order regarding subpoenas; revised objection
                                           based on same; conferred with team about same; obtained stipulation
                                           regarding expedited briefing schedule and drafted same.
01/26/15     B A Day                   .20 Discussed follow-up research regarding the Receiver's objections to
                                           the Magistrate's order in the WMSL case with M. Wood (0.2).
01/30/15     D T Arlington             .20 Reviewed draft brief from Examiner and communicated with
                                           Examiner regarding same.
             Matter Total           37.70


           079716.0136       Janvey, Ralph S., Receiver vs. Dillon Gage, Inc.
                                    Hours                                Description
01/06/15     D T Arlington             .10 Communicated with team regarding Dillon Gage litigation planning.




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                                    Hours                               Description
01/06/15     B A Day                  .10 Discussed Dillon Gage case management with D. Arlington (0.1).
01/13/15     D T Arlington           1.70 Reviewed Gallery's notice of appeal and communicated with team
                                          regarding same (0.3); reviewed status of litigation and conference
                                          with team regarding litigation plan and scheduling order deadlines
                                          (1.2); communicated with counsel regarding scheduling order
                                          deadlines (0.2).
01/13/15     B A Day                  .80 Discussed                  and trial preparation matters in the
                                          Dillon Gage case with D. Arlington and M. Dwertman (0.8).
01/13/15     M R Dwertman             .70 Met with D. Arlington and B. Day concerning background and
                                          upcoming deadlines in Dillon Gage trial.
01/14/15     M R Dwertman            1.60 Reviewed scheduling order and drafted stipulation and agreement to
                                          extend discovery deadlines.
01/23/15     B A Day                  .60 Edited draft Dillon Gage stipulation and corresponded with M.
                                          Dwertman concerning same (0.6).
01/23/15     M R Dwertman             .20 Reviewed and accepted B. Day revisions to draft stipulation
                                          extending deadlines (.1) reviewed updated version and sent file copy
                                          draft to D. Arlington (.1).
01/26/15     B A Day                  .30 Provided materials to M. Dwertman for review in regard to the Dillon
                                          Gage lawsuit (0.3).
01/26/15     M R Dwertman             .90 Reviewed original complaint and answer in Janvey v. Dillon Gage.
01/27/15     M R Dwertman             .50 Reviewed motions concerning dismissal of Dillon Gage's
                                          counterclaims and third-party claims.
01/27/15     D K Jackson             7.00 Organized depositions, exhibits, and unitized Gage production on
                                          shared drive.
01/28/15     D K Jackson             7.20 Unitized and indexed Dillon Gage production.
01/29/15     D K Jackson             3.80 Unitized and indexed Dillon Gage and SCB production
01/30/15     D T Arlington            .20 Reviewed status of litigation deadlines and discovery.
01/30/15     M R Dwertman            1.80 Reviewed summary judgment background documents.
01/31/15     B A Day                  .20 Filed stipulation in Dillon Gage case extending certain deadlines
                                          (0.2).
             Matter Total           27.70


           079716.0139       Investor Committee Matters
                                    Hours                               Description
01/05/15     S D Powers               .40 Participated in phone conference to discuss                  .
01/05/15     K M Sadler              1.30 Reviewed issues regarding
                                                            (.4); conference with Arlington regarding litigation
                                          tasks (.4); conferences with Powers regarding




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                                Hours                              Description
                                        issues (.5)
01/05/15    K M Sadler            .50 Conference with counsel regarding


01/06/15    D T Arlington        3.20 Further communicated with Gilardi regarding
                                                      and communicated with team regarding same (0.3);
                                      reviewed subpoena from Willis to FTI and communicated with team
                                      and counsel regarding same and related issues, including preparation
                                      of draft correspondence to counsel (2.9).
01/06/15    K M Sadler           1.00 Reviewed issues regarding subpoena to FTI and discovery request to
                                      Receiver regarding class action (Willis) case (1.0)
01/07/15    D T Arlington        1.90 Reviewed response to motion to certify interlocutory appeal and
                                      communicated with team and OSIC counsel regarding same (0.7);
                                      revised draft letter to counsel for Willis and communicated with team
                                      regarding same (0.5); further communicated with counsel for Willis
                                      regarding subpoena issues (0.2); telephone conference with counsel
                                      for FTI regarding subpoena and communicated with team regarding
                                      same (0.4); communicated with team regarding Willis subpoena to
                                      Receiver (0.1).
01/07/15    K M Sadler            .50 Reviewed issues regarding subpoena to Receiver and FTI.
01/08/15    D T Arlington        3.40 Communicated with Willis counsel regarding subpoena issues (0.1);
                                      communicated with team regarding response to Willis subpoena and
                                      related issues (0.5); reviewed drafts of response to Willis motion to
                                      certify interlocutory appeal and communicated with team and class
                                      counsel regarding same and related research (2.8).
01/08/15    A Cuenin              .30 Began drafting responses to Troice v. Willis subpoena to FTI.
01/08/15    M R Dwertman         4.40 Researched
                                              (2.6); compiled available Fifth Circuit statistics on
                                                                            (.9); conducted follow-up
                                      research based on communication with E. Young (.9).
01/08/15    K M Sadler            .80 Reviewed issues regarding FTI and Receiver subpoena from class
                                      defendants (.8)
01/08/15    E A Young            7.80 Reviewed and annotated filings, related materials, and draft responses
                                      relevant to certification (3.6); participated in and reviewed
                                      correspondence (0.6); met with D. Arlington to discuss issues (0.5);
                                      drafted potential introduction to response (0.5); discussed Section
                                      1292(b) filing data with M. Dwertman and conducted research,
                                      including from Wright & Miller Treatise (1.9); reviewed revised draft
                                      0.7).
01/09/15    D T Arlington        2.60 Reviewed and revised response to Willis motion to certify order for
                                      interlocutory appeal and communicated with the team and class
                                      counsel regarding same.
01/09/15    A Cuenin             4.80 Continued drafting responses to Troice v. Willis subpoena to FTI.
01/09/15    E A Young            4.50 Reviewed various drafts of response, and edits from various internal
                                      and external parties, as circulated (1.9); discussed issues with D.




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                                Hours                               Description
                                        Arlington (0.5); made suggested edits to main draft (0.7);
                                        corresponded with D. Arlington and S. Powers (0.4); reviewed case
                                        law and authorities (1.0).
01/12/15    D T Arlington        2.70 Reviewed Willis subpoenas and telephone conferences with counsel
                                      and team regarding same (1.5); reviewed revised draft response to
                                      Willis motion to certify and communicated with team and Snyder
                                      regarding same (1.2).
01/12/15    S D Powers            .60 Reviewed and commented on section of Willis brief concerning

                                                                    (.6).
01/12/15    E A Young             .30 Reviewed correspondence relevant to response to motion to certify.
01/13/15    D T Arlington        1.40 Reviewed Willis subpoenas to FTI and Receiver and communicated
                                      with class counsel regarding same (0.7); communicated with team
                                      regarding related production (0.4); communicated with team and class
                                      counsel regarding
                                      (0.3).
01/14/15    D T Arlington        5.40 Reviewed Proskauer and Chadbourne motion to compel and request
                                      for expedited consideration and communicated with team regarding
                                      related issues (2.6); telephone conference with Ed Snyder regarding
                                      same (0.3); prepared letter to Court regarding defendants' request for
                                      expedited consideration and communicated with team regarding same
                                      (1.4); further communicated with Snyder and Examiner regarding
                                      request for expedited consideration by Proskauer (0.2); reviewed
                                      Court order regarding vacating paragraph six of scheduling order in
                                      Proskauer and Willis cases and communicated with team regarding
                                      same (0.3); communicated with joint liquidators regarding motion to
                                      compel filed by Proskauer in Chadbourne (0.3); communicated with
                                      counsel for Willis regarding subpoena response deadline and related
                                      production and communicated with team regarding same (0.3).
01/14/15    B A Day              3.80 Reviewed motion to compel and letter regarding same, discussed
                                      same with D. Arlington, and assisted in drafting letter to Court
                                      concerning defendants' request for expedited briefing schedule.
01/14/15    L E Dodge            3.70 Responded to Weil Gotshal regarding subpoena in the Troice v.
                                      Willis case (3:09-cv-1274) by compiling all of K. Van Tassel's
                                      declarations with exhibits (2.8); researched Pershing documents listed
                                      by E. Snyder for D. Arlington's review in the Turk case (.9).
01/14/15    K M Sadler           2.30 Conferences with Arlington re class action discovery dispute issues
                                      with WIllis and Proskauer (.7); reviewed motion to compel and letter
                                      to court (.8); reviewed and commented on letter response to court
                                      (.4); emails to/from Snyder and Little re motion and review of letters
                                      (.4)
01/15/15    D T Arlington        1.00 Reviewed materials
                                                                                               (0.3);
                                        reviewed order regarding Proskauer motion to expedite motion to
                                        compel (0.1); coordinated regarding production to Willis and
                                        communicated with team and counsel regarding same (0.6).




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                                Hours                               Description
01/15/15    L E Dodge            3.50 Responded to Weil Gotshal regarding subpoena in the Troice v.
                                      Willis case (3:09-cv-1274) with discs containing all of K. Van
                                      Tassel's declarations with exhibits and the STAN INVSTR GENL
                                      production (3.5).
01/16/15    D T Arlington         .90 Communicated with
                                                                                              (0.1);
                                        telephone conference with
                                                                                            (0.8).
01/19/15    S D Powers            .60 Reviewed and commented on draft MSJ in Lee Brown case and
                                      exchanged emails with E. Snyder regarding same.
01/20/15    D T Arlington         .40 Reviewed response to motion to transfer and communicated with
                                      team regarding same.
01/20/15    D T Arlington        1.40 Reviewed documents
                                                                    and communicated with Snyder regarding
                                        same (1.2); investigated claim data in response to Buncher inquiry
                                        (0.2).
01/20/15    D T Arlington         .90 Worked on objections and responses to Willis subpoenas.
01/20/15    S D Powers            .50 Analyzed issues regarding                            and exchanged
                                      emails with E. Snyder regarding same
01/21/15    D T Arlington         .60 Communicated with team regarding task list.
01/21/15    D T Arlington        3.20 Investigated
                                                 and worked on responses and objections to same (3.2).
01/21/15    S D Powers            .20 Exchanged emails with E. Snyder and M. Russell regarding


01/21/15    K M Sadler            .50 Reviewed third party litigation issues.
01/22/15    D T Arlington        2.50 Further worked on objections and responses to Willis subpoenas.
01/22/15    S D Powers            .30 Reviewed and commented on Brown, Castaneda expert declarations.
01/23/15    D T Arlington         .20 Coordinated with team regarding objections to Willis subpoenas and
                                      service of same.
01/23/15    E D Reeder           1.20 Revised objections to Willis subpoenas and compared certificate of
                                      service to docket sheet (.3); direction to secretary regarding service
                                      by mail and added to files (.3); located email addresses and served by
                                      email (.6).
01/26/15    D T Arlington         .40 Reviewed deposition subpoena from Willis and communicated with
                                      team regarding same.
01/26/15    S F Cagniart          .70 Reviewed notice of interlocutory appeal filed by R. Allen Stanford
                                      and analyzed                          (0.6); discussed same by email
                                      with K. Sadler and S. Powers (0.1).
01/27/15    D T Arlington         .80 Reviewed Stanford notice of appeal (0.1); communicated with
                                      counsel for Willis regarding deposition subpoena and communicated
                                      with team and client regarding same (0.7).




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                                    Hours                               Description
01/28/15     D T Arlington            .50 Reviewed order on motion to certify (0.2); communicated with
                                          counsel for Willis regarding deposition subpoena and communicated
                                          with team regarding same (0.3).
01/28/15     S D Powers               .20 Exchanged emails with D. Buncher regarding


01/29/15     S D Powers               .30 Conferred with D. Buncher regarding
                                                  and drafted, reviewed emails regarding same.
01/30/15     D T Arlington           1.80 Reviewed Proskauer motion to compel and plaintiffs' draft response
                                          and communicated with team regarding Receiver's response to
                                          motion.
01/30/15     B A Day                  .30 Discussed
                                                       ith D. Arlington (0.3).
01/31/15     B A Day                 2.60 Began drafting response to Proskauer's and Chadbourne's motion to
                                          compel in the Troice case and reviewed materials relevant to and in
                                          support of such response (2.6).
             Matter Total           83.10


           079716.0147       Janvey, Ralph S., Receiver vs. Mauricio Alvarado
                                    Hours                               Description
01/15/15     K B Koscheski           1.50 Compiled index for all production sent to Hamric, Alvarado, Rigby
                                          and Spindler.
01/21/15     A Cuenin                 .10 Updated trial plan (.1).
01/21/15     K B Koscheski           2.50 Created index to track Hamric, Rigby and Alvarado production.
01/27/15     K B Koscheski           3.00 Continued creating index track Hamric, Rigby and Alvarado
                                          production.
01/28/15     K B Koscheski           3.80 Continued to supplement index to keep track of when all production
                                          has been sent regarding Hamric, Rigby and Alvarado.
01/28/15     S D Powers               .20 Drafted, reviewed emails regarding obtaining extension of deadline
                                          for response to motion to dismiss.
             Matter Total           11.10


           079716.0149       Ralph S. Janvey, Receiver vs. Libyan Investment
                                    Hours                               Description
01/16/15     S Faridifar              .30 Reviewed motion to modify scheduling order filed by defendants.
01/21/15     S D Powers               .10 Reviewed letter from defendants' counsel regarding expert
                                          designation.
01/22/15     S D Powers               .20 Reviewed order on motion to compel and conferred with K. Sadler
                                          regarding same.




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                                    Hours                                 Description
01/28/15     S Faridifar               .30 Reviewed defendants' motion to modify scheduling order and
                                           prepared to draft response.
01/29/15     S Faridifar              2.50 Continued drafting response to motion to modify, including review of
                                           prior briefing and related materials.
01/30/15     S Faridifar              1.00 Continued drafting response to defendants' motion to modify.
             Matter Total            4.40


           079716.0150       Rincon, Juan Alberto A.J.
                                    Hours                                 Description
01/05/15     S D Powers                .40 Phone conference with defendant's counsel regarding adding
                                           documents to appellate record and conferred with K. Sadler and S.
                                           Cagniart regarding same.
             Matter Total            0.40


           079716.0152       Distribution Plan Matters
                                    Hours                                 Description
01/06/15     B A Day                   .10 Corresponded with Gilardi regarding distribution matters (0.1).
01/19/15     B A Day                   .30 Corresponded with              and Gilardi regarding issuance of
                                           distribution checks to              (0.2); provided direction to
                                           Gilardi concerning preparation of 12th schedule under the 1st interim
                                           plan (0.1).
01/22/15     D T Arlington             .10 Communicated with team regarding investor request concerning
                                           distribution payment.
01/29/15     D T Arlington             .10 Addressed issues relating to                          .
             Matter Total            0.60


           079716.0153       Non-CD Claims Processing
                                    Hours                                 Description
01/08/15     B A Day                   .60 Gathered non-CD claims statistics and discussed same with D.
                                           Arlington and Stanford staff (0.6).
             Matter Total            0.60


           079716.0155       CD Claims Objections
                                    Hours                                 Description
01/05/15     B A Day                   .10 Corresponded with Stanford staff concerning
                                                    (0.1).




                                                                                          App. 60
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                                   Hours                                Description
01/15/15     D T Arlington            .70 Prepared for and participated in call with Receivership staff regarding
                                          claim issues and related objections.
01/15/15     B A Day                  .70 Reviewed 8 objections and provided guidance regarding same to
                                          Stanford staff (0.7).
01/26/15     B A Day                  .10 Corresponded with Stanford staff concerning discussion of pending
                                          objections in the claims process (0.1).
             Matter Total            1.60


           079716.0156       Breach of Fiduciary Duty Claims
                                   Hours                                Description
01/05/15     S Faridifar              .20 Reviewed and filed stipulation regarding scheduling order deadlines.
01/05/15     R W Fusco               3.30 Negotiated agreement to extend discovery deadlines with Wingfield
                                          and Holt counsel (1.0); drafted and filed agreement to extend
                                          discovery deadlines (1.5); discussed case status with Wingfield
                                          attorney and set time for call later this week (0.8).
01/05/15     S D Powers               .10 Exchanged emails with R. Fusco regarding extension of deadlines in
                                          D&O case.
01/07/15     S D Powers               .40 Phone conference with R. Fusco to prepare for discussion
                                                                                                .
01/08/15     R W Fusco                .80 Prepared for and participated in call


01/08/15     S D Powers               .60 Phone conference with


01/12/15     J M Himmel              4.20 Reviewed potentially relevant documents pertaining to
                                                                 and drafted email to S. Faridifar requesting
                                          guidance as to which documents to include or remove from the final
                                          set of tagged documents (3.6); Compared versions of tagged
                                          documents to determine which to keep and removed duplicates (.6).
01/13/15     S Faridifar              .20 Call with R. Fusco regarding Winter's estate and substitution issues
                                          and reviewed emails regarding same.
01/13/15     R W Fusco               2.30 Checked probate court filings to determine status of appointment of a
                                          representative of Winter's estate had been appointed (0.3); reviewed
                                          case filings and prepared motion to continue and amend discovery
                                          order (1.5); Prepared for and presented at case strategy meeting with
                                          K. Sadler and S. Powers (0.5).
01/13/15     J M Himmel              1.80 Completed review of tagged documents to remove duplicates and sent
                                          email to S. Faridifar summararizing which documents were tagged
                                          and requesting guidance as to the documents whose relevance is in
                                          question.
01/14/15     S Faridifar              .50 Reviewed e-mail from J. Himmel regarding document review related
                                          to strategic investment committee (.1); reviewed draft of agreed




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                                    Hours                               Description
                                            motion for continuance and conferred with R. Fusco regarding same
                                            (.4).
01/14/15     R W Fusco               2.00 Finished drafting motion to continue and sent same to S. Powers for
                                          review.
01/20/15     S Faridifar              .10 Reviewed draft of agreed motion for continuance and email from S.
                                          Powers regarding same.
01/20/15     R W Fusco               1.60 Revised agreed motion for continuance in accordance with S. Powers'
                                          instruction and sent to opposing counsel for approval.
01/20/15     S D Powers               .40 Reviewed, edited motion for continuance.
01/21/15     R W Fusco               1.50 Confered with opposing counsel regarding agreed motion to continue
                                          trial, and prepared final documents for filing.
01/23/15     K M Sadler               .40 Emails to/from Winter counsel regarding substitution (.2); emails to
                                          Fusco regarding next steps in Winter case (.2)
01/26/15     R W Fusco               4.00 Drafted motion to substitute and submitted with prepared exhibits to
                                          S. Powers for review.
             Matter Total           24.40


           079716.0157       University of Miami
                                    Hours                              Description
01/01/15     L E Dodge                .30 Scheduled court reporter and videographer for R. Gagosian's
                                          deposition (.3).
01/02/15     A A Carr                7.10 Continued preparation for expert deposition, with focus on reviewing
                                          relevant documents.
01/02/15     L E Dodge               4.10 Revised and supplemented hot documents index (.4); reviewed
                                          documents in Ringtail (.5); identified hot documents that haven't been
                                          produced (1.1); researched R. Gagosian (2.1).
01/03/15     D T Arlington            .80 Reviewed and commented on outline for expert deposition.
01/03/15     A A Carr                6.30 Continued preparing for Gagosian expert deposition, including
                                          review of reports and previous depositions and drafting of outline
                                          (6.1); emails with D. Arlington regarding same (.2)
01/03/15     A Cuenin                 .80 Reviewed possible production for privilege (.8).
01/04/15     A A Carr                6.10 Further edits to and expansion on deposition outline, including review
                                          of McCarthy and Ortner depositions and incorporation of relevant
                                          questions therefrom (5.7); emails with K. Sadler and D. Arlington
                                          regarding same (.4)
01/05/15     D T Arlington           1.80 Communicated with team regarding expert deposition and reviewed
                                          draft outline (1.3); coordinated with team regarding other upcoming
                                          depositions and preparation for same (0.5).
01/05/15     A A Carr                9.00 Continued preparation for deposition, with focus on compiling




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                                Hours                                  Description
                                        potential exhibits (2.7); travel to Dallas for deposition including
                                        review and preparation for deposition (4.5); review of outline and
                                        other deposition materials (1.8)
01/05/15    A Cuenin             3.20 Reviewed
                                                                (2.9); began reviewing
                                                                              (.3).
01/05/15    K M Sadler            .80 Conference with Carr regarding expert deposition and review of
                                      outline regarding same (.8)
01/06/15    D T Arlington         .90 Telephone conference with client regarding upcoming deposition
                                      (0.2); telephone conferences with A. Carr regarding expert deposition
                                      (0.3); further coordinated with team and counsel regarding upcoming
                                      depositions (0.4).
01/06/15    A A Carr             6.30 Reviewed deposition materials (1.2); deposition of Robert Gagosian
                                      (4.7); conferences with D. Arlington regarding same (.4).
01/06/15    A Cuenin             2.00 Organized
                                                            (1.3); coordinated
                                                    (.7).
01/06/15    L E Dodge             .50 Compiled hot documents to be printed and delivered to R. Janvey for
                                      his review, in preparation for his upcoming deposition (.5).
01/06/15    K B Koscheski        3.50 Supplemented hot document summary


                                        compiled hot documents.
01/06/15    N M Starbuck          .50 Response to request for SIBL Private Banking Brochures.
01/07/15    D T Arlington         .20 Communicated with client regarding deposition preparation (0.1);
                                      coordinated with KVT regarding deposition dates (0.1).
01/07/15    A A Carr             7.00 Return travel from Dallas including review and preparation for
                                      deposition (3.9); drafted deposition summary (.3); coordinated
                                      deposition transcript logistics with L. Dodge (.1); reviewed UM
                                      discovery requests and began drafting responses to same (2.7).
01/07/15    A Cuenin              .20 Identified approximately
                                                   (.2).
01/07/15    K M Sadler            .50 Reviewed issues regarding discovery responses (.5)
01/08/15    D T Arlington         .70 Reviewed University of Miami discovery requests and communicated
                                      with team regarding same.
01/08/15    A A Carr             1.60 Emails with opposing counsel regarding timeline for discovery
                                      responses (.2); meeting with D. Arlington regarding discovery
                                      responses (.4); continued drafting same (1.0)
01/08/15    E D Reeder           1.10 Compiled and loaded all deposition transcripts to FTP site for
                                      forwarding to University of Miami, at the request of Ashley Carr.
01/08/15    N M Starbuck          .40 Response to request regarding Stanford Foundation corporate




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                                Hours                                Description
                                        documents.
01/12/15    D T Arlington         .40 Coordinated with team regarding defendant's production (0.2);
                                      communicated with team and counsel regarding depositions (0.2).
01/12/15    D K Jackson          2.00 Organized Jay Blaire, Otis Brown and John McManus hot docs and
                                      index.
01/13/15    D T Arlington        2.30 Reviewed            and met with team regarding same and related
                                      discovery and deposition issues (2.2); communicated with counsel
                                      regarding scheduling order and depositions (0.1).
01/13/15    A A Carr             4.90 Prepared for and attended meeting with D. Arlington, J. Himmel, and
                                      L. Dodge regarding U Miami matters (1.7); follow up meeting with
                                      D. Arlington regarding U Miami discovery responses (.8); meeting
                                      with J. Himmel regarding Ringtail searches in connection with
                                      UMiami discovery responses (.3); continued drafting interrogatory
                                      responses (2.1).
01/13/15    L E Dodge            1.80 Revised and supplemented hot documents index (.9); researched and
                                      extracted attachments to STAN UM 001834 (.4); assisted J. Himmel
                                      with Ringtail research (.5).
01/13/15    J M Himmel           3.60 Meeting with D. Arlington, A. Carr, and L. Dodge to discuss
                                      deposition preparation, document review, and discovery responses
                                      and assign responsibility for tasks in support of each area (1);
                                      Searched for documents mentioned in Locke Lord's Requests for
                                      Admission numbers 3, 4, 7, 8, 11, 12, and 13 and began draft email to
                                      A. Carr summarizing findings (2.6).
01/13/15    D K Jackson          4.50 Organized Blaire, Brown and McManus hot docs and indexed.
01/14/15    D T Arlington         .70 Reviewed draft response to interrogatories (0.5); coordinated with
                                      team regarding deposition preparation (0.2).
01/14/15    A A Carr             5.00 Emails with
                                                                                                     (1.2);
                                        compiled documents responsive to same (1.3); drafted responses to
                                        individual interrogatires (2.2); reviewed new set of discovery requests
                                        from Miami (.3).
01/14/15    J M Himmel           4.00 Compared the definitions and instructions contained in the
                                      defendant's first set of requests for production and interrogatories
                                      with the definitions and instructions contained in the defendant's
                                      second set of discovery requests to determine if the definitions and
                                      instructions changed (1); Coordinated with K. Koscheski regarding
                                      the production of documents used in responding to the defendant's
                                      request for admissions and bates numbering of tagged documents
                                      (.4); Completed drafting and sent email to A. Carr regarding the
                                      documents corresponding to Miami's Request for Admission numbers
                                      3, 4, 7, 8, 11, 12, and 13 (.8); Reviewed chart provided by K.
                                      Koscheski concerning bates numbering, alternative documents, and
                                      duplicate documents and used this information to update Ringtail
                                      folder containing documents relevant to the Request for Admission
                                      and to update document list to include all known bates numbers (1.8).




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                                Hours                               Description
01/14/15    K B Koscheski        6.30 Created cross-reference list from University of Miami production for
                                      response to request for admission.
01/15/15    A A Carr             4.40 Completed draft of responses to UM RFPs (1.7); review of various
                                      emails from J. Himmel regarding same (.3); edited draft of UM
                                      interrogatory responses (.2); began drafting responses to UM RFAs,
                                      specifically general objections and responses to RFAs 1-14 (2.2)
01/15/15    J M Himmel           1.70 Searched for


                                           and provided PDFs of these documents to A. Carr (1.7); Reviewed
                                        background documents: Original Complaint Against University of
                                        Miami, Defendant's Answer and Counterclaims; University of
                                        Miami's Motion to Stay Discovery; Initial Disclosures; Responses to
                                        Requests for Production and Interrogatories; Designation of Experts;
                                        Expert Disclosures; Declaration of Karyl Van Tassel; Letters
                                        Regarding Discovery; Stanford Advertising Documents; Plea
                                        Agreement of James M. Davis (6.5 - No Charge).
01/15/15    K B Koscheski        1.00 Created cross-reference list from University of Miami production for
                                      response to request for admission.
01/15/15    E D Reeder            .20 Drafted subpoena to Jay Blaire.
01/16/15    D T Arlington        1.70 Further reviewed responses to interrogatories and communicated with
                                      client regarding same (0.4); reviewed draft responses to second set of
                                      RFPs and communicated with team regarding same (0.8); reviewed
                                      production documents (0.5).
01/16/15    A A Carr             6.20 Continued drafting responses to UMiami's RFAs #14-46, including
                                      emails with
                                                                              (5.6); reviewed draft of
                                      RFA responses and circulated same (.6).
01/16/15    A Cuenin              .40 Compiled key University of Miami video transcripts (.4).
01/16/15    L E Dodge             .40 Supervised Ringtail database export request in connection with
                                      defendant's RFPs and correspondence from defendant's counsel (.4).
01/16/15    J M Himmel           2.80 Coordinated export of and reviewed tagged documents to locate
                                      information relevant to the Receiver's Response to the University of
                                      Miami's Requests for Admission numbers 3, 4, 7, 8, 11, and 12 and
                                      added this information into the draft response (2.8); Reviewed
                                      deposition transcript of Dr. Peter B. Ortner (2.6 - No Charge).
01/16/15    K B Koscheski         .30 Requested export of documents from Ringtail.
01/17/15    J M Himmel            .00 Reviewed background documents: depositions and exhibits of
                                      Soraida Diaz, Dr. Robert B. Gagosian, Cullen Chase McCarthy, and
                                      email correspondence between Stanford and the University of Miami
                                      and Texas A&M University (4 - No Charge).
01/18/15    J M Himmel            .00 Reviewed background documents: email correspondence and draft
                                      agreements and proposals between Stanford and the University of
                                      Miami and Texas A&M University, began review of first binder of




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                                Hours                              Description
                                        hot documents (3.7 - No Charge).
01/19/15    A A Carr             3.90 Edits to UM RFA and RFP responses and emails with D .Arlington
                                      and K. Sadler regarding same (2.8); continued review of hot docs
                                      binders (1.1)
01/19/15    L E Dodge            3.30 Produced documents to defendant (1.4); assisted A. Carr with
                                      Summation database and performed preliminary searches (1.9).
01/19/15    J M Himmel            .00 Completed review of first and second binders of hot documents and
                                      reviewed documents 151 through 262 of binder three (6.9 - No
                                      Charge).
01/19/15    K M Sadler            .60 Reviewed draft discovery responses and conference with Arlington
                                      and Carr                   (.6)
01/20/15    D T Arlington        2.20 Communicated with team regarding
                                               (1.2); further coordinated with team regarding discovery
                                      responses and reviewed further drafts of same (0.8); coordinated
                                      regarding upcoming depositions (0.2).
01/20/15    A A Carr             4.30 Continued finalizing and editing UM discovery responses (1.5);
                                      conferences with D. Arlington regarding same (.9); conferences with
                                      L. Dodge and J Himmel regarding same (.4); prepared transmittal
                                      letter and email regarding discovery (.3); continued hot docs review
                                      (1.2)
01/20/15    L E Dodge            3.20 Prepared documents for supplemental production (2.1); supplemented
                                      discovery responses with document references (1.1).
01/20/15    J M Himmel           2.10 Reviewed hot documents 263 through 285 (.9 - No Charge); Updated
                                      the Receiver's response to the University of Miami's Request for
                                      Admissions with newly produced bates numbers and coordinated
                                      with L. Dodge for the correction of one bates number (.3); Reviewed
                                      the Receiver's responses to the University of Miami's Request for
                                      Admissions, Request for Production, and Second Interrogatories to
                                      ensure that the correct documents were referenced in each response
                                      and made corrections as necessarry (1.8)
01/20/15    M P Schwartz          .70 Extract documents as Adobe Acrobat documents.
01/21/15    D T Arlington        1.70 Reviewed prior depositions and communicated with team regarding
                                      same and upcoming depositions.
01/21/15    A A Carr             4.00 Review of Gagosian expert depo transcript (1.1); continued review of
                                      second hot docs binder in preparation for depositions of Blaire,
                                      McManus, and Brown (2.9)
01/22/15    D T Arlington         .10 Coordinated regarding deposition notices.
01/22/15    A A Carr             3.60 Cotninued review of hot documents in preparation for trial and
                                      upcoming depositions (3.2); reviewed deposition notices and
                                      subpoenas and corresponded with paralegals and D. Arlington
                                      concerning same (.4)
01/22/15    E D Reeder           4.60 Reviewed emails with opposing counsel regarding deposition dates,
                                      times, locations (.3); drafted deposition notices for Blaire, McManus




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                                Hours                                 Description
                                        and Brown (1.9); drafted subpoena for Blaire (.3); finalized notices
                                        and efiled Blaire notice (1.1); finalized subpoena and forwarded with
                                        instructions to process server (.8); saved all documents to the shared
                                        drive and circulated copies to David Arlington (.2).
01/23/15    A A Carr             3.80 Completed review of deposition transcripts and continued review of
                                      final hot docs binder in preparation for depositions and trial.
01/23/15    E D Reeder            .40 Monitored status of service of Blaire subpoena and reported to David
                                      Arlington and Ashley Carr (.2); direction to process server (.2).
01/26/15    A A Carr             2.60 Created deposition preparation document with topical outline in
                                      advance of meeting regarding depositions with D. Arlington, J.
                                      Himmel, L. Dodge, and C. Norfleet.
01/26/15    L E Dodge             .50 Arranged for court reporters and videographers for the February 3-5
                                      depositions of Brown, Blaire, and McManus (.5).
01/26/15    J M Himmel           1.20 Reviewed the U Miami fact summaries, witness proof chart, and
                                      deponent preparation document sent by A. Carr in preparation for
                                      meeting with D. Arlington and A. Carr regarding the upcoming
                                      depositions of O. Brown, J. McManus, and J. Blaire and reviewed
                                      background documents to ascertain additional deposition topics.
01/26/15    E D Reeder            .30 Reported to attorneys regarding service of Jay Blaire and filed
                                      affidavit.
01/27/15    D T Arlington        2.70 Prepared for and met with team regarding deposition preparation and
                                                         (2.1); reviewed witness preparation materials and
                                      communicated with team regarding same (0.4); communicated with
                                      counsel for defendant regarding deposition dates and other deposition
                                      related issues (0.2).
01/27/15    A A Carr             4.40 Attended team meeting regarding upcoming U. Miami depositions
                                      (1.2); follow-up meeting with J. Himmel regarding same (.1); began
                                      drafting Brown deposition outline (3.1)
01/27/15    L E Dodge            1.00 Met with D. Arlington, A. Carr, J. Himmel, and C. Norfleet to discuss
                                                             of upcoming depositions of Blaire, Brown,
                                      and McManus (1.0).
01/27/15    J M Himmel           6.80 Preparation for and meeting with D. Arlington, A. Carr, L. Dodge,
                                      and C. Norfleet regarding preparation for upcoming trial, with focus
                                      on deposition preparation and document review (1.6); Reviewed
                                      Miami production for information pertaining to




                                                                                 and began compiling this
                                        information into an outline (5.2).
01/27/15    C J Norfleet          .70 Participated in trial team                     call in preparation for
                                      upcoming depositions.
01/28/15    A A Carr             7.60 Coordinated with L. Dodge regarding logistics associated with Miami




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                                Hours                                 Description
                                        depositions (.8); continued review of documents related to deponents
                                        and completed draft of sponsored research timeline (6.8).
01/28/15    L E Dodge             .90 Supervised research regarding Brown, Blaire, and McManus (.6);
                                      communicated with court reporter regarding change to the deposition
                                      location (.3).
01/28/15    J M Himmel           6.30 Continued reviewing Miami production for information pertaining to




                                              , completed outline of information found, and incorporated this
                                        information into proposed deposition questions for A. Carr's
                                        upcoming depositions of O. Brown, J. Blaire, and J. McManus.
01/28/15    K B Koscheski        3.30 Searched for


01/29/15    A A Carr             5.50 Corresponded with team regarding logistics for UM depositions (.4);
                                      continued reviewing of documents and drafting Brown outline (5.1).
01/29/15    L E Dodge            1.50 Supervised and reviewed research regarding
                                                                           (1.5).
01/29/15    J M Himmel            .10 Searched Ringtail




01/29/15    K B Koscheski        5.00 Searched Summation and Ringtail databases



01/29/15    E D Reeder            .20 Drafted amended deposition notice for Jay Blaire.
01/29/15    P K Strebeck          .60 Researched                                             at request of
                                      Kate Koscheski.
01/30/15    D T Arlington         .70 Reviewed issues relating to upcoming deposition topics and
                                      communicated with team regarding same (0.5); coordinated with
                                      Receiver and KVT regarding depositions (0.2).
01/30/15    A A Carr             8.20 Reviewed documents and prepared outline for Otis Brown deposition,

                                                         .
01/30/15    L E Dodge             .70 Contacted court reporter regarding Blaire deposition location change
                                      (.2); identified names of court reporter and videographer for building
                                      security and communicated that information to defendant's counsel
                                      (.2); researched Ringtail database for attachment to a potential
                                      deposition exhibit (.3).
01/30/15    J M Himmel           4.50 Outlined information regarding the University of Miami's

                                                                                and drafted deposition




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                                   Hours                                Description
                                           questions for A. Carr regarding these topics.
01/30/15     K B Koscheski           9.30 Searched in Summation and Ringtail databases for evidence of


                                                                                in preparation for their
                                           depositions (7.3); compiled and summarized relevant documents (2).
01/31/15     A A Carr                6.20 Completed drafting deposition outline for Otis Brown and circulated
                                          same.
01/31/15     L E Dodge               8.30 Revised and supplemented hot documents index (.5); reviewed
                                          outline for Blaire, Brown, and McManus depositions (2.3); compiled
                                          potential deposition exhibits (2.8); researched Ringtail for documents
                                          requested by A. Carr (1.2); reviewed UM production in Summation
                                          database to complete citations in deposition outline (.8); drafted email
                                          regarding supplemental production for A. Carr to send to U Miami's
                                          counsel (.3); prepared supplemental production (.4).
01/31/15     J M Himmel              3.70 Reviewed additional documents found by K. Koscheski regarding the

                                                                and drafted additional deposition questions for
                                           A. Carr based on these documents.
             Matter Total         251.60


           079716.0160       Romero, Peter
                                   Hours                                Description
01/01/15     S Faridifar             5.20 Continued reviewing prior briefing related to                  and
                                          prepared summary for K. Sadler (3.6); updated trial prep task list and
                                          addressed related issues (.4); reviewed
                                                                                                      (1.2).
01/01/15     K M Sadler              1.00 Reviewed issues regarding Romero emails and web-host declaration
                                          (.6); reviewed drafts of pre-trial stip and requested changes(.4)
01/02/15     L E Dodge               1.00 Reviewed items on task list regarding corporate jet travel and Mau
                                          2002 Antigua trip (.5); researched Regulation D documents (.5).
01/02/15     M R Dwertman            5.60 Researched Fifth Circuit's bad faith requirement for spoliation
                                          sanctions (.9); researched diligence requirement imposed by FRCP 34
                                          (.8); drafted and revised Plaintiffs' Response to Romero's Motion to
                                          Quash and for Protective order and Cross-Motion for Sanctions (3.9).
01/02/15     S Faridifar             5.50 Exchanged emails with M. Barnhart regarding receivership
                                          warehouse (.2); reviewed and addressed issues related to SIB annual
                                          reports and other SIB marketing materials (5.2); reviewed draft of
                                          motion to quash response from M. Dwertman (.1).
01/02/15     J M Himmel               .20 Meeting with L. Dodge to discuss document review assignment
                                          regarding Romero's flights on Stanford's corporate jet, his trip to
                                          Antigua to make a presentation to SFG employees, and




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                                Hours                                   Description
01/02/15    E D Reeder           4.20 Contacted court reporter regarding missing page from Romero
                                      deposition exhibit (.2); performed searchs on Ringtail regarding


                                                               (4.0).
01/03/15    D T Arlington         .10 Communicated with team regarding trial logistics.
01/03/15    S Faridifar          3.50 Exchanged emails with K. Sadler, S. Powers, and K. Van Tassel
                                      regarding SIB annual reports, disclosure statements, and other SIB
                                      marketing materials, including reviewing and analyzing same.
01/04/15    L E Dodge            1.20 Researched SIB CD brochures in STAN INVSTR GENL production
                                      (1.2).
01/04/15    S Faridifar          2.60 Reviewed email from K. Van Tassel regarding SIB brochures (.1);
                                      exchanged e-mails with E. Reeder regarding
                                             (.1); updated trial prep task list in connection with multiple
                                      issues (.1); reviewed and commented on draft response to motion to
                                      quash and cross-motion for sanctions (2.3).
01/04/15    E D Reeder           1.10 Continued Ringtail searches regarding                      .
01/05/15    L E Dodge            9.80 Participated in conference call with K. Sadler, S. Powers, and S.
                                      Faridifar (.8); arranged for hotel and conference room at trial (.5);
                                      ordered daily transcripts for trial (.3); coordinated with KVT
                                      regarding reservations for her trips to Dallas for preparation and trial
                                      (.2); prepared abridged copies of INCSR reports regarding money
                                      laundering countries (1.8); reviewed listing of Stanford bank accounts
                                      (1.2); researched SIB CD brochures in STAN INVSTR GENL
                                      production (2.1); researched SIB terms and conditions in production
                                      in other cases (2.9).
01/05/15    M R Dwertman         1.20 Reviewed S. Faridifar proposed edits to Response to Motion to Quash
                                      and Cross-Motion for Sanctions (.3); responded to comments and
                                      reorganized motion (.6); updated citations based on S. Beale
                                      Declaration (.2); review subsequent round of edits from S. Faridifar
                                      and send to S. Powers (.1).
01/05/15    S Faridifar         14.50 Met with S. Powers regarding trial prep issues (.5); addressed various
                                      issues in preparation for trial, including reviewing and analyzing
                                      relevant documents and materials and exchanging e-mails with K.
                                      Sadler, S. Powers, and L. Dodge regarding same (5.9); continued
                                      reviewing and revising response to motion to quash and cross-motion
                                      for sanctions, including exchanging emails with M. Dwertman
                                      regarding same (1.8); reviewed documents related to ACON
                                      investments and FTI analysis regarding same (.8); exchanged emails
                                      with M. Barnhart regarding SIB marketing materials (.3); conferred
                                      with R. Fusco regarding motions in limine (.2); reviewed articles
                                      regarding                                       (.4); exchanged emails
                                      with A. Cuenin regarding Stanford videos (.2); addressed issues
                                      related to translation of Spanish CNN article related to Romero (.2);
                                      calls and conferences with K. Sadler, S. Powers, and L. Dodge
                                      regarding various issues in preparation for trial (2.5); conferred with




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                                Hours                                Description
                                        J. Himmel regarding review of ACON documents (.2); prepared
                                        summary of Romero's CD investments for K. Sadler in connection
                                        with preparing Receiver for trial testimony (1.5).
01/05/15    R W Fusco            2.60 Prepared motion in limine per instruction of S. Powers.
01/05/15    J M Himmel            .10 Meeting with S. Faridifar to discuss ACON investments document
                                      review assignment.
01/05/15    C J Norfleet         1.60 Research case law related to admission of hearsay under Federal
                                      Rules of Evidence expectation.
01/05/15    S D Powers           5.80 Drafted, reviewed emails regarding
                                            (.2); phone conference with S. Beale regarding declaration and
                                      drafted email regarding same (.4); confer with S. Faridifar regarding
                                      trial preparation (.5); conferred with B. Clark regarding pretrial
                                      scheduling stipulation and revised stipulation (.5); analyzed
                                      documents for potential use at trial and drafted, reviewed emails
                                      regarding same (2.2); exchanged emails with C. Norfleet regarding
                                      potential hearsay issues related to Lula Rodriguez testimony (.3);
                                      phone conference with K. Sadler, S. Faridifar regarding
                                              (1.0); phone conference with CSI regarding trial graphics
                                      issues (.5); conferred with R. Fusco regarding limine issues (.2).
01/05/15    E D Reeder           8.20 Followup on missing deposition exhibit page with court reporter (.1);
                                      followup on translation of CNN article with Transperfect, reviewed
                                      translation and certification and forwarded to Sherwin Faridifar (.9);
                                      coordinated with Ari Cuenin and Sherwin Faridifar regarding review
                                      and contents of videos that could be pertinent to Romero and
                                      monitored progress of downloading to Ari Cuenin's desktop (1.1);
                                      reviewed video transcripts from old tapes for mention of Romero and
                                      forwarded excerpts to Sherwin Faridifar (1.1); completed Ringtail
                                      searches for documents related to                    and tagged same
                                      (4.4); organized and emailed the PDFs for Sherwin Farifar's review
                                      (.4); direction from Sherwin Farifidar regarding additional searches
                                      for J. Winer (.2).
01/05/15    K M Sadler          11.30 Emails to/from Faridifar and review of various documents regarding
                                      "red-flag" evidence on Romero (1.2); emails to/from witness Reed
                                      (.2); emails to/from Arlington regarding DG pre-trial issues (.4);
                                      reviewed numerous pre-trial prep issues including, emails to/from
                                      FTI regarding ACON; review of evidence regarding plane trips;
                                      review of CD brochures; review Romero CD-penalty issue; review of
                                      warehouse storage stats; review of evidence regarding              ;
                                      review of money-laundering documents; documents reflecting public
                                      statements by defendant; deposition testimony for possible
                                      designation, and potential trial exhibits and demonstratives (9.5)
01/05/15    C E Vogel             .20 Accessed 2009 report as requested by S. Powers.
01/06/15    D T Arlington         .60 Communicated with team regarding trial preparation issues.
01/06/15    S F Cagniart         2.10 Reviewed Conzelman files for any political expenditures that may be
                                      relevant in Romero litigation and discussed same by e-mail with K.
                                      Sadler and S. Faridifar.




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                                Hours                                Description
01/06/15    L E Dodge           11.40 Requested export of C. Audibert's emails regarding Romero's travel
                                      (.3); researched SIB CD marketing brochures (1.6); reviewed
                                      Vargas's testimony regarding why Romero cashed out his CDs (.5);
                                      researched Ringtail documents regarding Romero's February 2007
                                      CD withdrawal and Romero's CD renewals in fall of 2006 (3.8);
                                      researched Experior Advisors website on the Wayback Machine and
                                      captured the last captured website before it was taken down (2.2);
                                      prepared notebooks of discovery responses (1.3); supervised Stanford
                                      bank account project for demonstrative (1.1); researched document
                                      management system for letters to Stanford banks (.6).
01/06/15    M R Dwertman         4.10 Conducted further research on duty to preserve ESI in possession of
                                      third party, but in control of responding party (2.2); revised Response
                                      to Motion to Quash and Motion for Sanctions,
                                                           (1.5); reviewed Laughing Squid Terms of Service
                                      and Privacy Policy for provisions concerning customer control of
                                      personal data (.4).
01/06/15    S Faridifar         12.40 Reviewed documents related to political event in Denver in August
                                      2008 (.3); addressed issues related to supplemental production of
                                      documents (.4); addressed various issues in preparation for trial,
                                      including reviewing and analyzing relevant documents and materials
                                      and exchanging e-mails with K. Sadler, S. Powers, and L. Dodge
                                      regarding same (4.2); addressed issues related to Bowman e-mails
                                      (.6); drafted joint pretrial order (1.8); revised draft proposed jury
                                      charge (.5); exchanged emails with E. Reeder regarding translated
                                      article (.2); prepared bullet point summary regarding Romero flights
                                      on corporate jet for trial preparation of Receiver (1.4); revised draft of
                                      joint pretrial order per comments from S. Powers (.8); prepared
                                      summary of key limitations dates for K. Sadler for trial preparation of
                                      Receiver (2.2).
01/06/15    R W Fusco            6.90 Finished drafting motion in limine and sent to S. Powers for review.
01/06/15    J M Himmel           7.80 Researched requirements for admitting a certified translation in
                                      federal court and drafted email to S. Faridifar summarizing research
                                      (3.8); Reviewed examples of relevant Acon investment documents
                                      (.5); Reviewed documents from June 5, 2009 through November 14,
                                      2008 to find documents pertaining to Stanford's investments in Acon
                                      (3.5).
01/06/15    D K Jackson          2.50 Analyzed addresses of Stanford banks to facilitate preparation of a
                                      demonstrative to be used at trial.
01/06/15    C Montalvo            .20 Researched and obtained INCSR dated 2009 for Ellen Reeder.
01/06/15    S D Powers           6.00 Phone and office conferences with Nigel
                                                      prepared for meeting, and drafted summary (1.5);
                                      drafted, reviewed emails regarding rescheduling call to discuss
                                                               (.2); reviewed, analyzed documents for
                                      possible use as trial exhibits and various factual issues
                                               and drafted, reviewed emails regarding same (2.4); reviewed
                                      and commented on spoliation motion (.7); drafted, reviewed emails
                                      regarding stipulation concerning pretrial schedule (.2); reviewed and




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                                Hours                                 Description
                                        commented on draft motions in limine (.7); reviewed and commented
                                        on draft pretrial order (.3).
01/06/15    E D Reeder           6.10 Requested INCSR reports from the library and reviewed/forwarded to
                                      Scott Powers (.5); reviewed revised spreadsheet and email from Ari
                                      Cuenin regarding review of videos for possible use as trial exhibits
                                      (.5); prepared trial exhibit of Romero's involvement with Academy of
                                      Diplomacy (.4); reviewed results of Janet Himmel's research on
                                      language for translation affidavit (.3); drafted language for translator
                                      to use in new certification for translation of CNN article (.4); emails
                                      with Transperfect regarding the translator and the project manager
                                      who signed the affidavit and reported to Sherwin Faridifar (.6);
                                      drafted revised language for the affidavit to provide for the project
                                      manager's signing due to linguist being out of the country (.4); emails
                                      with translator service regarding logistics and cost to prepare new
                                      certification and reported to Sherwin Faridifar (.6); performed
                                      Ringtail searches for documents related to J. Winer (1.2); reviewed
                                      deposition of Romero for testimony regarding J. Winer and
                                      excerpted/summarized same for Sherwin Farifidar (1.2).
01/06/15    K M Sadler          10.40 Began drafting witness outlines for Receiver and cross examination
                                      outline for Romero and review of numerous documents and file
                                      materials regarding same (8.5); reviewed and provided comment on
                                      pre-trial filings (1.0); conferences with Powers regarding trial
                                      preparation issues (.9)
01/06/15    C E Vogel             .30 Responded to questions about reports as requested by S. Powers.
01/07/15    D T Arlington         .80 Communicated with team regarding statute of limitations issues and
                                      researched regarding same.
01/07/15    B A Day              2.80 Compiled information for use in discussion with K. Sadler
                                      concerning limitations issues in the Romero case (2.8).
01/07/15    L E Dodge           18.10 Organized potential trial exhibits and prepared them for review by the
                                      team (8.4); revised and supplemented plaintiffs' trial exhibit list (6.2);
                                      produced Y. Suarez exhibits                    (.8); coordinated with
                                      vendor regarding scanning colored annual reports and SIB brochures
                                      (.5); researched regarding Romero's advisory board compensation
                                      reduction (.6); prepared documents for production (1.6).
01/07/15    M R Dwertman         2.30 Revised response to Romero's motion to quash and Plaintiff's cross-
                                      motion for sanctions and added new sub-section
                                                      (1.2); incorporated
                                                    citechecked pincites, and accepted all edits to motion
                                      (1.1).
01/07/15    S Faridifar         12.50 Exchanged emails with K. Sadler and L. Dodge regarding
                                      Receivership invoices and conferred with L. Dodge regarding same
                                      (.3); reviewed draft of motions in limine and exchanged emails with
                                      R. Fusco regarding same (.6); revised joint pretrial order per
                                      comments from S. Powers and K. Sadler and exchanged emails
                                      regarding same (1.6); addressed various issues regarding
                                      supplemental production to Romero (2.5); addressed various issues in
                                      preparation for trial, including reviewing and organizing relevant




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                                Hours                                  Description
                                        documents to be used as trial exhibits and demonstratives and
                                        exchanging e-mails with K. Sadler, S. Powers, and L. Dodge
                                        regarding trial issues (2.4); exchanged emails with M. Barnhart
                                        regarding SIB marketing materials (.1); conferred with K. Koscheski
                                        regarding pleading count and reviewed same (.2); exchanged emails
                                        with J. Himmel regarding ACON document review (.1); conferred
                                        with E. Reeder regarding obtaining second translation of Spanish
                                        interview and addressed related issues (.4); prepared list of marketing
                                        events for K. Sadler (.5); reviewed draft of response to motion to
                                        quash and cross-motion for sanctions and exchanged emails with M.
                                        Dwertman regarding same (.5); reviewed revised draft of motions in
                                        limine (.3); prepared summary of receivership warehouse details for
                                        K. Sadler (.2); updated trial prep task list and addressed related issues
                                        (1.3); revised proposed jury charge, including review of relevant case
                                        law in connection with same (.5); began drafting requested voir dire
                                        questions (.4); began drafting witness list (.6).
01/07/15    R W Fusco            8.00 Revise motions in limine per S. Powers' instruction.
01/07/15    J M Himmel           5.70 Reviewed documents from November 14, 2008 through May 25,
                                      2007 to find documents pertaining to Stanford's investments in Acon.
01/07/15    D K Jackson          2.50 Analyzed address of Stanford banks to facilitate preparation of a
                                      demonstrative to be used at trial; conducted WorkSite search for 2009
                                      bank correspondence.
01/07/15    K B Koscheski        9.00 Counted court pleadings filed between February 16, 2009 and
                                      February 15, 2010 for Romero trial (3.0 ); redacted SocGen
                                      documents for production (.3 ); renamed files on draft trial index (1.0
                                      ); confirmed brochure translated in Spanish matched English version
                                      (.7); Bates numbered production documents (4.0 )
01/07/15    S D Powers           6.50 Reviewed and analyzed warehouse video and photos for use with
                                      Receiver testimony and coordinated with L. Dodge regarding same
                                      (.7); reviewed, analyzed, edited draft joint pretrial order and drafted,
                                      reviewed emails regarding same (.8); reviewed, analyzed exhibit
                                      issues (1.3); reviewed, analyzed deposition cuts and coordinated with
                                      trial presentation vendor regarding same (2.3); exchanged emails with
                                      R. Fusco regarding motion in limine issues (.5); conferred with K.
                                      Sadler regarding                 (.5); analyzed supplemental
                                      document production issues and drafted, reviewed emails regarding
                                      same (.4).
01/07/15    E D Reeder           5.40 Followed up with court reporter regarding missing exhibit page (.1);
                                      reviewed receiver's deposition designations and began marking
                                      transcripts accordingly (2.1); met with Scott Powers and Sherwin
                                      Farififar regarding affidavit language for CNN article translation and
                                      revised same, forwarded to translation service (1.5); reviewed
                                      changes/additions to deposition designations by Scott Powers and
                                      adjusted marked-up transcripts (1.2); secured translator to prepare
                                      second translation of Radio Nacional interview with Romero (.5)
01/07/15    K M Sadler           8.80 Continued trial preparations including review of documents and
                                      testimony regarding limitations defense, review and edits to pre-trial




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                                Hours                                Description
                                        filings; review of compensation information for Romero; review of
                                        and comments to motion for sanctions; review of potential trial
                                        exhibits and demonstratives; continued addtions to outlines for
                                        wintesses (8.8)
01/08/15    D T Arlington        2.00 Further investigated factual issues relating to statute of limitations
                                      defense and met with team regarding same.
01/08/15    S F Cagniart         1.60 Researched case law on good faith element of TUFTA's good-faith
                                      affirmative defense for inclusion in the draft jury charge and
                                      discussed same by e-mail with S. Faridifar.
01/08/15    K Corral             2.40 Coordinating with attorney the execution of appendix for motions of
                                      limine and preparing documents to be used in appendix.
01/08/15    B A Day              6.70 Continued review of Romero-related e-mails and other information
                                      for purposes of trial preparation and met with K. Sadler, S. Powers,
                                      D. Arlington, and S. Faridifar to discuss same (6.7).
01/08/15    L E Dodge           15.20 Organized potential trial exhibits and prepared them for review by the
                                      team (4.4); revised and supplemented plaintiffs' trial exhibit list (3.2);
                                      researched documents for approval of the sale of ACON investments
                                      (.9); researched documents cited in KVT declarations (3.2); submitted
                                      export request to FTI for ACON documents in Ringtail database (.4);
                                      researched the "money box" picture and information regarding the
                                      20/20 cricket tournament (.9); researched Ringtail regarding 2006
                                      SEC subpoenas (2.2).
01/08/15    M R Dwertman         2.50 Added deposition citations, and extracted deposition testimony for
                                      inclusion in appendix (.9); discussed exhibits with S. Faridifar (.2);
                                      compiled appendix and updated ciations (1); reviewed Romero's
                                      discovery productions to verify his non-production of e-mail (.4).
01/08/15    S Faridifar         14.30 Continued drafting witness list (1.0); conferred with K. Sadler, S.
                                      Powers, D. Arlington, B. Day, and L. Dodge to discuss exhibit list for
                                      Romero trial and limitations issues (9.8); reviewed ACON documents
                                      and analyzed same in connection with exhibit list for trial (3.1);
                                      continued drafting voir dire questions and reviewed email from K.
                                      Sadler regarding same (.4).
01/08/15    R W Fusco            5.00 Cite-checked and revised motions in limine and appendix, and
                                      provided updated drafts to team.
01/08/15    J M Himmel          10.30 Reviewed documents from May 25, 2007 through Febrary 3, 2003 to
                                      find documents pertaining to Stanford's investments in ACON (3.5);
                                      Reviewed tagged documents to find those indicating overall
                                      investment levels in each of the individual ACON funds (2.2);
                                      Reviewed tagged documents and searched for additional documents
                                      pertaining to Paragon Multi-Family and ACON Funds Management
                                      (2.6); Condensed and labeled tagged documents to assist in document
                                      selection for trial exhibit list (2).
01/08/15    D K Jackson          1.60 Compiled exhibits to KVT declarations which support the Ponzi
                                      scheme for the trial exhibits in the Romero case.
01/08/15    D K Jackson          5.50 Conducted internet searches for Stanford banks to facilitate




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                                Hours                                Description
                                        preparation of a demonstrative to be used at trial.
01/08/15    K B Koscheski        7.00 Inserted end Bates number to Romero trial index (4.0 ); compiled
                                      exhibits to KVT declarations which support the Ponzi scheme for the
                                      trial exhibits in the Romero case (3.0 ).
01/08/15    S D Powers          10.20 Trial planning meeting with K. Sadler (by telephone), S. Faridifar,
                                      and L. Dodge to discuss                        and review possible
                                      exhibits for exhibit list, including discussion with B. Day and D.
                                      Arlington to discuss statute of limitations issues and relevant
                                      documents.
01/08/15    E D Reeder          10.10 Instructions to clerk regarding spreadsheet listing all Northern
                                      District of Texas cases with Janvey as plaintiff (.2); drafted pleading
                                      for receiver's deposition designations and revised according to
                                      changes and additions from Scott Powers (1.8); coordinated with trial
                                      presentation vendor regarding clarification of changes/deletions to
                                      designations (1.1); performed Ringtail searched for potential trial
                                      exhibits related to radio interview of Romero in Peru (1.2); Ringtail
                                      searches for potential trial exhibits related to TPC meeting in San
                                      Diego in 2001 (1.1); online research regarding news articles
                                      regarding Stanford 20/20/ cricket matches (.4); reviewed Radio
                                      Nacional transcription provided by translator and made revisions to
                                      same (.5); made revisions to translator's certification for Radio
                                      Nacional translation and met with Sherwin Faridifar and Scott Powers
                                      regarding same (.6); coordinated with translator regarding changes to
                                      his affidavit, met with him regarding same, and notarized the
                                      document (1.9); obtained corrected certification of CNN Expansion
                                      article from translation service and forwarded to the team (.4);
                                      completed first draft of list of all Northern District of Texas cases in
                                      which Janvey is plaintiff and forwarded to Scott Powers (.9);
01/08/15    K M Sadler           9.70 Conference with witness Reed (.4); conference
                                                                  (.4); conference with team to reviewe
                                      limitations issues and evidence (2.0); conference with trial team
                                      regarding review of all proposed exhibits; review of pre-trial motions;
                                      review of ACON evidence; review of spoliation issues; (6.5); emails
                                      to receiver regarding trial prep (.4)
01/08/15    P K Strebeck          .40 Researched articles on Stanford 20/20 from 2008 for Ellen Reeder.
01/09/15    D T Arlington        2.10 Coordinated with team regarding trial preparation issues and exhibits
                                      (0.6); reviewed issues relating to spoliation motion and
                                      communicated with team regarding same (1.5).
01/09/15    S F Cagniart         1.00 Edited jury charge and sent proposed edits for review to S. Powers
                                      and S. Faridifar.
01/09/15    L E Dodge           11.70 Revised and supplemented plaintiffs' trial exhibits and trial exhibit
                                      list (8.5); categorize and renumber trial exhibits (1.9); supplement
                                      impeachment documents for Romero's cross-examination (.7);
                                      reviewed banking locations project (.6).
01/09/15    M R Dwertman         1.50 Reviewed appendix cites and updated pagination in compliance with
                                      Local Rule 56.6 (.3); reviewed cases for discussion of prejudice (.3);




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                                Hours                                Description
                                        revised motion to incorporate comments from D. Arlington (.9).
01/09/15    S Faridifar         11.90 Reviewed edits to proposed jury charge from S. Cagniart (.2);
                                      continued reviewing ACON documents and addressed related issues,
                                      including conferring with S. Powers and J. Himmel regarding same
                                      (1.5); searched in Ringtail for certain ACON-related documents and
                                      exchanged emails with M. Russell regarding same (.9); exchanged
                                      emails with M. Barnhart regarding Stanford files and ACON
                                      documents (.3); reviewed documents provided by M. Barnhart
                                      regarding private equity investments and prepared documents for
                                      production and exhibit list (2.6); addressed issues regarding various
                                      exhibits for trial (.8); reviewed motions in limine and exchanged
                                      emails with R. Fusco regarding same (.4); reviewed draft response to
                                      Romero's motion to quash and cross-motion for sanctions (.2);
                                      revised witness list per comments from K. Sadler and S. Powers (.4);
                                      finalized joint pretrial order, witness list, voir dire questions,
                                      proposed jury charge, deposition designations, and motions in limine
                                      and filed same (1.4); reviewed pretrial materials filed by Romero (.4);
                                      addressed various issues related to finalizing exhibit list and filed
                                      same (2.8).
01/09/15    R W Fusco            4.00 Finished revision and filing of motions in limine.
01/09/15    J M Himmel           3.00 Searched for additional documentation pertaining to the ACON
                                      Subscription Agreement, Stanford's investments in AM Partners,
                                      Triple Play, and Milagro to assist in the preparation of the trial exhibit
                                      list.
01/09/15    D K Jackson          2.80 Conducted Internet searches for Stanford banks to facilitate prep of a
                                      demonstrative to be used at trial.
01/09/15    K B Koscheski        7.00 Prepared documents for trial prep by redacting, producing and adding
                                      to draft trial exhibit list.
01/09/15    S D Powers          11.00 Final review and revision of jury charge (.8); final review and
                                      revision of motions in limine and drafted, reviewed emails regarding
                                      same (1.2); final review and revision of witness list (.4); final review
                                      and revision of voir dire questions (.4); analysis of issues regarding
                                      exhibit list, final review of same, and multiple emails and conferences
                                      regarding same (4.0); revisions to joint pretrial order, phone
                                      conference with Romero's counsel regarding same, and multiple
                                      emails regarding same (1.2); analyzed issues regarding spoliation
                                      motion and drafted, reviewed emails regarding same (.3); final review
                                      and revisions to deposition designations (1.0); reviewed, analyzed
                                      Romero's pretrial filings (.8); analyzed issues regarding new ACON
                                      documents and supplemental production (.6); drafted, reviewed
                                      emails regarding information for trial graphics (.3).
01/09/15    E D Reeder           4.00 Listed exhibits included in receiver's deposition designations (.2);
                                      continued drafting deposition designations (1.1); added Romero's
                                      filings to shared drive and drafted index for notebook containing all
                                      pretrial filings (1.8); located and corrected trial exhibits (.9).
01/10/15    D T Arlington         .20 Communicated with team regarding spoliation motion.




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                                Hours                               Description
01/10/15    L E Dodge            1.70 Reviewed Romero's trial exhibit list and identified duplication with
                                      plaintiffs' exhibits (1.7).
01/10/15    S Faridifar          1.40 Addressed issues regarding Greenberg fees (.1); addressed issues
                                      regarding professional fees incurred by Receiver prior to February 15,
                                      2010 (.1); reviewed issues regarding Stanford and political
                                      contributions and expenses (.3); addressed issues regarding pleadings
                                      count for limitations argument (.9).
01/11/15    L E Dodge            7.30 Supplemented master trial exhibit list with information from
                                      defendant's trial exhibits (3.9); compiled Romero's exhibits in
                                      electronic format (2.3); compiled and renamed plaintiffs' electronic
                                      exhibits (1.1).
01/11/15    S Faridifar          3.30 Prepared summary of ACON investments in connection with
                                      preparation of Receiver for trial and addressed related issues.
01/11/15    K B Koscheski        6.00 Prepared defendant's trial exhibits.
01/11/15    S D Powers           1.00 Drafted response to motion for reconsideration of summary judgment
                                      order.
01/11/15    E D Reeder           7.00 Prepared pretrial notebooks for printing in Dallas (.7); drafted index
                                      for pretrial notebooks (.3); attached all pleadings to email to copy
                                      service with printing/binding instructions (.4); reviewed defendant's
                                      deposition designations (.3); marked deposition transcripts with
                                      color-coded highlighting to denote both parties designations (4.9);
                                      corrected and re-scanned trial exhibits (.4);
01/11/15    K M Sadler           3.50 Travel to Dallas for witness/trial prep meetings with Receiver and
                                      KVT (3.5)
01/12/15    D T Arlington         .20 Communicated with team regarding outstanding SCB accounts as of
                                      receivership date, for trial preparation.
01/12/15    B A Day               .10 Discussed dates of entry of particular orders with K. Sadler for use in
                                      the Romero lawsuit (0.1).
01/12/15    L E Dodge           15.70 Supplemented master trial exhibit list with information from
                                      defendant's trial exhibits (2.9); compiled Romero's exhibits in
                                      electronic format (1.9); prepared plaintiffs' exhibits for electronic
                                      exhibit labels (2.9); prepared supplemental production on disc for
                                      Romero (.4); prepared letter to Romero's counsel transmitting
                                      supplemental production (.3); prepared plaintiffs' and defendant's trial
                                      exhibit notebooks for K. Sadler and S. Powers (.5); sent selected
                                      plaintiffs' trial exhibits to Romero's counsel, as requested by B. Clark
                                      (.5); reviewed plaintiffs' and defendant's trial exhibits relating to G.
                                      Tirado and Venezuelan bank (1.3); researched duplicate exhibits on
                                      defendant's trial exhibit list (2.6); identified exhibit errors in
                                      defendant's exhibits (1.9); sent K. Van Tassel's errata sheet to court
                                      reporter and contacted court reporter for confirmation of receipt (.5).
01/12/15    M R Dwertman         6.90 Separated combined cross-motion and response into separate motion
                                      for sanctions and response (2.7); reviewed
                                                        added factual background section to motion for
                                      sanctions (1.1);




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                                Hours                                Description
                                                     revised motion
                                                 (.6); communicated with S. Faridifar re: Romero's e-mails
                                        from Stanford files (.1); researched pattern adverse inference
                                        instructions for spoliation of evidence (2.4).
01/12/15    S Faridifar          8.00 Revised and filed response to motion to reconsider (.1); continued
                                      preparing summary of ACON investments in connection with
                                      Receiver's trial prep (1.9); began preparing summary related to
                                      limitations issues for Receiver and KVT trial preparation, including
                                      review of relevant materials (3.4); exchanged emails with M. Russell
                                      regarding ACON investments (.5); responded to emails from S.
                                      Powers regarding Receivership claimants (.2); addressed issues
                                      regarding numbers of Stanford offices as of Receiver's appointment
                                      (.8); reviewed additional ACON documents from M. Barnhart and
                                      exchanged emails with S. Powers regarding same (.4); reviewed
                                      comments from S. Powers regarding response to motion to quash and
                                      cross-motion for sanctions and addressed related issues, including
                                      exchanging emails with M. Dwertman regarding same (.7).
01/12/15    D K Jackson          4.70 Organized list of all cases with Janvey as plaintiff; conducted count
                                      of defendants.
01/12/15    K B Koscheski       10.00 Reviewed trial exhibits(8); searched for duplicates of produced
                                      documents in index (1); labeled files with Bates numbers (.5);
                                      produced native documents for production (.5).
01/12/15    S D Powers           8.50 Review of KVT deposition transcript for possible errata and also to
                                      prepare for trial prep meeting in Dallas (4.2); phone conference with
                                      KVT regarding changes to transcript and drafted, reviewed emails
                                      regarding same (.7); reviewed and commented on response to motion
                                      to quash and motion for sanctions (1.0); drafted, reviewed emails
                                      regarding rescheduling call concerning                          (.1);
                                      reviewed video of Romero designations (1.0); reviewed updated trial
                                      graphics (.5); drafted, reviewed emails regarding
                                      and facts relevant to same (1.0).
01/12/15    E D Reeder           2.30 Began marking deposition transcripts with defendant's designations.
01/12/15    K M Sadler           9.80 Reviewed and revised Receiver outline (6.5); conferences with
                                      Powers regarding trial prep tasks, exhibits           (1.0);
                                      reviewed information for potential demonstrative exhibits (1.5);
                                      reviewed deposition designations of            (.8);
01/12/15    M P Schwartz          .70 Create production disk.
01/13/15    D T Arlington        1.50 Communicated with team regarding outstanding SCB accounts as of
                                      Receivership date and investigated same, for trial preparation (0.9);
                                      communicated with team regarding claims statistics and related issues
                                      for trial preparation (0.6).
01/13/15    A A Carr              .30 Emails and conference with S. Faridifar regarding


01/13/15    K Corral             3.00 Coordinate with Austin office and prepare litigation materials
                                      regarding Romero trial exhibits for team of attorneys.




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                                Hours                                Description
01/13/15    L E Dodge            9.00 Revised and supplemented master exhibit list (4.3); identified
                                      additional duplicate exhibits (.5); coordinated with vendor regarding
                                      scanning quality of 1999 annual report (.3); sent plaintiffs' exhibits to
                                      CSI (.5); annotated Romero marketing timeline with exhibit
                                      references and highlighted exhibits (3.4).
01/13/15    M R Dwertman         5.50 Inserted proposed adverse inference instruction into motion and
                                      composed email to S. Faridifar re: research on such instruction (1.1);
                                      reviewed S. Faridifar edits, made revisions to Motion and Response
                                      based on his comments, updated appendix and citations to reflect
                                      changes, proofed updated versions (3.4); reviewed and incorporated
                                      S. Powers edits and made revisions in response (.6); updated
                                      appendix and cites to reflect new reference to Romero's alternate e-
                                      mail account (.4).
01/13/15    S Faridifar         12.90 Reviewed and revised motion for sanctions and response to motion to
                                      quash and exchanged emails with M. Dwertman regarding same
                                      (2.3); exchanged emails with M. Russell regarding ACON
                                      investments and reviewed related documents (1.0); calls with K.
                                      Sadler regarding ACON investments, SIB brochures, and other issues
                                      in preparation for trial (.3); responded to email from K. Sadler
                                      regarding International Advisory Board, including review of relevant
                                      documents (.5); began compiling list of Stanford insiders with whom
                                      Romero had contact (.4); addressed various issues in preparation for
                                      upcoming trial, including calls with K. Sadler and review of relevant
                                      trial maters and exhibits (1.1); continued preparing limitations
                                      summary for Receiver's trial prep, including review of relevant
                                      documents and filings, and drafted email to K. Sadler regarding same
                                      (5.8); conferred with A. Carr regarding pleadings count (.1); finalized
                                      and filed motion for sanctions, appendix in support of motion, and
                                      response to motion to quash (1.4).
01/13/15    K B Koscheski         .50 Prepared exhibit list for trial preparation.
01/13/15    C Montalvo            .10 Researched and obtained GAO report for Ellen Reeder.
01/13/15    C J Norfleet          .70 Meet with Scott Powers and Kevin Sadler
                                      motion for judgment as a matter of law.
01/13/15    S D Powers          12.00 Travel to Dallas for Romero trial prep (3.0); meeting with K. Van
                                      Tassel and M. Russell to prepare for trial testimony (8.0); meeting
                                      with C. Norfleet and K. Sadler to discuss drafting JMOL (.5);
                                      reviewed and revised motion for sanctions and response to motion to
                                      quash and multiple phone calls and emails regarding same (.5).
01/13/15    E D Reeder           2.10 Located more legible/useable copies of documents designated as trial
                                      exhibits (.4); drafted deposition counter-designations and objections
                                      (1.7).
01/13/15    K M Sadler           9.00 Continued review and editing of outline of testimony of receiver;
                                      (7.5); conferences with Powers and KVT re trial testimony of expert
                                      (1.5);
01/14/15    D T Arlington         .10 Communicated with team regarding Romero trial preparation issues.




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                                Hours                               Description
01/14/15    B A Day               .40 Discussed compensation methods for IAB members with S. Faridifar
                                      and FTI for reference in the Romero trial preparation (0.4).
01/14/15    L E Dodge            7.80 Prepared documents for supplemental production (1.9); prepared
                                      transmittal letter with supplemental production (.4); prepared trial
                                      exhibit notebooks (1.1); revised and supplemented master trial exhibit
                                      list and trial exhibits (4.4).
01/14/15    S Faridifar         10.50 Addressed issues regarding Peru radio interview for K. Sadler (.6);
                                      addressed issues regarding list of cases filed by Receiver (2.5);
                                      addressed issues related to invoice review for references to Romero
                                      or IAB (.5); exchanged e-mails with K. Sadler, S. Powers, and L.
                                      Dodge regarding various issues in preparation for trial, including
                                      review of relevant materials (1.3); compiled information regarding
                                      IAB members sued by Receiver and amounts of claims (2.4);
                                      reviewed draft of trial prep outline for Receiver (.2); met with L.
                                      Dodge regarding exhibits in support of marketing timeline (.4);
                                      continued preparing limitations summary for KVT trial prep outline
                                      (2.6).
01/14/15    D K Jackson          3.00 Review fee applications for IAB and Romero references.
01/14/15    K B Koscheski         .30 Produced documents to be burned on disc for
01/14/15    S D Powers           8.00 Meeting with K. Van Tassel and M Russell to prepare for trial
                                      testimony.
01/14/15    E D Reeder           3.10 Continued drafting deposition designations; (1.9); compared to
                                      transcripts for accuracy and completeness (1.2).
01/14/15    K M Sadler           8.50 Further review and editing of Receiver outline, including conferences
                                      with Dodge re evidence/exhibit issues, conferences with Faridifar re
                                      exhibit/evidence issues, conferences with Powers             (7.0);
                                      conferences with Powers and KVT re
                                      (1.5)
01/15/15    D T Arlington         .90 Communicated with team regarding potential exhibit issues (0.3);
                                      investigated claim related issues for trial evidence (0.6).
01/15/15    K Corral             1.70 Preparing litigation materials regarding motions to approve sale of
                                      certain PE investments and overseeing preparation of interim reports
                                      binder.
01/15/15    L E Dodge           10.50 Revised and supplemented master trial exhibit list containing
                                      plaintiffs' and defendant's exhibits (.7); compiled and sent interim
                                      status reports to R. Janvey (1.3); reviewed and summarized pre-trial
                                      stipulation deadlines (1.4); researched motions to approve the sale of
                                      various private equities (2.7); researched Defendant's Ex. 11 to
                                      identify missing attachments (.9); researched documents produced by
                                      BBG which mentioned Romero (3.5).
01/15/15    S Faridifar          7.90 Completed bullet point summary of limitations issues for KVT
                                      preparation and drafted email to S. Powers regarding same (.6);
                                      addressed issues regarding pre-trial deadlines (.3); addressed issues
                                      regarding pleadings count and drafted e-mail to K. Sadler and S.
                                      Powers regarding same (.5); reviewed exhibits and exhibit list and




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                                Hours                                Description
                                        verified images, including preparing summary of issues and sending
                                        to S. Powers (2.7); continued compiling list of Stanford insiders with
                                        whom Romero had contact (1.0); addressed issues regarding invoice
                                        review, including meeting with D. Jackson regarding same (.4);
                                        compiled list of speeches and presentations given by Romero (1.6);
                                        addressed various issues related to agreements for ACON
                                        investments (.8).
01/15/15    D K Jackson          8.00 Reviewed receivership invoices through the first twelve fee apps and
                                      marked entries referring to Romero or IAB for K. Sadler.
01/15/15    K B Koscheski        1.50 Gathered motions to approve sale of PE investments for trial
                                      preparation.
01/15/15    K B Koscheski        3.30 Reviewed receivership invoices through the first twelve fee apps and
                                      marked entries referring to Romero or IAB for K. Sadler
01/15/15    S D Powers           8.80 Meeting with R. Janvey and K. Sadler to prepare for trial testimony
                                      (5.0); meeting with CSI to discuss trial graphics (3.5); drafted,
                                      reviewed emails regarding researching Lee Brown contributions from
                                      RAS (relevant to Lee Brown letter offered by Romero) (.3).
01/15/15    R Pravata             .80 Researched campaign finance reports for Scott Powers.
01/15/15    K M Sadler           9.00 Meeting with Receiver and Powers regarding
                                              (5.5); meeting with Powers and CSI rep regarding trial
                                      demonstratives (2.5); numerous emails to/from Faridifar and Dodge
                                      regarding research and exhibits and document production issues (1.0)
01/15/15    L E Weaver           1.90 Searched mayoral race financial records from 1997 and 2001 for
                                      specific donors.
01/16/15    D T Arlington         .50 Further investigated issues relating to Venezuelan claims for trial
                                      preparation and communicated with team regarding same.
01/16/15    K Corral              .40 Coordinate the return of all the Romero trial materials to various
                                      participants.
01/16/15    L E Dodge           10.60 Revised and supplemented master trial exhibit list (2.2); revised trial
                                      exhibit list and researched and revised more than three dozen
                                      plaintiffs' trial exhibits (6.6); prepared Plaintiffs' Amended Exhibit
                                      List (.9); sent amended exhibit list and a link to exhibits to Romero's
                                      counsel (.9).
01/16/15    S Faridifar          6.00 Addressed various issues regarding documents related to ACON
                                      investments, including exchanging emails with K. Sadler and S.
                                      Powers regarding same (1.4); addressed issues regarding Romero
                                      radio interview and translation (.5); call with K. Sadler and S. Powers
                                      regarding ACON investment summary and trial exhibits (.7);
                                      exchanged emails with L. Dodge and S. Powers regarding new
                                      exhibits (.4); reviewed updated exhibit list (.3); prepared summary for
                                      marketing timeline, including annotations with trial exhibits (2.7).
01/16/15    D K Jackson          6.50 Reviewed receivership invoices through the first twelve fee apps and
                                      marked entries referring to Romero or IAB for K. Sadler.




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                                Hours                                 Description
01/16/15    K B Koscheski        4.50 Reviewed receivership invoices through the first twelve fee apps and
                                      marked entries referring to Romero or IAB for K. Sadler
01/16/15    K B Koscheski        1.50 Troubleshot with IT to resolve distorted image of production
                                      document (.5); searched in Ringtail for better version of 3 production
                                      documents (.5); requested from FTI a re-export of distorted
                                      production document (.5).
01/16/15    C J Norfleet          .90 Research case law for use in drafting motion for judgment as a matter
                                      of law.
01/16/15    S D Powers          11.80 Meeting with R. Janvey and K. Sadler to prepare for trial testimony
                                      (4.0); phone conference with                  to discuss possible trial
                                      testimony (.3); review of exhibit list and drafted, reviewed emails
                                      regarding finalizing copies of exhibits for trial (1.5); return travel to
                                      Austin (3.0); meeting with CSI to discuss trial graphics (3.0).
01/16/15    E D Reeder           4.80 Reviewed emails regarding translation of April 2008 Radio Nacional
                                      interview (.2); contacted translator regarding whether that date was
                                      stated in the audio file and exchanged several emails regarding same
                                      (.4); reported to attorneys regarding telephone conversation with
                                      translator (.2); continued drafting deposition counter-designations
                                      (2.5); highlighted deposition transcripts to include objections (1.5).
01/16/15    K M Sadler           9.00 Continued trial prep and                      with Receiver and Powers,
                                      including numerous conferences and emails to/from Faridifar
                                      regarding trial exhibits and other pre-trial issues (6.5); second
                                      meeting with CSI and Powers regarding trial demonstratives
                                              (2.0); conference with Powers regarding JMOL issues (.5)
01/16/15    L E Weaver           2.10 Searched mayoral race records from 1997 and 2001 for specific
                                      donors' names.
01/17/15    S Faridifar          2.00 Updated trial preparation outline for Receiver in connection with
                                      various topics and drafted email to K. Sadler regarding Triple Play
                                      investment, including conducting online research in connection with
                                      same.
01/18/15    S Faridifar          2.80 Exchanged emails with K. Sadler regarding motion for sanctions (.1);
                                      reviewed objections to deposition designations and cross-designations
                                      and revised same, including reviewing deposition transcripts and e-
                                      mails from K. Sadler regarding same (2.7).
01/19/15    B A Day               .20 Discussed trial logistics from Pre-War Art case with K. Sadler for use
                                      in Romero trial (0.2).
01/19/15    L E Dodge           10.70 Revised and supplemented master trial exhibit list (.9); prepared new
                                      trial exhibits (.7); supervised and reviewed analysis of Greenberg
                                      Traurig invoices (2.1); identified incomplete defendant's exhibits
                                      (1.5); sent new PX 175 and PX 183 to Romero's counsel and updated
                                      exhibit list (.9) prepared plaintiffs' and defendant's exhibit notebooks
                                      (1.4); prepared highlighted exhibits in connection with marketing
                                      timeline summary (3.2).
01/19/15    S Faridifar         10.20 Reviewed and revised draft of objections to deposition designations
                                      and counter-designations and filed and served same, including




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                                Hours                                 Description
                                        conferring with S. Powers regarding same (4.5); continued preparing
                                        marketing timeline summary and addressing related issues, including
                                        issues related to supporting exhibits, for K. Sadler (2.5); call with K.
                                        Sadler and S. Powers regarding various trial preparation issues (.5);
                                        addressed various issues regarding deposition designations (.3);
                                        responded to emails from K. Sadler regarding Stanford plane and
                                        other issues in preparation for trial (.8); reviewed summary of invoice
                                        review from D. Jackson and addressed related issues (.9); reviewed
                                        Romero's proposed jury charge in preparation for drafting objections
                                        to same (.7).
01/19/15    S D Powers           4.80 Reviewed and edited objections to deposition designations and cross-
                                      designations and drafted, reviewed emails regarding same (2.7);
                                      conferred with K. Sadler and S. Faridifar regarding status of pretrial
                                      tasks (.5); conferred with L. Dodge regarding various exhibit and
                                      pretrial planning issues (.5); exchanged emails with K. Sadler
                                      regarding                              (.3); exchanged emails with
                                                     regarding rescheduling of witness interview (.1);
                                      drafted, reviewed emails regarding collecting and analyzing
                                      Greenberg invoices (.3); drafted email to E. Reeder regarding
                                      collecting information on Romero's expert (.2); conferred with S.
                                      Faridifar regarding deposition designation issues (.2).
01/19/15    E D Reeder           8.00 Reviewed defendant's cross-deposition designations and marked
                                      deposition transcripts with all counter-designations from both parties
                                      (4.1); Westlaw and online research regarding Otto Reich, defendant's
                                      expert (2.8); telephone conference with translator regarding Radio
                                      Nacional interview and reported results to attorneys (.3); updated
                                      pretrial filings folder and notebooks (.8).
01/19/15    K M Sadler           8.60 Reviewed and revised witness outlines, (5.5); reviewed defendant's
                                      motion in limine and email to Powers                     (.6);
                                      reviewed trial exhibits (1.5); conferences with Powers and Faridifar
                                      regarding numerous trial preparation matters (1.0)
01/20/15    L E Dodge           11.80 Analyzed Greenberg Traurig invoices (3.8); revised and
                                      supplemented master trial exhibit list (1.2); researched KVT
                                      declarations for breakdown by country of SIBL investor balances and
                                      updated Janvey's direct examination outline with the information
                                      (1.3); supplemented defendant's exhibit list with notations regarding
                                      exhibit issues (.9); compiled impeachment documents for Romero's
                                      cross-examination (4.6).
01/20/15    S Faridifar          9.90 Revised marketing timeline summary per comments from K. Sadler
                                      (.9); conferred with D. Jackson regarding invoice review summary
                                      (.2); addressed issues related to objections to Romero's exhibits and
                                      exhibit list (.4); prepared for and met with S. Powers regarding
                                      objection to exhibits (2.5); drafted and revised objections to exhibits
                                      (1.2); call with S. Powers and K. Sadler regarding objections to
                                      exhibits (1.2); addressed further issues regarding Romero's exhibits
                                      and other issues raised by K. Sadler and S. Powers in connection with
                                      trial preparation (.4); conferred with J. Himmel regarding Ringtail
                                      review related to Romero's exhibits and drafted several emails
                                      regarding same (.4); reviewed documents on Ringtail in connection




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                                Hours                                Description
                                        with DSCC contribution issue (2.0); reviewed revised invoice review
                                        summary from D. Jackson (.3); addressed issues related to documents
                                        regarding Signal private placement involving ACON (.4).
01/20/15    J M Himmel           3.40 Searched for and sent S. Faridifar the parent emails and all other
                                      attachments associated with Romero's exhibits 49, 50, 51, 52, 53, 54,
                                      56, 57, 58, 61, and 62.
01/20/15    D K Jackson          3.70 Amended marked entries through the first twelve fee apps referring to
                                      Romero or IAB for K. Sadler. (2.80); Researched Greenberg Traurig
                                      hot documents                              to find all invoices from
                                      Greenberg to Stanford entities (.9)
01/20/15    K B Koscheski        3.00 Researched Greenberg Traurig hot documents
                                             to find all invoices from Greenberg to Stanford entities and
                                      compiled and summarized invoices.
01/20/15    K B Koscheski        4.00 Prepared plaintiff exhibit notebooks for Romero trial.
01/20/15    S D Powers           5.30 Reviewed Romero exhibit list with K. Sadler and S. Faridifar for
                                      preparation of objections and analysis of utility at trial (2.7); analyzed
                                      issues related to payments to Greenberg Traurig (.5); reviewed,
                                      analyzed order on motion to quash (.2); reviewed updated trial
                                      graphics and drafted, reviewed emails regarding same (.3); drafted,
                                      reviewed emails regarding corrected certification for Peru radio
                                      interview transcript (.3); drafted, reviewed emails regarding
                                                                    (.2); analyzed issues related to FinCEN
                                      advisory concerning Antigua (.3); reviewed status of various pretrial
                                      tasks (.6); exchanged emails with KVT regarding scheduling for prep
                                      meeting (.2).
01/20/15    E D Reeder           3.60 Continued compiling articles and materials located in research on
                                      defendant's expert Otto Reich (2.6); contacted translator regarding
                                      revising certification to reflect correct date of Radio Nacional
                                      interview and reported to Scott Powers (.4); drafted revised
                                      certification (.2); met with translator Steve Mines and
                                      finalized/notarized certification and forwarded to Lynne Dodge as
                                      revised exhibit (.4).
01/20/15    K M Sadler           7.50 Continued trial preparation and review of exhibits, testimony outlines
                                      (6.5); conferences with powers and faridifar
                                                       1.0)
01/20/15    N M Starbuck          .70 Response to request re: production of documents cited in K.V.
                                      Tassel's declaration.
01/21/15    D T Arlington         .70 Communicated with team regarding potential prior communications
                                      with Romero and investigated regarding same.
01/21/15    S F Cagniart          .20 Reviewed documents regarding Stanford's expenditures at the
                                      Democratic National Convention in 2008 and discussed same with S.
                                      Faridifar.
01/21/15    B A Day               .10 Discussed claims against Kenneth Allen with S. Faridifar (0.1).
01/21/15    L E Dodge            4.30 Researched GAO report and pay level information (.9); compressed




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                                Hours                                 Description
                                        and uploaded plaintiffs' and defendant's exhibits to FTP and sent the
                                        link to CSI (1.2); reviewed and updated pre-trial filings notebook
                                        (2.2).
01/21/15    S Faridifar         11.30 Reviewed documents produced by Receiver related to Romero's
                                      exhibits and conferred with S. Powers regarding same (1.0):
                                      exchanged emails with K. Sadler regarding NDI event in September
                                      2008 and addressed related issues (.3); conferred with J. Himmel
                                      regarding documents related to Signal International private placement
                                      (.2); addressed issues regarding invoice review summary, including
                                      exchanging emails with K. Sadler, S. Powers, and D. Jackson
                                      regarding same and revising same (1.4); addressed issues regarding
                                      KVT deposition and exchanged emails with K. Sadler regarding same
                                      (.3); addressed issues regarding IAB members and dates of service,
                                      including conferring with J. Himmel regarding same (1.5); reviewed
                                      Stanford video related to IAEC award and addressed related issues,
                                      including conferring with E. Reeder and S. Powers regarding same
                                      (.5); began drafting plaintiffs' objections to proposed jury charge
                                      (4.3); conferred with S. Powers regarding various issues related to
                                      trial preparation (.2); prepared for and attended call with K. Sadler
                                      regarding various trial prep issues (1.6).
01/21/15    J M Himmel           6.40 Searched for and sent S. Faridifar the parent email and attachments
                                      associated with Romero's exhibit 55 (.8); Searched Ringtail for all
                                      emails and documents relating to Signal International and sent PDFs
                                      of relevant documents to S. Faridifar for review (3.1); Searched
                                      Ringtail documents to find out when Luis Giusti, Blaise Friedli, Rene
                                      Burgauer, Kenneth Allen, Courtney Blackman, and Anthony
                                      D'Aniello joined Stanford's International Advisory Board (2.5).
01/21/15    D K Jackson          3.50 Amended marked entries through the first twelve fee apps referring to
                                      Romero or IAB for K Sadler and S. Faridifar (.5); Made notations to
                                      pre-trial materials for Tolentino, Rodriguez, and Suarez (3.0)
01/21/15    K B Koscheski        3.00 Searched in Stanford publications for proof of when Kenneth Allen,
                                      Courtney Blackman, Blaise Friedli and Rene Burgauer joined
                                      International Advisory Board (1); searched in Tirado files for best
                                      version of audit (.5); searched for RASs 1999 through 2007 tax
                                      returns (.5); searched for the Financial Services Regulatory
                                      Commission's Quarterly Statement of Assests and Liabilities Report
                                      (1).
01/21/15    C J Norfleet         4.10 Research motion for judgment as a matter of law.
01/21/15    S D Powers           5.90 Drafted outline for KVT direct (4.2); conferred with L. Dodge
                                      regarding various issues related to exhibits (.5); conferred with
                                                                                           and follow-up
                                      discussions and email correspondence regarding same (.7); conferred
                                      with K. Sadler and S. Faridifar regarding limitations issues and trial
                                      tasks (.5).
01/21/15    E D Reeder           7.80 Coordinated with vendor regarding conversion of video on disc and
                                      excerpt from same (1.1); continued online research regarding
                                      defendant's expert Otto Reich and began organizing articles and




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                                Hours                                Description
                                        speeches (3.8); reviewed deposition markups of objections prepared
                                        by clerk and revised/corrected same (2.3); prepared notebooks in
                                        color showing all deposition designations to date for Scott Powers
                                        and Kevin Sadler (.6).
01/21/15    K M Sadler           8.50 Reviewed fee app materials regarding potential cross examination
                                      issues (2.5); conferences with Powers and Faridifar on various trial
                                      preparation matters (1.5); continued revisions to examination outlines
                                      (4.5)
01/21/15    P K Strebeck          .50 Researched articles by Otto Reich at request of Ellen Reeder.
01/22/15    L E Dodge           11.90 Prepared Romero's deposition video for review by K. Sadler (1.5);
                                      researched

                                          (3.2); researched Ringtail and requested export of documents (3.3);
                                        reviewed and compiled all of Romero's declarations and discovery
                                        responses for K. Sadler (3.1); researched Ringtail to find a color copy
                                        of DX 14 (.8).
01/22/15    S Faridifar         11.90 Continued drafting and revising objection to proposed jury charge,
                                      including review of relevant briefing and case law (9.4); call with K.
                                      Sadler and S. Powers regarding various trial preparation issues (.5);
                                      exchanged emails with J. Himmel regarding research issue (.2);
                                      conferred with L. Dodge regarding various trial prep issues, including
                                      review of trial exhibits for statements regarding Romero's investment
                                      acumen (.2); addressed various issues in preparation for trial,
                                      including issues related to pretrial filings and exhibits (1.3); conferred
                                      with J. Himmel and L. Dodge regarding issues related to IAB service
                                      dates (.3).
01/22/15    J M Himmel           2.60 Searched for when Kenneth Allen, Courtney Blackman, Blaise
                                      Friedli, and Rene Burgauer joined Stanford's International Advisory
                                      Board (search was primarily conducted in Ringtail, also included
                                      review of references to these individuals found by paralegal clerk K.
                                      Koscheski in multiple issues of the Lodis Report magazine, results
                                      were summarized and sent to S. Faridifar) (.9); Researched Texas and
                                      Fifth Circuit case law to determine if the existence of a valid and
                                      enforceable contract is a question of law or fact, with focus on
                                      contracts that are void and unenforceable as against public policy
                                      (1.7).
01/22/15    D K Jackson          2.00 Reviewed receivership invoices through the first twelve fee apps and
                                      marked entries referring to Romero or IAB for K. Sadler (1.50);
                                      Reviewed Stanford magazines for reference to IAB members (.5)
01/22/15    K B Koscheski        8.00 Searched in Stanford publications for proof of when Kenneth Allen,
                                      Courtney Blackman, Blaise Friedli and Rene Burgauer joined
                                      International Advisory Board (4); searched Ringtail for Suarez,
                                      Bogar, Romero and Acceptance, Waiver and Consent Letter
                                      connection (4).
01/22/15    C J Norfleet         4.60 Research case law and summary judgment record for use in drafting
                                      motion for judgment as a matter of law.




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                                Hours                               Description
01/22/15    S D Powers           6.70 Continued preparing direct outline for KVT testimony (4.7); reviewed
                                      information regarding SGC FINRA fine related to advertising of SIB
                                      CD and drafted, reviewed emails regarding same (.5); conferred with
                                      L. Dodge regarding document production and trial logistics issues
                                      (.3); conferred with K. Sadler regarding                      (.5);
                                      conferred with S. Faridifar and K. Sadler regarding trial tasks (.4);
                                      reviewed Romero's amended exhibit list and new exhibits (.3).
01/22/15    E D Reeder           3.70 Drafted objections to Romero's cross-designations (1.1); reviewed
                                      and downloaded converted video files and forwarded to Sherwin
                                      Faridifar (1.1); instructions to vendor regarding re-formatting the
                                      video per Sherwin Faridifar (.4); renamed and organized research
                                      regarding defendant's expert Otto Reich (1.1).
01/22/15    K M Sadler           7.50 Continued trial preparation with review and update of witness
                                      outlines (3.5); review of exhibits and draft demonstratives (2.5);
                                      conferences with Paoers and Faridifar regarding
                                               (1.5)
01/23/15    B A Day               .40 Corresponded with S. Powers concerning unjust-enrichment research
                                      (0.4).
01/23/15    L E Dodge            9.70 Prepared Receiver's Amended Exhibit List (1.4); revised and
                                      supplemented master trial exhibit list (1.1); researched American
                                      Leisure / Westridge order (2.1); reviewed defendant's amended
                                      exhibit list (1.2); prepared supplemental production and sent it and
                                      new PX 192 to Romero's counsel (1.3); supervised project to
                                      determine certain facts regarding FTI and Krage & Janvey time billed
                                      to the receivership, generally, and billed to the Romero case (2.6);
01/23/15    S Faridifar          9.40 Multiple rounds of revisions to objection to proposed jury charge per
                                      comments from K. Sadler and S. Powers, including related case law
                                      research and review of prior research (6.4); exchanged emails with S.
                                      Powers and K. Sadler regarding unjust enrichment and existence of
                                      contract, including review of prior briefing from related cases (.5);
                                      exchanged emails with E. Reeder regarding Stanford video clip (.2);
                                      revised objections to defendant's exhibits and filed same (.8); file
                                      amended exhibit list (.4); finalized objection to proposed jury charge
                                      and filed same (.8); reviewed defendant's objections to plaintiffs'
                                      proposed jury charge (.3).
01/23/15    J M Himmel           2.40 Researched Texas state and related federal case law and statutory law
                                      to determine whether the statute of limitations discovery rule applies
                                      to unjust enrichment claims in Texas and what the applicable statute
                                      of limitations period is for such claims, and sent email to S. Powers
                                      summarizing findings.
01/23/15    D K Jackson          7.50 Reviewed trial exhibits for references to Romero; created Romero
                                      Financial Acumen working folder (5.0); Assembled Romero invoice
                                      entries from February 2011 to October 2014 (2.5)
01/23/15    K B Koscheski        8.50 Searched for Westridge/American Leisure Order to Foreclose in
                                      Court Papers (.3); compared original and amended defendant's exhibit
                                      list and highlighted changes (.2); searched trial exhibits for




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                                Hours                                 Description
                                        documents that describe Romero's financial acumen (6) created chart
                                        for summary of FTI timekeeper and total number of hours billed from
                                        inception to 2/15/2010 (1.5); created chart for summary of KVT total
                                        number of hours billed from inception to 2/15/2010 (.5).
01/23/15    C J Norfleet         5.70 Research and draft responses to Romero's motions in limine related to
                                      expert testimony.
01/23/15    S D Powers           9.80 Reviewed, commented on, and edited objections to Romero's
                                      proposed jury charge and drafted, reviewed emails regarding same
                                      (2.5); prepared KVT direct outline (5.9); phone conference with
                                      Romero's new trial counsel and exchanged emails with K. Sadler
                                      regarding same (.2); conferred with K. Sadler and S. Faridifar
                                      regarding                  and status of trial prep tasks (.5); analyzed
                                      statute of limitations issue regarding unjust enrichment and
                                      exchanged emails with J. Himmel regarding same (.5); conferred with
                                      C. Norfleet regarding drafting expert witness sections of motion in
                                      limine response (.2).
01/23/15    E D Reeder           3.60 Reviewed reloaded video file and excerpts for potential use as trial
                                      exhibit and attempted to email to Sherwin Faridifar (.5); downloaded
                                      to shared drive (.2); completed research on defendant's expert Otto
                                      Reich and drafted email summarizing same with attached articles
                                      (2.9).
01/23/15    K M Sadler           7.80 Reviewed issues regarding objections to exhibits (1.5); reviewed
                                      issues regarding objections to jury charge (1.5); reviewed motion in
                                      limine issues (1.5); conferences with Powers
                                      (1.0); updated witness outlines for Receiver (1.0); reviewed Romero
                                      video clips (1.3)
01/24/15    L E Dodge            2.10 Reviewed, revised, and supplemented list of documents which touted
                                      Romero's financial expertise (1.2); compiled R. Janvey's direct and
                                      cross examination in the Ch. 15 case (.9).
01/24/15    S Faridifar          7.00 Responded to emails from K. Sadler regarding issued related to trial
                                      prep (.4); addressed issues regarding Stanford video and exchanged
                                      emails with K. Sadler, S. Powers, and E. Reeder regarding same (.4);
                                      reviewed and revised Stanford invoice summary and drafted email to
                                      K. Sadler and S. Powers regarding same (.8); drafted responses and
                                      objections to motions in limine (5.1); conferred with L. Dodge
                                      regarding trial prep issues (.3).
01/24/15    C J Norfleet         1.60 Research and draft responses to Romero's motions in limine related to
                                      expert testimony.
01/24/15    S D Powers           2.50 Continued updating and revising KVT outline.
01/25/15    L E Dodge            3.50 Communicated with CSI regarding courtroom set-up and electronic
                                      equipment (1.2); revised and supplemented list of documents which
                                      touted Romero's financial acumen (2.3).
01/25/15    S Faridifar         12.10 Continued drafting responses and objections to Romero's motions in
                                      limine and drafted email to K. Sadler and S. Powers regarding same
                                      (6.6); responded to email from K. Sadler regarding
                                                  including conducting case law research in connection




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                                Hours                                Description
                                        with same (1.1); drafted motion in limine regarding current value of
                                        Washington Nationals (4.4).
01/25/15    C J Norfleet          .80 Analyze Romero's summary judgment arguments for use in drafting
                                      motion for judgment as a matter of law.
01/25/15    S D Powers           3.80 Continued updating and revising KVT direct outline.
01/25/15    E D Reeder           1.10 Revised shared drive folder containing pretrials filings and notebook
                                      index (.7); instructions to vendor regarding assembly and delivery of
                                      notebooks for Kevin Sadler and Scott Powers in the Dallas office (.4);
01/26/15    K Corral              .40 Making updates to trial exhibit notebooks for attorney review and
                                      upcoming trial.
01/26/15    L E Dodge           11.50 Reviewed, revised, and supplemented cross-examination outline of P.
                                      Romero (1.1); updated plaintiffs' and defendant's trial exhibit
                                      notebooks with recent changes to trial exhibits (2.2); sent revised
                                      exhibits and exhibit lists to CSI (.5); sent revised exhibits and exhibit
                                      lists to K. Van Tassel and summarized changes (.7); reviewed
                                      analysis of # of KVT hours billed for the first year of the receivership
                                      and number of FTI billers (1.6); reviewed and sent reminders to trial
                                      team for remaining pre-trial deadlines (.9); sent payment list to CSI
                                      for demonstrative creation (.4); sent image of SIB building from SIB
                                      marketing brochure to CSI, to be used in demonstratives (.3); revised
                                      and supplemented timeline for all events (3.8).
01/26/15    S Faridifar         11.00 Revised supplemental motion in limine per comments from K. Sadler
                                      and S. Powers and drafted proposed order granting same (2.7);
                                      revised responses and objections to Romero's motions in limine per
                                      comments from S. Powers and K. Sadler and prepared appendix in
                                      support of same (7.3); finalized supplemental motion in limine,
                                      responses and objections to Romero's motions in limine, and
                                      plaintiffs' objections to cross-designations and filed same (1.0).
01/26/15    D K Jackson          9.00 Assembled Romero invoice entries from February 2011 to October
                                      2014; append all invoices; highlighted and extracted all Romero-
                                      related entries.
01/26/15    K B Koscheski        8.50 Created chart for summary of K&J timekeeper total number of hours
                                      billed from inception to 2/15/2010 (2.5); created chart for summary of
                                      R. Janvey total number of hours billed from inception to 2/15/2010
                                      (2.5); replaced amended exhibits in 5 sets of plaintiff and defendant
                                      notebooks for trial (2); compiled highlighted invoices for Romero
                                      related entries (1.5).
01/26/15    C J Norfleet         9.30 Research case law for use in motion for judgment as a matter of law
                                      (3.8); draft motion (5.5).
01/26/15    S D Powers          10.20 Travel to Dallas for meeting with trial graphics team and KVT prep
                                      session (2.5); met with K. Sadler and trial presentation vendor to
                                      review plan for direct and presentation of exhibits during direct (5.0);
                                      reviewed cross-designation objections and drafted, reviewed emails
                                      regarding same (.2); reviewed, commented on, and revised motion in
                                      limine response and supplemental motion in limine regarding ACON




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                                Hours                               Description
                                        objections (2.5).
01/26/15    E D Reeder            .40 Reviewed counter and cross deposition designations and instructed
                                      word processing regarding tables of contents and authorities on
                                      motion in limine.
01/26/15    K M Sadler           8.80 Continued trial preparation work including meeting with CSI to
                                      review examination outlines, exhibits and demonstratives; edits to
                                      outline of Receiver; conferences with Powers regarding           ;
                                      (6.0); review and comments to pre-trial pleadings (1.5); edits and
                                      revisions to cross outline for defendant (1.3)
01/27/15    K Corral             2.60 Continue assisting with materials for attorney review in preparation
                                      of upcoming trial.
01/27/15    L E Dodge           12.50 Reviewed summary Greenberg and Traurig invoices and extrapolated
                                      additional fees based on certain supplemental information on the
                                      invoices (2.9); reviewed transcript of J. Davis rearraignment hearing
                                      (.6); supplemented documents for potential Romero impeachment
                                      (2.1); supplemented documents to be used for R. Janvey and KVT
                                      preparation (2.4); reviewed trial exhibits to revise and supplement
                                      timeline for all events (4.5).
01/27/15    S Faridifar          3.10 Responded to emails from S. Powers and K. Sadler regarding various
                                      issues related to trial preparation, including prior deposition
                                      testimony, documents for impeachment, and Bloomberg article (.7);
                                      addressed various issues in preparation for trial, including issues
                                      related to timeline and other trial demonstratives (1.9); drafted letter
                                      to Court regarding hearing on motion for sanctions (.5).
01/27/15    C J Norfleet         5.90 Complete drafting and revisions of Rule 50 motion for judgment as a
                                      matter of law.
01/27/15    S D Powers          11.80 Analyzed issues regarding demonstratives for KVT direct (.5); met
                                      with trial graphics team to discuss demonstratives (1.0); worked with
                                      KVT to prepare for direct testimony (7.5); conferred with K. Sadler
                                      regarding                 (.3); return travel to Austin (2.5).
01/27/15    K M Sadler           8.50 Consultations with Receiver (1.0); conference with Powers and Van
                                      Tassel regarding expert testimony (3.0); additional revisions to
                                      Receiver outline (1.5); revisions to outline for Romero cross-x and
                                      review of file materials regarding same (3.0)
01/28/15    K Corral             1.50 Continue assisting with materials for attorney review in preparation
                                      of upcoming trial.
01/28/15    L E Dodge            6.30 Prepared replacement PX 111 and PX 113 and sent to Romero's
                                      counsel, KVT, and CSI (.9); supplemented R. Janvey witness
                                      preparation materials (1.4); reviewed, revised, and supplemented all
                                      events timeline (4.0).
01/28/15    S Faridifar          8.20 Responded to email from K. Sadler regarding Romero deposition
                                      transcript (.1); drafted request for hearing on motion for sanctions and
                                      filed same (.5); addressed issues regarding IAB members' dates of
                                      service and drafted email to K. Sadler and S. Powers regarding same
                                      (.8); reviewed documents related to Signal International private




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                                Hours                                  Description
                                        placement and exchanged emails with S. Powers regarding same
                                        (1.4); reviewed trial exhibits and addressed related issues (1.3);
                                        addressed issues related to potential additional private equity
                                        investment pitched by Romero, including reviewing Ringtail
                                        documents, conferring with J. Himmel, and exchanging emails with
                                        K. Sadler and S. Powers regarding same (2.4); responded to emails
                                        from K. Sadler and S. Powers regarding exhibits related to ACON
                                        demonstrative and related issues and drafted email to J. McCoy
                                        regarding same (.8); addressed issues related to demonstratives,
                                        including drafting email to K. Sadler and S. Powers regarding same
                                        (.9).
01/28/15    J M Himmel           1.90 Searched for documents pertaining to GigaMedia and GigaTrust in
                                      Ringtail and tagged relevant documents in an issues folder.
01/28/15    D K Jackson           .10 Extracted pages from annotated deposition transcripts.
01/28/15    K B Koscheski         .50 Replaced amended exhibits in 5 sets of plaintiff notebooks for trial.
01/28/15    S D Powers           5.60 Reviewed materials regarding Romero's expert in preparation for
                                      cross outline (1.2); conferred with L. Dodge regarding trial
                                      preparation activities (.5); drafted, reviewed emails and documents
                                                                 (1.2); reviewed status of various trial
                                      preparation activities (1.0); reviewed trial graphics and conferred with
                                      trial graphics team regarding same (1.2); conferred with K. Sadler
                                      regarding                  (.5).
01/28/15    E D Reeder           4.40 Marked deposition transcript with cross designations and objections
                                      (1.1); updated pretrial filings folder and index and had Scott Powers's
                                      notebooks updated (1.1); prepared notebook updates on shared drive
                                      and sent zipped file to copy vendor in Dallas to replace Kevin
                                      Sadler's notebooks (1.2); instructions to copy vendor regarding
                                      additional changes and replacements to notebooks (.6); coordinated
                                      with clerk in the Dallas office regarding changes and replacements to
                                      Kevin Sadler's notebooks (.4).
01/28/15    K M Sadler           6.50 Revised Romero outlines (3.5); review of exhibits and demonstratvies
                                      (1.5); conferences with Powers regarding multiple pre-trial issues
                                      (1.5)
01/29/15    K Corral             2.00 Preparing litigation materials regarding deposition designations and
                                      pre-trial filings (1.20); continue assisting with materials for attorney
                                      review in preparation of upcoming trial (.80).
01/29/15    L E Dodge           11.60 Revised and supplemented list of documents which touted Romero's
                                      financial acumen (2.6); revised and supplemented master trial exhibit
                                      list (1.2); reviewed, revised, and supplemented all events timeline
                                      (7.3); de-encrypted color copy of SIO manual (.5).
01/29/15    S Faridifar          6.30 Drafted email to J. McCoy regarding demonstratives and related
                                      issues (.7); responded to email from S. Powers regarding exhibits and
                                      email to M. Barnhart regarding rate spreadsheets (.5); reviewed
                                      Romero financial acumen information and conferred with L. Dodge
                                      regarding same (.3); drafted emails to K. Sadler regarding return of
                                      political contributions and addressed related issues (.4); reviewed




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                                Hours                                   Description
                                        documents related to GigaTrust investment and drafted email to J.
                                        Himmel regarding same (1.2); conferred with L. Dodge regarding
                                        timeline issues and addressed related issues (.4); addressed various
                                        issues in preparation for trial, including issues related to timeline
                                        demonstrative (2.8).
01/29/15    J M Himmel           2.50 Created a summary of the contents of the 20 key documents
                                      pertaining to GigaTrust and GigaMedia and pulled these documents
                                      into one shared drive folder (most had previously been produced,
                                      several had not and needed to be exported from Ringtail).
01/29/15    K B Koscheski         .50 Created notebook of KVT declarations for trial preparation.
01/29/15    C J Norfleet         1.30 Research case law regarding imposition of injunction to freeze
                                      fraudulently transferred assets.
01/29/15    S D Powers           6.30 Review of multiple legal and factual issues in preparation for trial and
                                      for phone conference with Romero's counsel regarding trial exhibits,
                                      motions in limine and deposition designations.
01/29/15    E D Reeder            .40 Telephone conference with Karina Corral regarding updates to Kevin
                                      Sadler's binders and which ones are outdated.
01/29/15    K M Sadler           5.50 Continued trial preparation tasks including review of exhibits, pre-
                                      trial filings             (3.5); conferences with Powers regarding
                                      trial prep (1.0); review of draft demonstratives (1.0)
01/30/15    K Corral              .30 Assisting with materials for attorney review in preparation of
                                      upcoming trial per Ellen Reeder's request.
01/30/15    L E Dodge           12.50 Reviewed plaintiffs' and defendant's trial exhibits and deposition
                                      testimony and bullet point summaries to revise and supplement
                                      master (all events) timeline (5.1); researched KVT declarations for
                                      discussions regarding whistleblowers (.8); preliminarily reviewed
                                      substantive or key orders in various Janvey lawsuits for any
                                      references to money laundering (1.6); researched Ringtail for job
                                      descriptions for F. Moccia and O. Tonarelli (1.7); prepared 2nd
                                      supplemental expert disclosures (1.2); prepared letter to Romero's
                                      counsel transmitting KVT's new curriculum vitae (.5); telephone
                                      conference with R. Jarrett to discuss courtroom electronics (.7);
                                      searched FTI invoices to determine when KVT stopped billing
                                      through FTI (.9).
01/30/15    S Faridifar          7.30 Call with opposing counsel regarding motions in limine and
                                      objections (1.4); reviewed completed draft of timeline summary from
                                      L. Dodge and revised same (2.2); responded to email from K. Sadler
                                      regarding Janvey disclosures (.2); conferred with S. Powers regarding
                                      trial prep issues (.3); addressed various issues related to trial
                                      preparations, including issues related to trial demonstratives (2.4);
                                      reviewed GigaTrust documents and drafted email to K. Sadler and S.
                                      Powers regarding same (.3); addressed issues regarding disclosure of
                                      testimony by Receiver and KVT (.5).
01/30/15    C J Norfleet         2.80 Research case law regarding imposition of injunction to freeze
                                      fraudulently transferred assets.




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                                   Hours                                 Description
01/30/15     S D Powers              8.40 Review of multiple legal and factual issues related to trial
                                          preparation, including review of trial demographics and conferences
                                          with CSI (5.5); prepared for and participated in pretrial planning call
                                          with Romero's counsel (2.9)
01/30/15     E D Reeder               .20 Telephone conference with Karina Corral regarding notebooks in
                                          Romero workroom and forwarded index to same.
01/30/15     K M Sadler              9.20 Conferences with Powers regarding                      (1.5); conference
                                          with defense counsel regarding pre-trial exhibits, motions and other
                                          issues (2.0); revisions to Janvey outline (1.5); revisions to Romero
                                          outline (3.5); respond to media inquiry from Dallas Morning News
                                          (.7)
01/31/15     L E Dodge               1.90 Sent notes regarding searching for substantive orders mentioning
                                          money laundering to E. Reeder (.9); discussed research project with
                                          E. Reeder (.7); reviewed Ch. 15 order (.3).
01/31/15     S Faridifar             3.40 Reviewed publicly available information regarding Romero's expert
                                          and drafted email to S. Powers regarding same (2.6); drafted
                                          agreement and stipulation regarding plaintiffs' motions in limine (.8).
01/31/15     C J Norfleet            2.10 Research and draft bench memo regarding admission of receivership
                                          documents.
01/31/15     S D Powers              2.10 Reviewed updated trial graphics (.2); phone conference with K.
                                          Sadler regarding trial graphics                      (.3); reviewed KVT
                                          declarations for additional material to cover in direct testimony (1.6).
01/31/15     E D Reeder              5.00 Reviewed court orders and appellate court opinions for mention of
                                          "money laundering"; (4.6); emails with Scott Powers regarding same
                                          (.4).
01/31/15     K M Sadler              3.50 Revised Romero cross outline (2.5); reviewed motion for sanctions
                                          (.5); conference with Powers regarding trial prep (.2); emails to/from
                                          Fardifar regarding trial prep (.3)
             Matter Total        1,272.00


           079716.0163       Maldonado, Patricia
                                   Hours                                 Description
01/02/15     L E Dodge               1.10 Supervised preparation of index of documents provided to J. Spindler
                                          (.6); requested export of documents out of Ringtail database (.5).
01/02/15     K B Koscheski           5.80 Separated Maldonado's production PDFs into smaller documents and
                                          Bates numbered them.
01/05/15     L E Dodge                .60 Reviewed and revised production to Maldonado (.6).
01/05/15     R W Fusco                .20 Reviewed materials to send to expert James Spindler.
01/05/15     K B Koscheski           9.00 Created index for P. Maldonado production.
01/06/15     K B Koscheski           2.50 Created index for P. Maldonado production.




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                                   Hours                                 Description
01/08/15     K B Koscheski           1.00 Separated Maldonado's production PDFs into smaller documents and
                                          Bates numbered them.
01/09/15     L E Dodge                .40 Supervised production of documents (.4).
01/09/15     R W Fusco               1.40 Reviewed and sent materials to expert James Spindler.
01/09/15     K B Koscheski           1.50 Unitized production PDFs (1.0); produced documents STAN
                                          MALDONADO 0001623-STAN MALDONADO 0001701 (.5).
01/13/15     K B Koscheski           6.50 Prepared index of produced documents STAN MALDONADO
                                          0000001- 0001162.
01/15/15     K B Koscheski            .80 Completed entering ending Bates numbers for production index.
01/27/15     R W Fusco               2.70 Discussed                                           (0.5);
                                          communicated with witness counsel regarding scheduling depositions
                                          (1.0); continued location and preparation of materials to send to
                                          expert for report (1.2).
01/28/15     R W Fusco               2.10 Call with opposing counsel following up on deposition scheduling
                                                                               (0.5); call and emails
                                                                                                     (0.5); call to
                                          James Spindler regarding                          (0.1); continued
                                          location and preparation of materials to send to expert for report (1.0).
01/28/15     S D Powers               .10 Exchanged emails with R. Fusco regarding discovery, settlement
                                          issues.
             Matter Total          35.70


           079716.0165       SGC Defendants (Bogar, Pi, Young)
                                   Hours                                 Description
01/13/15     A A Carr                 .20 Coordinated scheduling of Rule 26(f) call with defendants.
01/20/15     A A Carr                 .30 Rule 26(f) conference with attorneys for Bogar, Young, Pi.
01/20/15     S D Powers               .30 Conferred with A. Carr regarding Rule 26f conference (.3).
01/23/15     A A Carr                 .70 Drafted Rule 26(f) report and sent same to S. Powers (.6); conference
                                          with S. Powers regarding same (.1).
01/28/15     S D Powers               .10 Conferred with R. Fusco regarding preparing supplemental complaint
                                          against Pi.
01/29/15     S D Powers               .10 Reviewed and commented on draft Rule 26f report.
01/30/15     A A Carr                 .20 Emails with S. Powers and opposing counsel regarding status of Rule
                                          26(f) report.
             Matter Total            1.90


           079716.0166       Accounting Defendants (Amadio, Garcia, Kuhrt, Lopez)




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                                   Hours                                Description
01/14/15     R W Fusco               3.20 Continued drafting response to motion to dismiss.
01/15/15     R W Fusco               2.60 Continued work on response to Amadio's motion to dismiss.
01/17/15     R W Fusco               6.60 Continued drafting response to Amadio's motion to dismiss.
01/18/15     R W Fusco               3.40 Revised response to Motion to Dismiss per K. Sadler's comments.
01/19/15     R W Fusco               1.50 Continued revising response to Motion to Dismiss per K. Sadler's
                                          additional comments.
01/22/15     R W Fusco               1.20 Continued revision of Amadio motion to dismiss response.
01/22/15     S D Powers               .30 Reviewed and commented on draft response to Amadio motion to
                                          dismiss.
01/23/15     J M Himmel              1.10 Drafted proposed argument for the section of the Receiver's Response
                                          to Henry Amadio's Motion to Dismiss First Amended Complaint that
                                          pertains to the immunity defense raised by Amadio under section
                                          402.0333 of theTexas Government Code.
01/25/15     R W Fusco               1.00 Addressed S. Powers comments to Amadio motion to dismiss
                                          response.
01/25/15     S D Powers               .60 Reviewed and edited Amadio motion to dismiss response and
                                          exchanged emails with R. Fusco regarding same.
01/26/15     R W Fusco               2.80 Finished and filed response to Amadio's Motion to Dismiss.
01/26/15     S D Powers               .80 Final review and comments on response to Amadio motion to
                                          dismiss.
             Matter Total          25.10


           079716.0167      Staley, Jack
                                   Hours                                Description
01/27/15     S Faridifar             1.10 Drafted initial disclosures to Staley and drafted email to S. Powers
                                          regarding same.
01/28/15     S Faridifar              .30 Addressed issues related to initial disclosures to Staley and served
                                          same.
01/28/15     S D Powers               .10 Reviewed and approved disclosures in Staley case.
             Matter Total           1.50




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                              Lawyer Summary

       TIMEKEEPER             HOURS         RATE             TOTAL

       Alaniz, O J                 3.00     500.00           1,500.00
       Arlington, D T            158.50     500.00          79,250.00
       Cagniart, S F              66.70     420.00          28,014.00
       Carr, A A                 142.40     360.00          51,264.00
       Cuenin, A                  37.50     360.00          13,500.00
       Day, B A                  168.60     500.00          84,300.00
       Dwertman, M R             112.00     280.00          31,360.00
       Faridifar, S              258.40     420.00         108,528.00
       Fusco, R W                 72.40     420.00          30,408.00
       Gilstrap, M S               5.50     420.00           2,310.00
       Himmel, J M               149.40     280.00          41,832.00
       Norfleet, C J              42.80     420.00          17,976.00
       Powers, S D               185.70     560.00         103,992.00
       Sadler, K M               214.20     720.00         154,224.00
       Schlanger, K E               .30     560.00             168.00
       Wood, M C                  45.80     420.00          19,236.00
       Young, E A                 12.60     560.00           7,056.00
                              ________                 _____________
       Lawyer Totals:           1675.80                   $774,918.00


                            Non-Lawyer Summary
       TIMEKEEPER             HOURS         RATE             TOTAL

       Corral, K                  53.20     132.00           7,022.40
       Dodge, L E                305.90     220.00          67,298.00
       Fontenla, R M               2.20     220.00             484.00
       Hix, A L                    8.90     132.00           1,174.80
       Jackson, D K              101.80     132.00          13,437.60
       Koscheski, K B            154.40     132.00          20,380.80
       Montalvo, C                 3.30     140.00             462.00
       Pravata, R                  3.60     140.00             504.00
       Reeder, E D               133.70     220.00          29,414.00
       Schwartz, M P               1.40     212.00             296.80
       Starbuck, N M               1.60     132.00             211.20
       Strebeck, P K               1.50     140.00             210.00
       Vogel, C E                   .50     140.00              70.00
       Weaver, L E                 4.00     132.00             528.00
       Whittlesey, J M             1.00     140.00             140.00
                              ________                 _____________
       Non-Lawyer Totals:        777.00                   $141,633.60




                                                                 App. 97
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                                                                                      Page 79




For expenses incurred:


 079716.0116 Litigation Administration

 Delivery service                                                                       21.11

 Electronic Court Records                                                             917.70

                                                                                   _________
 Matter Total                                                                        $938.81



 079716.0117 Litigation - SEC vs. SIB, et al

 BISHOP LEGAL VIDEO Litigation Support - conversion of DVCAM tapes                    130.00

 BISHOP LEGAL VIDEO Allen Stanford DVD conversion/clip                                125.00
 creation/upload

 Computer research services                                                          1,915.32

 Delivery service                                                                       35.50

 Photocopying service                                                                 120.75

 Postage                                                                                15.17

 Courtlink                                                                             56.07

 Electronic Court Records                                                             101.50

 Telephone calls                                                                        23.24

                                                                                   _________
 Matter Total                                                                       $2,522.55



 079716.0126 Broker Litigation

 ARLINGTON, DAVID T.                                                                     8.00
 1/3/2015
 WiFi while travelling, $8.00

 Computer research services                                                          2,214.54




                                                                               App. 98
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Delivery service                                                                     97.63

Photocopying service                                                                  5.55

Electronic Court Records                                                             38.00

                                                                                _________
Matter Total                                                                     $2,363.72



079716.0127 Investor Litigation

AMERICAN EXPRESS - ARLINGTON, DAVID T. -Travel to Dallas for                      1,000.84
Settlement Conference
1/23/2015 - 1/29/2015
Airfare, $442.20
Parking, $48.00
Hotel, $510.64

MERRILL COMMUNICATIONS LLC                                                        2,005.87
Preparation of material for court-ordered settlement conference
with Magistrate Judge Stickney

Computer research services                                                         248.40

Photocopying service                                                               112.35

Business meals                                                                       26.99
D. Arlington, $6.02
D. Arlington, $11.55
D. Arlington, $4.01
D. Arlington, $5.41

Postage                                                                              19.44

Electronic Court Records                                                           189.70

Telephone calls                                                                      11.50

                                                                                _________
Matter Total                                                                     $3,615.09



079716.0129 Claims Management

Telephone calls                                                                       7.36




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                                                                              _________
Matter Total                                                                       $7.36



079716.0133 Barnes, Ben

F. WITCHER MCCULLOUGH III F. WITCHER MCCULLOUGH III Mediation fee               1,800.00

AMERICAN EXPRESS - ARLINGTON, DAVID T.                                            18.00
1/23/2015
Parking while at mediation, $18.00

Delivery service                                                                    9.54

Photocopying service                                                             115.50

Postage                                                                             2.03

                                                                              _________
Matter Total                                                                   $1,945.07



079716.0134 Wealth Management Services, Ltd./David Nanes

TRANSUNION RISK & ALTERNATIVE TRANSUNION RISK & ALTERNATIVE                        12.00
People searches

Computer research services                                                         92.88

Postage                                                                            16.48

Electronic Court Records                                                            3.70

                                                                              _________
Matter Total                                                                    $125.06



079716.0136 Janvey, Ralph S., Receiver vs. Dillon Gage, Inc.

Electronic Court Records                                                            4.40

                                                                              _________
Matter Total                                                                       $4.40




                                                                       App. 100
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079716.0139 Investor Committee Matters

Electronic Court Records                                                                        0.30

                                                                                          _________
Matter Total                                                                                   $0.30



079716.0149 Ralph S. Janvey, Receiver vs. Libyan Investment

Electronic Court Records                                                                        0.30

Stationery and supplies                                                                        36.58

                                                                                          _________
Matter Total                                                                                 $36.88



079716.0156 Breach of Fiduciary Duty Claims

Postage                                                                                         1.40

Telephone calls                                                                                 4.79

                                                                                          _________
Matter Total                                                                                   $6.19



079716.0157 University of Miami

CARR, ASHLEY ALLEN -Travel to Dallas for deposition                                          493.47
1/5/2015 - 1/7/2015
Mileage to/from Dallas, $246.40
Hotel, $247.07

MERRILL COMMUNICATIONS LLC Litigation Support                                                327.24
Binders of hot documents

HENJUM GOUCHER REPORTING Transcription of SFG Island Club 3000                               658.50
video on 01/06/15

SPECIAL DELIVERY SERVICE, INC. Delivery service                                                10.74

ADVANCED DISCOVERY, INC. Litigation Support                                                 1,368.50
Three sets of deposition transcripts and exhibits and hot document notebooks




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ADVANCED DEPOSITIONS Deposition of Robert B. Gagosian, Ph.D.                       1,207.20

ADVANCED DEPOSITIONS Video of Gagosian deposition                                   756.25

LEXISNEXIS RISK SOLUTIONS GA INC. Accurint searches for address                     103.19
information at request of Lynne Dodge.

Photocopying service                                                                678.90

Postage                                                                                8.87

Electronic Court Records                                                               6.60

Stationery and supplies                                                               25.95

Business meals while traveling                                                        40.37
A. Carr, $40.37
                                                                                 _________
Matter Total                                                                      $5,685.78



079716.0160 Romero, Peter

SPECIAL DELIVERY SERVICE, INC. Service of subpoena on Laughing                      195.00
Squid

INTER-PRET LANGUAGE SERVICES Translation fees                                       240.00

DSU DISCOVERY Litigation Support                                                    399.93

CSI LITIGATION PSYCHOLOGY, LLC Trial Graphics MMS                                  6,274.44

AMERICAN EXPRESS - SADLER, KEVIN M. -Trial Preparation in Dallas                      15.95
1/11/15 & 1/16/15
In Flight WiFi, $15.95

REEDER, ELLEN DICKSON -Online research on Rep. Meeks and                             27.90
Defendant's expert - during dates of 1/11/2015 - 1/27/2015

ADVANCED DISCOVERY, INC. Blowback Printing, Index Tabs, Scanning,                   477.06
Master CD Creation

SADLER, KEVIN M.                                                                   4,844.82
1/11/2015 - 1/16/2015
Parking, $238.00
Rental Car, $372.37
Airfare, $1,017.20
Hotel, $3,217.25




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POWERS, SCOTT DANIEL -Travel to Dallas for trial preparation -                        259.44
1/13/2015 - 1/16/2015
Mileage to/from Dallas, $237.44
Parking, $22.00

 Business meals                                                                        68.20
 K. Sadler, S. Powers, K. Tassel, M. Russell, $68.20

Business meals                                                                         67.66
Trial Team Lunch, $67.66

MERRILL COMMUNICATIONS LLC Litigation Support MMS                                   5,672.79
4 Sets of Plaintiffs’ Trial Exhibits
3 Sets of Defendant’s Trial Exibits
Electronic Stamping of Plaintiffs’ Exhibits

Business meals                                                                         51.96
K. Sadler, S. Powers, and R. Janvey, $51.96

 AMERICAN EXPRESS - POWERS, SCOTT DANIEL -Travel to Dallas for                      1,469.59
 trial preparation
 1/12/2015 - 1/17/2015
  Hotel, $1,459.59
  Parking, $10.00

 DSU DISCOVERY Litigation Support                                                   1,098.17
Binders of Plaintiffs’ and Defendant’s Trial Exhibits

ADVANCED DISCOVERY, INC. Litigation Support                                         2,309.78
Three sets of Plaintiffs’ Trial Exhibits

 ADVANCED DISCOVERY, INC. Five sets of Plaintiffs’                                    426.07
 trial exhibits

 ADVANCED DISCOVERY, INC. Four sets of Defendant’s trial exhibits                   1,551.01

 SADLER, KEVIN M. -Trial Preparation in Dallas                                      3,887.26
 during dates of
 1/25/2015 - 1/29/2015
 Airfare, $1,073.20
 Hotel, $2,534.24
 Rental Car, $271.82
 Parking, $8.00

 CSI LITIGATION PSYCHOLOGY, LLC CSI LITIGATION PSYCHOLOGY, LLC                      4,754.30
 Trial Graphics

 ADVANCED DISCOVERY, INC. Color scans (glasswork) of 2006 annual                      128.55




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report and 2008 Stanford Eagle magazine

AMERICAN EXPRESS CO. - Business Meals                                                 50.21
Trial Team Lunch, $50.21

POWERS, SCOTT DANIEL -Travel to Dallas to meet with Justin McCoy                      49.00
of CSI NET and Karyl Van Tassel
1/26/2015 - 1/27/2015
Taxi to/from Airport, $49.00

AMERICAN EXPRESS - POWERS, SCOTT DANIEL -Travel to Dallas to meet                    687.57
with Justin McCoy of CSI NET and Karyl Van Tassel
1/26/2015 - 1/27/2015
Hotel, $229.37
Airfare, $412.20
Parking, $46.00

Business meals                                                                        83.06
K. Sadler, S. Powers, R. Jarrett, $83.06

SADLER, KEVIN M. -Trial Preparation and Attend Trial                               6,133.17
2/1/15-2/13/15
Airfare, 2/1/15 & 2/6/15, $1,080.20
Airfare, 2/7/15, $565.10
Airfare, 2/13/15, $681.10
In Flight WiFi, $15.95
Rental Car, $966.85
Other, $17.27
Airport Parking, $252.00
Taxi, $76.00
Airport Parking, $216.00
Taxi, $106.00
Other, $17.27
In Flight WiFi, $15.95
Hotel, $2,123.48

Business meals                                                                        92.01
K. Sadler, S. Powers, R. Janvey, K. Tassel, $92.01

AMERICAN EXPRESS - SADLER, KEVIN M. -Trial Preparation in Dallas                      19.43
1/29/15
In Flight Wifi, $19.43

MERRILL COMMUNICATIONS LLC Litigation Support - exhibit stamping                      10.28
on 1/16

MERRILL COMMUNICATIONS LLC Litigation Support - 2 sets of P's and                  3,081.44
D's exhibits on 1/20/2015




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MERRILL COMMUNICATIONS LLC Litigation Support - 2 sets of                     641.06
pretrial filings notebooks on 1/28/2015

DALMATIAN COURIER, INC. DALMATIAN COURIER, INC. Delivery service                60.43

SPECIAL DELIVERY SERVICE, INC. Delivery service                               112.21

MERRILL COMMUNICATIONS LLC Litigation Support - copies                        132.93
Copies of pretrial filings

Computer research services                                                   1,984.81

Delivery service                                                              310.44

Photocopying service                                                         2,440.95

Business meals                                                                  97.26
K. Sadler, $36.38
K. Sadler, $60.88

Postage                                                                          0.48

Electronic Court Records                                                      179.30

Parking expense                                                               206.00

Stationery and supplies                                                         23.25

Telephone calls                                                                 29.80

Business meals while traveling                                                856.52
S. Powers, $25.40
K. Sadler & S. Powers, $100
K. Sadler, $6.86
K. Sadler, $51.30
K. Sadler, S. Powers, R. Janvey, $108.93
K. Sadler, $14.99
K. Sadler, $70.21
K. Sadler, $18.16
K. Sadler, $5.09
K. Sadler & S. Powers, $100.00
K. Sadler & D. Arlington, $86.80
K. Sadler, $12.83
K. Sadler, $9.74
K. Sadler, $22.73
K. Sadler & D. Arlington, $214.61
                                                                           _________
Matter Total                                                               $51,501.49




                                                                    App. 105
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                                                                                    Page 87




079716.0165 SGC Defendants (Bogar, Pi, Young)

Telephone calls                                                                            4.37

                                                                                  _________
Matter Total                                                                           $4.37



079716.0166 Accounting Defendants (Amadio, Garcia, Kuhrt, Lopez)

Computer research services                                                             26.73

                                                                                  _________
Matter Total                                                                         $26.73



079716.0167 Staley, Jack

Electronic Court Records                                                                   3.90

                                                                                  _________
Matter Total                                                                           $3.90



      Fees:                                                                   916,551.60

      Expenses:                                                                68,787.70

      Total Amount Due:                                                      $985,339.30




                                                                           App. 106
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                                                Attorneys At Law
                                             P. O. BOX 301251
                                         DALLAS, TEXAS 75303-1251
                                           TAXPAYER I.D. #XX-XXXXXXX




        Stanford Financial Group Receivership                   Invoice No.       1440933
        ATTN: Mr. Ralph S. Janvey, Receiver                     Invoice Date      April 29, 2015
        2100 Ross Avenue
        Suite 2600                                              Attorney           K M Sadler
        Dallas TX 75201




                                           CLIENT SUMMARY


                                                                       FEES          EXPENSES         TOTAL

079716.0102                                                            876.00               0.00      876.00
Cross Border Receivership Matters

079716.0106                                                            482.00               0.00      482.00
Coin and Bullion Operations

079716.0109                                                        1,678.00                 0.00     1,678.00
Insurance Matters

079716.0112                                                            194.00               0.00      194.00
Private Equity Matters

079716.0113                                                            400.00               0.00      400.00
Receivership Corporate Matters

079716.0114                                                            168.00               0.00      168.00
Real Estate Matters

079716.0116                                                        4,804.80               938.81     5,743.61
Litigation Administration

079716.0117                                                      36,598.80              2,522.55    39,121.35
Litigation - SEC vs. SIB, et al




                                                                                         App. 107
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079716.0123                                           900.00               0.00       900.00
Canada Litigation Matters

079716.0126                                         71,336.00          2,363.72     73,699.72
Broker Litigation

079716.0127                                        118,712.00          3,615.09    122,327.09
Investor Litigation

079716.0129                                          5,254.00              7.36      5,261.36
Claims Management

079716.0133                                         16,629.20          1,945.07     18,574.27
Barnes, Ben

079716.0134                                         17,332.00           125.06      17,457.06
Wealth Management Services, Ltd./David Nanes

079716.0136                                          5,972.00              4.40      5,976.40
Janvey, Ralph S., Receiver vs. Dillon Gage, Inc.

079716.0139                                         39,920.00              0.30     39,920.30
Investor Committee Matters

079716.0147                                          1,573.60              0.00      1,573.60
Janvey, Ralph S., Receiver vs. Mauricio Alvarado

079716.0149                                          1,890.00            36.88       1,926.88
Ralph S. Janvey, Receiver vs. Libyan Investment

079716.0150                                           224.00               0.00       224.00
Rincon, Juan Alberto A.J.

079716.0152                                           300.00               0.00       300.00
Distribution Plan Matters

079716.0153                                           300.00               0.00       300.00
Non-CD Claims Processing

079716.0155                                           800.00               0.00       800.00
CD Claims Objections

079716.0156                                          9,738.00              6.19      9,744.19
Breach of Fiduciary Duty Claims

079716.0157                                         77,595.60          5,685.78     83,281.38
University of Miami




                                                                        App. 108
    Case 3:09-cv-00298-N Document 2174-1 Filed 07/16/15              Page 109 of 262 PageID 61052
                                                                                      Page 90




079716.0160                                             484,036.40         51,501.49    535,537.89
Romero, Peter

079716.0163                                               6,783.20              0.00      6,783.20
Maldonado, Patricia

079716.0165                                                784.00               4.37       788.37
SGC Defendants (Bogar, Pi, Young)

079716.0166                                              10,626.00            26.73      10,652.73
Accounting Defendants (Amadio, Garcia, Kuhrt, Lopez)

079716.0167                                                644.00               3.90       647.90
Staley, Jack

Total                                                  $916,551.60        $68,787.70   $985,339.30




                                                                             App. 109
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                                           Attorneys At Law
                                            P. O. BOX 301251
                                        DALLAS, TEXAS 75303-1251
                                          TAXPAYER I.D. #XX-XXXXXXX




Stanford Financial Group Receivership                          Invoice No.       1440933
ATTN: Mr. Ralph S. Janvey, Receiver                            Invoice Date      April 29, 2015
2100 Ross Avenue
Suite 2600                                                     Attorney           K M Sadler
Dallas TX 75201




                                        REMITTANCE ADVICE


                                                                      FEES         EXPENSES          TOTAL


079716.0102                                                           876.00               0.00      876.00
Cross Border Receivership Matters

079716.0106                                                           482.00               0.00      482.00
Coin and Bullion Operations

079716.0109                                                       1,678.00                 0.00     1,678.00
Insurance Matters

079716.0112                                                           194.00               0.00      194.00
Private Equity Matters

079716.0113                                                           400.00               0.00      400.00
Receivership Corporate Matters

079716.0114                                                           168.00               0.00      168.00
Real Estate Matters

079716.0116                                                       4,804.80               938.81     5,743.61
Litigation Administration

079716.0117                                                     36,598.80              2,522.55    39,121.35
Litigation - SEC vs. SIB, et al
                       TO ENSURE PROPER APPLICATION OF YOUR PAYMENT,
                           PLEASE RETURN THIS REMITTANCE ADVICE.

                                                                                        App. 110
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                                                                                 Page 92




079716.0123                                           900.00               0.00       900.00
Canada Litigation Matters

079716.0126                                         71,336.00          2,363.72     73,699.72
Broker Litigation

079716.0127                                        118,712.00          3,615.09    122,327.09
Investor Litigation

079716.0129                                          5,254.00              7.36      5,261.36
Claims Management

079716.0133                                         16,629.20          1,945.07     18,574.27
Barnes, Ben

079716.0134                                         17,332.00           125.06      17,457.06
Wealth Management Services, Ltd./David Nanes

079716.0136                                          5,972.00              4.40      5,976.40
Janvey, Ralph S., Receiver vs. Dillon Gage, Inc.

079716.0139                                         39,920.00              0.30     39,920.30
Investor Committee Matters

079716.0147                                          1,573.60              0.00      1,573.60
Janvey, Ralph S., Receiver vs. Mauricio Alvarado

079716.0149                                          1,890.00            36.88       1,926.88
Ralph S. Janvey, Receiver vs. Libyan Investment

079716.0150                                           224.00               0.00       224.00
Rincon, Juan Alberto A.J.

079716.0152                                           300.00               0.00       300.00
Distribution Plan Matters

079716.0153                                           300.00               0.00       300.00
Non-CD Claims Processing

079716.0155                                           800.00               0.00       800.00
CD Claims Objections

079716.0156                                          9,738.00              6.19      9,744.19
Breach of Fiduciary Duty Claims

079716.0157                                         77,595.60          5,685.78     83,281.38
University of Miami
                      TO ENSURE PROPER APPLICATION OF YOUR PAYMENT,
                          PLEASE RETURN THIS REMITTANCE ADVICE.

                                                                        App. 111
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                                                                                      Page 93




079716.0160                                             484,036.40         51,501.49    535,537.89
Romero, Peter

079716.0163                                               6,783.20              0.00      6,783.20
Maldonado, Patricia

079716.0165                                                784.00               4.37       788.37
SGC Defendants (Bogar, Pi, Young)

079716.0166                                              10,626.00            26.73      10,652.73
Accounting Defendants (Amadio, Garcia, Kuhrt, Lopez)

079716.0167                                                644.00               3.90       647.90
Staley, Jack

Total                                                  $916,551.60        $68,787.70   $985,339.30




                      TO ENSURE PROPER APPLICATION OF YOUR PAYMENT,
                          PLEASE RETURN THIS REMITTANCE ADVICE.

                                                                             App. 112
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                                            Attorneys At Law
                                             P. O. BOX 301251
                                         DALLAS, TEXAS 75303-1251
                                           TAXPAYER I.D. #XX-XXXXXXX




 Stanford Financial Group Receivership                                  Invoice No.       1441870
 ATTN: Mr. Ralph S. Janvey, Receiver                                    Invoice Date      May 4, 2015
 2100 Ross Avenue
 Suite 2600                                                             Attorney          K M Sadler
 Dallas TX 75201




           079716.0102          Cross Border Receivership Matters
                                         Hours                              Description
02/19/15      S D Powers                   .50 Reviewed and commented on draft power of attorney for
                                                                                and reviewed web site of
                                               attorneys recommended by JLs.
02/20/15      S D Powers                   .10 Further review and analysis of JLs' request for power of attorney
                                               related to
              Matter Total                0.60


           079716.0107          Document Production Matters
                                         Hours                              Description
02/27/15      D T Arlington                .30 Responded to an inquiry          regarding distribution issues and
                                               communicated with team regarding same.
              Matter Total                0.30


           079716.0109          Insurance Matters
                                         Hours                              Description
02/09/15      D T Arlington                .50 Coordinated with co-counsel regarding defendant access to Ringtail
                                               and warehouse materials.
02/13/15      D T Arlington                .40 Coordinated with team regarding Lloyd's warehouse document
                                               review and related issues and Ringtail access.




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                                    Hours                              Description
02/23/15     D T Arlington             .20 Reviewed letter           and communicated with team regarding
                                           same.
02/24/15     S D Powers                .70 Phone conference with Kuckelman and Lewis regarding mediation,


02/24/15     K M Sadler               1.50 Conference with M. Kuckleman and Receiver                        (1.);
                                           reviewed letter                      (.5)
02/27/15     D T Arlington             .30 Coordinated with team regarding Ringtail access for defense counsel.
             Matter Total            3.60


           079716.0112       Private Equity Matters
                                    Hours                              Description
02/22/15     C J Norfleet             1.70 Analyzed documents produced by William Fusselmann regarding


02/23/15     C J Norfleet             3.80 Analyzed                 and other document produced by
                                           Fusselmann (2.1); analyzed               and other documents
                                           produced by Stein (1.7).
             Matter Total            5.50


           079716.0114       Real Estate Matters
                                    Hours                              Description
02/09/15     N M Starbuck              .40 Response re: Purchase Agreements for Antiguan properties.
02/16/15     K M Sadler                .40 Reviewed update regarding St. Croix property issue (.4)
02/16/15     K E Schlanger             .30 Correspondence with Kevin Sadler and Sandy Hale regarding


02/17/15     K M Sadler                .50 Reviewed information re                    status and responded to
                                           purchaser inquiry (.5)
02/17/15     K E Schlanger             .40 Correspondence with Sandy Hale and Kevin Sadler regarding


02/18/15     K M Sadler                .40 Reviewed information from Schlanger regarding
                                           and inquiry from potential purchaser
02/20/15     D G Kruger                .20 Telephone conversation with Kim Schlanger regarding
                                                                            (.2).
02/20/15     K M Sadler                .40 Reviewed issues regarding inquiry on                      (.4)
02/20/15     K E Schlanger             .50 Correspondence with Dan Kruger and Sandy Hale regarding
                                                                                    (.5).
02/24/15     D G Kruger               3.10 Continued review of                             (2.2); summarized
                                           and conferenced with Kim Schlanger regarding the same (.3);




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                                    Hours                                Description
                                            telephone conference with Sandy Hale at Stewart Title regarding
                                            obtaining updated title work for the
                                            (.3); follow up correspondence with Ms. Hale (.3).
02/24/15     K M Sadler                .40 Emails to/from Schlanger regarding                       (.4)
02/24/15     K E Schlanger             .50 Correspondence with Dan Kruger regarding
                                                                      and follow up with title company.
             Matter Total            7.50


           079716.0116       Litigation Administration
                                    Hours                                Description
02/02/15     K Corral                 2.70 Reviewed and tracked all court papers filed in post-receiver federal
                                           litigation (.80); updated file drive with one new filing in the '1973
                                           (Janvey v. Dillon Gage) matter in the Northern District of Texas, in
                                           preparation for attorney review (.10); updated file drive with one new
                                           filing in the '2384 (Rotstain) matter in the Northern District of Texas,
                                           in preparation for attorney review (.10); updated file drive with one
                                           new filing in the '527 (Janvey v. Barnes) matter in the Northern
                                           District of Texas, in preparation for attorney review (.10); updated
                                           file drive with three new filings in the '724 (Relief Def) matter in the
                                           Northern District of Texas, in preparation for attorney review (.30);
                                           updated file drive with one new filing in the '1002 (Janvey v
                                           Fernandez) matter in the Northern District of Texas, in preparation
                                           for attorney review (.10); updated file drive with one new filing in the
                                           '366 (Janvey vs. Venger) matter in the Northern District of Texas, in
                                           preparation for attorney review (.10); updated file drive with one new
                                           filing in the '477 (Wealth Management) matter in the Northern
                                           District of Texas, in preparation for attorney review (.10); updated
                                           file drive with three new filings in the '297 1274-N (Troice) matter in
                                           the Northern District of Texas, in preparation for attorney review
                                           (.30); updated file drive with one new filing in the '1600 (Troice v.
                                           Proskauer) matter in the Northern District of Texas, in preparation for
                                           attorney review (.10); updated file drive with three new filings in the
                                           '301 (Janvey v. Brown) matter in the Northern District of Texas, in
                                           preparation for attorney review (.30); updated file drive with one new
                                           filing in the '2826 (Janvey v. Maldonado) matter in the Northern
                                           District of Texas, in preparation for attorney review (.10); updated
                                           file drive with one new filing in the '20411 (USA v. Stanford) matter
                                           in the US 5th Circuit Court, in preparation for attorney review (.10);
                                           updated file drive with one new filing in the '1873 (Vargas) matter in
                                           the Southern District of Florida Bankruptcy Court, in preparation for
                                           attorney review (.10).
02/03/15     K Corral                  .60 Updated file drive with one new filing in the '02584 (Janvey v.
                                           Alvarado) matter in the Northern District of Texas, in preparation for
                                           attorney review (.10); updated file drive with one new filing in the
                                           '477 (Wealth Management) matter in the Northern District of Texas,
                                           in preparation for attorney review (.10); updated file drive with one
                                           new filing in the '724 (Relief Def) matter in the Northern District of




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                               Hours                                 Description
                                       Texas, in preparation for attorney review (.10); updated file drive
                                       with one new filing in the '298 (MAIN) matter in the Northern
                                       District of Texas, in preparation for attorney review (.10); updated
                                       file drive with one new filing in the '27851 (Vargas) matter in the
                                       Southern District of Florida Bankruptcy Court , in preparation for
                                       attorney review (.10); updated file drive with one new filing in the
                                       '10066 (SEC v. SIB) matter in the US 5th Circuit Court, in
                                       preparation for attorney review (.10).
02/04/15   K Corral              1.50 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.50); updated file drive with
                                      one new filing in the '02584 (Janvey v. Alvarado) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '724 (Relief Def) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with three new filings in the '297 (Janvey v.
                                      Romero) matter in the Northern District of Texas, in preparation for
                                      attorney review (.30); updated file drive with two new filings in the
                                      '1736 (Lloyd's of London) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with one new
                                      filing in the '2199-N (Turk) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with one
                                      new filing in the '303 (IC v. ALSAC) matter in the Northern District
                                      of Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '3980 (OSIC v. Willis) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10).
02/05/15   K Corral              4.10 Updated file drive with two new filings in the '297 (Janvey v.
                                      Romero) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20); updated file drive with ten new filings in the
                                      '724 (Relief Def) matter in the Northern District of Texas, in
                                      preparation for attorney review (.80); updated file drive with eleven
                                      new filings in the '366 (Janvey vs. Venger) matter in the Northern
                                      District of Texas, in preparation for attorney review (.70); updated
                                      file drive with five new filings in the '415 (Janvey v. Posada) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.30); updated file drive with four new filings in the '478 (Gilbe)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.30); updated file drive with five new filings in the '1002
                                      (Janvey v Fernandez) matter in the Northern District of Texas, in
                                      preparation for attorney review (.30); updated file drive with two new
                                      filings in the '617 (Janvey v. Johnson) matter in the Northern District
                                      of Texas, in preparation for attorney review (.20); updated file drive
                                      with two new filings in the '528 (Janvey v. Buck's Bits) matter in the
                                      Northern District of Texas, in preparation for attorney review (.20);
                                      updated file drive with three new filings in the '725 (Janvey v. Barr et
                                      al.) matter in the Northern District of Texas, in preparation for
                                      attorney review (.30); updated file drive with two new filings in the
                                      '844 (Janvey v. Indigo Trust) matter in the Northern District of Texas,
                                      in preparation for attorney review (.20); updated file drive with three
                                      new filings in the '931 (Janvey v. Dokken et al) matter in the
                                      Northern District of Texas, in preparation for attorney review (.30);
                                      updated file drive with one new filing in the '3635 (Janvey v. Bogar,




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                               Hours                                 Description
                                       et al) matter in the Northern District of Texas, in preparation for
                                       attorney review (.10); updated file drive with two new filings in the
                                       '27851 (Vargas) matter in the Southern District of Florida Bankruptcy
                                       Court, in preparation for attorney review (.20).
02/06/15   K Corral              2.30 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.30); updated file drive with one new filing in the '1736
                                      (Lloyd's of London) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '2199-N (Turk) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with one
                                      new filing in the '4641 (Janvey v. Greenberg Traurig) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '3980 (OSIC v. Willis)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '02584
                                      (Janvey v. Alvarado) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with three
                                      new filings in the '10857 (Alguire) matter in the US 5th Circuit Court,
                                      in preparation for attorney review (.30); updated file drive with three
                                      new filings in the '10945 (Tonarelli) matter in the US 5th Circuit
                                      Court, in preparation for attorney review (.30); updated file drive with
                                      three new filings in the '11014 (Rincon) matter in the US 5th Circuit
                                      Court, in preparation for attorney review (.30); updated file drive with
                                      three new filings in the '11093 (Giusti) matter in the US 5th Circuit
                                      Court, in preparation for attorney review (.30); updated file drive with
                                      one new filings in the '11118 (Rishmague v. Winter) matter in the US
                                      5th Circuit Court, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '11119 (Rupert v. Winter) matter
                                      in the US 5th Circuit Court, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '37041 (Somoza) matter
                                      in the Southern District of Florida Bankruptcy Court, in preparation
                                      for attorney review (.10).
02/09/15   A L Hix               4.10 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.5); updated file drive with five new filings in the '724
                                      (Relief Def) matter in the Northern District of Texas, in preparation
                                      for attorney review (.5); updated file drive with one new filing in the
                                      '1736 (Lloyd's of London) matter in the Northern District of Texas, in
                                      preparation for attorney review (.1); updated file drive with one new
                                      filing in the '2199 (Turk) matter in the Northern District of Texas, in
                                      preparation for attorney review (.1); updated file drive with five new
                                      filings in the '366 (Janvey v. Venger) matter in the Northern District
                                      of Texas, in preparation for attorney review (.5); updated file drive
                                      with one new filing in the '617 (Janvey v Johnson) matter in the
                                      Northern District of Texas, in preparation for attorney review (.1);
                                      updated file drive with thirteen new filings in the '297 (Janvey v
                                      Romero) matter in the Northern District of Texas, in preparation for
                                      attorney review (1.10); updated file drive with one new filing in the
                                      '1177 (Libyan Investment) matter in the Northern District of Texas, in
                                      preparation for attorney review (.1); updated file drive with one new
                                      filing in the '762 (Bank of Antigua) matter in the Northern District of
                                      Texas, in preparation for attorney review (.1); updated file drive with




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                               Hours                                 Description
                                       one new filing in the '2826 (Janvey v Maldonado) matter in the
                                       Northern District of Texas, in preparation for attorney review (.1);
                                       updated file drive with one new filing in the '3635 (Janvey v Bogar)
                                       matter in the Northern District of Texas, in preparation for attorney
                                       review (.1); created folder for new case and updated file drive with
                                       seven new filings in the '401 (Janvey v GMAG) matter in the
                                       Northern District of Texas, in preparation for attorney review (.8).
02/10/15   K Corral              1.90 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.40); updated file drive with one new filing in the '3635
                                      (Janvey v. Bogar, et al) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '724 (Relief Def) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '01394 (Janvey v. Wieselberg) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '415 (Janvey v. Posada)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '478
                                      (Gilbe) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '1002 (Janvey v Fernandez) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with two
                                      new filings in the '366 (Janvey vs. Venger) matter in the Northern
                                      District of Texas, in preparation for attorney review (.20); updated
                                      file drive with one new filing in the '297 (Janvey v. Romero) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '724 (Relief Def)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '477
                                      (Wealth Management) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with three
                                      new filings in the '527 (Janvey v. Barnes) matter in the Northern
                                      District of Texas, in preparation for attorney review (.30); updated
                                      file drive with one new filing in the '27851 (Vargas) matter in the
                                      Southern District of Florida Bankruptcy Court, in preparation for
                                      attorney review (.10).
02/11/15   K Corral              4.60 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.30); updated file drive with five new filings in the '297
                                      (Janvey v. Romero) matter in the Northern District of Texas, in
                                      preparation for attorney review (.40); updated file drive with one new
                                      filing in the '2826 (Janvey v. Maldonado) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with two new filings in the '366 (Janvey vs. Venger) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.20); updated file drive with one new filing in the '724 (Relief Def)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '725
                                      (Janvey v. Barr et al.) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '1002 (Janvey v Fernandez) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated




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                               Hours                                  Description
                                       file drive with two new filings in the '415 (Janvey v. Posada) matter
                                       in the Northern District of Texas, in preparation for attorney review
                                       (.20); updated file drive with two new filings in the '1274-N (Troice)
                                       matter in the Northern District of Texas, in preparation for attorney
                                       review (.20); updated file drive with two new filings in the '1600
                                       (Troice v. Proskauer) matter in the Northern District of Texas, in
                                       preparation for attorney review (.20).updated file drive with one new
                                       filing in the '2199-N (Turk) matter in the Northern District of Texas,
                                       in preparation for attorney review (.10); updated file drive with one
                                       new filing in the '303 (IC v. ALSAC) matter in the Northern District
                                       of Texas, in preparation for attorney review (.10); updated file drive
                                       with two new filings in the '4641 (Janvey v. Greenberg Traurig)
                                       matter in the Northern District of Texas, in preparation for attorney
                                       review (.20); updated file drive with one new filing in the '3980
                                       (OSIC v. Willis) matter in the Northern District of Texas, in
                                       preparation for attorney review (.10); updated file drive with four new
                                       filings in the '3635 (Janvey v. Bogar, et al) matter in the Northern
                                       District of Texas, in preparation for attorney review (.30); updated
                                       file drive with one new filing in the '477 (Wealth Management)
                                       matter in the Northern District of Texas, in preparation for attorney
                                       review (.10); updated file drive with one new filing in the '478
                                       (Gilbe) matter in the Northern District of Texas, in preparation for
                                       attorney review (.10); updated file drive with one new filing in the
                                       '20411 (USA v. Stanford) matter in the US 5th Circuit Court, in
                                       preparation for attorney review (.10); updated file drive with three
                                       new filings in the '10857 (Alguire) matter in the US 5th Circuit Court,
                                       in preparation for attorney review (.30); updated file drive with three
                                       new filings in the '10945 (Tonarelli) matter in the US 5th Circuit
                                       Court, in preparation for attorney review (.30); updated file drive with
                                       three new filings in the '11014 (Rincon) matter in the US 5th Circuit
                                       Court, in preparation for attorney review (.30); updated file drive with
                                       three new filings in the '11093 (Giusti) matter in the US 5th Circuit
                                       Court, in preparation for attorney review (.30); updated file drive with
                                       two new filings in the '11118 (Rishmague v. Winter) matter in the US
                                       5th Circuit Court, in preparation for attorney review (.20); updated
                                       file drive with two new filings in the '11119 (Rupert v. Winter) matter
                                       in the US 5th Circuit Court, in preparation for attorney review (.20).
02/13/15   K Corral              2.50 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.70); updated file drive with ten new filings in the '297
                                      (Janvey v. Romero) matter in the Northern District of Texas, in
                                      preparation for attorney review (1.0); updated file drive with two new
                                      filings in the '775 (Directors & Officers) matter in the Northern
                                      District of Texas, in preparation for attorney review (.20); updated
                                      file drive with one new filing in the '00041 (Janvey v. Univ. of
                                      Miami) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '2199-N (Turk) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '3980 (OSIC v. Willis) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '20411 (USA v. Stanford) matter in the US




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                               Hours                                  Description
                                       5th Circuit Court, in preparation for attorney review (.10); updated
                                       file drive with one new filing in the '11118 (Rishmague v. Winter)
                                       matter in the US 5th Circuit Court, in preparation for attorney review
                                       (.10); updated file drive with one new filing in the '11119 (Rupert v.
                                       Winter) matter in the US 5th Circuit Court, in preparation for attorney
                                       review (.10).
02/16/15   K Corral              1.20 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.50); updated file drive with
                                      six new filings in the '527 (Janvey v. Barnes) matter in the Northern
                                      District of Texas, in preparation for attorney review (.50); updated
                                      file drive with two new filings in the '1600 (Troice v. Proskauer)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.20).
02/17/15   K Corral               .20 Updated file drive with one new filing in the '297 (Janvey v. Romero)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.20).
02/18/15   K Corral              1.00 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.20); updated file drive with one new filing in the '301
                                      (Janvey v. Brown) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '1274-N (Troice) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with one
                                      new filing in the '1600 (Troice v. Proskauer) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with two new filings in the '2199-N (Turk) matter in the
                                      Northern District of Texas, in preparation for attorney review (.20);
                                      updated file drive with one new filing in the '4641 (Janvey v.
                                      Greenberg Traurig) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with two new
                                      filings in the '11118 (Rishmague v. Winter) matter in the US 5th
                                      Circuit Court, in preparation for attorney review (.20).
02/19/15   K Corral               .70 Updated file drive with two new filings in the '298 (MAIN) matter in
                                      the Northern District of Texas, in preparation for attorney review
                                      (.20); updated file drive with four new filings in the '724 (Relief Def)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.30); updated file drive with one new filing in the '297
                                      (Janvey v. Romero) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '02584 (Janvey v. Alvarado) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10).
02/20/15   K Corral              2.20 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.50); updated file drive with two new filings in the '2826
                                      (Janvey v. Maldonado) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with one new
                                      filing in the '775 (Directors & Officers) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '297 (Janvey v. Romero) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '724 (Relief Def)




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                               Hours                                  Description
                                       matter in the Northern District of Texas, in preparation for attorney
                                       review (.10); updated file drive with one new filing in the '298
                                       (MAIN) matter in the Northern District of Texas, in preparation for
                                       attorney review (.10); updated file drive with one new filing in the
                                       '1177 (Libyan Investment) matter in the Northern District of Texas, in
                                       preparation for attorney review (.10); updated file drive with two new
                                       filings in the '1600 (Troice v. Proskauer) matter in the Northern
                                       District of Texas, in preparation for attorney review (.20); updated
                                       file drive with one new filing in the '3980 (OSIC v. Willis) matter in
                                       the Northern District of Texas, in preparation for attorney review
                                       (.10); updated file drive with one new filing in the '477 (Wealth
                                       Management) matter in the Northern District of Texas, in preparation
                                       for attorney review (.10); updated file drive with one new filing in the
                                       '301 (Janvey v. Brown) matter in the Northern District of Texas, in
                                       preparation for attorney review (.10); updated file drive with two new
                                       filings in the '11118 (Rishmague v. Winter) matter in the US 5th
                                       Circuit Court, in preparation for attorney review (.20); updated file
                                       drive with two new filings in the '11119 (Rupert v. Winter) matter in
                                       the US 5th Circuit Court, in preparation for attorney review
                                       (.20).updated file drive with one new filing in the '10066 (SEC v.
                                       SIB) matter in the US 5th Circuit Court, in preparation for attorney
                                       review (.10).
02/24/15   K Corral              1.20 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.40); updated file drive with one new filing in the '724
                                      (Relief Def) matter in the Northern District of Texas, in preparation
                                      for attorney review (.10); updated file drive with two new filings in
                                      the '1973 (Janvey v. Dillon Gage) matter in the Northern District of
                                      Texas, in preparation for attorney review (.20); updated file drive
                                      with one new filing in the '02584 (Janvey v. Alvarado) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '4641 (Janvey v.
                                      Greenberg Traurig) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with three
                                      new filings in the '37041(Somoza) matter in the Southern District of
                                      Florida Bankruptcy Court, in preparation for attorney review (.20);
                                      updated file drive with one new filing in the '10066 (SEC v. SIB)
                                      matter in the US 5th Circuit Court, in preparation for attorney review
                                      (.10).
02/25/15   K Corral               .30 Updated file drive with one new filing in the '1002 (Janvey v
                                      Fernandez) matter in the Northern District of Texas, in preparation
                                      for attorney review (.20); updated file drive with one new filing in the
                                      '298 (MAIN) matter in the Northern District of Texas, in preparation
                                      for attorney review (.10).
02/26/15   K Corral              4.00 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.60); updated file drive with two new filings in the '298
                                      (MAIN) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20); updated file drive with four new filings in the
                                      '724 (Relief Def) matter in the Northern District of Texas, in
                                      preparation for attorney review (.30); updated file drive with four new
                                      filings in the '366 (Janvey vs. Venger) matter in the Northern District




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                                    Hours                                  Description
                                            of Texas, in preparation for attorney review (.30); updated file drive
                                            with four new filings in the '415 (Janvey v. Posada) matter in the
                                            Northern District of Texas, in preparation for attorney review
                                            (.30);updated file drive with four new filings in the '478 (Gilbe)
                                            matter in the Northern District of Texas, in preparation for attorney
                                            review (.30); updated file drive with four new filings in the '528
                                            (Janvey v. Buck's Bits) matter in the Northern District of Texas, in
                                            preparation for attorney review (.30);updated file drive with six new
                                            filings in the '725 (Janvey v. Barr et al.) matter in the Northern
                                            District of Texas, in preparation for attorney review (.40);updated file
                                            drive with three new filings in the '1002 (Janvey v Fernandez) matter
                                            in the Northern District of Texas, in preparation for attorney review
                                            (.30); updated file drive with one new filings in the '02584 (Janvey v.
                                            Alvarado) matter in the Northern District of Texas, in preparation for
                                            attorney review (.10); updated file drive with one new filing in the
                                            '1115 (Wilkinson v. BDO) matter in the Northern District of Texas, in
                                            preparation for attorney review (.10); updated file drive with one new
                                            filing in the '1199 (Janvey v. Stanford) matter in the Northern District
                                            of Texas, in preparation for attorney review (.10); updated file drive
                                            with one new filing in the '1447 (IC v. BDO) matter in the Northern
                                            District of Texas, in preparation for attorney review (.10); updated
                                            file drive with one new filing in the '2826 (Janvey v. Maldonado)
                                            matter in the Northern District of Texas, in preparation for attorney
                                            review (.10); updated file drive with one new filing in the '3731
                                            (Reynaud) matter in the Northern District of Texas, in preparation for
                                            attorney review (.10); updated file drive with one new filing in the
                                            '20411 (USA v. Stanford) matter in the US 5th Circuit Court, in
                                            preparation for attorney review (.20); updated file drive with one new
                                            filing in the '10033 (Pre-War) matter in the US 5th Circuit Court, in
                                            preparation for attorney review (.10); updated file drive with one new
                                            filing in the '10066 (SEC v. SIB) matter in the US 5th Circuit Court,
                                            in preparation for attorney review (.10).
02/27/15     K Corral                 1.30 Updated file drive with four new filings in the '559 (Gagosian
                                           Gallery) matter in the Northern District of Texas, in preparation for
                                           attorney review (.40); updated file drive with one new filing in the
                                           '724 (Relief Def) matter in the Northern District of Texas, in
                                           preparation for attorney review (.10); updated file drive with two new
                                           filings in the '02584 (Janvey v. Alvarado) matter in the Northern
                                           District of Texas, in preparation for attorney review (.20); updated
                                           file drive with two new filings in the '3560 (Janvey v. Amadio) matter
                                           in the Northern District of Texas, in preparation for attorney review
                                           (.20); prepared materials to send notebooks to expert and attorney
                                           Arlington (.40).
             Matter Total           36.40


           079716.0117       Litigation - SEC vs. SIB, et al
                                    Hours                                Description
02/01/15     D T Arlington             .70 Reviewed litigation deadlines and communicated with team regarding




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                               Hours                                 Description
                                       same.
02/02/15   D T Arlington          .10 Communicated with team regarding Rupert amicus brief.
02/02/15   L E Dodge             2.20 Reviewed prior interim status report (1.0); sent numerous email
                                      requests to everyone who contributes information to the interim status
                                      report (1.2).
02/02/15   M C Wood              1.40 Drafted notice of non-response by DOJ to objections; conferred with
                                      legal team about same.
02/03/15   D T Arlington          .20 Communicated with team regarding preparation of interim report.
02/03/15   D T Arlington          .40 Communicated with team regarding witness interview issues and
                                      investigated regarding same.
02/03/15   E D Reeder             .20 Reviewed docket sheet and recent filings and reported status to
                                      Brendan Day.
02/04/15   D T Arlington          .60 Reviewed order regarding Hunton and other defendants' motion to
                                      dismiss (0.3); worked on revised task list (0.3).
02/05/15   D T Arlington         1.00 Further investigated regarding data requests from
                                                 and communicated with team and FTI regarding same.
02/05/15   A Cuenin               .90 Revised amicus curiae brief in Rupert and Rishmague cases (.9).
02/06/15   D T Arlington          .30 Reviewed issues relating to                    and communicated with
                                      committee regarding same.
02/06/15   A Cuenin              2.00 Continued revising amicus brief and motion to appear as amicus in
                                      Rupert and Rishmague matters (2.0).
02/07/15   A Cuenin              1.40 Continued revising amicus brief in Rupert and Rishmague appeals
                                      (1.4).
02/08/15   D T Arlington         1.30 Investigated issues in response to media inquiry and communicated
                                      with team regarding same.
02/09/15   A Cuenin              1.00 Reviewed appellees' brief regarding Rupert and Rishmague amicus
                                      brief (1.0).
02/09/15   B A Day                .20 Updated the litigation deadlines list (0.2).
02/10/15   D T Arlington          .70 Reviewed litigation deadlines and communicated with A. Cuenin
                                      regarding Rupert amicus brief (0.2); communicated with team
                                      regarding status of trial (0.5).
02/10/15   A A Carr              2.30 Reviewed and updated deadlines chart and circulated same.
02/10/15   A Cuenin              5.50 Continued revising Rishmague and Rupert amicus brief (5.5).
02/11/15   D T Arlington         2.30 Reviewed prior Rupert briefing regarding motion to lift stay and
                                      reviewed and revised draft amicus brief (2.0); reviewed task list (0.3).
02/11/15   A A Carr               .40 Reviewed physical mail, including a number of initial disclosure
                                      documents, sent to S. Powers and K. Sadler and circulation of same
                                      and discussions with K. Corral regarding saving and circulating to
                                      team.




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                               Hours                                Description
02/11/15   A Cuenin              1.90 Continued revising Rupert and Rishmague amicus brief (1.9).
02/12/15   D T Arlington         2.50 Further reviewed and revised amicus brief in Rupert case.
02/12/15   A Cuenin              7.40 Continued revising amicus brief in Rupert and Rishmague (7.4).
02/12/15   B A Day                .90 Reviewed Romero jury charge and discussed same with S. Faridifar,
                                      D. Arlington, A. Carr, and S. Cagniart in context of Stanford-wide
                                      litigation.
02/13/15   D T Arlington          .20 Communicated with team regarding amicus brief in Rupert litigation.
02/13/15   B A Day                .50 Discussed                    with A. Carr and D. Arlington as a result
                                      of the Romero trial and other events (0.5).
02/14/15   D T Arlington         1.20 Reviewed issues relating to amicus brief in Rupert case and
                                      communicated with team regarding same.
02/14/15   A Cuenin              2.60 Continued revising amicus brief in Rupert and Rishmague (2.6).
02/14/15   B A Day               5.60 Gathered claims and distribution information for               for
                                      Rishmague/Rupert amicus brief and discussed same with K. Sadler,
                                      D. Arlington, and A. Cuenin (5.6).
02/15/15   D T Arlington         2.20 Worked on amicus brief in Rupert litigation and communicated with
                                      team regarding multiple related issues.
02/15/15   A Cuenin              6.60 Continued revising Rupert and Rishmague amicus brief (6.6).
02/15/15   K M Sadler            1.00 Reviewed issues regarding amicus briefing and emails to/from
                                      Cuenin regarding same (1.0)
02/16/15   D T Arlington          .50 Coordinated with team regarding finalizing amicus brief in Rupert
                                      litigation.
02/16/15   T M Barnard           6.80 Review, revise, finalize and file amicus brief; prepare exhibits for
                                      same.
02/16/15   A Cuenin              8.40 Continued drafting and revising amicus brief, motion for leave to file
                                      same, and appendix in support thereof (8.4).
02/16/15   B A Day                .80 Further gathered claims and distribution information for
                                      Rishmague/Rupert amicus brief and sent same to A. Cuenin (0.7);
                                      updated deadlines list (0.1).
02/16/15   K B Koscheski         1.50 Compared footnotes in Amicus brief to deadlines chart for trial date
                                      and case number accuracy (1); pulled and emailed documents cited in
                                      appendix for same brief to Ari Cuenin (.5).
02/16/15   K M Sadler            1.00 Review and provide comments on amicus and emails to/from
                                      arlington and to/from Cuenin regarding same.
02/17/15   D T Arlington          .10 Communicated with Gilardi regarding notice estimate.
02/17/15   B A Day               1.50 Gathered settlement and lawsuit statistics for use in next interim
                                      Receivership report and sent same to L. Dodge (1.5).
02/17/15   S Faridifar            .40 Updated deadlines chart in connection with multiple litigation
                                      matters.




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                               Hours                                Description
02/17/15   S D Powers            1.80 Reviewed deadlines and trial schedule (.4); exchanged emails with

                                                                                (1.0); conferred with K.
                                       Sadler regarding                (.4).
02/17/15   K M Sadler            1.70 Conferences with Powers re litigation issues (1.0) ; conference with
                                      media in response to inquiry (.7)
02/18/15   T M Barnard            .30 Communication with clerk regarding filing.
02/18/15   B A Day                .40 Discussed upcoming litigation tasks and                      with D.
                                      Arlington.
02/18/15   S D Powers             .10 Confirmed status of
                                                                   egarding same.
02/19/15   S D Powers            1.10 Reviewed pleadings updates and deadlines chart and drafted,
                                      reviewed emails regarding status of various matters.
02/19/15   K M Sadler             .20 Emails from                                 (.2)
02/23/15   B A Day                .70 Prepared for and attended litigation team meeting with K. Sadler and
                                      S. Powers to discuss                       with respect to upcoming
                                      trials and related deadlines (0.7).
02/23/15   S Faridifar            .40 Call with K. Sadler, D. Arlington, S. Powers, B. Day, and C. Norfleet
                                      regarding multiple Stanford litigation matters.
02/23/15   S D Powers            1.50 Conferred with D. Arlington, K. Sadler, B. Day, S. Faridifar, and C.
                                      Norfleet regarding            division of responsibility for
                                      upcoming trials.
02/24/15   S D Powers             .30 Drafted emails regarding



02/25/15   S D Powers             .30 Reviewed, analyzed deadlines chart.
02/26/15   A Cuenin              1.10 Checked appellate issue regarding
                                                                          and drafted letter regarding same
                                       (1.1).
02/26/15   S D Powers            4.80 Travel to and from Dallas for meetings regarding Barnes, Maldonado,
                                      and Alvarado cases (4.0); conferred with K. Sadler regarding
                                            (.5); drafted, reviewed emails regarding
                                                                           (.3).
02/27/15   D T Arlington          .40 Communicated with team regarding litigation deadlines (0.2);
                                      communicated with team regarding status of next interim receivership
                                      report (0.2).
02/27/15   A A Carr              2.10 Detailed edits to deadlines chart and emails with trial teams regarding
                                      same (1.8); emails with K .Sadler and S. Powers regarding new cases
                                      to be tracked on deadlines chart (.3)
02/27/15   A Cuenin               .30 Updated letter regarding Stanford International Bank appeal (.3).
02/27/15   S D Powers            1.90 Drafted, reviewed emails regarding status of Receivership cash in




                                                                                    App. 125
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                                    Hours                                Description
                                            response to                   (.8); reviewed, revised letter to Fifth
                                            Circuit regarding
                                            (.7); reviewed, revised sections of interim report and forwarded to L.
                                            Dodge (.4).
             Matter Total           98.10


           079716.0123       Canada Litigation Matters
                                    Hours                                Description
02/02/15     D T Arlington             .50 Reviewed final notice forms for                            and
                                           communicated with Gilardi regarding related issues.
02/03/15     D T Arlington             .20 Communicated with team and Gilardi regarding
                                                 notice issues.
02/04/15     D T Arlington             .10 Coordinated with team regarding notice to potential
                                           claimants.
02/05/15     D T Arlington             .50 Finalized form of notice and communicated with Gilardi regarding
                                           same (0.3); follow up communications with Gilardi regarding notice
                                           issues (0.2).
02/06/15     D T Arlington             .30 Coordinated with Gilardi regarding notice issues.
02/10/15     D T Arlington             .40 Coordinated with team and Canadian counsel regarding notice issues.
             Matter Total            2.00


           079716.0126       Broker Litigation
                                    Hours                                Description
02/01/15     O J Alaniz                .20 Analysis of Vargas deadlines.
02/01/15     M R Dwertman              .80 Read and responded to specific cases cited by Guisti and Rincon to


02/02/15     O J Alaniz                .30 Review and revise initial Rule 26 disclosures in Vargas case.
02/02/15     M R Dwertman             5.10 Researched
                                                                  (.7); drafted argument re:
                                                                     and added record cites (4.4).
02/02/15     D K Jackson              3.80 Located broker appeal ROA documents
02/02/15     E D Reeder               1.40 Organized and renamed post-remand briefs
02/03/15     S F Cagniart             6.80 In drafting appellate brief in Janvey v. Alguire appeal, continued
                                           reviewing case law and statutes relied on by the district court and
                                           litigants for the                   (5.1); continued outlining
                                                      for inclusion in brief (1.7).
02/03/15     D K Jackson              3.30 Extracted ROA Broker Appeal documents and saved to shared drive
                                           for S. Cagniart's review.




                                                                                        App. 126
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                               Hours                                Description
02/03/15   E D Reeder            1.10 Reviewed records copies of pleadings and briefs prepared by Daniel
                                      Jackson.
02/04/15   S F Cagniart         11.30 In preparing brief in Fifth Circuit appeal of Janvey v. Alguire,
                                      continued reviewing case law and secondary authorities on
                                                 and prior briefing, and outlining argument for appellate
                                      brief.
02/04/15   D K Jackson            .10 Extracted a copy of the receivership order from the supplemental
                                      record.
02/04/15   E D Reeder            1.10 Shared drive updating and organization for Stephanie Cagniart, and
                                      assigned/reviewed tasks performed by clerk regarding same.
02/05/15   S F Cagniart          8.60 In preparing brief in Fifth Circuit appeal of Janvey v. Alguire,
                                      researched and reviewed bankruptcy cases applying
                                                                researched and reviewed case law discussing
                                                                                     , and continued outlining
                                                        for appellate brief.
02/06/15   S F Cagniart          9.10 In preparing appellate brief for Janvey v. Alguire Fifth Circuit appeal,
                                      continued reviewing case law regarding

                                                                    (3.2); reviewed statutes relevant to
                                                                                          (3.9); reviewed
                                       treatises and other secondary sources on
                                                                             (2.0).
02/08/15   S F Cagniart          7.40 In preparing appellate brief in Janvey v. Alguire, continued outlining
                                      and began drafting argument that
                                                                                 to this receivership case.
02/09/15   D T Arlington          .20 Communicated with team regarding appellate briefing issues.
02/09/15   S F Cagniart         11.00 In preparing appellate brief for Janvey v. Alguire, reviewed research
                                      and outline of                      prepared by M. Dwertman and
                                      commented on same (1.8); reviewed draft of
                                      prepared by M. Dwertman and authorities cited therein, edited draft,
                                      and discussed revisions with M. Dwertman (1.7); continued outlining
                                      and drafting argument on section on          (7.5).
02/09/15   M R Dwertman          1.60 Reviewed S. Cagniart comments to                   (.4); reviewed S.
                                      Cagniart comments to                    (.4); researched cases
                                      discussing                                                       (.8).
02/09/15   C Montalvo             .60 Researched and obtained US Senate and House reports from the
                                      Securities Act of 1933 and the Securities Exchange Act of 1934 for
                                      Stephanie Cagniart.
02/09/15   R Pravata             1.80 Researched legislative history information for Stephanie F. Cagniart.
02/09/15   E D Reeder             .70 Reviewed certificate of interested persons in another Fifth Circuit
                                      case for form (.2); drafted example for clerk to complete (.2);
                                      reviewed dockets with Daniel Jackson for names to insert into the
                                      certificate (.3).




                                                                                   App. 127
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                               Hours                                  Description
02/10/15   D T Arlington          .20 Communicated with team regarding appellate briefing issues.
02/10/15   S F Cagniart         10.50 In preparing brief in Janvey v. Alguire appeal, continued outlining
                                                         (4.0); continued drafting                 (5.2);
                                      reviewed Wiand decision issued on 02/10 by the 11th Circuit and
                                      briefs filed in that action and discussed same by e-mail with K.
                                      Sadler, S. Powers and D. Arlington (0.8); reviewed prior briefing on
                                      argument that
                                                         (0.5).
02/10/15   D K Jackson            .80 Looked up appellate briefs on PACER to determine whether there
                                      was a corrected version.
02/10/15   E D Reeder            1.10 Assisted clerk with shared drive organization of the record.
02/11/15   S F Cagniart         10.60 In preparing brief in Janvey v. Alguire appeal, reviewed prior briefing
                                      and relevant authorities for argument that

                                                                                                 and began
                                       drafting argument.
02/11/15   D K Jackson           8.30 Pulled docket reports to fill in certificate of interested persons section
                                      of Appellees' Response Brief.
02/11/15   E D Reeder             .50 Reviewed clerk's draft certificate of interested persons and made
                                      corrections to same.
02/11/15   E D Reeder            1.50 Drafted notices of appearance for Kevin Sadler, Scott Powers and
                                      Stephanie Cagniart.
02/12/15   O J Alaniz             .20 Review scheduling order in Vargas case and emails with A. Carr
                                      regarding same (.1); investigate counsel's notice of broker's
                                      bankruptcy (.1).
02/12/15   S F Cagniart          9.70 In preparing appellate brief in Janvey v. Alguire, continued outlining
                                      and drafting argument that



02/12/15   D K Jackson           4.10 Extracted ROA Broker briefs for S. Cagniart (2.1); Pulled docket
                                      reports to fill in certificate of interested persons section of Appellees'
                                      Response Brief (2.0)
02/12/15   E D Reeder             .60 Reviewed Daniel Jackson's shared drive organization assignments
                                      and work product.
02/13/15   S F Cagniart          7.00 In preparing brief for Janvey v. Alguire, edited and revised
                                                              arguments (5.4); reviewed briefing and case
                                      law regarding
                                                                          (1.6).
02/13/15   M R Dwertman          1.60 Reviewed Giusti and Rincon briefing on          (.8); searched
                                      appellate record for specific discovery documents in order to address
                                      questions from S. Cagniart (.8).
02/13/15   D K Jackson            .20 Extracted ROA Broker Brief for S. Cagniart (.2).




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                               Hours                                Description
02/14/15   S F Cagniart          9.30 In drafting brief in appeal of Janvey v. Alguire, reviewed and
                                      analyzed prior briefing on                       and arguments made in
                                      appellants' briefs (3.1), began outlining                   argument
                                      for brief (2.6), and updated research on the issue from case law,
                                      legislative history and secondary sources (3.6).
02/15/15   S F Cagniart         10.80 In preparing brief for appeal of Janvey v. Alguire, reviewed and
                                      analyzed District Court order's ruling on                      and
                                      authorities cited therein (1.1); reviewed law review articles and other
                                      publications on the enforcement of                       in bankruptcy
                                      and receiverships (3.5); reviewed recent cases applying the doctrine
                                      in related contexts (0.7); researched and reviewed legislative history
                                      of FAA (1.6): reviewed and incorporated relevant case law into
                                      outline (3.9).
02/15/15   M R Dwertman          5.10 Revised                    , reducing word count from 4500 to 2100
                                      (3.6); conducted further research in order to answer questions from S.
                                      Cagniart (.5); reviewed Tidwell and Rawl briefing on            and
                                      research notes in preparation for drafting argument (1).
02/16/15   S F Cagniart         12.40 In preparing appellate brief for Janvey v. Alguire, continued
                                      researching, outlining and drafting argument on
                                      (11.4); meeting with S. Powers on brief (1.0).
02/16/15   M R Dwertman          2.90 Drafted response to Rawl's                    argument (1.6); drafted
                                      response to Tidwell's                   argument (1.3).
02/16/15   D K Jackson           2.50 Edited certificate of interested persons section of Appelles' Response
                                      brief and sent to word processing for formatting.
02/16/15   C Montalvo             .30 Researched and obtained


02/16/15   S D Powers            1.00 Conferred with S. Cagniart regarding Fifth Circuit brief and


02/16/15   E D Reeder            1.40 Reviewed draft brief and pulled case law and other legal sources (.9);
                                      assisted Daniel Jackson in organizing the record for cite-checking
                                      (.5).
02/17/15   S F Cagniart         11.50 In preparing appellate brief in Janvey v. Alguire, continued
                                      researching, drafting and editing argument on
                                      (11.2); meeting with S. Powers to discuss Wiand decision and
                                      potential effect on case (0.3).
02/17/15   S D Powers            1.50 Conferred with S. Cagniart regarding status of brief
                                            (1.0); reviewed, analyzed Wiand opinion regarding arbitration
                                      of FT claims (.5).
02/17/15   E D Reeder            1.80 Reviewed certificate of interested persons and arranged for staffing
                                      and backup on cite-checking the brief.
02/18/15   S F Cagniart         11.40 In preparing appellate brief for Janvey v. Alguire, discussed
                                      administrative matters with Fifth Circuit clerk (0.2); edited and
                                      revised draft of                     argument for review by S. Powers
                                      (1.3); discussed                     draft with S. Powers (0.4);




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                               Hours                                Description
                                       discussed Wiand decision with S. Powers and effect on brief (0.2);
                                       continued drafting and editing    argument (9.3).
02/18/15   D K Jackson            .30 Replaced corrected appellant briefs found on PACER for S. Cagniart.
02/18/15   C Montalvo            2.90 Researched and obtained legislative history documents


02/18/15   S D Powers            6.10 Phone conference with               regarding possible amicus brief
                                      and drafted, reviewed emails regarding same (1.2); conferred with S.
                                      Cagniart regarding section of brief concerning
                                      (.5); reviewed appellants' briefs and court order regarding arbitration
                                      (2.0); reviewed, analyzed draft of section of appellees' brief on
                                                          (1.2); analyzed Wiand opinion, conferred with
                                      Wiand's counsel regarding same and follow-up conferences with K.
                                      Sadler and S. Cagniart regarding same (1.2).
02/18/15   E D Reeder            2.00 Reviewed draft of brief and pulled case law cited (.8); telephone
                                      conference with 11th Circuit clerk regarding ordering oral argument
                                      audio file (.3); telephone conference with court reporter regarding
                                      same (.2); drafted letter requesting the file and forwarded to the court
                                      via Federal Express (.7).
02/18/15   K M Sadler            3.70 Conference with Powers regarding amicus issues (.8); conference
                                      with Examiner regarding amicus (.3); conference with        regarding
                                      appeal ( 1.1) conference with Cagniart regarding status of Briefing
                                      (.4) reviewed Wiand decision and conference with Powers regarding
                                      same (1.1)
02/19/15   S F Cagniart          7.80 In preparing appellate brief in Janvey v. Alguire, finished drafting
                                      argument that
                                                                                and discussed revisions to
                                      same with S. Powers (6.2); continued drafting and outlining argument
                                      that
                                                                         (1.6).
02/19/15   C Montalvo            2.00 Researched to obtain legislative history materials


02/19/15   S D Powers            2.80 Reviewed sections of appellee's brief regarding
                                                                                              and conferred
                                       with S. Cagniart regarding same (1.8); conferred with Wiand's
                                       counsel regarding possible rehearing and amicus and analyzed issues
                                       regarding same (1.0).
02/19/15   K M Sadler             .50 Reviewed potential amicus issues regarding Wiand with Powers (.5)
02/20/15   S F Cagniart         12.10 In preparing appellate brief in Janvey v. Alguire, continued drafting
                                      and researching argument that



02/20/15   S D Powers             .50 Reviewed draft section on                and conferred with S.
                                      Cagniart regarding same.
02/20/15   E D Reeder             .60 Reviewed current draft of the brief and located statutes cited in same.




                                                                                    App. 130
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                               Hours                                 Description
02/21/15   S F Cagniart         12.10 In preparing appellate brief in Janvey v. Alguire, continued outlining
                                      and drafting argument that

                                       (8.8); drafted statement of jurisdiction, statement of the case,
                                       statement regarding oral argument (3.3).
02/22/15   S F Cagniart         12.80 In preparing appellate brief in Alguire v. Janvey appeal, updated
                                      research on all sections (2.6); revised statement of the case (0.1);
                                      edited argument that                                          (7.8);
                                      revised                      argument (2.3).
02/23/15   S F Cagniart         11.50 In preparing appellate brief in Janvey v. Alguire, revised argument
                                                                                                  (2.1);
                                      revised and edited                 (4.2); revised and edited
                                              (1.1); revised and edited statement of facts (1.5); revised and
                                      edited argument that                                          (2.6).
02/23/15   M R Dwertman          1.00 Reviewed S. Cagniart edits to                    insert into broker
                                      brief and made final revisions (.7); reviewed S. Cagniart edits to
                                                         insert into broker brief and made final revisions
                                      (.3).
02/23/15   S D Powers            3.50 Reviewed and commented on draft 5th Circuit brief (3.3); drafted,
                                      reviewed emails regarding filing logistics for Wiand brief (.2).
02/23/15   K M Sadler            4.00 Reviewed appellants' briefs regarding final response brief (4.0)
02/24/15   S F Cagniart         15.10 Continued drafting and editing response brief in Alguire v. Janvey
                                      appeal and reviewing relevant authorities.
02/24/15   S D Powers            2.20 Reviewed revisions to Alguire brief and conferred with S. Cagniart
                                      and K. Sadler regarding                (1.7); drafted, reviewed
                                      emails and phone conference with Wiand counsel regarding Wiand
                                      amicus issues (.5).
02/24/15   E D Reeder            4.40 Reviewed appellees' response brief and began locating legal
                                      authorities cited in same (1.8); organized citations to case law and
                                      statutes (.4); began review of the brief for accuracy of legal citations
                                      and quotations (2.2).
02/24/15   K M Sadler            4.60 Reviewed briefing and provided comments to sections of Appellee's
                                      brief (3.8); reviewed issues regarding amicus for Wiand (.8)
02/25/15   S F Cagniart         13.00 Continued drafting and editing response brief in Alguire v. Janvey
                                      appeal and reviewing relevant authorities (12.7); drafted motion for
                                      leave to file brief in excess of word limit and conferred with opposing
                                      counsel regarding same (0.3).
02/25/15   D K Jackson          10.30 Reviewed record cites in Appellees' Response Brief
02/25/15   N R Mink               .30 Reviewed draft amicus brief for filing in 11th Circuit case, Wiand v.
                                      Schneiderman.
02/25/15   S D Powers            5.80 Drafted Wiand amicus brief and motion for leave to file and reviewed
                                      local rules regarding same.




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                                     Hours                                 Description
02/25/15     E D Reeder                5.20 Reviewed appellees' response brief for accuracy of citations and
                                            quotations to legal authorities (4.1); instructions to and monitoring of
                                            progress of clerks in review of record citations (1.1).
02/25/15     K M Sadler                5.00 Reviewed and provided comments on appellee brief
02/26/15     S F Cagniart             15.50 Continued drafting and editing response brief in Alguire v. Janvey
                                            appeal, reviewing relevant authorities, and addressing edits and
                                            suggestions from K. Sadler.
02/26/15     D K Jackson               9.80 Reviewed record cites in Appellees' Response Brief.
02/26/15     K B Koscheski             7.80 Cite checked broker appeal for filing.
02/26/15     E D Reeder               13.60 Verified citations and quotations to legal authorities in appellees''
                                            response brief (10.9); supervision of clerks' review of record citations
                                            and reviewed their work product (2.7).
02/26/15     K M Sadler                5.00 Continued review of appellee brief and provided edits/comments
02/26/15     J M Whittlesey             .30 Obtained law reviews and commentary from secondary sources, as
                                            requested by E. Reeder.
02/27/15     S F Cagniart              8.60 Continued drafting and editing response brief in Alguire v. Janvey
                                            appeal and addressed edits and suggestions from S. Powers (4.3);
                                            conferred with opposing counsel regarding motion for leave to file a
                                            brief in excess of work limits (0.2); reviewed, edited, and finalized
                                            brief for filing. (4.1).
02/27/15     D K Jackson               4.50 Reviewed record cites in Appellees' Response Brief
02/27/15     K B Koscheski              .20 Cite checked broker appeal for filing.
02/27/15     S D Powers                4.20 Final review and revisions to Fifth Circuit brief and conferred with S.
                                            Cagniart regarding same (3.7); conferred with J. Little regarding
                                            amicus brief (.5).
02/27/15     E D Reeder               11.80 Continued review of reply brief for accuracy of citations (7.1);
                                            prepared certificate of interested persons with assistance from word
                                            processing (1.0); monitored progress of clerks' review of record
                                            citations and quality-checked same (.6); input all revisions to citations
                                            (1.2); proofread tables of contents and authorities and made final
                                            revisions (1.6); assisted secretary with efiling issues (.3).
             Matter Total           438.50


           079716.0127        Investor Litigation
                                     Hours                                 Description
02/02/15     D T Arlington              .80 Communicated with                                           (0.3);
                                            communicated with team regarding motion for final judgment and for
                                            attorneys' fees (0.5).
02/02/15     B A Day                    .80 Revised
                                                                    and discussed same with opposing counsel




                                                                                          App. 132
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                               Hours                                 Description
                                       (0.1); revised motion for entry of final judgment and discussed issues
                                       with respect to same with K. Sadler and D. Arlington (0.7).
02/02/15   J M Himmel            2.30 Edited declaration of D. Arlington and proposed order for the
                                      Receiver's motion for attorneys' fees in the net winner case and sent
                                      to B. Day for review (2); Reviewed


                                                                           (.3).
02/03/15   D T Arlington         2.00 Further reviewed motion for entry of final judgment and request for
                                      attorneys' fees and communicated with team regarding related issues
                                      (1.8); communicated with counsel for Magness regarding severance
                                      motion and reviewed related proposed changes (0.2).
02/03/15   B A Day               5.50 Further revised motion for entry of final judgment and supporting
                                      materials and discussed same with D. Arlington and J. Himmel (4.9);
                                      reviewed communications from and corresponded with
                                            (0.2); began drafting initial disclosures for the ten net-winner
                                      lawsuits pursuant to the Court's consolidated scheduling order (0.4).
02/03/15   J M Himmel            1.10 Edited the Receiver's proposed order and declaration of D. Arlington
                                      based on K. Sadler's revisions to the Receiver's motion for final
                                      judgment and attorneys' fees in the net winner case and sent to B. Day
                                      for review.
02/04/15   D T Arlington         3.70 Reviewed motion, declaration and proposed final judgment and
                                      communicated with team regarding related issues (2.3); reviewed
                                      initial disclosure drafts and communicated with team regarding same
                                      (1.2); reviewed further revised draft of motion to sever concerning
                                      Magness and communicated with counsel regarding same (0.2).
02/04/15   B A Day               6.20 Finalized, filed, and served motion for entry of final judgment as to
                                      11 net-winner groups and materials in support of same (2.2);
                                      continued drafting, revised, filed, and served initial disclosures in the
                                      ten net-winner lawsuits concerning 127 net-winner groups (4.0).
02/05/15   D T Arlington          .10 Communicated with team defendants' initial disclosures.
02/05/15   B A Day               4.00 Filed and served enclosures to the Feb. 4, 2015 initial disclosures
                                      (0.4); reviewed communications from net winners and their counsel
                                      concerning                                                 (0.9);
                                      corresponded with D. Arlington with respect to the Examiner's
                                                                (0.1); finalized and filed Warnock dismissal
                                      (0.2); finalized and circulated
                                                                          (0.5); drafted and filed agreed
                                      motion to dismiss Donald & Susan Sherrill and corresponded with
                                      opposing counsel concerning same (0.4); drafted and filed agreed
                                      motion to dismiss Mary Mardell Taylor and the Estate of Anita
                                      Wallace Bolling and corresponded with opposing counsel concerning
                                      same (0.5); reviewed correspondence from J. Day concerning status
                                      of                   and communicated with her concerning same
                                      (0.3); finalized                                      (0.2); revised




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                               Hours                             Description
                                       communicated with opposing counsel with respect to same (0.5).
02/06/15   D T Arlington          .70 Reviewed Preis response to motion for entry of final judgment and
                                      communicated with team regarding same (0.5); communicated with
                                      team regarding Magness severance (0.2).
02/06/15   B A Day                .50 Reviewed P. Preis's objections to motion for entry of judgment and
                                      discussed same with D. Arlington and A. Carr (0.5).
02/09/15   D T Arlington          .20 Reviewed status of negotiations with
02/09/15   B A Day                .40 Updated net-winner settlements chart (0.2); continued to prepare
                                                                      (0.2).
02/10/15   B A Day                .40 Corresponded with J. Day concerning status of
                                      (0.3); corresponded with S. Cagniart about Magness-related
                                      documents in the Summation database (0.1).
02/11/15   D T Arlington         1.30 Corresponded with Preis regarding                        and
                                      communicated with team regarding same (0.4); reviewed letter from
                                                                             and reviewed related issues
                                      (0.6); communicated with team regarding
                                      issues (0.3).
02/11/15   B A Day               5.00 Reviewed correspondence from
                                                  and discussed same with D. Arlington (0.6); continued to
                                      revise
                                      and discussed issues with respect to same with FTI and D. Arlington
                                      (4.1); reviewed several net winners' filings in opposition to the
                                      motion for entry of final judgment and for severance (0.3).
02/12/15   D T Arlington          .30 Reviewed issues relating to Magness severance and communicated
                                      with team regarding same.
02/12/15   B A Day               4.30 Further revised             (4.0); drafted agreed motion to dismiss
                                      regarding the Chustz Estate and corresponded with opposing counsel
                                      concerning same (0.3).
02/13/15   B A Day               2.50 Further revised             including motion to seal and motion to
                                      expedite subpoena responses (2.5).
02/14/15   D T Arlington          .20 Communicated with team regarding
02/15/15   D T Arlington          .30 Reviewed issues relating to                        and
                                      communicated with team regarding same.
02/15/15   K M Sadler             .40 Emails to/from Arlington regarding
                                                   (.4)
02/16/15   B A Day               3.40 Continued reviewing transactional information concerning 14 net-
                                      winner groups currently                        and corresponded
                                      with FTI concerning same (3.4).
02/16/15   K M Sadler             .40 Additional mails to/from Arlington regarding
                                                  (.4)
02/17/15   B A Day               5.70 Reviewed transactional information and FTI analyses concerning
                                                                               and discussed issues




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                               Hours                                Description
                                       relating to same with FTI (5.5); conferred with

                                                              (0.2).
02/17/15   M R Dwertman           .70 Reviewed Receiver's First Requests for Production and
                                      Interrogatories in Magness (.4); searched for background documents
                                      on net winner litigation (.3).
02/17/15   S D Powers             .10 Exchanged emails with M. Dwertman regarding drafting written
                                      discovery to net winner principal candidates.
02/18/15   D T Arlington          .50 Reviewed issues relating to                                           and
                                      email and telephone communications with            regarding same.
02/18/15   B A Day               7.90 Discussed
                                      and reviewed data with respect to same (2.3); further reviewed
                                      transactional information in support of the

                                              (5.0); finalized and filed agreed motion to dismiss regarding
                                       the Estate of Joseph A. Chustz (0.2); finalized
                                                                         (0.3); reviewed

                                                    (0.1).
02/18/15   M R Dwertman           .90 Drafted Receiver's first interrogatories to net winner defendants based
                                      on discovery in Magness case.
02/18/15   K M Sadler             .90 Emails to/from Day regarding                                  (.4);
                                      conference with Arlington re                                   (.5)
02/19/15   B A Day               5.60 Continued revisions of               including motion for expedited
                                      responses to subpoenas and motion for substituted service, and
                                      conducted research relating thereto (1.8); further reviewed materials
                                      relating to               and discussed related research tasks with
                                      M. Dwertman (3.8).
02/19/15   M R Dwertman          5.30 Revised Receiver's First Requests for Production to Net Winners (.9);
                                      met with B. Day to discuss research question in Janvey v. Barr (.7);
                                      read and noted Kelly & Erfudt Motion for Summary Judgment, Brief
                                      ISO, and Appendices (.7); researched
                                                                                 (2.7); compiled research
                                      notes (.3).
02/19/15   P K Strebeck           .30 Searched
                                                                       at request of Brendan Day.
02/20/15   B A Day               5.20 Continued to revise motion for authorization of substitute service and
                                      the proposed order regarding same and conducted relevant research
                                      (4.9); reviewed research memorandum from M. Dwertman
                                      concerning
                                                 and discussed same with M. Dwertman (0.3).
02/20/15   M R Dwertman          3.90 Drafted memorandum to B. Day re:
                                              (2.3); researched
                                                             and drafted response to B. Day (1.6).




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                               Hours                                 Description
02/20/15   K M Sadler             .40 Reviewed issues regarding Magness claim (.4)
02/22/15   B A Day               9.80 Drafted response to Halbouty's Estate's motion for summary
                                      judgment, as well as brief in support of response (9.4); determined

                                                             and corresponded with K. Van Tassel, D.
                                       Arlington, and FTI concerning same (0.4).
02/23/15   D T Arlington          .20 Communicated with team regarding litigation planning.
02/23/15   B A Day               5.00 Further drafted response to Halbouty MSJ and discussed same with
                                      K. Sadler, S. Powers, and D. Arlington (2.8); discussed
                                                additional MPSJs and bad-faith targets with K. Sadler and
                                      S. Powers (0.4); updated settlement tracking chart and corresponded
                                      with J. Day concerning status of payments due (0.1); drafted
                                      additional MPSJ against 15 net-winner groups not named in the
                                      original MPSJ but which have otherwise appeared in the lawsuit
                                      (1.7).
02/23/15   J M Himmel             .20 Emailed B. Day regarding the submission of a bill of costs.
02/24/15   D T Arlington          .40 Communicated with team regarding summary judgment issues (0.2);
                                      reviewed draft motion for summary judgment (0.2).
02/24/15   B A Day               9.80 Drafted additional MPSJ against 15 net-winner groups and materials
                                      in support of same (9.8).
02/24/15   M R Dwertman          1.70 Began drafting Receiver's responses to Wingfield's Requests for
                                      Production (1.6); discussed production with R. Fusco (.1)
02/24/15   S D Powers             .80 Prepared for and participated in 26(f) in Magness case.
02/24/15   K M Sadler            1.50 Reviewed pleadings and draft MPSJ (1.5)
02/25/15   D T Arlington          .50 Reviewed draft brief in support of motion for summary judgment and
                                      communicated with team regarding same.
02/25/15   B A Day               7.20 Finalized and filed response to Halbouty MSJ and MPSJ against
                                      Additional Net Winners, and served same, along with production of
                                      SIBL data (6.4); drafted and filed reply in support of Womack
                                      substitution motion (0.7); discussed Preis discovery requests with S.
                                      Powers (0.1).
02/25/15   J M Himmel            2.40 Reviewed invoices from December 2009 through October 2014 to
                                      determine what expenses were billed in this matter and created
                                      spreadsheet to calculate the toal amount of taxable expenses for
                                      possible inclusion in the bill of costs (2.3); emailed A. Carr with this
                                      information (.1).
02/25/15   S D Powers             .90 Reviewed discovery requests served by P. Preis and conferred with B.
                                      Day regarding same (.5); reviewed, commented on motion to
                                      substitute Womack (.2); drafted email to Magness's counsel regarding
                                      staying deadlines regarding MSJ (.2).
02/26/15   B A Day                .90 Discussed Halbouty response with opposing counsel (0.1);reviewed
                                      correspondence concerning history of
                                      (0.2); finalized               and drafted agreed motions to




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                                   Hours                                Description
                                           dismiss with respect to Overland and Goldman (0.6).
02/27/15     B A Day                 .40 Finalized and filed agreed motions to dismiss Overland and Goldman
                                         estates (0.4).
02/27/15     S D Powers              .30 Drafted, reviewed emails regarding deadline for response to
                                         discovery served by P. Preis.
             Matter Total         126.20


           079716.0129       Claims Management
                                   Hours                               Description
02/02/15     D T Arlington           .70 Reviewed inquiry from Criden and materials relating to
                                               and communicated with team and counsel regarding same.
02/02/15     M R Dwertman            .30 Reviewed Canadian claimant mailing list in response to question for
                                         D. Arlington (.2); sent inquiry to N. Washington concerning
                                         conditional formatting of address field (.1).
02/03/15     D T Arlington           .70 Communicated with team regarding claim transfer issues and
                                         addressed related inquiries.
02/04/15     D T Arlington           .80 Addressed inquiries concerning status of claim transfers.
02/04/15     M R Dwertman            .10 Correspond with N. Washington re: significance of conditional
                                         formatting in Canadian claimant mailing list and remove formatting.
02/05/15     D T Arlington           .50 Communicated with team regarding claim transfer issues and
                                         reviewed related communications (0.3); reviewed inquiry regarding
                                         late claim (0.2).
02/05/15     B A Day                2.90 Corresponded with the Examiner concerning his requests for prior
                                         transfer documentation (0.4); corresponded with CRT concerning JL-
                                         claims inquiry (0.1); reviewed communications from claims
                                         purchasers and claim sellers concerning pending transfers (0.3);
                                         discussed calculation of allowed versus unallowed claims with D.
                                         Arlington (0.3); reviewed proposed Bowery transfers with respect to
                                         claim groups                                              and
                                         corresponded with J. Himmel and M. Dwertman concerning same
                                         (1.0); reviewed proposed Fulcrum transfers with respect to claim
                                         groups                   and corresponded with J. Himmel and M.
                                         Dwertman concerning same (0.3); discussed 32 new Fulcrum
                                         transfers with J. Himmel and M. Dwertman (0.2); issued subsequent
                                         acknowledgements of transfer with respect to claim groups
                                                                                                    (0.3).
02/05/15     M R Dwertman           4.40 Reviewed supporting documentation for claim groups
                                                                          (1.9); drafted confirm requests for
                                         claim groups
                                         (1.2); corresponded with purchaser re: claim groups                (.3);
                                         discussed issues concerning claim group         with B. Day (.1);
                                         reviewed tracking spreadsheet to identify transfer issues that require
                                         follow-up (.7); updated tracking spreadsheet (.2).




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                               Hours                                   Description
02/06/15   B A Day               6.00 Corresponded with claimants, claim purchasers, M. Dwertman, and J.
                                      Himmel concerning transfers with respect to claim groups




                                                                                                         (5.6);
                                       discussed updated claims report with Gilardi and FTI (0.4).
02/06/15   M R Dwertman          8.30 Downloaded 32 new Fulcrum transfers to server, looked up claim
                                      group numbers in the Portal and updated spreadsheet (1.7); sent fee
                                      inquiries to J. Day (.1); saved transmittal emails and updated
                                      spreadsheet to reflect completion of 11 subsequent CRT transfers and
                                      transfers of claim groups
                                                                     (.7); drafted confirmation requests for
                                      claim groups                                  (.4); reviewed
                                      documentation and communicated with purchasers re: claim groups
                                                            (1); discussed issues re: claim group         with
                                      B. Day (.2); drafted email to counsel concerning claim group
                                      (.4); communicated with purchaser concerning documentation for
                                      claim group          (.2); drafted acknowledgements for claim groups


                                                              (3.6).
02/06/15   J M Himmel             .30 Reviewed trust documentation provided by claims purchaser
                                      regarding claim group          to determine if there is authority to sell
                                      the claims (.2); Updated files pertaining to recent claim transfer
                                      activity (.1).
02/09/15   D T Arlington          .20 Coordinated with team regarding call with claims purchaser and
                                      counsel.
02/09/15   B A Day               3.80 Responded to inquiries from the Examiner concerning claim-transfers
                                      for claim groups
                                              0.6); reviewed, acknowledged, and corresponded with
                                      claimants, claim purchasers, J. Himmel, and M. Dwertman regarding
                                      proposed transfers for claim groups


                                                          (3.2).
02/09/15   M R Dwertman          4.80 Reviewed revised transfer and sent confirmation request for claim
                                      group       (.2); saved transmittal e-mails and updated spreadsheet to
                                      reflect completion of transfers for claim groups

                                                                             (1.5); sent confirmation request
                                       for claim group        (.1); sent revised notices of transfer to Gilardi
                                       for claim groups                (.2); reviewed and acknowledged
                                       subsequent transfer for claim group         (.5); reviewed notices of
                                       transfer for claim groups                                 (1.3);
                                       communicated with purchaser re: claim group             (.1); updated
                                       spreadsheet (.5); reviewed documentation for claim group




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                               Hours                                  Description
                                       sent inquiry to B. Day (.4).
02/09/15   J M Himmel            4.40 Completed draft confirmation requests for claims groups
                                            (.3); Acknowledged transfers for claim groups
                                                                           (2.4); Completed intial review
                                      of claim groups                                          and
                                      communicated with Gilardi regarding these claims (1.7).
02/10/15   B A Day               3.30 Communicated with claims purchasers, claimants, J. Himmel, and M.
                                      Dwertman concerning confirmation requests, error-corrections, and
                                      acknowledgements with respect to claim groups


                                              (2.7); reviewed correspondence from Fulcrum concerning 40
                                       additional proposed transfers and discussed same with M. Dwertman
                                       and J. Himmel (0.3); provided update regarding completed transfers
                                       to the Examiner at his request (0.3).
02/10/15   M R Dwertman          8.20 Drafted confirm requests for claim groups
                                                            (.7); communicated with purchasers re: claim
                                      groups                                                (.4); drafted
                                      acknowledgements for claim groups                   (.5); reviewed
                                      documentation for claim groups and          (.4); reviewed revised
                                      transfer for claim groups                 (.2); reviewed bulk
                                      subsequent transfer of 11 claim groups from Fulcrum to FH Stanford
                                      Investments Holdings (.9); reviewed notices of transfer for claim
                                      groups

                                             (5.1).
02/10/15   J M Himmel            2.40 Communicated with purchaser and B. Day regarding claims groups
                                                            , with focus on reviewing the supporting
                                      documentation provided for claim group          and identifying the
                                      missing documentation necessary to complete this transfer (1.1);
                                      Completed initial review and communicated with Gilardi regarding
                                      claim groups                               (1.3).
02/11/15   D T Arlington         1.10 Prepared for and participated in conference call with claims purchaser
                                      (1.0); reviewed status of claim transfers (0.1).
02/11/15   B A Day               1.80 Reviewed, acknowledged, and corresponded with claim purchasers,
                                      claimants, M. Dwertman, and J. Himmel concerning proposed
                                      transfers for claim groups

                                                                                                           (1.8).
02/11/15   M R Dwertman          3.90 Reviewed certification notices for claim groups


                                                                          (1); drafted confirm request for
                                       claim group         (.1); saved transmittal emails and moved
                                       completed files for claim groups                        (.2); drafted
                                       email to purchaser re: claim groups
                                                                                      (.9); drafted




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                               Hours                                 Description
                                       acknowledgement for claim group          (.2); reviewed transfer
                                       notices for claim groups                       (.9); reviewed revised
                                       transfer notices for claim groups                         (.3); updated
                                       spreadsheet (.3).
02/11/15   J M Himmel            1.20 Communicated with M. Dwertman and B. Day regarding the process
                                      for transfer acknowledgments of claims with subsequent tranfers and
                                      sent transfer acknowledgments to Gilardi and FTI for claim groups
                                                       (.8); Sent draft confirmation requests to B. Day for
                                      claim groups                  (.4).
02/12/15   D T Arlington          .50 Communicated with team regarding claim inquiry and related issues
                                      (0.1); addressed inquiry from Wingspan (0.2); reviewed status and
                                      communications regarding claim transfers (0.2).
02/12/15   B A Day               1.80 Acknowledged, reviewed, and corresponded with J. Himmel, M.
                                      Dwertman, claims purchasers, and claimants regarding proposed
                                      transfers for claim groups

                                                                        (1.6); reviewed draft amended
                                       notices of determination and corresponded with Gilardi concerning
                                       same (0.2).
02/12/15   J M Himmel            1.40 Sent transfer acknowledgments to Gilardi and FTI for claim groups
                                                                      (.5); Sent draft confirmation requests
                                      to B. Day for claim groups
                                             (.7); Drafted email to purchaser regarding check status for
                                      claim groups                                (.2).
02/13/15   M R Dwertman          2.00 Downloaded 5 new notices of transfer
                                             to server, looked up claim group numbers in portal, added to
                                      spreadsheet, and sent fee inquiry (.3); updated spreadsheet to reflect
                                      B. Day external communications (.5); drafted confirm requests for
                                      claim groups                                               (.6);
                                      acknowledged bulk subsequent transfer of claims from Fulcrum to
                                      FH Stanford and sent notice to Gilardi (.4); saved transmittal emails
                                      and transferred completed files for claim groups                  (.2).
02/16/15   M R Dwertman          2.20 Drafted confirmation requests for claim groups
                                                            (.5); calculated error rate for batch of 32 Fulcrum
                                      transfers (.3); drafted acknowledgement for claim group             (.2);
                                      reviewed certifications for claim groups
                                                                                              and updated
                                      spreadsheet (.2); downloaded 19 new notices of transfer from
                                      Fulcrum, looked up claim group numbers in Portal, and added to
                                      spreadsheet (1).
02/17/15   B A Day                .70 Corresponded with Gilardi and S. Powers concerning claims by
                                      Annalisa and Horatio Mendez (0.4); corresponded with Gilardi
                                      concerning draft ANODs (0.3).
02/17/15   M R Dwertman          4.10 Reviewed bulk transfer of 34 claim groups




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                               Hours                                   Description
                                                      and updated spreadsheet to reflect ultimate purchaser
                                       and certification status (2.3); acknowledged bulk transfer and sent
                                       notice to Gilardi (.3); sent email to FTI and Gilardi re: updates to
                                       pending-transfers exclusions list (.4); downloaded 21 new notices of
                                       transfer, looked up claim group numbers in the Portal, and updated
                                       spreadsheet to reflect new transfers (1.1).
02/18/15   B A Day                .40 Corresponded with K. Sadler concerning Mendez claims (0.1);
                                      acknowledged notice of subsequent transfers concerning 34 claim
                                      groups and corresponded with Fulcrum, the Examiner, and M.
                                      Dwertman concerning same (0.3).
02/18/15   M R Dwertman           .10 Saved transmittal-email re: bulk transfer of 34 claims from Fulcrum
                                      to Wingspan and moved related files (.1).
02/18/15   K M Sadler             .40 Emails to/from Day re claimant and collateral source issues (.4)
02/19/15   B A Day                .20 Reviewed claims-related information for McNamara clients and
                                      corresponded with T. McNamara, Stanford staff, and Gilardi
                                      concerning same (0.2).
02/19/15   M R Dwertman          1.70 Reviewed notices of transfer for claim groups
                                      (1.1); reviewed supporting documentation for claim groups
                                                  (.6).
02/20/15   M R Dwertman          2.30 Reviewed transfer notices for claim groups
                                                 (2.1); reviewed corporate documents for claim group
                                           (.2).
02/21/15   M R Dwertman           .20 Communicated with Gilardi re: claim groups
                                                           (.1); updated spreadsheet (.1).
02/23/15   M R Dwertman          2.00 Communicated with purchaser re: claim groups
                                                                   (.8); updated spreadsheet (.1); reviewed
                                      certifications and updated spreadsheet for claim groups



                                                           (1.1).
02/24/15   M R Dwertman          3.90 Reviewed transfer notices for claim groups
                                                                                                      (3.8);
                                       reviewed documentation for claim group         (.1).
02/25/15   M R Dwertman          3.10 Reviewed transfer notices for claim groups
                                                   (1.3); reviewed corporate documentation for claim
                                      groups                   (1.3); communicated with Gilardi re claim
                                      groups
                                                       (.3); updated spreadsheet (.2).
02/26/15   D T Arlington          .20 Reviewed and investigated inquiries from claimants.
02/26/15   B A Day                .90 Attended conference call with Gilardi, FTI, and Stanford staff to
                                      discuss claims-processing issues and Portal updates (0.9).
02/26/15   M R Dwertman          2.50 Drafted emails to purchasers re: claim groups
                                                                                          (.9);




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                                   Hours                                  Description
                                           communicated with Gilardi re: claim groups
                                                                  (.2); reviewed transfer notices for claim groups
                                                                           (1.1); reviewed background
                                           documentation for claim group             (.1); responded to seller inquiry
                                           re: status of claim and reported status to D. Arlington (.2).
             Matter Total          90.70


           079716.0133       Barnes, Ben
                                   Hours                                  Description
02/02/15     D T Arlington            .20 Communicated with team and Castillo regarding
02/04/15     D T Arlington            .20 Communicated with team regarding production issues.
02/04/15     L E Dodge                .50 Researched production of documents in Barnes case before KVT's
                                          expert report was served (.5).
02/06/15     D T Arlington            .10 Communicated with OSIC counsel regarding production.
02/09/15     D T Arlington            .10 Addressed production issue.
02/11/15     L E Dodge                .40 Sent KVT-1 to KVT-98 to KVT's expert report to J. Castillo via FTP
                                          (.4).
02/16/15     K M Sadler               .40 Emails to/from OSIC counsel (.4)
02/17/15     S Faridifar              .40 Prepared email to J. Abraham and J. Castillo regarding pretrial
                                          materials for Barnes case.
02/17/15     S D Powers              1.50 Phone conference with trial team regarding lessons learned from
                                          Romero case (1.0); reviewed issues with K. Sadler regarding same
                                          (.5).
02/17/15     K M Sadler              1.40 Conference with Powers (.4); conference with Examiner and OSIC
                                          counsel (1.0)
02/20/15     S D Powers               .50 Drafted, reviewed emails regarding scheduling prep sessions for trial
                                          and meeting with CSI (.5).
02/24/15     S D Powers               .30 Exchanged emails with J. Abraham regarding


02/26/15     S D Powers              1.50 Meeting with J. Castillo and CSI to discuss trial presentation plan for
                                          Barnes case.
02/27/15     S D Powers               .20 Forwarded Barnes tolling agreement to J. Castillo (.1); drafted email
                                          to R. Janvey regarding outcome of meeting with J. Castillo and CSI
                                          (.1).
             Matter Total           7.70


           079716.0134       Wealth Management Services, Ltd./David Nanes




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                               Hours                                Description
02/02/15   D T Arlington          .40 Reviewed reply concerning objections to magistrate's report and
                                      communicated with team regarding same.
02/05/15   D T Arlington         1.20 Reviewed report and proposal from investigator and communicated
                                      with team regarding same.
02/10/15   D T Arlington          .40 Reviewed motion for leave to file by DOJ and communicated with
                                      team regarding same.
02/10/15   B A Day                .20 Discussed reply regarding magistrate's WMSL order with M. Wood
                                      (0.2).
02/10/15   M C Wood               .50 Conferred with B. Day about federal agencies' request for leave to file
                                      late response to objections (.2); drafted reply brief opposing motion
                                      for leave (.3).
02/11/15   D T Arlington          .20 Reviewed draft response to federal agency motion for leave and
                                      communicated with team regarding same.
02/11/15   B A Day                .70 Reviewed and revised draft reply to the agencies' untimely response
                                      and discussed same with M. Wood (0.7).
02/11/15   M C Wood               .20 Addressed final comments from team regarding reply to federal
                                      agencies response (.1); coordinated filing of same (.1).
02/17/15   K M Sadler             .30 Emails to/from Wood re briefing on Report and Recommendation
                                      objections (.3)
02/20/15   D T Arlington          .30 Reviewed order regarding motion to compel and communicated with
                                      team regarding same.
02/20/15   M C Wood              1.00 Reviewed judge's order on objections to magistrate order; conferred
                                      with B. Day about same.
02/23/15   L E Dodge             2.30 Researched subpoenas to Customs & Border Patrol and Department
                                      of State (2.3).
02/23/15   K M Sadler             .30 Reviewed issues regarding subpoenas to CBP and DOS (.3)
02/24/15   D T Arlington          .10 Communicated with investigator regarding statement of work.
02/24/15   L E Dodge             3.20 Prepared subpoenas to Custom and Border Patrol and Department of
                                      State (2.2); revised subpoenas, as requested by K. Sadler (1.0).
02/24/15   K M Sadler             .50 Reviewed issues regarding                                     (.5)
02/25/15   D T Arlington          .20 Communicated with team regarding potential additional investigation.
02/25/15   L E Dodge             1.10 Coordinated service of subpoenas to Customs & Border Patrol and
                                      Department of State (.3); prepared message to S. Fahey transmitting
                                      courtesy copies of subpoena (.2); prepared notice of subpoena for
                                      filing (.6).
02/25/15   K B Koscheski          .70 Prepared subpoena to Department of Justice and U.S. Customs
                                      Border Patrol.
02/26/15   L E Dodge              .40 E-filed notice of subpoenas to Customs & Border Patrol and
                                      Department of State (.4).




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                                    Hours                                Description
02/27/15     D T Arlington             .40 Communicated with team regarding subpoena service issues and
                                           telephone conference with department of state regarding same.
02/27/15     L E Dodge                 .30 Researched service of Department of State subpoena (.3).
             Matter Total           14.90


           079716.0136       Janvey, Ralph S., Receiver vs. Dillon Gage, Inc.
                                    Hours                                Description
02/01/15     M R Dwertman              .60 Read Van Tassel declarations submitted by Receiver as summary
                                           judgment evidence.
02/02/15     M R Dwertman              .40 Reviewed Receiver's Reply ISO Receiver's Motion for Summary
                                           Judgment.
02/03/15     M R Dwertman             2.40 Reviewed Dillon Gage's Sur-Reply to Receiver's Motion for
                                           Summary Judgment (.3); reviewed background documents re: Pre
                                           War Art v. SCB and Dillon Gage (2.1).
02/04/15     D K Jackson              7.00 Unitize and indexed SCB production on shared drive.
02/10/15     E D Reeder                .80 Prepared notices of appearance for Stephanie Cagniart, David
                                           Arlington and Kevin Sadler.
02/12/15     D T Arlington             .20 Communicated with team regarding appeal issues.
02/19/15     D T Arlington             .60 Investigated discovery issue raised by counsel and communicated
                                           with team regarding same.
02/19/15     B A Day                  1.10 Discussed newly received Dillon Gage discovery requests with D.
                                           Arlington (1.1).
02/19/15     K M Sadler                .80 Conferences with Powers and Arlington regarding discovery
                                           responses (.8)
02/20/15     D T Arlington            1.10 Communicated with team regarding trial planning and discovery
                                           issues (0.5); communicated with counsel regarding discovery (0.2);
                                           communicated with team regarding responses to Dillon Gage
                                           discovery (0.4),
02/20/15     B A Day                  5.80 Continued to research issues with respect to recently received, but
                                           improperly served, Dillon Gage discovery requests and discussed
                                           same with D. Arlington (1.3); discussed Dillon Gage
                                           litigation tasks with K. Sadler and D. Arlington (1.0); drafted
                                           answers, responses, and objections to Dillon Gage's recently
                                           delivered RFPs and interrogatories (3.5).
02/20/15     L E Dodge                1.20 Compiled MSJ briefing for K. Sadler (.5); researched scheduling
                                           order, as requested by K. Sadler (.4); researched expert reports (.3).
02/21/15     B A Day                   .20 Revised responses and objections to Dillon Gage discovery requests
                                           and sent same to K. Sadler and D. Arlington (0.2).
02/23/15     D T Arlington             .20 Communicated with team regarding litigation planning.




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                                   Hours                                Description
02/23/15     B A Day                  .40 Finalized and served responses, answers, and objections to Dillon
                                          Gage's 2nd set of interrogatories and 2nd set of RFPs and
                                          corresponded with D. Arlington concerning same (0.4).
02/23/15     L E Dodge                .20 Sent Pre-War trial transcripts to. K. Sadler and B. Day (.2).
02/23/15     C J Norfleet             .40 Participated in trial team                call to develop plan for
                                          upcoming tasks and deadlines.
02/23/15     K M Sadler              2.00 Reviewed discovery issues and                     (1.5); conference
                                          with trial team (.5)
02/24/15     B A Day                  .80 Prepared for and attended conference call with K. Sadler and C.
                                          Norfleet regarding Dillon Gage trial tasks            (0.8).
02/24/15     C J Norfleet            2.40 Prepared for and participated in status call with Kevin Sadler and
                                          Brendan Day                            discovery and expert disclosures
                                          (0.9); researched discovery responses and prior litigation transcripts
                                          to identify additional topics for discovery requests (1.5).
02/24/15     K M Sadler              1.80 Reviewed pleadings (1.0); Conference with Day and Norfleet
                                          regarding trial prep          (.8).
02/27/15     B A Day                 5.00 Reviewed prior Dillon Gage discovery requests, responses, and
                                          objections and related correspondence in preparation for conference
                                          call with new counsel for Dillon Gage (3.9); attended conference call
                                          with L. Fontaine concerning Dillon Gage discovery disputes and
                                          requests (0.3); provided information concerning motions and
                                          discovery efforts in Dillon Gage case to C. Norfleet (0.8).
02/27/15     L E Dodge                .50 Conferred with B. Day to coordinate organizing and compiling
                                          documents in preparation for trial (.5).
02/27/15     C J Norfleet             .80 Analyzed prior case trial transcript to identify admission from Dillon
                                          Gage for use in drafting discovery requests.
02/28/15     B A Day                 4.70 Reviewed Pre-War trial transcript for use in the Dillon Gage lawsuit
                                          and identified key portions of same (4.7).
             Matter Total          41.40


           079716.0138       Emageon, Inc. vs. Merge Healthcare
                                   Hours                                Description
02/18/15     S D Powers               .10 Exchanged emails with M. Clements regarding schedule in Merge
                                          case.
02/19/15     D T Arlington            .10 Communicated with team regarding discovery issues.
02/19/15     S D Powers               .60 Reviewed and commented on draft discovery responses in Merge
                                          case and exchanged emails with M. Clements regarding same.
02/20/15     S D Powers               .50 Drafted, reviewed emails regarding supplemental interrogatory
                                          answers in the Merge case.




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                                    Hours                              Description
02/20/15     K M Sadler               .50 Emails to/from powers regarding discussions with OSIC counsel on
                                          discovery                          (.5)
02/24/15     S D Powers               .20 Reviewed and commented on motion for continuance in Merge case.
02/26/15     S D Powers               .50 Final review and edits to Merge supplemental interrogatory responses
                                          and drafted, reviewed emails regarding same.
02/27/15     S D Powers               .30 Drafted, reviewed emails regarding finalizing Merge interrogatory
                                          answers.
             Matter Total            2.80


           079716.0139       Investor Committee Matters
                                    Hours                              Description
02/02/15     D T Arlington           5.50 Communicated with team and class counsel regarding response to
                                          Proskauer motion to compel and addressed related issues (0.8);
                                          reviewed and revised draft response to Proskauer motion to compel
                                          (2.2); investigated inquiries from
                                          and communicated with team regarding same (2.0); communicated
                                          with team and client regarding Willis subpoenas and potential
                                          deposition (0.3); reviewed additional Willis subpoena to Examiner
                                          and communicated with Examiner regarding same (0.2).
02/02/15     B A Day                 8.70 Continued drafting response to Chadbourne's and Proskauer's motion
                                          to compel and discussed same with D. Arlington (8.7).
02/03/15     D T Arlington            .30 Communicated with team and Valdespino regarding litigation
                                          deadlines and motion to continue.
02/03/15     D T Arlington           2.40 Further reviewed draft response to Proskauer motion to compel and
                                          communicated with team regarding same.
02/03/15     B A Day                 4.30 Revised and filed response to Chadbourne's and Proskauer's motion
                                          to compel and discussed edits to same with D. Arlington (4.3).
02/03/15     E D Reeder               .40 Contacted court regarding receiving notifications on case in which
                                          Janvey is not a party (.1); requested information regarding monitoring
                                          the case through Courtlink from the library and reported results to
                                          Stephanie Cagniart (.3).
02/03/15     E D Reeder               .20 Contacted the court regarding appearance and notification procedures
                                          for Troice case on which Janvey is not a party, but a filer.
02/04/15     D T Arlington            .20 Reviewed communications regarding
02/05/15     D T Arlington            .60 Reviewed communications with OSIC regarding litigation and
                                          mediation and communicated with team regarding same.
02/06/15     D T Arlington           1.20 Telephone conference with Snyder regarding class action issues and
                                          follow up regarding related matters (0.5); further researched issues
                                          relating to claims data inquiries            and communicated with
                                          team regarding same (0.7).




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                               Hours                               Description
02/09/15   D T Arlington         1.70 Communicated with team and Buncher regarding status of request for
                                      claim information                          (0.2); reviewed
                                      Examiner's response to Willis subpoena, reviewed related materials,
                                      telephone conference with Examiner and prepared letter objections to
                                      subpoena (1.3); coordinated regarding Janvey deposition in Willis
                                      case and communicated with counsel regarding same (0.2).
02/10/15   D T Arlington          .20 Reviewed litigation deadlines and communicated with Valdespino
                                      regarding same.
02/12/15   D T Arlington          .10 Reviewed inquiry from Little regarding claim information for


02/12/15   B A Day                .40 Discussed schedule of claims for               and discussed issues
                                      relevant to same with FTI.
02/16/15   B A Day               1.40 Rreviewed FTI's and Gilardi's updated claims chart relating to
                                             and discussed same with D. Arlington .
02/16/15   K M Sadler             .30 Reviewed issues regarding class action discovery per email from
                                      OSIC counsel.
02/17/15   D T Arlington          .20 Reviewed reply regarding Proskauer motion to compel.
02/17/15   S D Powers            1.00 Reviewed, analyzed issues regarding                     and
                                      participated in phone conference with D. Buncher and others
                                      regarding                  (1.0).
02/17/15   K M Sadler             .80 Reviewed emails from OSIC counsel                                (.4);
                                      confernce with examiner and OSIC counsel (.4).
02/18/15   B A Day               1.20 Reviewed Proskauer's and Chadbourne's reply to their motion to
                                      compel (0.4); corresponded with FTI regarding claims data for
                                             and discussed same with D. Arlington (0.8).
02/18/15   K M Sadler            2.00 Reviewed issues re                             and emails to/from
                                      OSIC counsel re same (1.0) ; conferences with Arlington and Powers
                                      re                                            (1.0)
02/19/15   D T Arlington          .20 Communicated with team and committee counsel regarding expense
                                      issues.
02/19/15   B A Day                .70 Reviewed revised claims data from FTI and discussed same with D.
                                      Arlington in context of
02/19/15   B A Day                .20 Corresponded with D. Arlington concerning usual pre-trial deadlines.
02/20/15   D T Arlington          .60 Coordinated with team regarding client deposition in Willis case
                                      (0.3); communicated with Gilardi regarding claim data requests
                                             (0.3).
02/20/15   S D Powers            1.00 Drafted, reviewed emails regarding subpoena in Willis class action
                                      and analyzed issues regarding same and conferred with E. Snyder and
                                      D. Arlington regarding same (1.0).
02/20/15   K M Sadler             .40 Emails to/from OSIC counsel regarding meeting and related issues
                                      (.4)




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                                    Hours                              Description
02/22/15     D T Arlington            .20 Responded to Examiner inquiry relating to
02/23/15     S D Powers              2.00 Reviewed and commented on
02/23/15     K M Sadler               .80 Reviewed third party discovery issues with Powers (.8);
02/24/15     S D Powers              2.30 Conferred with K. Sadler, E. Snyder, and D. Buncher regarding
                                                     reviewed changes regarding same, and drafted reviewed
                                          emails regarding same (1.1); reviewed and edited motion
                                                          (1.2).
02/24/15     K M Sadler              1.50 Reviewed issues regarding                       and conferences
                                          with Powers regarding same (1.0); conference with Buncher and
                                          Snyder regarding                  (.5)
02/25/15     D T Arlington            .20 Communicated with team regarding documents potentially responsive
                                          to Willis subpoena.
02/25/15     S D Powers               .30 Reviewed emails regarding                         , conferred with K.
                                          Sadler regarding same.
02/26/15     S D Powers               .30 Reviewed, analyzed draft declaration to resolve Willis subpoena.
02/27/15     S D Powers              1.50 Phone conferences with R. Janvey, E. Snyder, and Willis counsel
                                          regarding upcoming R. Janvey deposition and drafted, reviewed
                                          emails regarding same (1.5).
             Matter Total           45.30


           079716.0147       Janvey, Ralph S., Receiver vs. Mauricio Alvarado
                                    Hours                              Description
02/02/15     A Cuenin                1.80 Drafted and revised motion for extension of time to respond to
                                          motions to dismiss (1.4); called opposing counsel regarding extension
                                          (.4).
02/02/15     S D Powers               .20 Reviewed and commented on motion to continue deadline to respond
                                          to motions to dismiss.
02/03/15     T M Barnard              .40 Review and file Motion to Extend Time.
02/03/15     A Cuenin                2.00 Revised motion for extension to respond to motions to dismiss (.6);
                                          circulated same to opposing counsel for comment and confirmation of
                                          approval (.2); coordinated filing of same (.2); revised discovery and
                                          trial plan (1.0).
02/04/15     K B Koscheski           2.00 Continued adding Bates ranges related to production regarding
                                          Hamric, Rigby and Alvarado.
02/10/15     K B Koscheski           7.00 Supplemented index to track production regarding Hamric, Rigby and
                                          Alvarado.
02/11/15     A Cuenin                1.30 Began drafting response to Alvarado's motion to dismiss (1.3).
02/12/15     A Cuenin                5.50 Continued drafting response to Alvarado's motion to dismiss (5.5).




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                               Hours                                Description
02/12/15   K B Koscheski         5.50 Furrther supplemented production index.
02/13/15   A Cuenin              6.80 Continued responding to Alvarado's motion to dismiss (6.8).
02/13/15   K B Koscheski         2.50 Furrther supplemented production index.
02/14/15   A Cuenin              2.20 Continued responding to Alvarado's motion to dismiss (1.7); began
                                      responding to Rigby's motion to dismiss (.5)
02/17/15   A Cuenin              7.60 Drafted response to Rigby motion to dismiss (7.2); reviewed Hamric
                                      motion to dismiss (.4).
02/17/15   S D Powers             .20 Exchanged emails with A. Cuenin regarding motion to dismiss
                                      responses.
02/18/15   A Cuenin             11.40 Reviewed and compiled                     documents
                                      (7.2); continued drafting response to Rigby motion to dismiss (3.8);
                                      drafted motion and proposed order for Hamric response deadline (.4).
02/18/15   S D Powers             .10 Reviewed and approved motion to extend deadline to respond to
                                      motion to dismiss filed by Hamric.
02/19/15   T M Barnard            .40 Filed Motion to Extend Time.
02/19/15   A Cuenin              8.20 Continued identifying                       documents
                                            (8.1); revised motion for extension regarding Hamric motion
                                      (.1).
02/19/15   S D Powers            1.00 Reviewed Alvarado motion to dismiss and draft response.
02/20/15   A Cuenin             10.30 Continued locating                              (2.1); reviewed
                                      Maldonado opinion regarding                             (.3); revised
                                      response to Alvarado's motion to dismiss (7.9).
02/20/15   K B Koscheski         1.50 Continued adding descriptions of Bates numbered documents to
                                      index.
02/20/15   S D Powers             .40 Reviewed and commented on draft response to Alvarado's motion to
                                      dismiss.
02/21/15   A Cuenin              2.80 Identified
                                      (2.8).
02/22/15   A Cuenin              3.60 Identified          documents
                                             (2.7); identified                  documents
                                      (.9).
02/23/15   A Cuenin              5.30 Identified documents given to other fiduciary experts for use in
                                      Alvarado case (.6); read SEC enforcement order (.7); read Weiser
                                      testimony regarding same (.9); began reading Bogar testimony
                                      regarding same (.8); identified additional        documents
                                                                                    (2.3).
02/23/15   K B Koscheski         2.50 Continued adding descriptions of Bates numbered documents to
                                      index.
02/24/15   A Cuenin             10.10 Continued reviewing Bogar SEC testimony (1.9); continued drafting
                                      and revising response to Alvarado motion to dismiss (5.5); continued




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                                    Hours                               Description
                                            drafting response to Rigby motion to dismiss (2.7).
02/24/15     S D Powers              1.80 Reviewed Alvarado and Rigby responses to motion to dismiss and
                                          conferred with A. Cuenin regarding revisions to same.
02/25/15     T M Barnard             3.70 Cite checked response.
02/25/15     K Corral                3.20 Assist A. Cuenin with cite check of response to motion to dismiss fist
                                          amended complaint.
02/25/15     A Cuenin               11.40 Revised and filed response to Alvarado motion to dismiss (4.4);
                                          continued drafting and revising response to Rigby motion to dismiss
                                          (6.7); finalized batch of proposed documents to give to expert (.3).
02/25/15     K B Koscheski            .80 Checked cites for motion to dismiss first amended complaint.
02/25/15     K B Koscheski           2.00 Checked STAN RINCON 0000001-0009094 production for blank
                                          pages (1.0); searched for transmittal letters of same production to
                                          Alvarado (1.0).
02/25/15     A L Payne               3.10 Review Motion to Dismiss re Alvarado; prepare redlined version; cite
                                          check additional Stanford cases, Westlaw, and complaint cites.
02/25/15     S D Powers               .50 Reviewed and commented on draft responses to Alvarado and Rigby
                                          motions to dismiss.
02/26/15     A Cuenin               10.40 Drafted Hamric motion to dismiss response (6.6); continued drafting
                                          Rigby motion to dismiss response (3.0); planned additional discovery
                                          in light of parties' stipulation regarding case scheduling conference
                                          (.8).
02/26/15     A L Payne               2.20 Review and prepare redlined edits for Motion to Dismiss Responses
                                          re Rigby and Hamric.
02/26/15     S D Powers              2.00 Reviewed and commented on draft responses to Hamric and Rigby
                                          motions to dismiss (1.0); met with A. Cuenin regarding expert
                                          witness,                (1.0).
02/27/15     K Corral                2.10 Assisted A. Cuenin with preparing documents to send to expert.
02/27/15     A Cuenin                5.30 Called expert regarding additional documents and prepared for same
                                          (2.3); located additional documents for expert and coordinated
                                          distribution of same (1.7); prepared for and contacted opposing
                                          counsel to discuss meet and confer regarding scheduling order (.4);
                                          read Bogar SEC testimony for use in ongoing discovery (.9).
02/27/15     A L Payne                .80 Cross-reference expert folders per Mr. Cuenin's request.
02/27/15     S D Powers               .10 Reviewed emails from A. Cuenin regarding scheduling call with
                                          defendants' counsel and regarding documents for expert.
02/28/15     A Cuenin                3.90 Continued reading Bogar SEC testimony (3.9).
             Matter Total          155.90


           079716.0149       Ralph S. Janvey, Receiver vs. Libyan Investment




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                                    Hours                               Description
02/01/15     S Faridifar              2.00 Revised draft of response to motion to modify.
02/02/15     S Faridifar               .30 Addressed issues regarding response to motion to modify.
02/16/15     K M Sadler                .40 Email to Powers and Faridifar regarding           (.4)
02/17/15     A Dagogo-Jack             .50


02/17/15     S Faridifar              1.60 Reviewed



02/18/15     S Faridifar               .20


02/18/15     S D Powers                .20 Reviewed                                                       for
                                           possible application to pending motion to dismiss.
02/27/15     P K Strebeck              .30 Searched for updates to
                                                                                      for Scott Powers.
             Matter Total            5.50


           079716.0150       Rincon, Juan Alberto A.J.
                                    Hours                               Description
02/23/15     N M Starbuck              .50 Re-file of AJ Rincon materials at SFR warehouse.
             Matter Total            0.50


           079716.0152       Distribution Plan Matters
                                    Hours                               Description
02/05/15     B A Day                   .30 Corresponded with Gilardi concerning additional Strasburger
                                           certifications (0.3).
02/18/15     D T Arlington             .20 Communicated with team regarding distribution issues.
02/25/15     D T Arlington             .30 Communicated with Gilardi regarding distribution status issues.
02/27/15     D T Arlington             .40 Addressed inquiry from investor regarding distribution status and
                                           communicated with team regarding same (0.2); communicated with
                                           Receivership staff regarding status of distributions to bulk filer
                                           claimants (0.2).
             Matter Total            1.20


           079716.0153       Non-CD Claims Processing
                                    Hours                               Description
02/17/15     S Faridifar               .30 Reviewed email from C. Ruckstaetter regarding coin claim and




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                                   Hours                                Description
                                            addressed related issues.
             Matter Total            0.30


           079716.0155       CD Claims Objections
                                   Hours                                Description
02/04/15     D T Arlington            .50 Telephone conference with Criden regarding      and other related
                                          claims and communicated with team regarding same and related
                                          issues.
02/05/15     D T Arlington            .90 Reviewed materials and participated in call with receivership staff
                                          regarding CD claim objections.
02/05/15     B A Day                  .80 Reviewed 6 objections and provided direction to Stanford staff
                                          concerning same (0.8).
02/10/15     D T Arlington            .40 Communicated with team regarding status of               and related
                                          issues (0.2); communicated with team regarding objection by
                                                          (0.2).
02/10/15     B A Day                 3.60 Reviewed correspondence concerning objection with respect to
                                                          amended notice of determination (0.3); reviewed
                                          objections and related claims correspondence and issues concerning
                                          58 claim groups and discussed same with Stanford staff and Gilardi
                                          (3.3).
02/12/15     B A Day                 1.60 Corresponded with                              and Stanford staff
                                          concerning address changes and payee-change requests with respect
                                                             (0.2); reviewed correspondence concerning
                                                         and discussed same with FTI and D. Arlington (0.8);
                                          reviewed 4 objections and provided guidance to Stanford staff
                                          concerning same (0.6).
02/19/15     B A Day                  .70 Discussed transactions with respect to
                                                                       with FTI and reviewed materials with
                                          respect to same (0.7).
             Matter Total            8.50


           079716.0156       Breach of Fiduciary Duty Claims
                                   Hours                                Description
02/03/15     S D Powers               .30 Phone conference with K. Sadler and counsel for Winter's estate
                                          regarding substitution motion.
02/06/15     M R Dwertman             .20 Provided instructions for appendix for motion to substitute to D.
                                          Jackson and transferred files.
02/06/15     D K Jackson              .50 Compiled exhibits into an appendix per the request of M. Dwertman.
02/10/15     R W Fusco               1.00 Reviewed and revised motion to substitute (0.5); reviewed pleadings
                                          related to substitution of Winter's estate in other cases (0.5).




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                               Hours                                Description
02/11/15   D T Arlington          .30 Reviewed motion to substitute concerning Winter and communicated
                                      with team regarding same.
02/11/15   M R Dwertman          1.50 Updated Unopposed Motion to Substitute Estate of Robert Winter as
                                      Party (.8); assembled appendix (.5); corresponded with R. Fusco and
                                      D. Arlington re: revisions (.2).
02/11/15   R W Fusco             1.90 Conferenced with James Nestor to discuss Motion to Substitute (0.3);
                                      exchanged emails with team regarding motion to substitute (0.7);
                                      made revisions to motion to substitute (0.9).
02/12/15   D T Arlington          .20 Communicated with team regarding motion to substitute.
02/12/15   M R Dwertman          2.10 Reviewed and made requested edits to motion to substitute and
                                      proposed order (.6); updated appendix (.2); met with M. DePagter for
                                      training on ECF filing (.5); drafted transmittal letter to J. Nestor and
                                      discussed service of process with M. DePagter (.8).
02/12/15   R W Fusco             1.40 Conferenced with opposing counsel on motion to substitute (0.5);
                                      prepared same for filing and filed (0.9).
02/16/15   K M Sadler             .80 Reviewed draft witness declaration and comments to Fusco and
                                      powers regarding same (.8)
02/17/15   S Faridifar            .10 Conferred with S. Powers regarding claims against Winter.
02/17/15   S D Powers             .30 Drafted, reviewed emails regarding status of substitution and
                                      scheduling call with Winter's counsel.
02/17/15   K M Sadler             .70 Reviewed and provided comment on                                   (.7)
02/18/15   S D Powers             .40 Conferred with K. Sadler and Winter's counsel regarding status of
                                      probate matter, motion for substitution.
02/18/15   K M Sadler            1.00 Conference with Powers re Winter claim (.4); conference with
                                      counsel for Estate of R. Winter (.6)
02/19/15   M R Dwertman           .20 Drafted transmittal letter to serve order granting motion to substitute
                                      on J. Nestor as agent for service of process of estate.
02/19/15   R W Fusco             1.30 Reviewed case pleadings and conferred with opposing counsel
                                      regarding trial date (0.5); communicated with Paul Winter's counsel
                                      regarding substitution order and trial date (0.3); served substitution
                                      order on Paul Winter's counsel (0.5).
02/19/15   S D Powers             .30 Conferred with R. Fusco regarding scheduling 26f conference and


02/19/15   K M Sadler             .80 Reviewed Order regarding motion to dismiss (.4); conference with
                                      Powers regarding        (.4)
02/22/15   R W Fusco              .80 Exchanged emails regarding Wingfield discovery requests (0.3);
                                      reviewed pleadings and began preparation of discovery responses
                                      (0.5).
02/23/15   M R Dwertman          3.30 Read and noted Receiver's First Amended Complaint (.7); reviewed
                                      Receiver's responses to Rincon's interrogatories and requests for
                                      production (1.1); began drafting Receiver's Response to Wingfield's




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                                    Hours                                  Description
                                            First Interrogatories (1.5).
02/24/15     R W Fusco               2.20 Prepared for status conference and had conference with opposing
                                          counsel (2.0); reviewed conference notes and delegated report tasking
                                          (0.2).
02/24/15     S D Powers               .10 Exchanged emails with R. Fusco regarding scheduling conference.
02/25/15     M R Dwertman            3.80 Reviewed
                                                                         to adequately respond to Wingfield's first
                                            requests for production (2.4); continued drafting Receiver's response
                                            to Wingfield's requests for production (1.4).
02/26/15     M R Dwertman            1.60 Revised Receiver's resposnes to Wingfield's first interrogatories


02/27/15     M R Dwertman            1.30 Edited Receiver's responses to Wingfield's requests for production
                                          and interrogatories and sent to R. Fusco for review.
             Matter Total           28.40


           079716.0157       University of Miami
                                    Hours                                  Description
02/01/15     D T Arlington           1.00 Reviewed deposition outline and communicated with team regarding
                                          same (0.7); communicated with team regarding document review
                                          issues (0.3).
02/01/15     A A Carr               10.10 Reviewed roughly 4,200 documents in UM production in preparation
                                          for deposition of Jay Blaire.
02/01/15     L E Dodge               8.70 Updated deposition outline of Brown, Blaire, and McManus with
                                          citations to production documents (.7); reviewed all McManus
                                          documents in UM's production (6.8); extracted potential deposition
                                          exhibits out of UM's productions (1.2).
02/02/15     D T Arlington           2.60 Reviewed documents relating to upcoming depositions and
                                          communicated with team regarding same (1.1); reviewed McCarthy
                                          deposition (1.4); communicated with KVT regarding upcoming
                                          deposition (0.1).
02/02/15     A A Carr               10.40 Travel to Miami , including work preparing for deposition of Otis
                                          Brown during travel (5.7); continued preparing for deposition of Otis
                                          Brown (4.7)
02/02/15     L E Dodge               5.90 Coordinated with vendor regarding printing deposition exhibits in
                                          Miami (.4); compiled potential deposition exhibits and sent them to
                                          vendor (4.1); sent amended Blaire deposition notice to UM's counsel
                                          (.2); printed additional documents in UM's production regarding
                                          McManus for D. Arlington's review (1.2).
02/02/15     K B Koscheski           5.30 Compiled list of documents for use in deposition.
02/02/15     E D Reeder               .70 Revised Jay Blaire deposition notice and served same (.5); saved to
                                          shared drive and circulated to the team (.2).




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                               Hours                                Description
02/03/15   D T Arlington         1.60 Coordinated with team regarding deposition logistics and related
                                      issues (0.6); communicated with KVT regarding deposition
                                      preparation and related issues (0.2); telephone conferences with A.
                                      Carr regarding Ortner deposition (0.4); briefly reviewed Brown
                                      deposition (0.4).
02/03/15   A A Carr             14.30 Prepared for and deposed Otis Brown (7.1); travel to West Palm
                                      Beach for deposition of Jay Blaire (2.4); prepared for deposition of
                                      Jay Blaire (4.8).
02/03/15   L E Dodge             7.90 Numerous communications with vendor regarding status of printing
                                      potential deposition exhibits (1.1); researched potential deposition
                                      exhibits as requested by A. Carr (1.7); sent additional documents
                                      requested by A. Carr to the deposition (.5); notified U Miami's
                                      counsel regarding change in court reporter for Blaire deposition (.2);
                                      determined which deposition exhibits were used at Brown's
                                      deposition and had them reprinted / replaced for Blaire deposition
                                      (3.2); extracted additional PDFs out of U Miami Summation database
                                      for Blaire's deposition (1.2).
02/03/15   J M Himmel             .30 Coordinated with K. Koscheski to obtain document requested by A.
                                      Carr for her ongoing deposition (.1); Discussion with L. Dodge
                                      regarding additional documents produced (.2).
02/04/15   D T Arlington          .70 Telephone conferences with A. Carr regarding deposition issues
                                      (0.5); reviewed potential documents for trial exhibits (0.2).
02/04/15   A A Carr             10.20 Prepared for and deposed Jay Blaire (7.2); return travel to Miami
                                      (1.7); prepared for deposition of John McManus (1.3)
02/04/15   L E Dodge             4.90 Revised and supplemented hot documents index (.6); communicated
                                      with vendor regarding status of printing potential deposition exhibits
                                      (.5); determined which deposition exhibits were used at Blaire's
                                      deposition and had them reprinted / replaced for McManus's
                                      deposition (3.3); telephone call with A. Carr regarding McManus's
                                      email communications in UM database (.5).
02/05/15   D T Arlington         1.60 Communicated with team regarding McManus deposition and related
                                      issues (0.4); reviewed McCarthy deposition and worked on
                                      designations (1.2).
02/05/15   A A Carr             12.00 Prepared for and deposed John McManus (6.7); return travel to
                                      Austin (5.3).
02/05/15   L E Dodge              .30 Contacted vendor and requested pick-up and destruction of unused
                                      deposition exhibits (.3).
02/06/15   D T Arlington          .40 Communicated with team regarding
02/06/15   A A Carr              1.20 Reviewed Miami's 3rd set of discovery requests and conferences with
                                      D. Arlington and emails to team regarding same.
02/06/15   A A Carr              1.90 Conferences with team regarding depositions and next steps.
02/06/15   J M Himmel             .50 Drafted internal deadlines chart for the upcoming University of
                                      Miami trial.




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                               Hours                                 Description
02/08/15   D T Arlington         1.10 Communicated with team regarding discovery deadlines (0.1);
                                      reviewed and revised draft discovery responses (1.0).
02/08/15   A A Carr              5.20 Drafted responses to RFPs and Interrogatories (2.6); drafted
                                      responses to RFAs (2.2); review of real estate documents sent by M.
                                      Russell, H. Battle, and J. Day (.4).
02/09/15   D T Arlington         5.40 Further reviewed draft discovery responses and communicated with
                                      team regarding same and related documents (1.8); reviewed
                                      production documents for trial exhibits (2.7); reviewed draft Brown
                                      deposition (0.9).
02/09/15   A A Carr              5.20 Edits to UM responses, review of documents for production, and
                                      preparation of final documents for transmission (3.4); ran targeted
                                      searches in UM production for evidence of specific deliverables or
                                      task reports (1.6); call with D. Arlington regarding same (.2)
02/09/15   A Cuenin              1.00 Searched Ringtail for documents regarding Miami interrogatory
                                      response (1.0).
02/09/15   B A Day                .70 Discussed issues relating to University of Miami discovery requests
                                      with A. Carr (0.7).
02/09/15   J M Himmel            1.70 Updated the internal deadlines chart and created internal calendar for
                                      the upcoming University of Miami trial (1); Compared the definitions
                                      and instructions contained in the defendant's third requests for
                                      production and interrogatories with their second request in order to
                                      determine if any changes were made (.7).
02/09/15   D K Jackson            .90 Bates labeled potential production and sent to K. Brinson to export to
                                      CD.
02/10/15   D T Arlington         6.90 Prepared for and met with Ashley Carr regarding
                                      and trial planning issues (2.5); communicated with team regarding
                                      discovery and related deadlines and communications with counsel
                                      regarding same (0.2); further reviewed production documents for
                                      potential trial exhibits and began preparation of materials for use in
                                      Janvey deposition preparation (4.2).
02/10/15   A A Carr              3.70 Prepared for and attended meeting with D. Arlington regarding
                                      additional discovery, trial preparation, preparation for defending KVT
                                      and Janvey depositions, and further document review (2.9); meeting
                                      with J. Himmel regarding document review (.2); review of
                                      Summation documents to determine most effective method for review
                                      (.6).
02/10/15   J M Himmel             .30 Meeting with A. Carr regarding


02/10/15   C J Norfleet          3.30 Researched and drafted proposed jury charge.
02/11/15   D T Arlington         3.20 Reviewed notices of deposition (0.2); communicated with team
                                      regarding privilege log (0.2); continued review of case file and
                                      worked on deposition/witness preparation outline (2.8).
02/11/15   A A Carr              7.30 Reviewed                   documents




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                               Hours                                Description
                                                      (5.7); emails with D. Arlington and J. Himmel
                                       regarding same (.3); review of Miami privilege log and discussions
                                       with D. Arlington regarding same (.8); emails with H. Battle and M.
                                       Barhnart regarding                                             (.3);
                                       conference with B. Day regarding same (.2)
02/11/15   A Cuenin               .50 Checked status
                                      (.4); followed up                   regarding same (.1).
02/11/15   B A Day                .40 Discussed University of Miami discovery and                   with A.
                                      Carr (0.4).
02/12/15   D T Arlington         5.30 Reviewed issues relating to draft jury charge and communicated with
                                      team regarding same (0.4); communicated with team regarding
                                      document review issues (0.7); continued reviewing potential
                                      documents for trial exhibits and drafting outline for deposition
                                      preparation (4.2).
02/12/15   A A Carr              3.60 Review of additional 1800 documents from Miami production.
02/12/15   J M Himmel            9.90 Reviewed Summation documents from August 21, 2007 through
                                      February 19, 2008, with focus on documents that address




02/13/15   D T Arlington         6.00 Communicated with team regarding document review results and
                                      reviewed same (0.7); worked on and prepared deposition outline and
                                      materials and reviewed related documents (4.8); further coordinated
                                      regarding deposition preparation sessions (0.5).
02/13/15   A A Carr              7.40 Reviewed documents tagged by J, Himmel and emails with D.
                                      Arlington regarding same (1.4); reviewed tagged documents and
                                      prepared lists of documents for use in deposition preparation
                                      materials (2.1); reviewed
                                                                       for use in deposition reparation with
                                      R. Janvey (3.9)
02/13/15   L E Dodge              .60 Completed and sent
                                                                     to D. Arlington,
                                                                           (.6).
02/13/15   J M Himmel            8.80 Reviewed Summation documents from February 19, 2008 through
                                      April 21, 2008, with focus on documents that address




02/14/15   D T Arlington          .20 Communicated with team regarding deposition preparation materials.
02/15/15   A A Carr              9.60 Finalization of deposition preparation binders, including further
                                      document review, preparation of document summaries, and printing
                                      and preparing binders for prep session (9.6)
02/15/15   J M Himmel            6.30 Reviewed Summation documents from February 19, 2008 through
                                      July 9, 2008, with focus on documents that address




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                               Hours                                Description




02/16/15   D T Arlington        13.10 Traveled to Dallas (2.5); prepared for meeting and met with client
                                      regarding deposition preparation (7.2); prepared for following day
                                      deposition preparation session, updated deposition outline and
                                      reviewed additional production documents relating to same (3.4).
02/16/15   A A Carr             10.00 Travel to Dallas for Janvey deposition preparation (1.2); prepared for
                                      and participated in deposition preparation for R. Janvey (7.6); drafted
                                      summaries of hot documents for R. Janvey deposition preparation
                                      notebook (1.2);
02/16/15   K Corral               .70 Delivered copies/supplies to A. Carr (.30); prepared notebooks with
                                      expert exhibits (.40).
02/16/15   J M Himmel            1.60 Located document requested by A. Carr and coordinated with K.
                                      Corral regarding printing the document for the Receiver's deposition
                                      (.3); Identified                                     and emailed
                                      Mark Russell at FTI
                                                           (.3); Reviewed documents tagged in Summation
                                      and drafted email to A. Carr highlighting documents relevant to
                                                                                               (1).
02/16/15   K B Koscheski         6.50 Added documents from deposition of Blaire, McManus and Brown to
                                      hot docs index.
02/16/15   C J Norfleet           .30 Researched proposed jury instructions.
02/17/15   D T Arlington        12.40 Prepared for meeting and met with client regarding deposition
                                      preparation (4.5); communicated with team regarding jury charge
                                      issues (0.4); further reviewed hot documents and worked on
                                      deposition preparation outline (2.0); began preparing for deposition
                                      preparation session with Karyl Van Tassel (2.0); returned from Dallas
                                      and communicated with team regarding multiple
                                      and staffing issues while in route (3.5).
02/17/15   A A Carr             10.90 Assisted with preparation of R. Janvey for deposition (4.5); compiled
                                      additional documents and notebooks for depositions and exhibit lists
                                      (2.0); review of Q&A and depo outline with D. Arlington (1.6);
                                      review of Interim Final Report document from 2007 (.8); staffing
                                      discussions with D. Arlington (.3) travel back to Austin from Dallas
                                      (1.7).
02/17/15   K Corral               .60 Prepared materials to be shipped back to attorney Carr and Mr.
                                      Janvey.
02/17/15   L E Dodge             1.40 Meeting with D. Arlington, A. Carr, and J. Himmel to plan for trial
                                      (1.1); prepared jury charts for U. Miami trial (.3).
02/17/15   J M Himmel            2.80 Reviewed documents
                                                                 and drafted email to A. Carr


02/17/15   K B Koscheski         2.00 Added deposition preparation documents to hot docs index with date,




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                               Hours                              Description
                                       Bates number and description and copied files to hot docs folder.
02/17/15   C J Norfleet          1.00 Met with David Arlington and Ashley Carr                         for
                                      drafting pretrial materials.
02/17/15   K M Sadler             .80 Reviewed status and discovery issues with Arlington (.8)
02/18/15   D T Arlington         7.30 Worked on deposition preparation outline for client deposition and
                                      coordinated with team and client regarding related materials (3.2);
                                      participated in team meeting regarding document review themes and
                                      related project (0.7); met with team regarding pretrial and trial
                                      logistical issues and followed up relating to same (1.0); prepared for
                                      deposition preparation session with Karyl Van Tassel (2.4).
02/18/15   A A Carr              4.10 Prepared for and attended meeting with S. Faridifar, R. Fusco, D.
                                      Arlington regarding additional document review (2.1); prepared for
                                      and attended meeting with D. Arlington and L. Dodge regarding trial
                                      preparations (.9); follow up emails and calls with R. Fusco and S.
                                      Faridifar regarding Summation review (.6); compiled documents for
                                      deposition preparation notebooks for L. Dodge (.5)
02/18/15   L E Dodge             1.60 Organized documents flagged by attorneys
                                                           (1.4); contacted court reporter regarding the
                                      status of Blaire, Brown, and McManus transcripts (.2).
02/18/15   S Faridifar           7.50 Met with D. Arlington and A. Carr regarding UM production and
                                      review (1.8); began review of UM production on Summation and
                                      addressed related issues (5.7).
02/18/15   R W Fusco             4.00 Reviewed and analyzed documents for trial.
02/18/15   J M Himmel            1.00 Reviewed Summation documents


02/18/15   K B Koscheski         5.50 Added deposition preparation documents to hot docs index with date,
                                      Bates number and description and copied files to hot docs folder (2);
                                      created notebook for A. Carr preparation for trial (1.5); downloaded
                                      deposition exhibits to the shared drive, renamed documents and
                                      updated same index (2).
02/18/15   C J Norfleet          2.40 Researched and drafted proposed jury instructions.
02/18/15   K M Sadler             .40 Conferences with Arlington re                  (.4)
02/18/15   M P Schwartz          1.00 Added document tags to the database; added users to the database.
02/19/15   D T Arlington         7.60 Telephone conference with L. Dodge regarding trial logistics (0.2);
                                      prepared for and participated in deposition preparation session with
                                      KVT (7.3); coordinated with team regarding production issues (0.1).
02/19/15   A A Carr              7.00 Deposition preparation meeting with D. Arlington and K. VanTassel
                                      (6.2); continued work on deposition preparation documents (.8)
02/19/15   L E Dodge             6.00 Coordinated review of UM's production (.6); prepared draft of
                                      Agreed Stipulation regarding pre-trial deadlines (1.3); researched
                                      native document issue in the UM production database (1.3);
                                      researched various questions in connection with the preparation of




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                               Hours                               Description
                                       Karyl Van Tassel for her deposition; researched
                                                                        events (1.4); researched

                                       (.7); contacted court regarding jury pool size for the Janvey v UM
                                       trial (.2); prepared notebook of sample pre-trial submissions, as
                                       requested by D. Arlington (.2); coordinated with S. Faridifar
                                       regarding attachment issues in UM production Summation database
                                       (.3).
02/19/15   S Faridifar           8.80 Continued reviewing UM production on Summation and addressed
                                      related issues, including conferring with K. Koscheski regarding
                                      same.
02/19/15   R W Fusco             6.40 Reviewed and analyzed documents for trial.
02/19/15   J M Himmel             .90 Emails to/from M. Russell regarding
                                                                                        (.2); Responded to
                                       questions from A. Carr, D. Arlington, and KVT regarding

                                                                         (.7).
02/19/15   K B Koscheski         7.20 Added A. Carr's comments to hot docs index attorney notes section
                                      from Notebook A and Notebook B (2); printed production review
                                      documents from Summation to PDF and saved in shared drive (4);
                                      emailed S. Faridifar regarding same (.20); called M. Schwartz for
                                      Summation technical support (.5); saved Otis Brown's transcript in
                                      ASCII, PDF Full and Condensed and Text file formats (.5).
02/19/15   C J Norfleet          4.10 Researched and drafted proposed jury instructions (3.0); researched
                                      case law regarding
                                                    in response to question from David Arlington (1.1).
02/19/15   P K Strebeck           .50 Searched for
                                                                                    at request of Lynne
                                       Dodge.
02/20/15   D T Arlington         7.20 Prepared for meeting and met with KVT regarding deposition and
                                      trial preparation (6.3); further reviewed results of document review
                                      (0.2); communicated with team regarding production issues (0.3);
                                      worked on proposed stipulation and communicated with team
                                      regarding same (0.4).
02/20/15   A A Carr              8.60 Continued preparation of KVT for upcoming deposition and drafted
                                      deposition preparation doucments (6.8); continued drafting Q&A
                                      document for Janvey desposition preparation (1.8)
02/20/15   L E Dodge             5.40 Updated written discovery responses files (.4); reviewed deposition
                                      exhibits to Blaire and McManus depositions and updated deposition
                                      notebooks (.8); coordinated OCR of hot documents, as requested by
                                      D. Arlington (.5); communicated with M. Schwartz regarding missing
                                      native files in UM's production (.4); researched RAS communications
                                      with and about                                    (3.3).
02/20/15   S Faridifar           7.50 Continued reviewing UM production (1200 documents) on
                                      Summation and conferred with A. Carr and K. Koscheski regarding




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                               Hours                               Description
                                       same.
02/20/15   R W Fusco             1.10 Reviewed and analyzed documents for trial.
02/20/15   J M Himmel             .70 At request of A. Carr located and provided copies of

                                                         (.5); Discussion with A. Carr regarding upcoming
                                       depositions, document review, and creation of a timeline of events
                                       and payment (.2).
02/20/15   K B Koscheski         5.50 Printed production review documents from Summation to PDF and
                                      saved in shared drive (3); emailed S. Faridifar regarding same (.5);
                                      emailed M. Schwartz for Summation technical support (.5); saved Jay
                                      Blaire's transcript in ASCII, PDF Full and Condensed and Text file
                                      formats (.5); added and removed attachments to hot docs index and
                                      folder (1)
02/20/15   C J Norfleet          1.40 Drafted and revised proposed jury instructions.
02/20/15   K M Sadler             .50 Reviewed issues regarding           and discovery (.5)
02/20/15   M P Schwartz          2.50 Researched Summation user problems; inspected natively produced
                                      documents for missing programs; modified 284 documents to render
                                      them searchable.
02/21/15   D T Arlington         1.60 Worked on deposition preparation materials and communicated with
                                      team regarding same.
02/21/15   A A Carr              6.70 Continued updates to and drafting of Q&A document (4.6); reviewed
                                      hot documents forwarded by S. Faridifar and R. Fusco and drafted
                                      emails regarding same (1.1); edited Q&A document and circulated
                                      same (1.0)
02/21/15   S Faridifar           4.10 Continued reviewing UM production (500 documents) on summation
                                      and exchanged emails with D. Arlington regarding same.
02/21/15   R W Fusco             2.50 Reviewed and analyzed documents for trial.
02/22/15   D T Arlington         1.70 Further reviewed McCarthy deposition and prepared designations
                                      (1.2); further prepared for upcoming depositions (0.5).
02/22/15   B A Day                .10 Corresponded with A. Carr concerning
                                              for purposes of deposition preparation in the University of
                                      Miami case (0.1).
02/22/15   L E Dodge              .40 Reviewed deposition designations for C. McCarthy (.4).
02/22/15   R W Fusco             2.90 Reviewed and analyzed documents for trial.
02/22/15   J M Himmel            1.40 Reviewed documents


02/23/15   D T Arlington        10.10 Communicated with team regarding status of document review and
                                      related issues (0.3); traveled to Dallas for depositions (4.0);
                                      communicated with client and team regarding deposition preparation
                                      and logistics (0.2); reviewed documents for potential trial exhibits
                                      and deposition preparation (4.5); reviewed Brown deposition for
                                      designations (0.8); finalized proposed stipulation and communicated




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                               Hours                               Description
                                       with counsel regarding same (0.3).
02/23/15   A A Carr              8.60 Traveled to Dallas (1.8); emails with L. Dodge regarding OCR'ing of
                                      hot documents (.3); developed exhibit list, including work with D.
                                      Arlington on same (5.6); reviewed new hot documents (.9)
02/23/15   L E Dodge             7.10 Researched news articles regarding
                                               (4.8); converted documents in Notebook B and S. Faridifar's
                                      search results to OCR-searchable, as requested by A. Carr (2.3).
02/23/15   S Faridifar          10.20 Continued reviewing UM production (1200 documents) and tagging
                                      relevant documents for review by A. Carr and D. Arlington (10.2).
02/23/15   R W Fusco             4.30 Reviewed and analyzed documents for trial.
02/23/15   K B Koscheski         3.50 Printed production review documents from Summation to PDF and
                                      saved in shared drive in preparation for trial.
02/23/15   K M Sadler            1.00 Reviewed discovery and other pre-trial issues and conference with
                                      Arlington regarding same (1.0)
02/24/15   D T Arlington        11.20 Reviewed production documents for potential trial exhibits and
                                      worked on exhibit list (4.5); prepared for meetings and met separately
                                      with client and KVT for deposition preparation (6.7).
02/24/15   A A Carr             10.30 Prepared for and attended meetings with R. Janvey and K. Van Tassel
                                      to prepare for depositions (6.6); further review of documents and
                                      preparation of exhibit list, including work with D. Arlington on same
                                      (3.7)
02/24/15   L E Dodge             5.70 Researched various questions from A. Carr and D. Arlington in
                                      preparing R. Janvey and K. Van Tassel for depositions (2.2);
                                      researched                                               to use in R.
                                      Janvey's deposition preparation (.9); researched Ringtail database for
                                      documents regarding
                                                        (2.6).
02/24/15   S Faridifar           8.80 Continued reviewing UM production (1400 documents) and tagging
                                      relevant documents for review by A. Carr and D. Arlington (8.8).
02/24/15   R W Fusco             7.90 Reviewed and analyzed documents for trial.
02/24/15   J M Himmel            5.10 Reviewed documents
                                      and sent noteworthy documents to A. Carr.
02/24/15   K B Koscheski         6.00 Printed production review documents from Summation to PDF and
                                      saved in shared drive in preparation for trial (1.0); supplemented hot
                                      docs index with descriptions, dates, attorney's notes and Bates
                                      numbers from Notebook B (5.0).
02/25/15   D T Arlington        10.00 Met with and defended deposition of KVT (7.3); communicated with
                                      client and team regarding KVT deposition and upcoming client
                                      deposition (1.2); further reviewed production documents for potential
                                      trial exhibits and worked on exhibit list (1.5).
02/25/15   A A Carr             10.20 Prepared for and attended deposition of K. Van Tassel (6.8); further
                                      review of hot documents sent from S. Faridifar and J. Himmel (1.4);




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                               Hours                                  Description
                                       emails with L. Dodge and H. Graves regarding UM document
                                       production (.2); return travel to Austin (1.8)
02/25/15   L E Dodge             7.50 Researched documents that
                                               (1.1); researched Ringtail database for documents regarding
                                                                                                  (5.2);
                                      prepared list and corresponding letter to University of Miami's
                                      counsel regarding missing native files from UM's production (.9);
                                      coordinated with R. Fusco regarding review of Cooper Robertson
                                      documents (.3).
02/25/15   S Faridifar           7.40 Continued reviewing UM production (1200 documents) and tagging
                                      relevant documents for review by A. Carr and D. Arlington.
02/25/15   R W Fusco             9.20 Reviewed and analyzed documents for trial.
02/25/15   J M Himmel            1.80 Reviewed documents
02/25/15   K B Koscheski         2.50 Printed production review documents from Summation to PDF and
                                      saved in shared drive in preparation for trial (1.5); supplemented hot
                                      docs index with descriptions, dates, attorney's notes and Bates
                                      numbers from Notebook B (1).
02/26/15   D T Arlington         9.80 Prepared for and met with client regarding deposition and defended
                                      deposition (5.5); returned from Dallas and communicated with team
                                      en route regarding deposition (2.5); reviewed Brown deposition for
                                      designations (1.6); communicated with team regarding exhibit list and
                                      related pretrial material issues (0.2).
02/26/15   A A Carr              1.70 Reviewed pre-trial task list and continued reviewing potential hot
                                      documents (1.0); emails regarding Janvey deposition and other trial
                                      logistics (.7)
02/26/15   L E Dodge             6.10 Researched Ringtail database for documents regarding

                                       (5.7); revised list and corresponding letter to University of Miami's
                                       counsel regarding missing native files from UM's production (.4).
02/26/15   S Faridifar           8.00 Continued reviewing UM production (1300 documents) and tagging
                                      relevant documents for review by A. Carr and D. Arlington.
02/26/15   J M Himmel            7.50 Reviewed documents from March 2010 through November 4, 2010.
02/26/15   K B Koscheski         2.00 Printed production review documents from Summation to PDF and
                                      saved in shared drive in preparation for trial.
02/27/15   D T Arlington         6.20 Communicated with team regarding pretrial logistics (0.2); reviewed
                                      draft jury charge and communicated with team regarding related
                                      issues (0.5); continued review of Brown deposition for designations
                                      (0.5); continued review of potential exhibits for trial and working on
                                      exhibit list (5.0).
02/27/15   A A Carr              2.50 Review of draft jury charge and edits to same (1.1); review of Blaire
                                      deposition (1.2); emails with D. Arlington regarding pre-trial tasks
                                      (.2)
02/27/15   L E Dodge             3.70 Completed Ringtail database research for documents regarding




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                                   Hours                                 Description

                                                    (3.4); coordinated                                   (.3).
02/27/15     S Faridifar            10.10 Continued reviewing UM production (1500 documents) and tagging
                                          relevant documents for review by A. Carr and D. Arlington.
02/27/15     R W Fusco               2.40 Reviewed and analyzed documents for trial.
02/27/15     J M Himmel              8.80 Reviewed 2,228 documents pertaining to the University of Miami's
                                          research project.
02/27/15     K B Koscheski           8.10 Printed production review documents from Summation to PDF and
                                          saved in shared drive in preparation for trial (6.0); searched in
                                                                                                      (1.0);
                                          supplemented hot docs index with descriptions, dates, attorney's notes
                                          and Bates numbers from Notebook B (1.1).
02/27/15     C J Norfleet            2.10 Researched and drafted motions in limine.
02/28/15     J M Himmel              5.40 Reviewed tagged documents pertaining to

                                                                nd incorporated these documents into an outline
                                           containing brief summaries of each document.
             Matter Total         649.00


           079716.0160       Romero, Peter
                                   Hours                                 Description
02/01/15     K Corral                1.50 Preparing litigation materials regarding motion for sanctions with
                                          cited case law (1.30); continue assisting with materials for attorney
                                          review in preparation of upcoming trial (.20).
02/01/15     L E Dodge                .30 Sent R. Janvey's Ch. 15 direct testimony and cross-examination
                                          testimony to K. Sadler (.3).
02/01/15     S Faridifar             1.90 Conducted research regarding                                    and
                                          exchanged emails with K. Sadler regarding same (1.5); exchanged
                                          emails with K. Sadler and S. Powers regarding judicial notice of RAS
                                          criminal conviction and other issues (.4).
02/01/15     S D Powers              3.70 Further revisions to KVT direct outline and reviewed and analyzed
                                          record evidence regarding same.
02/01/15     E D Reeder              6.00 Continued review of all NDTX orders, fifth circuit and other appeals
                                          opinions, and other orders as directed by Scott Powers (4.2);
                                          extracted quotes regarding money laundering and drafted email
                                          containing summary of findings in the orders and forwarded to Kevin
                                          Sadler, Scott Powers and Sherwin Faridifar (1.8).
02/02/15     L E Dodge               4.20 Reviewed and compiled pre-trial conference material regarding
                                          money laundering issue (1.6); prepared draft of jury chart (.4);
                                          contacted court regarding the number of jurors requested (.2);
                                          researched Google archives regarding information available regarding
                                          Stanford in 2001-2002 (1.7); requested articles from librarian




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                               Hours                               Description
                                       regarding news about Stanford (.3).
02/02/15   S Faridifar           9.00 Reviewed draft agreement and stipulation and drafted email to K.
                                      Sadler and S. Powers regarding same (.2); addresses issues regarding
                                      disclosure of testimony for KVT and Receiver, including drafting
                                      email to K. Sadler and S. Powers and conferring with L. Dodge
                                      regarding same (.4); drafted proposed language for preliminary
                                      instructions regarding fraudulent transfer claims and defenses and
                                      revised same per comments from K. Sadler (1.6); conferred with L.
                                      Dodge regarding trip preparation and related issues (.5); compiled list
                                      of SIB directors and members of SIB investment committee during
                                      relevant time period, including review of Ringtail documents and
                                      drafting email to K. Sadler regarding same (.6); conducted research
                                      under federal and Texas case law regarding

                                                  (2.1); prepared questions for cross examination
                                       preparation for KVT, including review of relevant materials (3.6).
02/02/15   A L Hix                .50 Prepare documents for pre-trial notebooks.
02/02/15   K B Koscheski         2.80 Searched for and extracted pages where instances of "Romero,"
                                      "Pete," and "Ambassador" occurred from Ben Barnes production.
02/02/15   C J Norfleet          1.10 Revise and edit bench memo on admission of documents (.4);
                                      research case law regarding post-judgment injunctions (.7).
02/02/15   S D Powers           13.00 Travel to Dallas for trial preparation (3.0); worked with KVT and
                                      trial presentation team to prepare for KVT direct (6.0); reviewed and
                                      commented on bench memo concerning authentication of Stanford
                                      documents by Receiver (.3); further review and revision of KVT
                                      outline (2.0); meeting with trial graphics team to discuss revisions to
                                      graphics (1.5);
                                                                                     (.2).
02/02/15   E D Reeder            1.10 Searched Google archives and other web sources for articles
                                      regarding Stanford during calendar years 2001 and 2002 and sent
                                      results to Kevin Sadler.
02/02/15   K M Sadler           10.00 Continued attention to various trial preparation tasks (10.0)
02/02/15   P K Strebeck           .20 Searched previous downloaded articles on Allen Stanford and sent to
                                      Lynne Dodge.
02/03/15   K Corral              2.40 Retieved and prepared notebook with exhibits cited in attorney's
                                      direct examination outlines in preparation of upcoming trial (1.30);
                                      updated motion for sanctions notebook (.20); updated notebook with
                                      exhibits cited in attorney's updated direct examination outline (.40);
                                      prepared notebooks with deposition transcripts (.50).
02/03/15   L E Dodge             7.10 Reviewed KVT and R. Janvey Romero-related time entries from
                                      2.15.2011 to present (1.9); researched KVT declarations for specific
                                      whistleblower names (.9); reviewed document production issues
                                      related to BBG production (3.2); reviewed additional news articles in
                                      the 2001-2002 time frame regarding Stanford, and sent them to K.
                                      Sadler (1.1).




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                               Hours                                Description
02/03/15   M R Dwertman           .20 Reviewed Romero declaration (.1); responded to question from K.
                                      Sadler re: content of declaration (.1).
02/03/15   S Faridifar           8.00 Continued work related to KVT cross preparation (4.1); reviewed
                                      Romero's response to motion for sanctions and drafted reply in
                                      support of same (2.8); compiled exhibit information related to
                                      expense reimbursement payments and exchanged emails with K.
                                      Sadler and S. Powers regarding same (.8); reviewed Romero's
                                      response to supplemental motion in limine (.1); reviewed emails and
                                      information related to Romero emails in production in related case
                                      (.2).
02/03/15   D K Jackson           4.00 Reviewed FTI and Krage & Janvey invoices and summarized Ralph
                                      Janvey's and KVT's time entries mentioning Romero from February
                                      15, 2011 to present.
02/03/15   K B Koscheski         8.80 Searched for and extracted pages where instances of "Romero,"
                                      "Pete," and "Ambassador" occurred from Ben Barnes production (5);
                                      searched KVT declaration exhibits for mention of whistleblowers
                                      Rossi, Rawl, Basagoitia, Tidwell and DeMaria and created summary
                                      (1.3); searched Ringtail for Romero emails that had been produced in
                                      the 297 case (2.5).
02/03/15   C J Norfleet          3.50 Research federal regulations and laws controlling disclosure of
                                      confidential information.
02/03/15   S D Powers            9.00 Worked with KVT and trial presentation team to prepare for direct
                                      testimony (5.0); conferred with K. Sadler regarding
                                      (1.0); reviewed updated trial graphics and phone conferences and
                                      email correspondence regarding same (1.5); reviewed, analyzed
                                      Barnes documents and analyzed issues regarding same (1.0);
                                      reviewed response to supplemental motion in limine and spoliation
                                      motion and analyzed issues regarding same (.5).
02/03/15   E D Reeder            3.60 Performed Ringtail searches for documents produced in Ben Barnes
                                      case to determine whether they were produced in Romero case and
                                      prepared listing of same.
02/03/15   K M Sadler           10.00 Continued work on multiple trial preparation tasks (10.)
02/03/15   P K Strebeck           .60 Searched for articles on Allen Stanford from 2001-2002 at request of
                                      Lynne Dodge.
02/04/15   D T Arlington         1.40 Researched history relevant to statute of limitations defense in
                                      multiple cases.
02/04/15   K Corral               .90 Revising trial exhibits notebooks for team of attorneys (.40);
                                      coordinated deliveration of litigation materials to be used at
                                      upcoming pre-trial conference (.20); revised and re-arranged
                                      notebook with exhibits cited in attorney's latest update of direct
                                      examination outline (.30).
02/04/15   B A Day                .20 Discussed prior Barnes production with S. Powers and D. Arlington
                                      (0.2).
02/04/15   L E Dodge             6.60 Replaced PX 33 with better color scan (.4); packed up materials for




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                               Hours                                Description
                                       trial (1.9); prepared new PX 193 (.3); prepared jury charts (.4);
                                       researched dates for BBG productions (3.6).
02/04/15   S Faridifar          10.70 Continued drafting reply in support of motion for sanctions, revised
                                      same, and exchanged emails with S. Powers and K. Sadler regarding
                                      same (2.7); revised draft of proposed preliminary instructions
                                      regarding claims and defenses (.2); revised stipulation and order
                                      regarding motions in limine (.6); addressed various issues in
                                      preparation for attending trial in Dallas (4.0); began drafting trial
                                      brief regarding relevance of insolvency to good faith determination
                                      (.2); finalized reply in support of motion for sanctions and filed same
                                      (.2); conducted case law research regarding discovery rule and
                                      limitations defense (2.8).
02/04/15   C J Norfleet          3.20 Research federal policies, regulations, and laws controlling disclosure
                                      of confidential information and related criminal penalties(2.2);
                                      analyze deposition transcripts to identify admissions by Romero of
                                      requesting confidential information (1.0).
02/04/15   S D Powers            9.00 Reviewed references to Romero in Barnes production and related
                                      correspondence and analyzed issues regarding same (1.5); prepared
                                      for and attended meeting with Romero's counsel regarding exhibit
                                      objections, deposition designations, preliminary instruction, and
                                      proposed order on motions in limine and provided copies of Barnes
                                      materials to Romero's counsel (4.0); attention to various pretrial
                                      issues, including opening demonstratives, exhibits, preliminary jury
                                      instruction, proposed order on motions in limine (2.0); revised KVT
                                      direct outline (1.5).
02/04/15   E D Reeder            2.10 Research regarding campaign contributions (.6); requested assistance
                                      from the library regarding same (.2); reviewed articles and sources
                                      (.6); office conference with and emails with Pat Strebeck regarding
                                      same (.6); forwarded results to Kevin Sadler (.1).
02/04/15   K M Sadler           10.00 Continued attention to numerous trial preparation tasks (10.0)
02/04/15   J M Whittlesey        1.50 Research and obtain sections from the Department of State's Foreign
                                      Affairs Manual, as requested by C. Norfleet.
02/05/15   S F Cagniart          2.70 In preparation for pre-trial conference, reviewed case law applying
                                      the good-faith prong of TUFTA's affirmative defense and
                                      summarized same with S. Powers (2.6); call with S. Powers regarding
                                      research and Romero's good-faith arguments (0.1).
02/05/15   K Corral              2.30 Duplicated and continued updating direct examination with cited trial
                                      exhibits notebooks (1.30); revised and updated plaintiffs and
                                      defendant's trial exhibits notebooks (1.0).
02/05/15   L E Dodge            13.30 Prepared materials (more than 4 boxes of materials printed) for pre-
                                      trial conference (8.1); traveled from Austin to Dallas for the trial
                                      (4.0); toured Magnolia Hotel's conference facilities and reviewed
                                      audio/visual needs in conference room with manager (.4); coordinated
                                      with M. Featherston regarding equipment needs and scheduling set-
                                      up for Magnolia conference room (.4); prepared replacement SIO
                                      manual and updated exhibit notebooks (.4).




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                               Hours                                Description
02/05/15   S Faridifar          16.00 Traveled to Dallas (4.6); prepared for and attended KVT cross
                                      preparation (3.4); reviewed case law regarding good faith and drafted
                                      trial brief regarding same, including exchanging emails with S.
                                      Powers and revising same (3.5); exchanged emails with K. Sadler
                                      regarding motion for sanctions and addressed related issue (.9);
                                      addressed various issues in preparation for pre-trial conference at
                                      request of K. Sadler and S. Powers (3.6).
02/05/15   K B Koscheski         1.00 Prepared information regarding the docs in BBG's production that
                                      mentioned Romero.
02/05/15   C J Norfleet         10.60 Research supplemental memo in support of admission of deposition
                                      testimony regarding Stanford's opinion of value provided by Romero
                                      (4.5); draft supplemental memo regarding hearsay issues (2.9); draft
                                      supplemental memo regarding receiver's authority to testify regarding
                                      contents of and admissibility of receivership documents (3.2).
02/05/15   S D Powers           13.50 Reviewed testimony with KVT, revised outline, and drafted,
                                      reviewed emails regarding demonstratives (6.5); prepared for limine,
                                      exhibit objection and deposition designations arguments at pretrial
                                      hearing (4.0); drafted, reviewed emails regarding results of meeting
                                      with Romero's counsel regarding deposition designations and exhibit
                                      objections and conferred with L. Dodge regarding same (1.5);
                                      conferred with S. Cagniart and S. Faridifar regarding good faith issue
                                      and reviewed authorities regarding same (1.0); conferred with C.
                                      Norfleet regarding bench memo regarding L. Rodriguez testimony
                                      regarding RAS opinion of value concerning Romero (.5).
02/05/15   E D Reeder            8.30 Reviewed final deposition designations and objections and marked
                                      transcripts with color-coding to indicate same (3.5); reviewed
                                      additional changes agreed upon by the attorneys and made
                                      appropriate revisions (2.7); prepared PDFs of only marked pages for
                                      printing and notebook assembly and delivery in Dallas (2.1).
02/05/15   K M Sadler           10.00 Attention to trial preparation (10.0)
02/05/15   P K Strebeck          1.30 Researched campaign contributions from Stanford Financial to
                                      California Governor Gray Davis and to Florida Governor Jeb Bush at
                                      request of Ellen Reeder. Also looked into the Lone Star Fund PAC at
                                      request of Kevin Sadler.
02/05/15   J M Whittlesey         .70 Research and obtain sections from the Department of State's Foreign
                                      Affairs Manual, as requested by C. Norfleet.
02/06/15   D T Arlington          .30 Communicated with team regarding pretrial conference issues.
02/06/15   S F Cagniart           .20 Assisted in preparation for pretrial conference.
02/06/15   K Corral              3.40 Continued preparation of trial materials for attorney review and
                                      revised/supplemented notebooks for team of attornyes.
02/06/15   A Cuenin              2.00 Searched for and found documents for use at trial regarding
                                      circulation of draft regulatory reports (2.0).
02/06/15   L E Dodge             7.10 Prepared list of electronic equipment for the courtroom (1.5);
                                      prepared and printed additional materials (bench briefs, cases, etc.)




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                               Hours                                  Description
                                       for the pre-trial conference (2.6); attended and assisted at pre-trial
                                       conference (2.1); prepared Plaintiffs' Second Amended Exhibit List
                                       (.9).
02/06/15   S Faridifar           9.80 Prepared for and attended pre-trial conference and follow-up meeting
                                      with K. Sadler, S. Powers, and R. Janvey (5.5); reviewed Romero
                                      deposition transcript and compiled list of certain testimony for K.
                                      Sadler and drafted email to CSI regarding same (3.3); addressed
                                      various issues in preparation for trial (.5); finalized and filed
                                      supplemental memos regarding hearsay objection to deposition
                                      testimony and authentication of documents (.5).
02/06/15   R W Fusco             1.00 Helped S. Powers in preparing materials for pre-trial hearing.
02/06/15   C J Norfleet          2.90 Research admission of news article quoting Romero over hearsay
                                      objections (1.8); draft supplemental memo addressing hearsay issues
                                      (1.1).
02/06/15   S D Powers            9.50 Prepared for and attended pretrial conference (4.5); following
                                      hearing, attention to various pretrial issues, including revisions to
                                      deposition clips, drafting of joint preliminary instruction, draft of
                                      order on Tirado motion in limine (5.0),
02/06/15   E D Reeder            1.90 Prepared revisions to marked deposition transcripts per agreement by
                                      the parties and coordinated with Lynne Dodge regarding replacement
                                      pages in binders (.6); reviewed revised summary of deposition video
                                      cuts for Rodriguez and reported total time to Scott Powers (.8);
                                      coordinated with trial presentation vendor regarding most current lists
                                      of video cuts for use in calculating total video time for each side (.5).
02/06/15   K M Sadler           11.00 Preparation for and attend pre-trial conference (5.5); continued trial
                                      preparation work with Receiver, outlines and demonstratives (5.5)
02/07/15   S F Cagniart           .70 Reviewed and transmitted materials on good-faith standard to C.
                                      Norfleet and discussed same with him by telephone.
02/07/15   L E Dodge            15.00 Updated plaintiffs' opening statement (.2); reviewed information
                                      regarding BBG documents which were provided to Romero's counsel
                                      (2.3); prepared letter to Romero's counsel memorializing BBG
                                      documents provided to them on Wednesday, February 3rd (.8);
                                      reviewed pre-trial conference transcript (1.8); updated master trial
                                      exhibit list with pending exhibit objections (1.7); prepared and
                                      packed and organized materials for trial (5.1); researched various
                                      questions from K. Sadler and S. Powers, as they revised and updated
                                      witness outlines for trial (3.1).
02/07/15   S Faridifar          15.50 Addressed various issues in preparation for trial, including issues
                                      related to trial demonstratives, timelines, and other requests from K.
                                      Sadler and S. Powers (10.2); prepared cross questions regarding
                                      Romero's destruction of evidence and exchanged emails with K.
                                      Sadler regarding same (1.0); addressed issues regarding cross of
                                      value expert (2.3); conducted case law research regarding standard
                                      for discovery rule under TUFTA (2.0).
02/07/15   C J Norfleet         10.90 Revise and expand supplemental memo addressing hearsay objection
                                      to new article quoting Romero (2.8); research admissibility of




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                               Hours                                 Description
                                       evidence related to rebuttal of affirmative defense of good faith (5.5);
                                       draft supplemental memo on admissibility of good faith evidence
                                       (2.6).
02/07/15   S D Powers            4.00 Reviewed Reich materials and prepared for cross-examination (2.0);
                                      conferred with K. Sadler regarding                (.5); drafted,
                                      reviewed emails regarding exhibit objection issues (1.0); analyzed
                                                     and exchanged emails with K. Sadler regarding same
                                      (.5).
02/07/15   S D Powers            2.50 Continued working on outline for KVT direct testimony.
02/07/15   E D Reeder            1.50 Reviewed most current deposition video cut summaries to calculate
                                      total time used by each side (1.1); telephone conference with Ronnie
                                      Jarrett regarding cross-designations to be included (.2); reported
                                      interim results to Scott Powers (.2).
02/08/15   K Corral             15.80 Marked pre-admitted exhibits in attorney's outlines pursuant to pre-
                                      trial confernece (2.30); updated and created deposition designations
                                      notebooks for team of attoneys (3.20); gathered and prepared supplies
                                      and materials to be used during trial (.80); created chart of exhibits
                                      objections (1.80); updated and replaced notebooks per attorneys'
                                      requests (1.60); arranged delivery of materials from office to
                                      courtroom (.90); updated and reorganized pre-trial filings notebooks
                                      (4.60); coordinated with the team proceedings of upcoming trial (.60).
02/08/15   L E Dodge            18.50 Updated plaintiffs' opening statement (.4); updated outline for
                                      Janvey's direct examination (.4); provided impeachment documents
                                      and revised exhibits to R. Jarrett (1.5); prepared Joint Stipulation &
                                      Order Regarding Pre-Admitted Exhibits (2.8); sent draft Joint
                                      Stipulation Regarding Pre-Admitted Exhibits and exhibit changes to
                                      opposing counsel (.4); updated master trial exhibit list for pre-
                                      admitted exhibits (1.2); reviewed Janvey's direct examination and
                                      identified pre-admitted or pending objection status for each exhibit to
                                      be used in Janvey's direct examination (3.1); prepared pending
                                      objection list for exhibits that may be used in R. Janvey's direct
                                      testimony (1.2); sent email to Romero's counsel with R. Janvey
                                      demonstratives and witnesses which will be presented on Monday,
                                      February 9 (.4); updated outline for Romero's cross-examination (.4);
                                      researched pictures of M. Kuhrt and G. Lopez for demonstratives (.7);
                                      reviewed and revised Plaintiffs' Second Amended Exhibit List (1.3);
                                      prepared materials for week of trial (8 boxes of newly printed
                                      materials plus another 12 boxes of materials) (4.3); sent Pre-Admitted
                                      Exhibits Stipulation and Order to C. Moore, court coordinator (.4).
02/08/15   S Faridifar          16.20 Prepared supplemental memo for court regarding proper discovery
                                      rule standard and conducted related case law research (1.8);
                                      addressed various issues related to preparing for trial, including issues
                                      related to cross of expert on value, trial demonstratives, trial exhibits,
                                      and other materials required at trial (8.9); drafted supplemental memo
                                      regarding excluding expert testimony (2.7); address various issues
                                      regarding pre-trial filings, including second amended exhibits list,
                                      joint stipulation regarding pre-admitted exhibits, and joint proposal
                                      regarding preliminary jury instructions, and filed same (1.8);




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                               Hours                                 Description
                                       addressed issues regarding supplemental memos regarding testimony
                                       as to Stanford's opinion regarding value and good faith documents
                                       (1.0).
02/08/15   C J Norfleet          6.70 Revise supplemental memo regarding admission of evidence of lack
                                      of good faith in response to comments from Kevin Sadler and Scott
                                      Powers (2.1); draft supplemental memo regarding violations of
                                      federal regulations and laws prohibiting disclosure of confidential
                                      information (4.6).
02/08/15   S D Powers           12.00 Reviewed testimony with KVT and made revisions to direct outline
                                      (8.0); attention to various pretrial issues, including voir dire
                                      questions, pre-admitted exhibits,                        , trial
                                      demonstratives, and bench memoranda regarding various exhibits
                                      (4.0).
02/08/15   E D Reeder            5.40 Online research regarding articles and reports on Otto Reich to locate
                                      possible government sources for admitting into evidence (1.1);
                                      reviewed deposition video cuts of all three witnesses to calculate time
                                      used (.6); telephone conference with Scott Powers regarding missing
                                      counter and cross-designations which will add more time (.2);
                                      reviewed video deposition of Tolentino and manually added all
                                      designated excerpts by plaintiff (2.4); added all estimated deposition
                                      video cuts and reported to Scott Powers (.6); provided updated
                                      markups including all counter and cross designations to trial
                                      presentation vendor (.5).
02/08/15   K M Sadler           10.50 Continued trial preparation (10.5)
02/09/15   A A Carr              4.60 Research for S. Faridifar regarding juror's ability to obtain
                                      compensation for jury duty from contract employer (.4); review of
                                      documents for S. Faridifar to determine individuals aware of
                                      November 2006 subpoena and emails with R. Fuscous and S.
                                      Faridifar regarding same (4.2).
02/09/15   K Corral             14.10 Updated and reorganized pre-trial filings notebooks (2.6); assisted at
                                      trial proceedings (5.8); prepared notebooks of expert's direct
                                      examination exhibits (4.3); updated trial transcript notebooks (1.4).
02/09/15   L E Dodge            16.30 Attended trial proceedings (including voir dire) (7.0); assisted trial
                                      team before, during, and after trial proceedings, including printing
                                      documents to have in courtroom (6.9); tracked admitted exhibits and
                                      reconciled them to trial transcript (.3); tracked time used by plaintiff
                                      in court (.5); sent email to court with admitted exhibits from today's
                                      trial proceedings (.4); reviewed daily transcript and responded to
                                      various questions from K. Sadler regarding transcripts (1.2).
02/09/15   M R Dwertman           .50 Researched juror employment and salary protections (.4); discussed
                                      issues with A. Carr and drafted e-mail to S. Faridifar (.1).
02/09/15   S Faridifar          13.90 Prepared for and attended trial (8.0); conducted research regarding
                                      jury issue requested by judge (1.2); research regarding statements by
                                      party opponent issue (2.0); addressed issues regarding November
                                      2006 subpoena to SGC and exchanged emails with A. Carr and R.
                                      Fusco regarding same (1.3); reviewed trial transcript in connection




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                               Hours                                  Description
                                       with JMOL (1.4).
02/09/15   R W Fusco             3.00 Various tasks for trial team including locating needed documents.
02/09/15   J M Himmel             .60 Researched Texas law to determine whether the employer of a
                                      contract security guard may require her to take vacation days and
                                      refuse to pay her while she is on jury duty, this question was raised by
                                      Judge Godbey during the Romero trial.
02/09/15   C J Norfleet          2.70 Revise motion to exclude evidence based on violations of federal
                                      non-disclosure laws (.8); research statute of limitations for federal
                                      criminal law violations (1.1); analyze trial testimony to identify
                                      evidence and argument for use in Rule 50(a) motion (.8).
02/09/15   S D Powers           11.50 Prepared for and attended opening day of trial (9.0); reviewed and
                                      revised KVT direct outline and reviewed testimony with KVT (2.0);
                                      attention to issues related to demonstratives and witness order (.5).
02/09/15   E D Reeder             .60 Prepared documents for use in cross of Otto Reich and forwarded to
                                      Sherwin Faridifar.
02/09/15   K M Sadler           12.00 Attendance at first day fo trial, jury selecation, opening and beginning
                                      of evidence with Janvey testimony (12.0)
02/09/15   P K Strebeck          1.50 Searched Library of Congress for records of documents referenced by
                                      Sherwin Faridifar in email and at request of Ellen Reeder. Also
                                      searched Government Printing Office and Depository Libraries for
                                      holdings of particular documents.
02/10/15   K Corral             11.10 Assisted at trial proceedings (5.0); prepared/revised/supplemented
                                      notebooks/documents per attorneys' request (3.3); printed pleadings
                                      and delivered to courthouse (2.8).
02/10/15   L E Dodge            16.70 Attended trial proceedings (8.0); assisted trial team before, during,
                                      and after trial proceedings, including printing documents to have in
                                      courtroom (5.9); tracked admitted exhibits and reconciled them to
                                      trial transcript (.7); tracked time used by plaintiff in court (.5); sent
                                      email to court with admitted exhibits from today's trial proceedings
                                      (.4); reviewed daily transcript and responded to various questions
                                      from K. Sadler regarding transcripts (1.2).
02/10/15   S Faridifar          16.30 Prepared for and attended trial (9.3); addressed various issues in
                                      preparation for trial, including issues related to Romero's cross (5.7);
                                      reviewed and revised motion to exclude testimony regarding Beers in
                                      preparation for filing (1.3).
02/10/15   C J Norfleet          7.80 Analyze trial testimony for use in Rule 50(a) motion (2.5); research
                                      rules and case law related to excusing jurors from service during trial
                                      (3.8); revise Rule 50(a) motion (1.5).
02/10/15   S D Powers           14.00 Prepared for and attended trial (10.0); reviewed testimony with KVT
                                      and further revised direct outline (3.5); reviewed Reich materials and
                                      prepared for cross (.5).
02/10/15   E D Reeder            1.10 Reviewed documents related to cross of Reich and forwarded to
                                      Sherwin Farififar.




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                               Hours                                  Description
02/10/15   K M Sadler           12.00 Attendance at Day 2 of trial, with completion fo Janvey testimony,
                                      and preparations for Romero cross (12.0)
02/10/15   P K Strebeck           .60 Discussed availability of documents with Government Documents
                                      Librarian at Texas State Library & Archives Commission and
                                      forwarded information and links that she found to Ellen Reeder.
02/11/15   D T Arlington          .70 Reviewed media reports (0.4); communicated with team regarding
                                      status of trial (0.3).
02/11/15   K Corral             11.20 Updated deposition designations notebooks (1.6); updated trial
                                      transcript notebooks (.60); assisted at trial proceedings (5.8); printed
                                      related caselaw for evidence support and delivered to courthouse
                                      (3.2).
02/11/15   L E Dodge            17.60 Attended trial proceedings (8.0); assisted trial team before, during,
                                      and after trial proceedings, including printing documents to have in
                                      courtroom (6.8); tracked admitted exhibits and reconciled them to
                                      trial transcript (.7); tracked time used by plaintiff in court (.5); sent
                                      email to court with admitted exhibits from today's trial proceedings
                                      (.4); reviewed daily transcript and responded to various questions
                                      from K. Sadler regarding transcripts (1.2).
02/11/15   S Faridifar          19.30 Prepared for and attended trial (11.0): addressed various isssues
                                      related to preparing Romero cross (2.9); addressed various issues
                                      related to drafting judgment as a matter of law (5.4).
02/11/15   C J Norfleet         10.60 Draft and revise motions for submission during trial related to
                                      violations of federal non-disclosure laws (3.5); analyze trial
                                      transcripts for use in making Rule 50(a) motion (2.5); research case
                                      law for use in Rule 50(a) motion (2.2); draft and revise Rule 50(a)
                                      motion (2.4).
02/11/15   S D Powers           14.00 Prepared for and attended trial, including charge conference (10.5);
                                      reviewed and analyzed cases in preparation for additional argument
                                      regarding jury charge (1.5); reviewed Suarez deposition designations
                                      and made additional deletions and drafted, reviewed emails regarding
                                      same (1.0); reviewed draft JMOL and conferred with C. Norfleet
                                      regarding same (1.0).
02/11/15   E D Reeder            3.10 Provided additional documents related to Otto Reich's cross to
                                      Sherwin Faridifar (.2); coordinated with librarian regarding
                                      government-sourced documents to accompany reports on Iran-Contra
                                      related to Otto Reich tesimony (.7); coordinated with libaray
                                      regarding courier service in DC retrieving document from Library of
                                      Congress and drafted affidavit for courier to sign (1.9); forwarded all
                                      documents to Scott Powers (.2); arranged for overnight delivery of
                                      original (.1).
02/11/15   K M Sadler           12.00 Attendance at Day 3 of trial with completion of plaintiff's opening
                                      case, commencement of defense case, and charge conference with
                                      Court in chambers after court day (12.0)
02/11/15   P K Strebeck          1.10 Researched electronic copy of House Committee Report for Scott
                                      Powers. Contacted Library of Congress search service to obtain a




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                               Hours                                Description
                                       copy of the document and provided address information to the service
                                       for sending the document via Federal Express. Researched
                                       alternatives to Library of Congress copy for back up purposes and for
                                       quicker delivery to Scott Powers.
02/12/15   K Corral              9.80 Prepared notebooks of admitted plaintiffs' exhibits for the court (3.2);
                                      printed pleadings, good faith cases, and documents per attorneys'
                                      requests and delivered to courthouse (3.6); assisted at trial
                                      proceedings (2.4); gathered all trial materials from court to be taken
                                      back to the office (.60).
02/12/15   L E Dodge            13.80 Attended trial proceedings (9.0); assisted trial team before and during
                                      trial proceedings, including printing documents to have in courtroom
                                      (3.9); tracked time used by plaintiff in court (.5); sent email to court
                                      with admitted exhibits from today's trial proceedings (.4).
02/12/15   S Faridifar          10.50 Prepared for and attended trial.
02/12/15   C J Norfleet          4.90 Revise motion for judgment as a matter of law in response to
                                      comments from Scott Powers (2.3); respond to research questions
                                      from trial team related to evidentiary matters (1.2); research post-trial
                                      motion for injunction (1.4).
02/12/15   S D Powers           10.00 Prepared for and attended trial (9.0); reviewed and commented on
                                      motion for judgment as a matter of law (1.0).
02/12/15   K M Sadler           12.00 Attendance at Day four of trial with Romero cross examination,
                                      motions/objections to charge, and final argument (12.0)
02/13/15   K Corral              3.60 Delivering documents to attorneys in court (.60); picking up jury
                                      exhibit notebooks (.70); cleaning up case materials (2.3).
02/13/15   L E Dodge            12.10 Reviewed court's list of admitted exhibits and communicated
                                      approval to the court and S. Powers (1.4); printed payments to
                                      Romero demonstrative to have in court while jury is deliberating (.3);
                                      reviewed and organized and destroyed trial materials (3.6); traveled
                                      back to Austin from Dallas (4.5); reviewed Day 4 transcript (1.9);
                                      coordinated with E. Reeder regarding preparation of court document
                                      regarding judge's rulings on deposition designations (.4).
02/13/15   S Faridifar           7.10 Attended trial (2.4); reviewed and revised stipulation regarding
                                      objections to deposition designations and drafted emails to S. Powers
                                      and B. Clark regarding same (.3); reviewed jury's verdict form (.1);
                                      traveled back to Austin (4.3).
02/13/15   C J Norfleet          2.40 Research case law related to motion for post-judgment injunction
                                      (2.4).
02/13/15   S D Powers            6.00 Attended trial and attention to issues related to jury deliberation and
                                      verdict (2.5); return travel to Austin (3.5).
02/13/15   E D Reeder             .40 Reported to Ashley Carr and Brendan Day regarding status of the trial
                                      and jury verdict and telephone conference with Lynne Dodge
                                      regarding same.
02/13/15   E D Reeder             .60 Drafted deposition designation rulings (.3); circulated information




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                               Hours                                 Description
                                       regarding verdict to attorneys in Austin (.3).
02/13/15   K M Sadler           10.50 Consultations with Receiver before court (1.5) Attendance at court
                                      for last day of trial and jury deliberations (4.5); consultations with
                                      Receiver regarding next steps (1.5); conferences with Powers
                                      regarding strategy (1.0); respond to media inquiries (1.5); Emails to
                                      Norfleet regarding asset freeze research (.5)
02/14/15   S Faridifar            .20 Responded to email from K. Sadler regarding trial transcripts and
                                      addressed related issues (.2).
02/14/15   E A Young              .10 Correspondence with S. Powers and K. Sadler about jury verdict.
02/15/15   K Corral               .50 Retrieving all case notebooks from hotel.
02/16/15   K Corral               .20 Prepare case materials for shipping to Austin.
02/16/15   L E Dodge             2.30 Organized and filed trial materials (2.3).
02/16/15   S Faridifar            .50 Exchanged emails with B. Clark and S. Powers regarding stipulation
                                      related to rulings on objections to deposition designations and revised
                                      and filed same (.3); conferred with C. Norfleet regarding post-
                                      judgment injunction issues (.2).
02/16/15   C J Norfleet          4.40 Research and draft motion for post-judgment injunction to freeze
                                      assets (3.2); research prior decisions for use in drafting motion for
                                      entry of final judgment (1.2).
02/17/15   S F Cagniart          3.50 Researched availability, timing and potential consequences of various
                                      post-trial motions for Receiver; discussed same with K. Sadler, S.
                                      Powers and E. Young.
02/17/15   B A Day                .20 Discussed prejudgment-interest calculations with C. Norfleet (0.2).
02/17/15   L E Dodge             2.60 Contacted trial presentation vendor for copies of all demonstratives
                                      used at trial (.3); reviewed prior analysis of attorney's fees for
                                      attorney fees motion (2.3).
02/17/15   J M Himmel             .40 Discussion with S. Powers regarding drafting the motion for
                                      attorneys' fees (.1); Coordination with L. Dodge and accounting to
                                      obtain the necessary invoices and identify the time billed to the
                                      Romero case (.3).
02/17/15   D K Jackson            .80 Collected BB invoices with Romero-related terms from Feb. 2011 to
                                      Oct. 2014.
02/17/15   C J Norfleet          5.60 Research motion for entry of final judgment (2.1); research prior
                                      decisions by Judge Godbey for use in drafting final judgment (2.3);
                                      draft and revise proposed agreed as to form final judgment (1.2).
02/17/15   S D Powers            1.00 Conferred with E. Young and K. Sadler regarding post-verdict
                                      options and follow-up with S. Cagniart (.7); analyzed issues with C.
                                      Norfleet regarding entry of judgment (.3).
02/17/15   K M Sadler            2.50 Reviewed and commented on draft judgment(.6); emails to/from
                                      Norfleet (.4) ; conference with Powers         (.7) conference
                                      with Powers and Young re jury charge and appeal issues (.8).




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                               Hours                               Description
02/17/15   E A Young             1.00 Reviewed rules relevant to new trial and entry of judgment (0.4);
                                      conference with S. Powers, S. Cagniart, and K. Salder to discuss next
                                      steps in Romero case (0.6).
02/18/15   L E Dodge              .80 Researched and analyzed questions from J. Himmel regarding
                                      attorneys fees (.8).
02/18/15   J M Himmel            4.60 Reviewed docket sheet and corresponding filings in the Romero case
                                      and used this information to begin drafting the factual background
                                      section of the motion for attorneys' fees.
02/18/15   D K Jackson           7.10 Assembled BB Romero-related invoice entries from fee applications
                                      1-33.
02/18/15   C J Norfleet           .60 Revise proposed agreed as to form final judgment.
02/18/15   S D Powers             .30 Reviewed, analyzed motion for entry of judgment; conferred with K.
                                      Sadler regarding
02/19/15   L E Dodge              .50 Reviewed attorney fee analysis prepared by D. Jackson (.5).
02/19/15   S Faridifar            .10 Responded to email from K. Sadler regarding Romero's post-verdict
                                      motion for judgment.
02/19/15   J M Himmel            7.50 Began drafting the legal argument section of the motion for
                                      attorneys's fees (2.8); Reviewed invoices from February 2011 -
                                      October 2014 to identify the core team and describe the work
                                      performed in the argument section of the motion for attorneys' fees
                                      (4.7).
02/19/15   D K Jackson           2.30 Assembled BB Romero-related invoices from fee applications 1 - 33;
                                      exchanged emails with J. Himmel regarding same.
02/19/15   S D Powers             .20 Reviewed emails regarding motion for judgment and conferred with
                                      L. Dodge regarding logistics related to trial record.
02/19/15   K M Sadler             .50 Reviewed JMOL (.5)
02/20/15   J M Himmel            6.70 Reviewed invoices from November 2014 - February 2015 to assist in
                                      identifying the members of the core team and describing the work
                                      performed for use in the motion for attorneys' fees and declaration in
                                      support of same (5.9); Email to and discussion with S. Powers
                                      regarding identification of time billed to the Romero case for
                                      purposes of the motion for attorneys' fees (.4); Coordination with
                                      accounting to obtain the November 2014 - February 2015 invoices
                                      and total amount billed to the Romero matter (.2); Emails and
                                      discussion with D. Jackson regarding review of invoices for use in the
                                      attorneys' fees motion (.2).
02/20/15   D K Jackson           3.40 Prepared unredacted Baker Botts invoices for attorneys' fee motion
                                      per J. Himmel's request.
02/20/15   C J Norfleet           .30 Revise proposed final judgment in response to comments from Scott
                                      Powers.
02/20/15   S D Powers             .50 Drafted, reviewed emails regarding form of judgment, response to
                                      motions for judgment as a matter of law, and motion for attorneys'




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                               Hours                                Description
                                       fees.
02/21/15   J M Himmel            2.90 Researched Texas case law to determine which costs a prevailing
                                      party may recover under the Texas Uniform Fraudulent Transfer Act.
02/22/15   L E Dodge             1.60 Compiled and uploaded admitted exhibits to FTP link for Romero's
                                      counsel review and approval (1.6).
02/22/15   J M Himmel            1.20 Review of revised invoices provided by D. Jackson highlighting time
                                      attributable to the Romero case prior to the creation of the Romero-
                                      specific client matter number.
02/23/15   J M Himmel            7.80 Continued research of recoverable taxable and non-taxable costs
                                      under Texas law and sent email to S. Powers summarizing findings
                                      (5.1); Continued drafting legal argument section of the motion for
                                      attorneys' fees, specifically the identification of the work performed
                                      by the core team (2.7).
02/23/15   K B Koscheski         1.00 Extracted pages from Baker Botts January 2011 to October 2014
                                      invoices that mentioned Romero in preparation for attorney's fee
                                      apps.
02/23/15   C J Norfleet           .60 Draft response to Romero's post-trial motion for judgment as a matter
                                      of law.
02/24/15   J M Himmel            1.40 Edits and additions to the spreadsheet of non-0160 Romero billing
                                      entries provided by D. Jackson and sent same to S. Powers (.6); Edits
                                      to the motion for attorneys' fees and sent same to S. Powers for
                                      review (.8).
02/24/15   C J Norfleet          4.60 Research and draft response to Romero's Rule 50(b) motion (3.8);
                                      research motion for post-judgment injunction (0.8).
02/24/15   S D Powers             .10 Revised draft letter to court with copies of admitted exhibits.
02/25/15   L E Dodge             1.20 Prepared admitted exhibits for submission to the court (.9); prepared
                                      letter to Carla Moore, Judge Godbey's courtroom deputy, transmitting
                                      admitted exhibits on disc (.3).
02/25/15   J M Himmel            3.00 Reviewed all expenses billed to the Romero matter and compiled
                                      these into a pdf document (1.8); used this document to create a
                                      spreadsheet of costs per expense and categorize expenses as taxable
                                      or non-taxable and sent the spreadsheet and compiled expense pdf to
                                      S. Powers for review (1.2).
02/25/15   C J Norfleet          5.70 Draft and revise response to Romero's Rule 50(b) motion based on
                                      comments from Kevin Sadler and Scott Powers.
02/25/15   S D Powers             .20 Phone conference regarding submitting form for entry of judgment.
02/26/15   C J Norfleet          4.60 Research and revise response to Romero's Rule 50(b) motion (4.1);
                                      research motion for post-judgment injunction (0.5).
02/27/15   C J Norfleet          4.70 Revise response to Romero's Rule 50(b) motion in response to
                                      comments from Scott Powers.
02/27/15   S D Powers             .40 Reviewed, analyzed draft response to draft motion for judgment as a




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                                   Hours                              Description
                                           matter of law and exchanged emails with K. Sadler regarding same.
             Matter Total         878.50


           079716.0163       Maldonado, Patricia
                                   Hours                                Description
02/01/15     M R Dwertman             .40 Drafted deposition notice for P. Maldonado.
02/02/15     L E Dodge                .40 Reviewed and revised index to production to Maldonado (.4).
02/02/15     S Faridifar              .20 Conferred with R. Fusco regarding Maldonado deposition and related
                                          issues.
02/02/15     R W Fusco               4.90 Reviewed warehouse boxes to identify documents for expert (3.5);
                                          various emails and other tasks related to setting up deposition and
                                          witness phones calls (1.4).
02/02/15     J M Himmel              4.30 Searched Ringtail for documents requested by the corporate
                                          governance expert, specifically documents pertaining to




02/03/15     L E Dodge                .50 Supervised and assisted with Maldonado Ringtail review requested
                                          by J. Himmel (.5).
02/03/15     R W Fusco               4.00 Reviewed warehouse boxes to identify documents for production and
                                          for expert.
02/03/15     J M Himmel              9.90 Searched Ringtail for documents requested by the corporate
                                          governance expert, specifically




02/03/15     K B Koscheski           1.80 Searched in Ringtail for various Stanford entities executed Service
                                          Agreements.
02/04/15     R W Fusco               7.70 Reviewed warehouse boxes to identify documents for production and
                                          for expert and otherwise prepared materials for upcoming deposition
                                          and witness interviews.
02/04/15     J M Himmel              8.90 Searched Ringtail for documents requested by corporate governance
                                          expert, specifically those

                                                                  reviewed tagged documents to exclude
                                           duplicates and ensure most current version was tagged, and drafted
                                           email to R. Fusco summarizing results (4); Reviewed Laura
                                           Pendergest's SEC deposition transcripts and drafted proposed
                                           deposition objectives and questions based on the portions pertaining




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                               Hours                                 Description
                                       to Maldonado (4.9).
02/04/15   K B Koscheski         4.50 Searched Ringtail for various Stanford entities executed Service
                                      Agreements (3); added Bates numbering to KVT declarations for
                                      production (1.5).
02/05/15   L E Dodge              .90 Supervised and assisted with production of additional documents (.9).
02/05/15   M R Dwertman          5.80 Reviewed Receiver's initial complaint (.4); reviewed KVT
                                      declarations re: fund transfers among Stanford entities (.4); drafted
                                      and revised joint stipulation extending discovery deadlines (.9);
                                      drafted Receiver's First Requests for Production (1.9); drafted
                                      Receiver's first set of Interrogatories (2.2).
02/05/15   R W Fusco             5.80 Identified materials for production and prepared for upcoming
                                      Maldonado deposition (5.5); negotiated extension of discovery
                                      deadlines with opposing counsel (0.3).
02/05/15   J M Himmel            8.00 Reviewed Maldonado memorandum drafted by B. Day and the 57
                                      exhibits to this memorandum to determine whether the exhibits were
                                      privileged and which exhibits to produce for the Maldonado
                                      deposition (2.3); Drafted deposition questions for use in Maldonado's
                                      deposition (1.4); Searched Ringtail for documents pertaining to

                                       (4.3).
02/05/15   K B Koscheski         7.50 Produced documents for production to Spindler and to be burned to
                                      discs (4.5); added Bates numbers to index (3).
02/06/15   L E Dodge             4.20 Assisted and supervised with production of documents to
                                      Maldonado's counsel (1.6); prepared transmittal letter to Maldonado's
                                      counsel (.4); reviewed and revised index of production to Maldonado
                                      (.6); fixed corrupted Excel spreadsheets from FTI for future
                                      production (1.6).
02/06/15   R W Fusco             6.20 Discussed expert report with James Spindler (0.5); reviewed and
                                      identified documents for upcoming depositions, witness interviews,
                                      and expert report (4.0); prepared deposition outline (1.5); discussed
                                      discovery dates with opposing counsel (0.2).
02/06/15   J M Himmel            8.20 Reviewed transfer spreadsheet to



                                                                                          (3.2); Searched
                                       Ringtail for documents pertaining to

                                                              (5).
02/06/15   K B Koscheski         8.50 Produced documents STAN MALDONADO 0001163 through
                                      0006066 for production to Colvin and to be burned to discs (4); added
                                      Bates numbers, desrciption and date to index (4.5).
02/09/15   R W Fusco             2.70 Reviewed documents and prepared outline for interview with Laura
                                      Pendergest-Holt.




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                               Hours                                Description
02/09/15   K B Koscheski         8.00 Downloaded production from EFT to shared drive (.5); numbered 500
                                      documents with prefix in the production queue (3); Bates numbered
                                      same documents (.5); renamed same documents with Bates number
                                      (4).
02/10/15   M R Dwertman          1.00 Reviewed R. Fusco comments to first RFPs and interrogatories (.2);
                                      made revisions and circulated to S. Powers and D. Arlington for
                                      review (.8).
02/10/15   R W Fusco             6.00 Phone interview                                 (2.0); reviewed and
                                      revised discovery requests (1.0); started preparing
                                                              (2.0); identified additional witnesses and made
                                      phone calls to set up interviews (1.0).
02/10/15   K B Koscheski          .50 Compressed folder for upload to FTP for production of documents
                                      STAN MALDONADO 0006067-0007297 (.2); composed transmittal
                                      letter regarding same production (.3).
02/11/15   M R Dwertman           .60 Reviewed


02/11/15   R W Fusco             6.60 Phone call
                                            (0.5); email with team regarding document searches and
                                      witness interviews (0.8); reviewed
                                                                                           (5.3).
02/11/15   J M Himmel            3.90 Reviewed




02/11/15   K B Koscheski         8.00 Uploaded zipped file with documents Bates range STAN
                                      MALDONADO 0006067-0007297 to FTP, composed and sent email
                                      requesting discs be burned for production to Colvin of same
                                      documents, composed transmittal letter and emailed link for same
                                      (2.0); added production to index (6.0).
02/12/15   D T Arlington          .30 Reviewed draft discovery requests.
02/12/15   M R Dwertman           .40 Reviewed D. Arlington comments to first interrogatories and RFP's
                                      and sent updated drafts to R. Fusco.
02/12/15   R W Fusco             4.40 Reviewed documents in order to marshal evidence for case and create
                                      deposition outline (4.0); spoke with James Spindler regarding expert
                                      report (0.4).
02/12/15   J M Himmel            1.40 Searched Ringtail



02/12/15   K B Koscheski         1.50 Requested production export from FTP (.5); added Bates numbering
                                      to documents once export was received (1).
02/13/15   M R Dwertman           .40 Reviewed revisions to first interrogatories and RFPs (.1); drafted




                                                                                  App. 180
    Case 3:09-cv-00298-N Document 2174-1 Filed 07/16/15                Page 181 of 262 PageID 61124
                                                                                        Page 69




                               Hours                                Description
                                       proposed order for joint motion for continuance (.3).
02/13/15   R W Fusco             4.10 Discussed expert report with James Spindler (0.3); continued to
                                      marshal evidence for
                                                          (3.8).
02/13/15   K B Koscheski         3.00 Uploaded zipped file with documents Bates range STAN
                                      MALDONADO 0007298-0007413 to FTP, composed and sent email
                                      requesting discs be burned for production to Colvin of same
                                      documents, composed transmittal letter and emailed link for same (2);
                                      added production to index (1).
02/13/15   M P Schwartz          3.20 Create database (2.0); apply permissions (.5); load images, OCR,
                                      metadata, and native document links (.5); create issue tags (.2).
02/16/15   L E Dodge              .20 Arranged for court reporter and videographer at P. Maldonado's
                                      March 2nd deposition (.2).
02/16/15   R W Fusco             8.40 Continued to marshal evidence for
                                                                      (7.0); revised
                                                                                (1.4).
02/16/15   J M Himmel             .20 Reviewed tagged documents to respond to email from R. Fusco
                                      regarding


02/16/15   S D Powers            1.30 Reviewed and commented


02/17/15   K Corral              1.20 Retrieve and prepare materials to be used as


02/17/15   M R Dwertman          1.60 Drafted agreed motion for continuance of trial date and amended
                                      scheduling order (1.2); reviewed R. Fusco revisions and made further
                                      edits (.2); updated proposed order based on motion and sent to R.
                                      Fusco, S. Powers and S. Faridifar for review (.2).
02/17/15   S Faridifar           2.80 Call with R. Fusco regarding status of Maldonado claims and related
                                      issues and exchanged emails regarding same (.2); reviewed various
                                      documents related to Maldonado claims
                                                       (2.5); conferred with S. Powers regarding
                                      Maldonado claims (.1).
02/17/15   R W Fusco            10.40 Continued to marshal evidence
                                                                           (8.4); phone call
                                                                                      (1.0); revised

                                               (1.0).
02/17/15   S D Powers             .60 Reviewed and commented


02/18/15   K Corral              5.90 Continue retrieving and preparing materials to be used as potential
                                      exhibits for upcoming deposition of Patricia Maldonado.
02/18/15   M R Dwertman          1.10 Revised Motion for Continuance and Proposed Amended Scheduling
                                      Order to reflect all pre-trial dates (.8); discussed related issues with R.




                                                                                     App. 181
    Case 3:09-cv-00298-N Document 2174-1 Filed 07/16/15               Page 182 of 262 PageID 61125
                                                                                       Page 70




                               Hours                                 Description
                                       Fusco (.1); proofed and sent to S. Powers for review (.2).
02/18/15   R W Fusco             2.20 Discussed
                                                     (1.0); continued preparing evidence and other materials
                                                                     (1.0); reviewed draft motion to continue
                                       and instructed M. Dwertman on same (0.2).
02/18/15   J M Himmel            2.90 Reviewed documents in binder created by FTI to locate emails from
                                      P. Maldonado to L. Pendergest-Holt regarding
                                                                  and sent email to R. Fusco
                                      summarizing documents reviewed.
02/18/15   K B Koscheski          .50 Updated Maldonado index with documents sent to Spindler from
                                      emails from R. Fusco.
02/18/15   S D Powers             .30 Reviewed and commented on motion to extend deadlines and
                                      continue trial date.
02/19/15   M R Dwertman           .50 Reviewed S. Powers revisions to Motion for Continuance and
                                      Amended Scheduling order and accepted changes (.2); updated
                                      deadlines in Stanford task list (.3).
02/19/15   R W Fusco             3.20 Reviewed and filed motion to continue trial (1.0); collected
                                      documents and sent to expert (1.0); continued marshaling evidence
                                                                                 (1.2).
02/19/15   S D Powers             .30 Reviewed and commented on motion to continue trial date and extend
                                      deadlines.
02/20/15   L E Dodge             1.10 Researched investor production                                (1.1).
02/20/15   S Faridifar            .20 Reviewed order regarding Maldonado's motion to dismiss.
02/20/15   R W Fusco             6.40 Continued to review evidence


02/20/15   K B Koscheski         1.50 Updated Maldonado index with documents sent to Spindler from
                                      emails from R. Fusco.
02/20/15   S D Powers             .20 Reviewed, analyzed order on motion to dismiss.
02/21/15   R W Fusco             2.40 Continued to review evidence for expert and for upcoming deposition
                                      of Patricia Maldonado.
02/21/15   J M Himmel            2.40 Researched the standards and procedure to claw-back an
                                      inadvertendly produced privileged document.
02/22/15   R W Fusco             1.10 Continued to review evidence for expert and for upcoming deposition
                                      of Patricia Maldonado.
02/22/15   J M Himmel            1.10 Emails with R. Fusco and FTI regarding claw-back of privileged
                                      document and subsequent search of Ringtail
                                                                                              (.3); Drafted
                                      letter to Maldonado's counsel requesting the destruction or return of
                                      inadvertently produced privileged document (.8).
02/23/15   M R Dwertman           .70 Drafted Second Agreed Joint Stipulation Extending Discovery
                                      Deadlines (.5); reviewed R. Fusco edits and sent to S. Powers (.1);




                                                                                   App. 182
    Case 3:09-cv-00298-N Document 2174-1 Filed 07/16/15                  Page 183 of 262 PageID 61126
                                                                                          Page 71




                                   Hours                              Description
                                           drafted Receiver's Second Amended Notice of Deposition of P.
                                           Maldonado (.1)
02/23/15     R W Fusco               2.30 Continued to review evidence for expert and for upcoming deposition
                                          of Patricia Maldonado (1.3); worked on outline for deposition of
                                          Patricia Maldonado (1.0).
02/23/15     J M Himmel               .20 Edited clawback letter per guidance from R. Fusco and sent to R.
                                          Fusco.
02/23/15     K B Koscheski            .50 Added documents that had been produced to Spindler to index.
02/23/15     K M Sadler               .30 Reviewed issues regarding Maldonado claim (.3)
02/24/15     L E Dodge                .60 Prepared STAN INVSTR GENL production to P. Maldonado (.2);
                                          reviewed additional documents prepared for production to P.
                                          Maldonado (.2); reviewed and revised letter to J. Colvin transmitting
                                          production (.2).
02/24/15     R W Fusco                .40 Prepared and made production of documents (0.3); located and sent
                                          additional documents to expert (0.1).
02/24/15     K B Koscheski           1.00 Composed transmittal letter and shipped STAN INVSTR GENL
                                          production discs to Colvin (.70); emailed R. Fusco regarding same
                                          (.30).
02/24/15     S D Powers               .10 Reviewed and commented on draft scheduling order stipulation.
02/25/15     L E Dodge               1.20 Reviewed corrupted production from Rincon case to be reproduced to
                                          P. Maldonado (.9); prepared replacement production (.3).
02/25/15     M R Dwertman             .20 Reviewed S. Powers revision to Joint Stipulation and sent updated
                                          version to R. Fusco (.1); updated Receiver's Second Amended
                                          Deposition Notice and sent to R. Fusco (.1).
02/26/15     L E Dodge                .20 Coordinated with court reporter and videographer to reschedule
                                          deposition to March 23rd (.2).
02/26/15     R W Fusco               5.40 Call with expert James Spindler to discuss report (0.5); prepared for
                                          and met with S. Powers to discuss case progress               (2.0);
                                          discussed expert report with K. Van Tassel (0.3); continued review
                                          and preparation of materials for upcoming deposition and expert
                                          reports (2.6).
02/26/15     S D Powers              1.00 Reviewed and commented on draft discovery requests to Maldonado
                                          (.5); met with R. Fusco regarding            (1.0).
02/27/15     R W Fusco               2.30 Worked with both experts (corporate governance and forensic
                                          accountant) on respective expert reports.
02/27/15     S D Powers               .10 Exchanged emails with R. Fusco regarding draft discovery requests.
             Matter Total         235.10


           079716.0165       SGC Defendants (Bogar, Pi, Young)




                                                                                      App. 183
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                               Hours                              Description
02/03/15   A A Carr              1.20 Emailed opposing counsel regarding Rule 26(f) report and reviewed
                                      same and conferred with Scott Powers regarding same.
02/03/15   S D Powers             .40 Reviewed draft 26f report and conferred with A. Carr regarding same
                                      (.4).
02/04/15   D T Arlington         1.50 Reviewed draft Rule 26(f) report and communicated with team
                                      regarding multiple related issues and revisions to same.
02/04/15   A A Carr              1.30 Edited Rule 26(f) report and conferences with D. Arlington and M.
                                      Dwertman regarding same (1.1); finalized and filed report (.2)
02/04/15   M R Dwertman          3.60 Revised Rule 26(f) Motion (3.1); communicated with A. Carr., D.
                                      Arlington and defense counsel concerning revisions (.5).
02/18/15   A A Carr               .20 Meeting with S. Powers regarding emails from Pi attorneys and
                                                 responding to same (.2)
02/18/15   S D Powers             .60 Reviewed discovery correspondence from Pi's counsel, conferred
                                      with A. Carr regarding same, and exchanged emails with Pi's counsel
                                      regarding same.
           Matter Total         8.80




                                                                                App. 184
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                               Lawyer Summary

        TIMEKEEPER             HOURS        RATE              TOTAL

        Alaniz, O J                 .70     500.00              350.00
        Arlington, D T           195.90     500.00           97,950.00
        Cagniart, S F            263.00     420.00          110,460.00
        Carr, A A                194.80     360.00           70,128.00
        Cuenin, A                152.50     360.00           54,900.00
        Dagogo-Jack, A              .50     360.00              180.00
        Day, B A                 167.30     500.00           83,650.00
        Dwertman, M R            119.10     280.00           33,348.00
        Faridifar, S             236.30     420.00           99,246.00
        Fusco, R W               150.20     420.00           63,084.00
        Himmel, J M              168.00     280.00           47,040.00
        Kruger, D G                3.30     420.00            1,386.00
        Mink, N R                   .30     420.00              126.00
        Norfleet, C J            122.10     420.00           51,282.00
        Powers, S D              204.60     560.00          114,576.00
        Sadler, K M              177.80     720.00          128,016.00
        Schlanger, K E             1.70     560.00              952.00
        Wood, M C                  3.10     420.00            1,302.00
        Young, E A                 1.10     560.00              616.00
                              ________                  _____________
        Lawyer Totals:          2162.30                    $958,592.00


                             Non-Lawyer Summary
        TIMEKEEPER             HOURS        RATE              TOTAL

        Barnard, T M              11.60     220.00            2,552.00
        Corral, K                122.80     132.00           16,209.60
        Dodge, L E               252.40     220.00           55,528.00
        Hix, A L                   4.60     132.00              607.20
        Jackson, D K              74.00     132.00            9,768.00
        Koscheski, K B           148.50     132.00           19,602.00
        Montalvo, C                5.80     140.00              812.00
        Payne, A L                 6.10     132.00              805.20
        Pravata, R                 1.80     140.00              252.00
        Reeder, E D               86.80     220.00           19,096.00
        Schwartz, M P              6.70     212.00            1,420.40
        Starbuck, N M               .90     132.00              118.80
        Strebeck, P K              6.40     140.00              896.00
        Whittlesey, J M            2.50     140.00              350.00
                              ________                  _____________
        Non-Lawyer Totals:       730.90                    $128,017.20




                                                               App. 185
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For expenses incurred:


 079716.0107 Document Production Matters

 Delivery service                                                                      37.50

                                                                                  _________
 Matter Total                                                                        $37.50



 079716.0112 Private Equity Matters

 Computer research services                                                            24.03

 Electronic Court Records                                                               5.20

                                                                                  _________
 Matter Total                                                                        $29.23



 079716.0116 Litigation Administration

 Photocopying service                                                                  59.70

 Electronic Court Records                                                            946.30

                                                                                  _________
 Matter Total                                                                      $1,006.00



 079716.0117 Litigation - SEC vs. SIB, et al

 ADVANCED DISCOVERY, INC. Creation of 24 jury charts, to be used                       77.94
 in future cases

 AMERICAN EXPRESS - POWERS, SCOTT DANIEL -Travel to Dallas to meet                   523.11
 with trial teams in Barnes, Maldonado, and Alvarado
 2/26/2015
 Airfare, $412.20
 Parking, $23.00
 Rental Car, $87.91

 Computer research services                                                            79.16




                                                                           App. 186
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Photocopying service                                                                  247.95

Postage                                                                                 30.99

Electronic Court Records                                                                50.40

                                                                                   _________
Matter Total                                                                        $1,009.55



079716.0126 Broker Litigation

Clerk, 11th Circuit Court of Appeals                                                    30.00

Computer research services                                                           3,588.54

Photocopying service                                                                    78.00

Electronic Court Records                                                              431.30

                                                                                   _________
Matter Total                                                                        $4,127.84



079716.0127 Investor Litigation

SPECIAL DELIVERY SERVICE, INC. Delivery service                                         89.38

LEXISNEXIS RISK SOLUTIONS GA INC. Accurint searches at request of                       17.80
Brendan Day.

Computer research services                                                            360.45

Photocopying service                                                                  467.40

Postage                                                                               769.83

Electronic Court Records                                                              184.00

Telephone calls                                                                          3.90

                                                                                   _________
Matter Total                                                                        $1,892.76



079716.0129 Claims Management




                                                                            App. 187
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Photocopying service                                                                2.10

Telephone calls                                                                     4.21

                                                                              _________
Matter Total                                                                       $6.31



079716.0134 Wealth Management Services, Ltd./David Nanes

Postage                                                                            20.07

                                                                              _________
Matter Total                                                                     $20.07



079716.0136 Janvey, Ralph S., Receiver vs. Dillon Gage, Inc.

Photocopying service                                                                2.85

Postage                                                                             6.90

Electronic Court Records                                                           29.80

Telephone calls                                                                     1.57

                                                                              _________
Matter Total                                                                     $41.12



079716.0139 Investor Committee Matters

Telephone calls                                                                     2.49

                                                                              _________
Matter Total                                                                       $2.49



079716.0147 Janvey, Ralph S., Receiver vs. Mauricio Alvarado

Computer research services                                                       547.56

                                                                              _________
Matter Total                                                                    $547.56




                                                                       App. 188
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                                                                                  Page 77




079716.0149 Ralph S. Janvey, Receiver vs. Libyan Investment

Photocopying service                                                                  4.80

Electronic Court Records                                                              0.80

                                                                                _________
Matter Total                                                                         $5.60



079716.0155 CD Claims Objections

Telephone calls                                                                      10.43

                                                                                _________
Matter Total                                                                       $10.43



079716.0156 Breach of Fiduciary Duty Claims

Photocopying service                                                                  0.15

Postage                                                                              14.72

Electronic Court Records                                                              4.00

                                                                                _________
Matter Total                                                                       $18.87



079716.0157 University of Miami

CARR, ASHLEY ALLEN -Travel to Miami for depositions of Brown,                     2,483.53
Blair & McManus
2/2/2015 - 2/5/2015
Parking, $47.00
Taxi to Airport, $19.28
Airfare, $913.20
Hotel, $1,079.47
Car Rental, $424.58

PALM BEACH COPY SERVICE, INC. Copies in Florida for deposition                       41.98




                                                                         App. 189
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SPECIAL DELIVERY SERVICE, INC. Subpoena served on Irwin J.                           296.25
Blavatnik

AMERICAN EXPRESS - ARLINGTON, DAVID T. -Travel to Dallas to meet                     681.67
with Ralph Janvey
2/16/2015 - 2/17/2015
Airfare, $426.20
Parking, $48.00
Hotel, $207.47

Business meals                                                                        55.21
Trial Team Lunch, $55.21

CARR, ASHLEY ALLEN -Travel to Dallas for Janvey meeting                            1,049.07
2/16/2015 - 2/17/2015
Airfare, $710.45
Checked Bag, $25.00
Hotel, $222.57
Parking, $36.00
Taxi, $55.05

ARLINGTON, DAVID T. -Travel to Dallas to meet with Ralph Janvey                       72.00
2/16/2015 - 2/17/2015
Tips, $20.00
Taxi to/from Airport, $52.00

CARR, ASHLEY ALLEN -Travel to Dallas for Karyl Van Tassel                          1,381.14
deposition
2/23/2015 - 2/25/2015
Airfare, $683.70
Wifi, $23.70
Hotel, $621.74
Taxi, $52.00

HUSEBY, INC. Deposition of Otis Brown, Jr.                                         1,860.10

HUSEBY, INC. Vido of Otis Brown deposition                                         1,225.00

ARLINGTON, DAVID T. -Travel to Dallas for depo prep and depos of                      47.00
Janvey and VanTassel
2/23/2015 - 2/26/2015
Tips, $25.00
Parking, $22.00

Business meals                                                                        51.96
D. Arlington, A. Carr, R. Janvey, K. Tassel, $51.96

AMERICAN EXPRESS CO. - Business meals                                                 36.31
D. Arlington, $36.31




                                                                           App. 190
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AMERICAN EXPRESS CO. - CHUYS                                                     42.13
D. Arlington & K. Tassel, $42.13

Business meals                                                                   50.68
D. Arlington, A. Carr, R. Janvey, K. Tassel, $50.68

HUSEBY, INC. Video of Jay Blaire deposition                                     925.00

HUSEBY, INC. Video of John McManus deposition                                   705.00

HUSEBY, INC. Transcript of Jay Blaire deposition                              1,562.25

HUSEBY, INC. Transcript of John McManus deposition                            1,429.20

Business meals                                                                   69.28
D. Arlington, S. Powers, A. Carr, R. Janvey, $69.28

AMERICAN EXPRESS - ARLINGTON, DAVID T. -Travel to Dallas for depo             1,608.11
prep and depos of Janvey and VanTassel
 2/23/2015 - 2/26/2015
Airfare, $442.20
Parking, $112.00
Rental Car, $226.48
Hotel, $827.43

OFFICEMAX OFFICEMAX Office Max - binders KFP                                     17.34

Computer research services                                                       26.73

Delivery service                                                                213.50

Photocopying service                                                          1,179.30

Postage                                                                          23.23

Electronic Court Records                                                         24.80

Stationery and supplies                                                          61.10

Business meals while traveling                                                  483.09
A. Carr, $25.72
A. Carr, $49.42
A. Carr, $5.62
A. Carr, $49.42
A. Carr, $8.42
A. Carr, $25.29
A. Carr, $28.46
A. Carr, $20.66
A. Carr, $40.03




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A. Carr & D. Arlington, $8.77
A. Carr & D. Arlington, $45.00
A. Carr, $18.67
D. Arlington & A. Carr, $50.49
D. Arlington, $7.00
D. Arlington, $10.36
D. Arlington, $14.19
D. Arlington, $7.45
D. Arlington, $12.46
D. Arlington, $8.64
D. Arlington, $11.12
D. Arlington, $7.04
D. Arlington, $24.30
D. Arlington, $11.56
                                                                                  _________
Matter Total                                                                      $17,701.96



079716.0160 Romero, Peter

Business meals                                                                       110.77
K. Sadler, S. Powers, L. Dodge, S. Faridifar, R. Janvey, $110.77

AMERICAN EXPRESS - POWERS, SCOTT DANIEL -Travel to Dallas for                       2,355.46
trial
 2/2/2015 - 2/13/2015
 Parking, $22.00
 Hotel, $1,921.26
 Airfare, $412.20

Business meals                                                                         96.08
K. Sadler, S. Powers, L. Dodge, S. Faridifar, R. Janvey, $96.08

Business meals                                                                         86.60
K. Sadler, S. Powers, L. Dodge, S. Faridifar, R. Janvey, $86.60

ADVANCED DISCOVERY, INC. Scanning Color Master DVD                                     85.25

Business meals                                                                         75.78
K. Sadler, S. Powers, S. Faridifar, L. Dodge, R. Janvey, $75.78

DODGE, LYNNE E. -Travel to Dallas for Janvey v. Romero trial                        1,470.34
(2/5/13 - 2/13/15
Taxis, $74.00
Parking, $22.80
Airfare, $127.10
Hotel, $1,201.44
Hotel Shuttle Driver Tips, $45.00




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LINDA J. LANGFORD Transcript of pretrial conference on 2/6/15                       340.75
before Judge Godbey

Business meals                                                                       75.78
K. Sadler, S. Powers, S. Faridifar, L. Dodge, R. Janvey, $75.78

PAMELA J. WILSON Daily Copy of Transcript of Trial                                4,000.00

LINDA LANGFORD Daily Copy of Transcript of Trial                                  4,000.00

LINDA J. LANGFORD Court reporting services for trial                              1,255.90

CORRAL, KARINA -Trial expenses                                                      100.40
Parking and Mileage to/from Court during week of trial

Business meals                                                                       90.54
K. Sadler, S. Powers, S. Faridifar, L. Dodge,
R. Janvey, K. Tassel, $90.54

FARIDIFAR, SHERWIN -Prepare for and Attend Trial, Dallas, Texas                   1,357.32
2/5/2015 - 2/13/2015
Hotel, $1,345.32
Parking, $12.00

NORFLEET, CHRISTOPHER JOSEPH -Two parking receipts for trial                         24.00
02/12/15

FARIDIFAR, SHERWIN -Roundtrip mileage for travel to Dallas for                      248.52
Romero trial
2/5/2015 - 2/13/2015
Mileage to/from Dallas, $248.52

TRANSPERFECT TRANSLATIONS Translation fees                                          150.00

SPECIAL DELIVERY SERVICE, INC. Delivery service                                     151.98

POWERS, SCOTT DANIEL -Travel to Dallas for trial                                     50.00
2/2/2015 - 2/12/2015
Taxi to/from Airport, $50.00

MERRILL COMMUNICATIONS LLC Litigation Support - 2 sets Romero                       332.65
discovery responses on 1/6

Business meals                                                                       18.90

MERRILL COMMUNICATIONS LLC Litigation Support - BBG documents                       113.45

MERRILL COMMUNICATIONS LLC Litigation Support - printing through                  9,123.45
2/5/15 MMS




                                                                          App. 193
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Copies of materials for pretrial conference and impeachment at trial,
including courtesy copies for the Court and opposing counsel; documents included
expert declarations, contested exhibits, deposition transcripts with designations highlighted,
pleadings such as the motions in limine, and relevant pre-trial filings

MERRILL COMMUNICATIONS LLC Litigation Support - printing from                                     374.44
2/5/15 through 2/12/15 MMS
Six copies of plaintiff’s exhibits 33 and 193

Business meals                                                                                     38.97

Pamela J. Wilson                                                                                 1,247.45
Trial Transcripts

INDEPENDENCE LEGAL SUPPORT, LLP Litigation Support - legal                                        136.00
research for Romero trial

SPECIAL DELIVERY SERVICE, INC. Litigation Support - process                                        70.00
service on Laughing Squid LLC

DODGE, LYNNE E. -Hotel meeting room rental for Romero trial                                       785.38

Computer research services                                                                       3,674.91

Delivery service                                                                                  202.12

Photocopying service                                                                             1,436.25

Litigation Support Services                                                                       911.79

Business meals                                                                                     30.19
K. Sadler, $18.19
K. Corral, $12.00

Postage                                                                                              2.09

Local Courier Services-KS                                                                         283.00

Electronic Court Records                                                                          182.80

Parking expense                                                                                   366.00

Business meals while traveling                                                                   1,883.07
S. Powers, $69.55
L. Dodge, $15.96
L. Dodge and 3 others, $68.62
L. Dodge, $6.99
L. Dodge & S. Faridifar, $6.02
L. Dodge and 4 others, $125.00




                                                                                          App. 194
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L. Dodge and 2 others $122.09
L. Dodge, $95.80
L. Dodge, $11.21
L. Dodge & S. Faridifar, $26.14
L. Dodge, $14.34
L. Dodge and 7 others, $106.32
L. Dodge & S. Faridifar, $42.47
L. Dodge and 7 others, $81.51
L. Dodge and 6 others, $91.00
L. Dodge and 7 others, $108.16
S. Faridifar, $17.69
S. Faridifar, $29.34
S. Faridifar, $14.69
S. Faridifar and 3 others, $93.94
K. Sadler, $38.48
K. Sadler, $11.83
K. Sadler, $6.10
K. Sadler, $16.00
K. Sadler, $15.84
K. Sadler, $23.27
K. Sadler, $15.99
K. Sadler, $15.49
K. Sadler, $25.65
K.. Sadler, S. Powers, R. Janvey, $294.11
K. Sadler, $23.89
K. Sadler, $20.00
K. Sadler, $38.00
K. Sadler, $12.83
K. Sadler, $6.00
K. Sadler, $15.49
K. Sadler, $13.33
K. Sadler & S. Powers, $79.28
K. Sadler, $13.34
K. Sadler, $12.83
K. Sadler, $12.83
K. Sadler, $25.65
                                                                       _________
Matter Total                                                           $37,338.38



079716.0163 Maldonado, Patricia

Computer research services                                                  80.19

Delivery service                                                          167.61

Photocopying service                                                         9.90




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Postage                                                                          6.48

Electronic Court Records                                                         0.30

Telephone calls                                                              19.57

                                                                        _________
Matter Total                                                              $284.05



      Fees:                                                       1,086,609.20

      Expenses:                                                     64,079.72

      Total Amount Due:                                          $1,150,688.92




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                                                Attorneys At Law
                                             P. O. BOX 301251
                                         DALLAS, TEXAS 75303-1251
                                           TAXPAYER I.D. #XX-XXXXXXX




        Stanford Financial Group Receivership                   Invoice No.       1441870
        ATTN: Mr. Ralph S. Janvey, Receiver                     Invoice Date      May 4, 2015
        2100 Ross Avenue
        Suite 2600                                              Attorney           K M Sadler
        Dallas TX 75201




                                           CLIENT SUMMARY


                                                                       FEES          EXPENSES         TOTAL

079716.0102                                                            336.00               0.00      336.00
Cross Border Receivership Matters

079716.0107                                                            150.00             37.50       187.50
Document Production Matters

079716.0109                                                        2,172.00                 0.00     2,172.00
Insurance Matters

079716.0112                                                        2,310.00               29.23      2,339.23
Private Equity Matters

079716.0114                                                        3,902.80                 0.00     3,902.80
Real Estate Matters

079716.0116                                                        4,804.80             1,006.00     5,810.80
Litigation Administration

079716.0117                                                      41,082.00              1,009.55    42,091.55
Litigation - SEC vs. SIB, et al

079716.0123                                                        1,000.00                 0.00     1,000.00
Canada Litigation Matters




                                                                                         App. 197
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079716.0126                                        164,328.00          4,127.84    168,455.84
Broker Litigation

079716.0127                                         59,840.00          1,892.76     61,732.76
Investor Litigation

079716.0129                                         31,402.00              6.31     31,408.31
Claims Management

079716.0133                                          4,202.00              0.00      4,202.00
Barnes, Ben

079716.0134                                          5,254.40            20.07       5,274.47
Wealth Management Services, Ltd./David Nanes

079716.0136                                         17,344.00            41.12      17,385.12
Janvey, Ralph S., Receiver vs. Dillon Gage, Inc.

079716.0138                                          1,642.00              0.00      1,642.00
Emageon, Inc. vs. Merge Healthcare

079716.0139                                         24,262.00              2.49     24,264.49
Investor Committee Matters

079716.0147                                         48,728.40           547.56      49,275.96
Janvey, Ralph S., Receiver vs. Mauricio Alvarado

079716.0149                                          2,344.00              5.60      2,349.60
Ralph S. Janvey, Receiver vs. Libyan Investment

079716.0150                                             66.00              0.00         66.00
Rincon, Juan Alberto A.J.

079716.0152                                           600.00               0.00       600.00
Distribution Plan Matters

079716.0153                                           126.00               0.00       126.00
Non-CD Claims Processing

079716.0155                                          4,250.00            10.43       4,260.43
CD Claims Objections

079716.0156                                         11,050.00            18.87      11,068.87
Breach of Fiduciary Duty Claims

079716.0157                                        232,235.60         17,701.96    249,937.56
University of Miami




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079716.0160                                    347,508.00          37,338.38     384,846.38
Romero, Peter

079716.0163                                     72,379.20            284.05       72,663.25
Maldonado, Patricia

079716.0165                                       3,290.00              0.00        3,290.00
SGC Defendants (Bogar, Pi, Young)

Total                                        $1,086,609.20        $64,079.72   $1,150,688.92




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                                           Attorneys At Law
                                            P. O. BOX 301251
                                        DALLAS, TEXAS 75303-1251
                                          TAXPAYER I.D. #XX-XXXXXXX




Stanford Financial Group Receivership                          Invoice No.       1441870
ATTN: Mr. Ralph S. Janvey, Receiver                            Invoice Date      May 4, 2015
2100 Ross Avenue
Suite 2600                                                     Attorney           K M Sadler
Dallas TX 75201




                                        REMITTANCE ADVICE


                                                                      FEES         EXPENSES          TOTAL


079716.0102                                                           336.00               0.00      336.00
Cross Border Receivership Matters

079716.0107                                                           150.00             37.50       187.50
Document Production Matters

079716.0109                                                       2,172.00                 0.00     2,172.00
Insurance Matters

079716.0112                                                       2,310.00               29.23      2,339.23
Private Equity Matters

079716.0114                                                       3,902.80                 0.00     3,902.80
Real Estate Matters

079716.0116                                                       4,804.80             1,006.00     5,810.80
Litigation Administration

079716.0117                                                     41,082.00              1,009.55    42,091.55
Litigation - SEC vs. SIB, et al

079716.0123                                                       1,000.00                 0.00     1,000.00
Canada Litigation Matters
                       TO ENSURE PROPER APPLICATION OF YOUR PAYMENT,
                           PLEASE RETURN THIS REMITTANCE ADVICE.

                                                                                        App. 200
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079716.0126                                        164,328.00          4,127.84    168,455.84
Broker Litigation

079716.0127                                         59,840.00          1,892.76     61,732.76
Investor Litigation

079716.0129                                         31,402.00              6.31     31,408.31
Claims Management

079716.0133                                          4,202.00              0.00      4,202.00
Barnes, Ben

079716.0134                                          5,254.40            20.07       5,274.47
Wealth Management Services, Ltd./David Nanes

079716.0136                                         17,344.00            41.12      17,385.12
Janvey, Ralph S., Receiver vs. Dillon Gage, Inc.

079716.0138                                          1,642.00              0.00      1,642.00
Emageon, Inc. vs. Merge Healthcare

079716.0139                                         24,262.00              2.49     24,264.49
Investor Committee Matters

079716.0147                                         48,728.40           547.56      49,275.96
Janvey, Ralph S., Receiver vs. Mauricio Alvarado

079716.0149                                          2,344.00              5.60      2,349.60
Ralph S. Janvey, Receiver vs. Libyan Investment

079716.0150                                             66.00              0.00         66.00
Rincon, Juan Alberto A.J.

079716.0152                                           600.00               0.00       600.00
Distribution Plan Matters

079716.0153                                           126.00               0.00       126.00
Non-CD Claims Processing

079716.0155                                          4,250.00            10.43       4,260.43
CD Claims Objections

079716.0156                                         11,050.00            18.87      11,068.87
Breach of Fiduciary Duty Claims

079716.0157                                        232,235.60         17,701.96    249,937.56
University of Miami
                      TO ENSURE PROPER APPLICATION OF YOUR PAYMENT,
                          PLEASE RETURN THIS REMITTANCE ADVICE.

                                                                        App. 201
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                                                                                Page 90




079716.0160                                      347,508.00          37,338.38     384,846.38
Romero, Peter

079716.0163                                       72,379.20            284.05       72,663.25
Maldonado, Patricia

079716.0165                                         3,290.00              0.00        3,290.00
SGC Defendants (Bogar, Pi, Young)

Total                                          $1,086,609.20        $64,079.72   $1,150,688.92




                      TO ENSURE PROPER APPLICATION OF YOUR PAYMENT,
                          PLEASE RETURN THIS REMITTANCE ADVICE.

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                                            Attorneys At Law
                                             P. O. BOX 301251
                                         DALLAS, TEXAS 75303-1251
                                           TAXPAYER I.D. #XX-XXXXXXX




 Stanford Financial Group Receivership                                  Invoice No.      1441895
 ATTN: Mr. Ralph S. Janvey, Receiver                                    Invoice Date     May 4, 2015
 2100 Ross Avenue
 Suite 2600                                                             Attorney         K M Sadler
 Dallas TX 75201




           079716.0102          Cross Border Receivership Matters
                                         Hours                             Description
03/19/15      S D Powers                   .20 Drafted, reviewed emails regarding signed power of attorney for use
                                               in
              Matter Total                0.20


           079716.0108          Disclosure and Communications
                                         Hours                             Description
03/18/15      J E Thomas                   .50 Update to Receivership website
              Matter Total                0.50


           079716.0109          Insurance Matters
                                         Hours                             Description
03/12/15      K M Sadler                   .40 Emails to/from Receiver and counsel regarding Lloyds mediation (.4)
03/19/15      K M Sadler                   .40 Emails to Receiver and M. Kuckleman regarding mediation (.4)
03/26/15      K M Sadler                   .40 Reviewed issues regarding Lloyds request for documents/information
                                               (.4)
03/28/15      K M Sadler                   .70 Emails to/from Examiner regarding mediation (.3); emails to from
                                               Receiver and counsel regarding mediation (.4)
03/31/15      K M Sadler                   .70 Conference with counsel regarding Lloyds depositions
                                               (.7)




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             Matter Total            2.60


           079716.0112       Private Equity Matters
                                    Hours                               Description
03/16/15     A A Carr                 1.20 Drafted summary of status of warrants issues and circulated same to
                                           K. Sadler, D. Arlington, and S. Powers (.5); coordinated service of
                                           new subpoena on Tal Kimmel with E. Reeder (.7)
03/17/15     A A Carr                  .30 Coordination and emails with E. Reeder regarding service on Tal
                                           Kimmel (.3)
             Matter Total            1.50


           079716.0113       Receivership Corporate Matters
                                    Hours                               Description
03/02/15     S D Powers                .30 Conferred with J. Day regarding tracking future obligations related to
                                           distribution, other items.
             Matter Total            0.30


           079716.0114       Real Estate Matters
                                    Hours                               Description
03/03/15     D T Arlington             .50 Researched issues relating to Trustmark foreclosure and
                                           communicated with team regarding same.
03/03/15     D G Kruger               1.80 Reviewed the Trustmark foreclosure documentation to determine
                                           property identification and Receivership consent (1.5); conferenced
                                           with Kim Schlanger regarding the same (.3).
03/03/15     K M Sadler                .70 Emails to/from Schlanger regarding                            (.7)
03/03/15     K E Schlanger             .80 Correspondence with Kevin Sadler regarding funds owed to
                                           Receivership from Memphis law firm (.3); Correspondence regarding
                                                                             (.5).
03/04/15     D G Kruger                .20 Telephone conversation and correspondence with Sandy Reel
                                           regarding status of the                                   (.2).
03/04/15     K E Schlanger             .20 Correspondence with Dan Kruger and Sandy Hale regarding


03/16/15     D G Kruger               3.50 Reviewed revised
                                                                  (1.2); drafted a written summary of the same
                                            (2.3).
03/16/15     K M Sadler                .40 Review of issues regarding investigation of
                                           (.4)
03/16/15     K E Schlanger            1.00 Correspondence with Kevin Sadler regarding
                                           (.2); Correspondence with Sandy Hale regarding




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                               Hours                                Description
                                                (.2); Email correspondence with Dan Kruger regarding
                                                                       (.6).
03/17/15   D G Kruger             .50 Reviewed Order approving sale of real property (.3); telephone call
                                      with Russ Fusco regarding the same and obtaining the Motion (.2).
03/17/15   K M Sadler             .40 Emails to/from Schlanger regarding                      investigation
                                      (.4)
03/17/15   K E Schlanger          .80 Correspondence with Dan Kruger and Kevin Sadler regarding


03/18/15   D T Arlington          .40 Communicated with team regarding                        and related
                                      issues.
03/18/15   D G Kruger            6.50 Reviewed Motion relating to sale of real property (.2); preparation for
                                      and conferenced with Kim Schlanger, David Arlington and Kevin
                                      Sadler regarding the                                       (.7);
                                      reviewed                           documents provided by Stewart
                                      Title (5.1); conferenced with Kim Schlanger regarding the same (.5).
03/18/15   K M Sadler            1.00 Emails to/from prospective buyer of                and Trustmark
                                      agent (.5); conference with Schlanger and Kruger regarding
                                      investigation and analysis of
                                      (.5)
03/18/15   K E Schlanger          .90 Preparation for and call with Kevin Sadler, David Arlington and Dan
                                      Kruger regarding                 (.6); Email correspondence with
                                      Dan Kruger and Stewart Title regarding                 (.3).
03/19/15   D G Kruger            4.10 Correspondence with the Stewart Title Mississippi contact regarding
                                      landroll tax forms (.8); summary correspondence with David
                                      Arlington and Kevin Sadler regarding
                                                            (.9); telephone conversation with Lynn Smith of
                                      Homeland Title in Jackson, Mississippi (.5); reviewed
                                                       forwarded from Jaime Hayes (1.9).
03/19/15   S D Powers             .40 Conferred with K. Sadler regarding
                                                            and reviewed emails regarding same.
03/19/15   K M Sadler            2.50 Additional review of information and issues regarding
                                              , and emails to/from various parties regarding same (1.8);
                                      reviewed materials received from potential purchaser (.7)
03/19/15   K E Schlanger          .70 Email correspondence with Dan Kruger and Kevin Sadler regarding
                                                          (.7).
03/20/15   D G Kruger            1.70 Conferenced with Kim Schlanger regarding the
                                                  6); drafted summary email to the Receivership legal team
                                      regarding tax redemption procedure in Mississippi (.6); reviewed
                                      conveyances to match legal descriptions with tax records (.5).
03/20/15   S D Powers             .10 Reviewed emails regarding                   issue.
03/20/15   K M Sadler             .40 Reviewed additional information received regarding
                                      (.4)




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                                    Hours                                Description
03/20/15     K E Schlanger             .60 Correspondence with Dan Kruger regarding
                                           (.6).
03/23/15     D G Kruger                .40 Corresponded with Lyn Smith at Home-Land Title regarding
                                                                            (.4).
03/23/15     K E Schlanger             .40 Correspondence with Dan Kruger regarding
                                           (.4).
03/24/15     D G Kruger               2.80 Telephone conversation with Lyn Smith of Home-Land Title (.7);
                                           telephone conversation with the Union County, Mississippi Tax
                                           Assessor (.5); reviewed deed references provided by the Tax Assessor
                                           and compared those to Land-Mark Title's exception documents (1.6).
03/24/15     K M Sadler                .30 Correspondence with potential buyer of                   (.3)
03/24/15     K E Schlanger             .30 Correspondence with Dan Kruger regarding
                                           (.3).
03/27/15     D G Kruger                .80 Conferenced with Kim Schlanger regarding the Mapper's notes on the
                                                         (.3); conferenced with Kim Schlanger and Scott
                                           Powers regarding next steps (.5).
03/27/15     S D Powers               1.20 Reviewed and analyzed issues related to
                                                     and conferred with D. Kruger and K. Schlanger regarding
                                           same.
03/27/15     K E Schlanger            1.00 Call with Scott Powers and Dan Kruger regarding
                                           (.6); Correspondence with Scott Powers and Dan Kruger regarding
                                                           (.4).
03/29/15     D G Kruger               1.10 Researched
                                           (1.1).
03/30/15     D G Kruger               1.50 Continued legal research on


03/30/15     K E Schlanger             .30 Correspondence with Dan Kruger regarding                        (.3).
03/31/15     D G Kruger               4.90 Drafted overview of authority regarding
                                                                                                 (4.4);
                                            conferenced and corresponded with Kim Schlanger regarding the
                                            same (.5).
03/31/15     K E Schlanger             .50 Correspondence with Dan Kruger regarding
                                           research (.5).
             Matter Total           45.60


           079716.0116       Litigation Administration
                                    Hours                                Description
03/02/15     K Corral                 1.80 Reviewed and tracked all court papers filed in post-receiver federal
                                           litigation after resolving a system issue (.40); updated file drive with
                                           one new filing in the '724 (Relief Def) matter in the Northern District




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                               Hours                                 Description
                                       of Texas, in preparation for attorney review (.10); updated file drive
                                       with one new filing in the '2199-N (Turk) matter in the Northern
                                       District of Texas, in preparation for attorney review (.10); updated
                                       file drive with one new filing in the '1002 (Janvey v Fernandez)
                                       matter in the Northern District of Texas, in preparation for attorney
                                       review (.10); updated file drive with one new filing in the '3560
                                       (Janvey v. Amadio) matter in the Northern District of Texas, in
                                       preparation for attorney review (.10); updated file drive with one new
                                       filing in the '3731 (Reynaud) matter in the Northern District of Texas,
                                       in preparation for attorney review (.10); updated file drive with one
                                       new filing in the '00401-N-BG (Janvey v. GMAG) matter in the
                                       Northern District of Texas, in preparation for attorney review (.10);
                                       updated file drive with one new filing in the '20411 (USA v.
                                       Stanford) matter in the US 5th Circuit Court, in preparation for
                                       attorney review (.10); updated file drive with one new filing in the
                                       '10857 (Janvey v. Alguire) matter in the US 5th Circuit Court, in
                                       preparation for attorney review (.20); updated file drive with one new
                                       filing in the '10945 (Janvey v. Tonarelli) matter in the US 5th Circuit
                                       Court, in preparation for attorney review (.20); updated file drive with
                                       one new filing in the '11014 (Janvey v. Rincon) matter in the US 5th
                                       Circuit Court, in preparation for attorney review (.20); updated file
                                       drive with one new filing in the '27851 (Vargas) matter in the
                                       Southern District of Florida Bankruptcy, in preparation for attorney
                                       review (.10).
03/03/15   K Corral              1.30 Updated file drive with one new filing in the '724 (Relief Def) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '2384 (Rotstain)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with fourteen new filings in the '527
                                      (Janvey v. Barnes) matter in the Northern District of Texas, in
                                      preparation for attorney review (1.0); updated file drive with one new
                                      filing in the '27851 (Vargas) matter in the Southern District of Florida
                                      Bankruptcy, in preparation for attorney review (.10).
03/04/15   K Corral              2.60 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.50); updated file drive with
                                      three new filings in the '724 (Relief Def) matter in the Northern
                                      District of Texas, in preparation for attorney review (.20); updated
                                      file drive with one new filing in the '2151 (Reeves) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '527 (Janvey v. Barnes)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '528
                                      (Janvey v. Buck's Bits) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '297 (Janvey v. Romero) matter in the Northern District
                                      of Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '1177 (Libyan Investment) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with two new filings in the '4641 (Janvey v.
                                      Greenberg Traurig) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with two new




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                               Hours                                 Description
                                       filings in the '20411 (USA v. Stanford) matter in the US 5th Circuit
                                       Court, in preparation for attorney review (.20); updated file drive with
                                       two new filings in the '10857 (Janvey v. Alguire) matter in the US 5th
                                       Circuit Court, in preparation for attorney review (.20); updated file
                                       drive with one new filing in the '10945 (Janvey v. Tonarelli) matter in
                                       the US 5th Circuit Court, in preparation for attorney review (.10);
                                       updated file drive with one new filing in the '11014 (Janvey v.
                                       Rincon) matter in the US 5th Circuit Court, in preparation for
                                       attorney review (.10); updated file drive with one new filing in the
                                       '11093 (Janvey v. Giusti) matter in the US 5th Circuit Court, in
                                       preparation for attorney review (.10); updated file drive with one new
                                       filing in the '11118 (Rishmague v. Winter) matter in the US 5th
                                       Circuit Court, in preparation for attorney review (.10); updated file
                                       drive with one new filing in the '11119 (Rupert v. Winter) matter in
                                       the US 5th Circuit Court, in preparation for attorney review (.10);
                                       updated file drive with three new filings in the '10066 (SEC v. SIB)
                                       matter in the US 5th Circuit Court, in preparation for attorney review
                                       (.30).
03/06/15   K Corral              1.90 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.40); updated file drive with
                                      one new filing in the '298 (MAIN) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '724 (Relief Def) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with two new filings in the '1274-N (Troice) matter in the
                                      Northern District of Texas, in preparation for attorney review (.20);
                                      updated file drive with two new filings in the '1600 (Troice v.
                                      Proskauer) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20); updated file drive with one new filing in the
                                      '2099 (MDL) matter in the Northern District of Texas, in preparation
                                      for attorney review (.10); updated file drive with one new filing in the
                                      '299 (Janvey v. Castaneda) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with two
                                      new filings in the '3980 (OSIC v. Willis) matter in the Northern
                                      District of Texas, in preparation for attorney review (.20); updated
                                      file drive with one new filing in the '3560 (Janvey v. Amadio) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '20411 (USA v.
                                      Stanford) matter in the US 5th Circuit Court, in preparation for
                                      attorney review (.10); corresponding with Janet Himmel about billing
                                      of electonic court records (.30).
03/09/15   K Corral              3.00 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.50); updated file drive with
                                      two new filings in the '1274-N (Troice) matter in the Northern
                                      District of Texas, in preparation for attorney review (.20); updated
                                      file drive with one new filing in the '1600 (Troice v. Proskauer)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with two new filings in the '527
                                      (Janvey v. Barnes) matter in the Northern District of Texas, in
                                      preparation for attorney review (.20); updated file drive with one new
                                      filing in the '01465 (Merge Healthcare) matter in the Northern




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                               Hours                                 Description
                                       District of Texas, in preparation for attorney review (.10); updated
                                       file drive with one new filing in the '2826 (Janvey v. Maldonado)
                                       matter in the Northern District of Texas, in preparation for attorney
                                       review (.10); updated file drive with one new filing in the '00025
                                       (Janvey v. Reese) matter in the Middle District of Louisiana, in
                                       preparation for attorney review (.10); updated file drive with one new
                                       filing in the '10945 (Janvey v. Tonarelli) matter in the US 5th Circuit
                                       Court, in preparation for attorney review (.10); updated file drive with
                                       five new filings in the '11014 (Janvey v. Rincon) matter in the US 5th
                                       Circuit Court, in preparation for attorney review (.40); updated file
                                       drive with five new filings in the '11093 (Janvey v. Giusti) matter in
                                       the US 5th Circuit Court, in preparation for attorney review (.40);
                                       updated file drive with five new filings in the '20411 (USA v.
                                       Stanford) matter in the US 5th Circuit Court, in preparation for
                                       attorney review (.40); updated file drive with five new filings in the
                                       '10857 (Janvey v. Alguire) matter in the US 5th Circuit Court, in
                                       preparation for attorney review (.40).
03/10/15   K Corral              1.40 Updated file drive with one new filing in the '724 (Relief Def) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with four new filings in the '1600 (Troice v.
                                      Proskauer) matter in the Northern District of Texas, in preparation for
                                      attorney review (.30); updated file drive with six new filings in the
                                      '01465 (Merge Healthcare) matter in the Northern District of Texas,
                                      in preparation for attorney review (.50); updated file drive with one
                                      new filing in the '00041 (Janvey v. Univ. of Miami) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with two new filings in the '775 (Directors &
                                      Officers) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with three new filings in the
                                      '27851 (Vargas) matter in the Southern District of Florida
                                      Bankruptcy, in preparation for attorney review (.30).
03/10/15   A L Payne             1.80 Organize prior Stanford files and sort/shred in preparation for
                                      shipment to Austin.
03/11/15   K Corral              2.20 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.50); updated file drive with
                                      two new filings in the '02584 (Janvey v. Alvarado) matter in the
                                      Northern District of Texas, in preparation for attorney review (.20);
                                      updated file drive with one new filing in the '00041 (Janvey v. Univ.
                                      of Miami) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '4641 (Janvey v. Greenberg Traurig) matter in the Northern District
                                      of Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '775 (Directors & Officers) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '10857 (Alguire) matter
                                      in the US 5th Circuit Court, in preparation for attorney review (.20);
                                      updated file drive with one new filing in the '10945 (Tonarelli) matter
                                      in the US 5th Circuit Court, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '11014 (Rincon) matter
                                      in the US 5th Circuit Court, in preparation for attorney review (.10);




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                               Hours                                 Description
                                       updated file drive with one new filing in the '11093 (Giusti) matter in
                                       the US 5th Circuit Court, in preparation for attorney review (.10);
                                       updated file drive with four new filings in the '11118 (Rishmague v.
                                       Winter) matter in the US 5th Circuit Court, in preparation for attorney
                                       review (.30); updated file drive with four new filings in the '11119
                                       (Rupert v. Winter) matter in the US 5th Circuit Court, in preparation
                                       for attorney review (.20); gather complaints of all sports marketing
                                       cases per attorney Sadler's request (.20).
03/12/15   K Corral               .80 Updated file drive with one new filing in the '775 (Directors &
                                      Officers) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '00041 (Janvey v. Univ. of Miami) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '01465 (Merge Healthcare) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '724 (Relief Def) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '415 (Janvey v.
                                      Posada) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '478 (Gilbe) matter in the Northern District of Texas, in preparation
                                      for attorney review (.10); updated file drive with one new filing in the
                                      '1002 (Janvey v Fernandez) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with one
                                      new filing in the '366 (Janvey vs. Venger) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10).
03/13/15   K Corral              2.20 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.50); updated file drive with
                                      five new filings in the '1736 (Lloyd's of London) matter in the
                                      Northern District of Texas, in preparation for attorney review (.30);
                                      updated file drive with two new filings in the '00041 (Janvey v. Univ.
                                      of Miami) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20); updated file drive with one new filing in the
                                      '2826 (Janvey v. Maldonado) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with one
                                      new filing in the '00401-N-BG (Janvey v. GMAG) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '20411 (USA v.
                                      Stanford) matter in the US 5th Circuit Court, in preparation for
                                      attorney review (.20); updated file drive with three new filings in the
                                      '10945 (Janvey v. Tonarelli) matter in the US 5th Circuit Court, in
                                      preparation for attorney review (.20); updated file drive with three
                                      new filings in the '11014 (Janvey v. Rincon) matter in the US 5th
                                      Circuit Court, in preparation for attorney review (.20); updated file
                                      drive with three new filings in the '11093 (Janvey v. Giusti) matter in
                                      the US 5th Circuit Court, in preparation for attorney review (.20);
                                      updated file drive with three new filings in the '10857 (Janvey v.
                                      Alguire) matter in the US 5th Circuit Court, in preparation for
                                      attorney review (.20).
03/16/15   K Corral              1.90 Reviewed and tracked all court papers filed in post-receiver federal




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                               Hours                                  Description
                                       litigation after resolving a system issue (.50); updated file drive with
                                       one new filing in the '2384 (Rotstain) matter in the Northern District
                                       of Texas, in preparation for attorney review (.10); updated file drive
                                       with one new filing in the '527 (Janvey v. Barnes) matter in the
                                       Northern District of Texas, in preparation for attorney review (.10);
                                       updated file drive with two new filings in the '02584 (Janvey v.
                                       Alvarado) matter in the Northern District of Texas, in preparation for
                                       attorney review (.10); updated file drive with one new filing in the
                                       '00041 (Janvey v. Univ. of Miami) matter in the Northern District of
                                       Texas, in preparation for attorney review (.10); updated file drive
                                       with one new filing in the '775 (Directors & Officers) matter in the
                                       Northern District of Texas, in preparation for attorney review (.10);
                                       updated file drive with three new filings in the '3127 (Lilie v. STC)
                                       matter in the Northern District of Texas, in preparation for attorney
                                       review (.20); updated file drive with three new filings in the '01873
                                       (Janvey v. Vargas) matter in the Southern District of Florida
                                       Bankruptcy, in preparation for attorney review (.20); updated file
                                       drive with two new filings in the '11305 (Janvey v. Golf Channel)
                                       matter in the US 5th Circuit Court, in preparation for attorney review
                                       (.10); updated file drive with one new filing in the '10857 (Alguire)
                                       matter in the US 5th Circuit Court, in preparation for attorney review
                                       (.10); updated file drive with one new filing in the '11014 (Rincon)
                                       matter in the US 5th Circuit Court, in preparation for attorney review
                                       (.10); updated file drive with one new filing in the '11093 (Giusti)
                                       matter in the US 5th Circuit Court, in preparation for attorney review
                                       (.10); updated file drive with one new filing in the '10945 (Tonarelli)
                                       matter in the US 5th Circuit Court, in preparation for attorney review
                                       (.10).
03/16/15   A L Payne             1.70 Coordinate with Court of Appeals to obtain Supplemental Records on
                                      appeal for attorney's review (.2); prepare case deposition transcripts,
                                      disks, and additional materials for transfer to Austin office (1.5).
03/17/15   K Corral               .40 Updated file drive with one new filing in the '298 (MAIN) matter in
                                      the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the 724 (Relief Def)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '297
                                      (Janvey v. Romero) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '301 (Janvey v. Brown) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10).
03/17/15   A L Payne             1.70 Continued preparation of case deposition transcripts, disks, and
                                      additional materials for transfer to Austin office.
03/18/15   K Corral              2.80 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.60); updated file drive with
                                      one new filing in the '2384 (Rotstain) matter in the Northern District
                                      of Texas, in preparation for attorney review (.10); updated file drive
                                      with two new filings in the '1002 (Janvey v Fernandez) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '1973 (Janvey v. Dillon




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                               Hours                                  Description
                                       Gage) matter in the Northern District of Texas, in preparation for
                                       attorney review (.10); updated file drive with two new filings in the
                                       '00041 (Janvey v. Univ. of Miami) matter in the Northern District of
                                       Texas, in preparation for attorney review (.10); updated file drive
                                       with five new filings in the '297 (Janvey v. Romero) matter in the
                                       Northern District of Texas, in preparation for attorney review (.40);
                                       updated file drive with one new filing in the '495 (Janvey v. Adams &
                                       Reese) matter in the Northern District of Texas, in preparation for
                                       attorney review (.10); updated file drive with one new filing in the
                                       '2826 (Janvey v. Maldonado) matter in the Northern District of Texas,
                                       in preparation for attorney review (.10); updated file drive with one
                                       new filing in the '3127 (Lilie v. STC) matter in the Northern District
                                       of Texas, in preparation for attorney review (.10); updated file drive
                                       with one new filing in the '00401-N-BG (Janvey v. GMAG) matter in
                                       the Northern District of Texas, in preparation for attorney review
                                       (.10); updated file drive with one new filing in the '01873 (Janvey v.
                                       Vargas) matter in the Southern District of Florida Bankruptcy, in
                                       preparation for attorney review (.10); updated file drive with one new
                                       filing in the '37041 (Somoza) matter in the Southern District of
                                       Florida Bankruptcy, in preparation for attorney review (.10); updated
                                       file drive with one new filing in the '20411 (USA v. Stanford) matter
                                       in the US 5th Circuit Court, in preparation for attorney review (.10);
                                       updated file drive with seven new filings in the '10857 (Alguire)
                                       matter in the US 5th Circuit Court, in preparation for attorney review
                                       (.50); updated file drive with two new filings in the '11118
                                       (Rishmague v. Winter) matter in the US 5th Circuit Court, in
                                       preparation for attorney review (.20).
03/19/15   K Corral               .40 Updated file drive with two new filings in the '724 (Relief Def)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with two new filings in the '01465
                                      (Merge Healthcare) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with two new
                                      filings in the '00041 (Janvey v. Univ. of Miami) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with two new filings in the '27851 (Vargas) matter
                                      in the Southern District of Florida Bankruptcy, in preparation for
                                      attorney review (.10).
03/20/15   K Corral              1.50 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.40); updated file drive with
                                      one new filing in the '02290 (Janvey v. Tolentino) matter in the
                                      Northern District of Texas, in preparation for attorney review (.10);
                                      updated file drive with one new filing in the '301 (Janvey v. Brown)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '2384
                                      (Rotstain) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '00041 (Janvey v. Univ. of Miami) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with one new filing in the '298 (MAIN) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with two new filings in the '1973 (Janvey v. Dillon Gage)




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                               Hours                                 Description
                                       matter in the Northern District of Texas, in preparation for attorney
                                       review (.10); updated file drive with one new filing in the '1873
                                       (Vargas) matter in the Southern District of Florida Bankruptcy, in
                                       preparation for attorney review (.10); updated file drive with one new
                                       filing in the '20411 (USA v. Stanford) matter in the US 5th Circuit
                                       Court, in preparation for attorney review (.10); updated file drive with
                                       four new filings in the '11118 (Rishmague v. Winter) matter in the
                                       US 5th Circuit Court, in preparation for attorney review (.30).
03/23/15   A L Hix               2.50 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.3); updated file drive with one new filing in the '37041
                                      (Samoza) matter in the Southern District of Florida - Bankruptcy
                                      Court, in preparation for attorney review (.1); updated file drive with
                                      one new filing in the '1873 (Vargas) matter in the Southern District of
                                      Florida - Bankruptcy Court, in preparation for attorney review (.1);
                                      updated file drive with four new filings in the '724 (Janvey v.
                                      Alguire) matter in the Northern District of Texas, in preparation for
                                      attorney review (.4); updated file drive with one new filing in the '477
                                      (Wealth Management) matter in the Northern District of Texas, in
                                      preparation for attorney review (.1); updated file drive with two new
                                      filings in the '1973 (Janvey v. Dillon Gage) matter in the Northern
                                      District of Texas, in preparation for attorney review (.2); updated file
                                      drive with eleven new filings in the '041 (Janvey v. UM) matter in the
                                      Northern District of Texas, in preparation for attorney review (1.1);
                                      updated file drive with one new filing in the '297 (Janvey v. Romero)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.1); updated file drive with one new filing in the '3731
                                      (Reynaud) matter in the Northern District of Texas, in preparation for
                                      attorney review (.1).
03/24/15   K Corral               .60 Updated file drive with two new filings in the '1973 (Janvey v. Dillon
                                      Gage) matter in the Northern District of Texas, in preparation for
                                      attorney review (.20); updated file drive with one new filing in the
                                      '00041 (Janvey v. Univ. of Miami) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10); updated file drive
                                      with five new filings in the '00292 (Janvey v. Dillon Gage Inc.)
                                      matter in the Western District of Oklahoma, in preparation for
                                      attorney review (.30).
03/25/15   K Corral              1.90 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.40); updated file drive with
                                      two new filings in the '00292 (Janvey v. Dillon Gage Inc.) matter in
                                      the Western District of Oklahoma, in preparation for attorney review
                                      (.20); updated file drive with one new filing in the '298 (MAIN)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with six new filings in the '1973
                                      (Janvey v. Dillon Gage) matter in the Northern District of Texas, in
                                      preparation for attorney review (.40); updated file drive with one new
                                      filing in the '00041 (Janvey v. Univ. of Miami) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with three new filings in the '1600 (Troice v. Proskauer)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.20); updated file drive with one new filing in the '10857




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                               Hours                                 Description
                                       (Janvey v. Alguire) matter in the US 5th Circuit Court, in preparation
                                       for attorney review (.10); updated file drive with one new filing in the
                                       '10945 (Janvey v. Tonarelli) matter in the US 5th Circuit Court, in
                                       preparation for attorney review (.10); updated file drive with one new
                                       filing in the '11014 (Janvey v. Rincon) matter in the US 5th Circuit
                                       Court, in preparation for attorney review (.10); updated file drive with
                                       one new filing in the '11093 (Janvey v. Giusti) matter in the US 5th
                                       Circuit Court, in preparation for attorney review (.10); updated file
                                       drive with one new filing in the '11118 (Rishmague v. Winter) matter
                                       in the US 5th Circuit Court, in preparation for attorney review (.10).
03/26/15   K Corral               .20 Updated file drive with one new filing in the '02290 (Janvey v.
                                      Tolentino) matter in the Northern District of Texas, in preparation for
                                      attorney review (.10); updated file drive with one new filing in the
                                      '00292 (Janvey v. Dillon Gage Inc.) matter in the Western District of
                                      Oklahoma, in preparation for attorney review (.10).
03/27/15   K Corral              1.60 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation after resolving a system issue (.50); updated file drive with
                                      three new filings in the '724 (Relief Def) matter in the Northern
                                      District of Texas, in preparation for attorney review (.20); updated
                                      file drive with two new filings in the '1600 (Troice v. Proskauer)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '366
                                      (Janvey vs. Venger) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with two new
                                      filings in the '02584 (Janvey v. Alvarado) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '1973 (Janvey v. Dillon Gage)
                                      matter in the Northern District of Texas, in preparation for attorney
                                      review (.10); updated file drive with one new filing in the '00041
                                      (Janvey v. Univ. of Miami) matter in the Northern District of Texas,
                                      in preparation for attorney review (.10); updated file drive with one
                                      new filing in the '297 (Janvey v. Romero) matter in the Northern
                                      District of Texas, in preparation for attorney review (.10); updated
                                      file drive with one new filing in the '1115 (Wilkinson v. BDO) matter
                                      in the Northern District of Texas, in preparation for attorney review
                                      (.10); updated file drive with one new filing in the '329 (IC v.
                                      Breazeale Sachse) matter in the Northern District of Texas, in
                                      preparation for attorney review (.10); updated file drive with one new
                                      filing in the '1447 (IC v. BDO) matter in the Northern District of
                                      Texas, in preparation for attorney review (.10).
03/30/15   A L Hix               1.20 Reviewed and tracked all court papers filed in post-receiver federal
                                      litigation (.5); updated file drive with two new filings in the '724
                                      (Relief Def) matter in the Northern District of Texas, in preparation
                                      for attorney review (.2); updated file drive with one new filing in the
                                      '366 (Janvey v. Venger) matter in the Northern District of Texas, in
                                      preparation for attorney review (.1); updated file drive with two new
                                      filings in the '41 (Janvey v. Univ. of Miami) matter in the Northern
                                      District of Texas, in preparation for attorney review (.2); updated file
                                      drive with one new filing in the '115 (Wilkinson v. BDO) matter in
                                      the Northern District of Texas, in preparation for attorney review (.1);




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                                    Hours                                Description
                                            updated file drive with one new filing in the '1477 (IC v. BDO)
                                            matter in the Northern District of Texas, in preparation for attorney
                                            review (.1).
03/31/15     A L Hix                  1.30 Updated file drive with two new filings in the '724 (Relief Def)
                                           matter in the Northern District of Texas, in preparation for attorney
                                           review (.2); updated file drive with one new filing in the '1002
                                           (Janvey v. Fernandez) matter in the Northern District of Texas, in
                                           preparation for attorney review (.1); updated file drive with seven
                                           new filings in the '41 (Janvey v. Univ. of Miami) matter in the
                                           Northern District of Texas, in preparation for attorney review (.7);
                                           updated file drive with three new filings in the '992 (Janvey v Dillon
                                           Gage) matter in the Northern District of Texas, in preparation for
                                           attorney review (.3).
             Matter Total           38.70


           079716.0117       Litigation - SEC vs. SIB, et al
                                    Hours                                 Description
03/01/15     D T Arlington             .10 Communicated with team regarding interim report.
03/02/15     T M Barnard               .60 Review letter to be filed (.4); communication with 5th circuit clerk
                                           regarding filing (.2).
03/02/15     A Cuenin                  .90 Drafted letter to Fifth Circuit clerk regarding SIB appeal (.4); called
                                           clerk's office regarding same (.5).
03/02/15     B A Day                   .50 Provided updated statistics to L. Dodge for use in the next interim
                                           report.
03/03/15     T M Barnard               .30 Prepare letter and attachment for filing.
03/03/15     A Cuenin                 1.20 Revise letter regarding R. Allen Stanford's civil appeal (.7); called
                                           court regarding same (.1); emailed court and other parties regarding
                                           same (.4).
03/03/15     S Faridifar               .20 Met with S. Powers regarding multiple Stanford litigation matters.
03/03/15     S D Powers                .10 Revised letter to Fifth Circuit regarding removing Stanford entities
                                           from RAS appeal.
03/03/15     K M Sadler               1.00 Conference with Powers regarding litigation issues (.2); reviewed
                                           issues regarding deposition of Receiver (.8).
03/04/15     D T Arlington             .20 Coordinated with team regarding interim report.
03/04/15     K M Sadler                .20 Conference with D. Arlington regarding litigation (.2)
03/06/15     K M Sadler                .40 Conference with Powers (.2); conference with Arlington (.2)
03/06/15     K M Sadler                .20 Conference with Powers.
03/06/15     K M Sadler               1.00 Consultations with Receiver.
03/08/15     D T Arlington             .30 Communicated with team and Examiner regarding litigation report.




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                               Hours                                Description
03/09/15   S D Powers             .90 Reviewed recent pleadings updates (.7); conferred with K. Sadler
                                      regarding upcoming deadlines                     (.2).
03/09/15   K M Sadler             .70 Conferences with Powers re litigation tasks and projects.
03/10/15   T M Barnard            .40 Communication with court regarding motion filed.
03/10/15   K M Sadler             .30 Conference with Arlington regarding litigation (.3)
03/11/15   A Cuenin               .50 Contacted Fifth Circuit clerk's office regarding briefing deficiency
                                      and prepared for same (.5).
03/11/15   K M Sadler            1.90 Conferences with Powers regarding litigation (.8); conferences with
                                      Arlington regarding litigation (.6); consultations with Receiver (.2);
                                      reviewed issues regarding Rishamgue amicus (.3).
03/12/15   D T Arlington          .20 Communicated with team regarding task list update.
03/12/15   A Cuenin               .50 Called clerk's office about amicus brief and prepared for same (.5).
03/12/15   S Faridifar           1.50 Updated deadlines chart in connection with multiple litigation matters
                                      (.4); provided D. Arlington with update related to multiple litigation
                                      tasks and matters and conferred with S. Powers regarding same (1.1).
03/12/15   K M Sadler             .70 Emails to/from Receiver (.4); conferences with Powers (.3).
03/13/15   D T Arlington          .20 Reviewed criminal court filings.
03/13/15   A Cuenin              4.20 Called clerk office regarding amicus deficiency letter and prepared
                                      for same (.8); drafted motions for leave to file appendix (1.8);
                                      prepared appendix in acceptable form (1.0); summarized amicus
                                      issues for team (.6).
03/13/15   S Faridifar            .10 Updated deadlines chart.
03/13/15   S D Powers             .90 Conferred with B. Krage and R. Janvey regarding                  and
                                      drafted, reviewed emails regarding declaration/letter language for
                                      potential use by
03/13/15   K M Sadler             .70 Conference with Powers (.4); conference with Arlington (.3)
03/13/15   K M Sadler             .40 Reviewed issues regarding supplementation of record in appeal (.4)
03/14/15   K M Sadler             .40 Reviewed issues regarding amicus filing (.4)
03/16/15   D T Arlington         2.00 Worked on revisions to task list and conference with Kevin Sadler
                                      and Scott Powers regarding same.
03/16/15   A A Carr              1.10 Edited deadlines chart and emails to team regarding same.
03/16/15   A Cuenin              4.70 Called clerk's office and prepared for same (1.1); conferred with
                                      opposing counsel regarding motion to supplement and updated
                                      certificate of conference (1.9); researched standard for granting
                                      motion to supplement (1.0); revised motion and appendix (.7).
03/16/15   S D Powers            1.80 Reviewed and updated task list across all matters and conferred with
                                      K. Sadler and D. Arlington regarding same (1.6); conferred with
                                                                                              (.2).




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                               Hours                                Description
03/16/15   K M Sadler            2.20 Conference with Arlington regarding litigation (.2); reviewed issues
                                      regarding amicus and appendix/record regarding Rishmague appeal
                                      (.4); conference with Powers and Arlington regarding tasks and
                                      projects (1.2); reveiwed issues regarding draft reports (.4).
03/17/15   D T Arlington         1.10 Reviewed draft Navigant engagement letter and communicated with
                                      team regarding same (1.0); communicated with team regarding
                                      Kimmel subpoena (0.1).
03/17/15   T M Barnard           1.00 Review, finalize and file Janvey's Motion for Leave.
03/17/15   A Cuenin              1.40 Prepared for and conferred with opposing counsel regarding motion
                                      to supplement in Rupert and Rishmague (.7); revised and finalized
                                      motion regarding same (.7).
03/17/15   S D Powers             .50 Drafted text for Receivership website related to Golf Channel and
                                      Romero cases.
03/17/15   K M Sadler             .20 Reviewed draft motion in Rishmague appeal.
03/18/15   D T Arlington          .20 Reviewed inquiry regarding
03/18/15   S D Powers             .40 Reviewed motion for injunction to stay arbitration by investor against
                                      broker, conferred with K. Sadler regarding same, and conferred with
                                      M. Dwertman regarding drafting joinder in motion.
03/18/15   K M Sadler             .80 Conferences with Arlington (.4); conferences with Powers (.4).
03/19/15   B A Day                .10 Corresponded with S. Powers and FTI concerning information
                                      request from            (0.1).
03/19/15   S Faridifar            .30 Updated deadlines chart in connection with multiple litigation
                                      matters.
03/19/15   S D Powers             .20 Drafted, reviewed emails regarding
                                                                               (.2).
03/19/15   K M Sadler             .60 Reviewed status of draft reports.
03/20/15   D T Arlington          .30 Communicated with team regarding claimant address information
                                      request in connection with            class-action cases (0.3)
03/23/15   D T Arlington          .90 Communicated with team and counsel regarding injunction relating to
                                                  and reviewed related filings.
03/23/15   A A Carr              2.60 Detailed edits to deadlines chart and circulated same.
03/23/15   A Cuenin              1.00 Called clerk's office regarding Rupert and Rishmague brief
                                      resubmission (.3); updated brief per court instruction (.7).
03/23/15   S Faridifar            .20 Exchanged emails with A. Carr regarding multiple litigation
                                      deadlines.
03/23/15   S D Powers             .50 Conferred with B. Krage regarding


03/23/15   K M Sadler            3.30 Reviewed status of tasks, projects and assignments (1.0); conference
                                      with Arlington and Powers regarding task list,
                                      assignments (1.0); reviewed Objections to R&R regarding discovery




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                               Hours                                 Description
                                       dispute (.5); reviewed issues and email correspondence over dispute
                                       regarding injunction against arbitrations (.4); conference with Powers
                                       regarding deposition (.4)
03/24/15   D T Arlington          .20 Reviewed Morgenstern request regarding bank data and
                                      communicated with team regarding same.
03/24/15   A Cuenin              1.50 Continued revising brief per clerk's deficiency letter (1.5).
03/24/15   S Faridifar            .50 Updated deadlines chart in connection with multiple litigation
                                      matters.
03/24/15   S D Powers             .70 Analyzed paralegal staffing issues for upcoming trials and conferred
                                      with L. Dodge and E. Reeder regarding same (.5); reviewed
                                      upcoming deadlines (.2).
03/24/15   K M Sadler            1.60 Conference with Powers regarding litigation (.4); conference with
                                      Arlington (.3); reviewed Maldonado deposition summary (.4);
                                      conference with Snyder and Powers regarding Receivership records
                                      (.5).
03/25/15   D T Arlington          .20 Communicated with team and FTI regarding Morgenstern document
                                      requests.
03/25/15   A Cuenin               .80 Finalized sufficient brief for Rupert appeal (.8).
03/25/15   S D Powers             .50 Phone conference with K. Sadler regarding status of various tasks,


03/25/15   K M Sadler             .80 Conference with Arlington regarding litigation (.5); reviewed emails
                                      and issues regarding injunction dispute (.3)
03/26/15   T M Barnard           2.40 Prepare brief for paper copies (2.1); draft letter to 5th Circuit
                                      transmitting copies (.3).
03/26/15   A A Carr               .30 Conferences with S. Powers and M. Dwertman regarding pending
                                      motions notice project.
03/26/15   A Cuenin               .30 Coordinated paper copies of Rupert amicus brief (.3).
03/26/15   L E Dodge              .30 Prepared letter to Ben Reichard transmitting STAN INVSTR GENL
                                      production (.3).
03/26/15   M R Dwertman          9.20 Discussed Sixth Joint Advisory and organization of same with A.
                                      Carr (.2); reviewed dockets to identify fully briefed motions and
                                      began drafting Receiver's and Examiner's Seventh Joint Advisory to
                                      the Court Regarding Pending Motions (9).
03/26/15   S D Powers            1.10 Prepared for and participated in call with
                                      (1.0); exchanged emails with A. Carr regarding pending motions
                                      filing (.1).
03/26/15   K M Sadler             .50 Conference with Powers regarding litigation tasks (.5)
03/27/15   B A Day                .10 Updated deadlines list (0.1).
03/27/15   M R Dwertman          3.10 Continued reviewing dockets and drafting advisory re: pending
                                      motions (3); discussed referrals to Koenig with A. Carr (.1).




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                                    Hours                              Description
03/27/15     K M Sadler              1.00 Reviewed multiple emails regarding                               (1.0)
03/28/15     D T Arlington            .20 Coordinated with team regarding deposition designations.
03/29/15     M R Dwertman            2.30 Completed draft of Seventh Advisory re: pending motions and sent to
                                          S. Powers for review (2.3).
03/30/15     B A Day                  .30 Corresponded with S. Powers and J. Abraham concerning access to
                                          the JLs' Reccomind database (0.3).
03/30/15     L E Dodge                .50 Coordinated compilation of all scheduling orders, as requested by K.
                                          Sadler (.3); prepared list of all upcoming trial dates (.2).
03/30/15     M R Dwertman            1.20 Discussed Seventh Joint Advisory re: Pending Motions with S.
                                          Powers (.1); revised Seventh Joint Advisory and sent to S. Powers for
                                          review (.3); researched status of dated motions to dismiss in net
                                          winner cases and discussed with S. Powers (.8).
03/30/15     S D Powers              2.20 Reviewed draft pending motions advisory and conferred with M.
                                          Dwertman regarding same (1.0); reviewed deadlines chart (.2);
                                          exchanged emails with R. Janvey regarding trial schedule (.3);
                                          conferred with K. Sadler regarding                (.5); conferred with
                                          L. Dodge regarding budgeting issues (.2).
03/30/15     K M Sadler               .90 Conference with Powers regarding litigation (.6); conference with P.
                                          Nelligan (.3)
03/31/15     T M Barnard              .20 Communication with court regarding paper copies.
03/31/15     L E Dodge                .40 Addressed questions regarding scheduling orders (.4).
03/31/15     M R Dwertman             .50 Revised Seventh Advisory re: pending motions to reflect filing of
                                          Reply in Romero (.1); revised same to reflect edits from Examiner
                                          (.1); review motion and file with assistance from M. DePagter (.3).
03/31/15     S D Powers               .40 Reviewed, finalized pending motions advisory and drafted, reviewed
                                          emails regarding same.
03/31/15     K M Sadler              1.30 Conference with Powers regarding litigation tasks (.4); conference
                                          with Arlington (.4); consultations with Receiver (.5)
             Matter Total           84.60


           079716.0118       Switzerland Matters
                                    Hours                              Description
03/19/15     K M Sadler               .20 Reviewed email inquiry regarding           and email to Powers
                                          regarding same (.2)
             Matter Total            0.20


           079716.0123       Canada Litigation Matters




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                                    Hours                                Description
03/17/15     S D Powers                .20 Drafted, reviewed emails regarding status of Quebec proceedings.
03/20/15     K M Sadler                .40 Reviewed email from Osler and EY regarding status of remaining
                                           funds (.4)
03/23/15     D T Arlington             .20 Communicated with team regarding status of notice and related
                                           issues.
             Matter Total            0.80


           079716.0126       Broker Litigation
                                    Hours                                Description
03/02/15     S F Cagniart             1.20 Reviewed and edited amicus brief in support of Receiver Wiand's
                                           petition for rehearing en banc in Wiand v. Schneiderman, and
                                           provided comments to S. Powers (0.8); edited and finalized brief and
                                           motion for leave to file brief in the Eleventh Circuit (0.4).
03/02/15     D K Jackson              2.10 Cite checked references in Janvey v. Alguire Amicus Curiae Brief.
03/02/15     N R Mink                  .40 Reviewed amicus brief filed in 11th Circuit case, Wiand v.
                                           Schneiderman (.3); corresponded with S. Powers and S. Cagniart
                                           regarding same (.1).
03/02/15     S D Powers               2.40 Revised and finalized Wiand amicus and drafted, reviewed emails
                                           regarding same.
03/02/15     E D Reeder               1.70 Located cases cited in brief on Westlaw (.3); reviewed citations for
                                           accuracy (.9); input revisions to the document (.3); coordinated
                                           preparation and delivery of paper copies of broker brief (.2).
03/03/15     S F Cagniart              .10 Conferred with opposing counsel regarding motion for extension to
                                           file reply briefs (0.1).
03/03/15     B A Day                   .20 Reviewed orders adopting magistrate's dismissals of counterclaims
                                           against the Receiver (0.2).
03/03/15     D K Jackson              1.60 Extracted documents from ROA and supplemental record per the
                                           request of S. Cagniart for John Little.
03/03/15     K M Sadler               1.40 Reviewed issues regarding NAFER amicus (.8); reviewed issues and
                                           Order regarding R&R regarding counterclaims (.6)
03/04/15     S F Cagniart             1.40 For appeal of Janvey v. Alguire, reviewed and determined how many
                                           brokers have funds affected by the preliminary injunction and in what
                                           amount (0.8); reviewed draft amicus brief and motion for leave to file
                                           brief by Examiner (0.6).
03/04/15     S D Powers                .30 Phone conferences with NAFER and with S. Cagniart regarding
                                           amicus brief.
03/04/15     E D Reeder                .30 Arranged for delivery with proof of receipt of paper copies of the
                                           brief to the court and assisted secretary with caption information.
03/04/15     K M Sadler               1.40 Reviewed issues regarding Examiner and NAFER amicus (1.0);




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                               Hours                               Description
                                       emails to/from Cagniart regarding frozen acct information (.4)
03/06/15   S F Cagniart          1.90 In Janvey v. Alguire appeal, discussed potential amicus brief with
                                      NAFER (0.2); reviewed motion for leave to file amicus brief by
                                      NAFER (0.4); reviewed amicus brief filed by SEC and discussed
                                      same with K. Sadler and S. Powers (0.9); reviewed amicus brief and
                                      motion to file brief filed by Examiner (0.2); reviewed Order denying
                                      appellants' request for an extension of time to file brief and discussed
                                      preparations for oral argument with K. Sadler (0.2).
03/06/15   S D Powers            1.70 Reviewed amicus briefs from NAFER and SEC and phone
                                      conferences and email correspondence regarding same (1.3);
                                      reviewed order regarding reply deadline and conferred with S.
                                      Cagniart and NAFER regarding same (.4).
03/06/15   E D Reeder             .30 Loaded Wiand oral argument file to shared drive.
03/06/15   K M Sadler            1.00 Reviewed issues regarding amicus briefing and emails to/from
                                      Powers and Cagniart regarding same (1.0)
03/09/15   S D Powers             .10 Reviewed filing in Wiand case regarding SEC amicus in Alguire and
                                      drafted, reviewed emails regarding same.
03/10/15   S Faridifar            .40 Addressed issues regarding Vargas bankruptcy, including conferring
                                      with S. Powers and L. Dodge regarding same.
03/10/15   S D Powers             .70 Reviewed and commented on disclosures and                         and
                                      upcoming scheduling deadlines.
03/11/15   O J Alaniz            1.00 Review and analyze comments to Rule 26 disclosures (.2); research
                                      legal question regarding bankruptcy court's authority to issue
                                      judgments in dischargeability actions (.5); review complaint (.3).
03/12/15   O J Alaniz            1.10 Telephone conference with S. Powers regarding Rules 26 Disclosures
                                      and                in Vargas case (.4); review inquiry from Chapter 7
                                      trustee and leave message (.3); coordinate with opposing counsel
                                      regarding postponement of pretrial conference (.2); work on Rule 26
                                      disclosures (.2).
03/12/15   S D Powers             .40 Conferred with O. Alaniz regarding Vargas schedule and analyzed
                                      issues regarding same.
03/13/15   O J Alaniz            1.00 Email to local counsel regarding local procedure for postponement of
                                      pretrial conference (.2); telephone conference with local counsel
                                      regarding same and related                (.3); review and comment on
                                      motion and order for continuance (.3); coordinate with S. Powers and
                                      M. Gilstrap regarding same (.2).
03/13/15   S D Powers             .40 Reviewed Graham reply brief; conferred with NAFER counsel
                                      regarding amicus brief; exchanged emails with O. Alaniz regarding
                                      Vargas schedule.
03/13/15   K M Sadler            1.50 Reviewed responsive briefs filed by appellants and emails to/from
                                      Powers and Cagniart regarding same (1.5)
03/14/15   K M Sadler            1.20 Reviewed additional briefs filed by appellants (M. Stanley clients)
                                      (1.2)




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                               Hours                                Description
03/16/15   O J Alaniz             .30 Telephone message from chapter 7 trustee in Vargas bankruptcy (.1);
                                      attention to order regarding reset of pretrial conference in Vargas case
                                      (.2).
03/16/15   S F Cagniart          1.80 Reviewed appellants' reply briefs in Janvey v. Alguire appeal.
03/16/15   A A Carr              1.20 Prepared updated motion for extension of deadline to serve Luis
                                      Giusti (.3); coordinated with process server regarding affidavit and
                                      errors therein (.6); email with B. Day regarding same (.1); filed same
                                      (.2)
03/16/15   S Faridifar            .10 Addressed issues related to Vargas pre-trial conference.
03/16/15   S D Powers             .60 Reviewed, analyzed additional replies and NAFER brief in Alguire
                                      appeal.
03/16/15   K M Sadler             .60 Reviewed NAFER amicus and conference with Powers (.6)
03/17/15   O J Alaniz            1.00 Review and analyze case law discussing

                                                   (.6); emails with K. Sadler and S. Powers regarding same
                                       (.2); review deadlines for Vargas case (.2).
03/17/15   B A Day                .60 Discussed with S. Powers the status of litigation against the
                                      Wieselberg defendants and prepared a summary chart with respect to
                                      same (0.6).
03/18/15   D T Arlington          .30 Reviewed broker motion for injunction.
03/18/15   S Faridifar            .20 Reviewed order continued hearing date in Vargas bankruptcy and
                                      exchanged emails with M. Gilstrap regarding same.
03/18/15   S D Powers             .20 Conferred with 11th Circuit clerk in Wiand regarding paper copies of
                                      amicus brief and exchanged emails with E. Reeder and S. Cagniart
                                      regarding same.
03/18/15   E D Reeder             .70 Telephone conference with court regarding hard copies of amicus
                                      brief and coordinated with secretary regarding binding and delivery
                                      of same.
03/19/15   O J Alaniz             .40 Telephone conference with chapter 7 trustee in Vargas case (.3);
                                      follow-up with S. Powers (.1).
03/19/15   S Faridifar            .20 Exchanged emails with M. Gilstrap regarding order granting motion
                                      to continue pretrial conference.
03/19/15   S D Powers             .20 Exchanged emails with O. Alaniz regarding                    regarding
                                      Vargas bankruptcy.
03/20/15   S Faridifar            .50 Addressed issues regarding order granting motion to continue pretrial
                                      conference in Vargas bankruptcy, including drafting certificate of
                                      service and filing same.
03/23/15   N R Mink               .10 Reviewed voicemail from 11th Circuit court clerk and emailed S.
                                      Cagniart regarding same.
03/30/15   S Faridifar            .40 Addressed issues related to inquiry regarding filing claim and Vargas
                                      bankruptcy, including responding to emails regarding same.




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             Matter Total          36.60


           079716.0127      Investor Litigation
                                   Hours                                Description
03/01/15     K M Sadler               .40 Reviewed issues regarding discovery in net winner caes (.4)
03/03/15     B A Day                  .40 Reviewed communications from net winners concerning
                                                      (0.2); discussed net-winner briefing deadlines with S.
                                          Faridifar (0.2).
03/03/15     S Faridifar             3.90 Addressed various issues related to net winner litigation (.7);
                                          reviewed motion for entry of final judgment, responses, and memos
                                          in opposition and addressed related issues (3.2).
03/04/15     B A Day                  .10 Reviewed Womack order (0.1).
03/04/15     S Faridifar             6.90 Continued addressing issues related to motion for entry of final
                                          judgment, including review and analysis of responses and objections
                                          in preparation for drafting reply (4.6); conducted research under
                                          federal and Texas case law regarding prejudgment interest (2.3).
03/05/15     S Faridifar             7.40 Continued research in case law regarding prejudgment interest under
                                          Texas law and began drafting reply in support of motion for entry of
                                          final judgment (5.3); reviewed case law cited in defendants' responses
                                          in connection with drafting reply (2.1).
03/06/15     S Faridifar             7.70 Continued drafting reply in support of motion for entry of final
                                          judgment and addressed related issues, including reviewing cases
                                          regarding                                              (7.2);
                                          conferred with S. Powers regarding reply (.2); conferred with J.
                                          Himmel regarding relevant research and reviewed email regarding
                                          same (.3).
03/06/15     J M Himmel               .50 Discussions with S. Faridifar regarding
                                                                                               for use in the
                                           Receiver's reply brief (.2); Pulled relevant research on same and sent
                                           to S. Faridifar (2.); Coordination with accounting to obtain time billed
                                           to this matter from January 1, 2015 through present (.1).
03/06/15     S D Powers              1.10 Conference with S. Faridifar regarding reply in support of motion to
                                          sever and for entry of final judgment (.7); phone conference with K.
                                          Willis regarding upcoming tasks and follow-up email correspondence
                                          regarding same (.4).
03/08/15     S F Cagniart             .80 For Magness litigation, prepared draft of joint Rule 26(f) report and
                                          drafted proposed order governing document production, and
                                          circulated same for review to S. Powers.
03/08/15     S Faridifar             3.30 Conducted case law research regarding


03/09/15     S Faridifar             8.90 Continued drafting reply in support of motion for final judgment and
                                          addressing related issues, including reviewing case and conferring
                                          with S. Powers regarding same.




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                               Hours                                Description
03/09/15   J M Himmel             .80 Emailed S. Faridifar regarding

                                                      (.1); Reviewed



                                       (.7).
03/09/15   S D Powers            2.10 Reviewed and analyzed filings regarding attorneys' fees and
                                      prejudgment interest motion and analyzed issues regarding same
                                      (1.1); reviewed and revised rule 26(f) report in Magness case, drafted
                                      emails regarding same, and conferred with Magness's counsel
                                      regarding same (1.0).
03/10/15   S Faridifar           9.20 Continued drafting reply in support of motion for final judgment
                                      against certain net-winner defendants (5.4); exchanged emails with S.
                                      Powers regarding same (.1); revised reply per comments from S.
                                      Powers and addressed related issues (3.7).
03/10/15   S D Powers            3.10 Revisions to 26f report and multiple phone conferences and emails
                                      regarding same (1.3); analyzed status of
                                              and multiple phone conferences and emails regarding same
                                      (1.0); reviewed and commented on reply in support of motion to
                                      sever and enter final judgment (.8).
03/10/15   K M Sadler             .80 Conference with Powers re net winner litigation tasks,
                                                                      (.8)
03/10/15   K M Sadler             .50 Reviewed issues re rule 26f (Magness) and conference with Powers
                                      (.5)
03/11/15   S Faridifar           7.10 Continued revising reply in support of motion for final judgment
                                      (4.6); conferred with S. Powers regarding reply and addressed related
                                      issues (.5); revised reply per comments from S. Powers and finalized
                                      reply for filing (2.0).
03/11/15   J M Himmel             .30 Discussion with S. Powers regarding calculation of attorneys' fees in
                                      the net winner case and sent him information pertaining to same.
03/11/15   S D Powers            4.20 Reviewed and revised reply in support of motion for entry of
                                      judgment and award of attorneys' fees (.6); drafted, reviewed emails
                                      regarding collecting information
                                                     (.4); extensive analysis of issue regarding

                                               reviewed emails internally and with opposing counsel
                                       regarding same (3.2).
03/11/15   K M Sadler            1.50 Reviewed draft reply brief (.6); reviewed issues regarding
                                                                            (.9)
03/12/15   S Faridifar            .20 Exchanged emails with M. Dwertman regarding discovery issues (.1);
                                      conferred with S. Powers regarding discovery requests from P. Preis
                                      (.1).
03/12/15   S D Powers            2.40 Further review and analysis of
                                                                                               and




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                               Hours                                Description
                                       revisions to scheduling report regarding same.
03/12/15   K M Sadler            1.20 Reviewed issues regarding Magness claim and 26f report dispute
                                      (1.2)
03/13/15   B A Day                .20 Discussed 2590/Mid-South motion with S. Faridifar (0.2).
03/13/15   S Faridifar           1.70 Reviewed motion to sever filed by 2590 Associated and Mid-South
                                      and addressed related issues, including reviewing prior filings by
                                      defendants and exchanging emails with M. Russell, in preparation for
                                      filing response.
03/13/15   S D Powers             .90 Drafted, reviewed emails regarding Preis discovery requests
                                      regarding attorneys' fees (.3); reviewed edits to scheduling report in
                                      Magness case and finalized and filed same (.6).
03/13/15   K M Sadler            1.80 Reviewed status of net winner litigation (1.5); reviewed and
                                      responded to emails from Powers regarding magness (.3)
03/16/15   D T Arlington          .30 Communicated with team regarding discovery request concerning
                                      attorneys' fees and reviewed related communications with counsel.
03/16/15   S Faridifar           6.10 Call with S. Powers and K. Willis regarding claims against net
                                      winners and next steps (.5); drafted and revised response to motion to
                                      sever filed by 2590 Associates and Mid-South (5.6).
03/16/15   S D Powers            2.70 Phone conference with S. Faridifar and K. Willis regarding planning
                                      and preparation for net winner trial (.5); drafted letter to P. Preis
                                      regarding calculation of net winner fees and drafted, reviewed emails
                                      regarding same (2.2).
03/17/15   S Faridifar           3.00 Revised response to motion to sever per comments from S. Powers
                                      and addressed related issues, including conducting research in federal
                                      case law regarding          (1.4); prepared appendix in support of
                                      response (.3); call with K. Willis regarding Ringtail research and
                                      addressed issues related to conducting document review in
                                      connection with net winner claims (.8); finalized and filed response to
                                      motion to sever (.5).
03/17/15   S D Powers             .80 Conferred with B. Day regarding                                and
                                      analyzed data regarding same.
03/17/15   S D Powers             .50 Reviewed and commented on draft response to motion to sever
                                      related net winners.
03/17/15   K M Sadler             .60 Reviewed draft response to net winner motion to sever (.6)
03/17/15   K D Willis            1.30 Review Fifth Circuit opinion, net winner spreadsheet, and internal
                                      memoranda in preparation for discussion with S. Powers.
03/18/15   B A Day                .10 Corresponded with S. Powers concerning claims against Moragne
                                      (0.1).
03/18/15   M R Dwertman          3.80 Drafted and revised Receiver's notice to join in Goldsmith's motion to
                                      stay FINRA arbitration.
03/18/15   S Faridifar           2.80 Drafted and revised requests for production to defendants in net
                                      winner lawsuits and exchanged emails with S. Powers regarding same




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                               Hours                               Description
                                       (2.2); reviewed and analyzed information regarding
                                                            (.6).
03/18/15   S D Powers            2.40 Analyzed issues regarding                            conferred
                                      with K. Sadler regarding same, and drafted
                                           (2.2); reviewed and commented on draft discovery to net winner
                                      defendants (.2).
03/18/15   K M Sadler             .80 Reviewed draft letter                              and emails to
                                      Powers regarding same (.8)
03/18/15   K M Sadler             .40 Emails to/from Powers regarding Magness joinder issue (.4)
03/19/15   B A Day               1.20 Discussed                                  with S. Powers (0.2);
                                      reviewed status of                        and documents with respect
                                      to same (0.8); corresponded with S. Faridifar concerning status of any
                                      net-winnings disputes under the Additional MPSJ (0.2).
03/19/15   M R Dwertman          2.40 Met with S. Powers to discuss assignment (.1); drafted
                                                                 (2.3).
03/19/15   S Faridifar           1.20 Exchanged emails with B. Day regarding additional MPSJ and net
                                      winnings calculation protests (.2); reviewed email from S. Powers
                                      regarding requests for production (.1); revised interrogatories to
                                      defendants and exchanged emails with S. Powers regarding same (.9).
03/19/15   S D Powers            1.80 Drafted, reviewed emails regarding
                                      (.2); exchanged emails with S. Faridifar regarding discovery requests
                                      to remaining defendants (.3); analyzed                           and
                                      drafted emails to M. Russell regarding additional investigation
                                      regarding same (1.3).
03/19/15   K M Sadler             .60 Emails to/from Powers regarding                                (.6)
03/20/15   M R Dwertman           .10 Revised
03/20/15   S Faridifar           1.20 Addressed issues regarding discovery requests to net winner
                                      defendants (.2); call with K. Willis regarding document review,
                                      discovery, and next steps, and exchanged emails regarding same
                                      (1.0).
03/20/15   S D Powers            3.00 Conferred with Magness's counsel regarding logistics issues,
                                                                                     regarding Magness
                                      case with K. Sadler (.8); analyzed claims against Weiselberg
                                      defendants to determine                             for this defendant
                                      group (2.2).
03/20/15   K M Sadler             .60 Conference with Powers regarding discussions with Magness on
                                      further proceedings              (.6)
03/20/15   K D Willis            4.10 WebEx with Ringtail team to familiarize myself with Ringtail
                                      platform and relevant searches (1.2); review


                                              (.5); search Ringtail
                                                            (2.4).




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                               Hours                                Description
03/23/15   M R Dwertman           .20 Revised
03/23/15   S Faridifar           3.10 Reviewed documents related to                  and certain net winner
                                      defendants (1.8); conducted searches on Ringtail for documents
                                      related to investor-defendant        (.5); addressed issues related to
                                      reviewing documents related to net winner defendants and exchanged
                                      emails with K. Willis regarding same (.8)
03/23/15   S D Powers             .90 Reviewed and revised                                            and
                                      drafted, reviewed emails regarding same.
03/24/15   T M Barnard           5.60 Draft, revise and serve discovery requests.
03/24/15   S F Cagniart          2.10 Discussed next steps in Magness litigation with S. Powers (0.4);
                                      began reviewing file and prior pleadings (1.7).
03/24/15   S Faridifar           2.60 Exchanged emails with K. Willis and T. Barnard regarding discovery
                                      requests to net winner defendants and addressed related issues (1.6);
                                      reviewed and analyzed issues related to net winner defendants'
                                      MI/MOs and conferred with S. Powers regarding same (1.0).
03/24/15   S D Powers             .80 Reviewed                                                      and
                                      drafted, reviewed emails regarding same.
03/24/15   K D Willis            4.10 Give directions to T. Barnard regarding discovery requests to go out
                                      to all the net winners (.3); review template discovery requests (.4);
                                      review and revise first round of discovery requests (.8); meet with
                                      FTI Consulting to set up review tabs for review
                                                  (.5); review documents                            (2.1).
03/25/15   T M Barnard           7.90 Draft, revise and serve discovery requests.
03/25/15   B A Day               4.90 Updated drafts of                       and created detailed summary
                                      of status of             for S. Powers's review (4.9).
03/25/15   S Faridifar           1.00 Conferred with B. Day, K. Willis, and T. Barnard regarding issues
                                      related to serving discovery requests on net winner defendants.
03/25/15   K D Willis            2.90 Review and edit next round of discovery requests (1.5); analyze best
                                      approach to searching and categorizing the                       (.6);
                                      review                           (.8).
03/26/15   T M Barnard           5.80 Draft, revise and serve discovery requests.
03/26/15   B A Day               1.50 Corresponded with B. Rodine concerning his several motions to
                                      withdraw (0.2); discussed                                  with
                                      opposing counsel (0.2); discussed
                                                                  with S. Powers and reviewed
                                      correspondence concerning same (0.3); discussed status of
                                            with S. Powers and                        (0.8).
03/26/15   M R Dwertman           .90 Revised
                                      (.2); drafted post-settlement motions to dismiss (.7).
03/26/15   S Faridifar            .90 Exchanged emails with S. Powers, K. Willis, B. Day and J. Barnard
                                      regarding serving discovery requests on various net winner
                                      defendants and related issues.




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                               Hours                                Description
03/26/15   S D Powers            4.30 Conferred with LaFuze's counsel regarding                         and
                                      drafted, reviewed emails regarding same (.2); exchanged emails with
                                      S. Faridifar regarding discovery requests (.2); reviewed Rodine
                                      motions to withdraw (.2); analyzed issues regarding
                                                   and conferred with B. Day and K. Sadler regarding same
                                      (.7); reviewed and analyzed issues regarding                  and
                                      conferred with K. Sadler and with B. Day regarding same (3.0).
03/26/15   K D Willis            2.10 Review and revise latest set of discovery requests (.6); review
                                                    documents (1.5).
03/27/15   T M Barnard           6.60 Draft, revise and serve discovery requests.
03/27/15   B A Day               2.20 Corresponded with counsel for the Poags concerning
                                                (0.4); corresponded with B. Rodine concerning motion to
                                      withdraw with respect to Timothy Johnson and John Holguin (0.2);
                                      discussed                                    with S. Powers and R.
                                      Womack (0.8); reviewed
                                                                                                    (0.8).
03/27/15   M R Dwertman          2.60 Drafted post-settlement motions to dismiss (.6); drafted and revised
                                                                        (2).
03/27/15   S Faridifar           1.30 Prepared for and participated on call with S. Powers and K. Willis
                                      regarding discovery and documents review issues related to net
                                      winner defendants (.6); exchanged emails with B. Day and T. Barnard
                                      regarding issues related to discovery requests (.2); addressed issues
                                      regarding filing notice of discovery (.5).
03/27/15   S D Powers            3.00 Reviewed emails regarding                          and conferred with
                                      B. Day regarding same (.5); reviewed
                                                                 and drafted, reviewed emails regarding same
                                      (1.5); phone conference with S. Faridifar and K. Willis regarding
                                      status of discovery and investigation activities for
                                              (.5); analyzed issues regarding
                                                                                                 (.5).
03/27/15   K D Willis            6.70 Review and revise discovery requests (.6); Review and code
                                                  (6.1).
03/30/15   T M Barnard           7.50 Prepare, revise and serve discovery requests.
03/30/15   S F Cagniart          3.60 Reviewed pleadings and file (1.2); reviewed and revised draft
                                      protective order circulated by opposing counsel (0.6); reviewed
                                      pleadings filed against and by Gary Magness in his individual
                                      capacity and drafted agreed motion to sever claims against Magness
                                      and consolidate them in the GMAG LLC action (1.8).
03/30/15   B A Day                .10 Corresponded with S. Powers and S. Faridifar concerning
                                                                                                 (0.1).
03/30/15   M R Dwertman           .60 Combined motions to dismiss settling defendants into a single motion
                                      per case and sent to S. Powers for review.
03/30/15   S Faridifar           2.00 Exchanged emails with T. Barnhart and K. Willis regarding serving
                                      discovery requests on net winner defendants and addressed related




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                                  Hours                                Description
                                          issues (.5); met with M. Lubke regarding reviewing documents
                                          related to net winner defendants and related issues (.7); prepared
                                          notices of discovery requests for filing and addressed related issues,
                                          including filing same (.8).
03/30/15     M W Lubke              .60 Reviewed documents in preparation for document review on
                                        defendant net winners to determine


03/30/15     S D Powers            1.00 Reviewed and revised Moran motion to dismiss (.2); reviewed
                                                                                       and drafted,
                                        reviewed emails regarding same and regarding
                                                                              (.8)
03/30/15     K M Sadler             .60 Reviewed issues regarding              and status regarding net winner
                                        litigation (.6)
03/31/15     T M Barnard           8.50 Prepare and serve discovery requests in Janvey v. Alguire.
03/31/15     S F Cagniart          1.70 Reviewed and edited proposed confidentiality agreement in Magness
                                        litigation.
03/31/15     B A Day                .10 Corresponded with S. Faridifar concerning
                                        (0.1).
03/31/15     S Faridifar            .50 Addressed issues related to emails from net winner defendants and
                                        attorneys for defendants served with discovery requests, including
                                        providing relevant information regarding defendants to S. Powers.
03/31/15     M W Lubke              .80 Reviewed documents in preparation for document review on
                                        defendant net winners to determine which net winners


03/31/15     S D Powers             .40 Reviewed emails from investors regarding discovery requests and
                                        analyzed status of D. Bryant's representation of investor Haddad and
                                        drafted, reviewed emails regarding same.
             Matter Total        223.20


           079716.0129      Claims Management
                                  Hours                                 Description
03/01/15     K M Sadler             .80 Reviewed distribution information and stats (.4); emails to/from
                                        Arlington regarding follow up questions (.4)
03/02/15     M R Dwertman          4.80 Drafted email to purchaser re: claim groups
                                                (.6); drafted confirm requests for claim groups
                                        (.2); reviewed background documentation for claim groups
                                                (.7); reviewed notices of transfer for claim groups

                                          (2.6); communicated with Gilardi re: claim groups

                                                                        (.5); updated spreadsheet (.2)
03/02/15     J M Himmel            1.00 Reviewed certification forms for claim groups




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                               Hours                                 Description

                                              and saved copies of same to their respective folders.
03/03/15   M R Dwertman          2.50 Reviewed notice of transfer for claim group            (.3); reviewed
                                      background documentation for claim group              (.1); drafted email
                                      to purchaser re: claim groups

                                       (1.7); updated spreadsheet (.2); drafted confirm request for claim
                                       group        (.1); communicated with Gilardi re: claim group
                                       (.1).
03/05/15   D T Arlington          .10 Addressed investor inquiry.
03/05/15   B A Day               1.20 Corresponded with M. Dwertman concerning claim-transfer issues
                                      and status of review and acknowledgement (1.2).
03/05/15   M R Dwertman          3.80 Sent completed acknolwedgement to purchaser and examiner for
                                      claim group        and bulk transfer of 11 claim groups from Fulcrum
                                      to FH Stanford (.2); moved files to reflect completion and updated
                                      spreadsheet (.1); communicated with purchaser re: claim groups
                                                                                (.4); sent confirmation
                                      requests for claim groups

                                                      (1.6); reviewed revised proposed transfers for claim
                                       groups                                              (.7); download new
                                       transfer notices and see fee inquiry for claim groups               (.2);
                                       updated spreadsheet (.3); discussed transfers with Fulcrum (.1);
                                       searched for seller contact information for claim group         (.1);
                                       contacted             re: claims question (.1).
03/06/15   M R Dwertman          2.30 Spoke with            , looked up claim status in Portal, and drafted e-
                                      mail to B. Day concerning claim group          (.2); sent confirmation
                                      request for claim group        (.1); reviewed revised notice of transfer
                                      for claim group       (.1); drafted acknowledgements for claim
                                      groups
                                      (1.5); communicated with purchaser re: claim group            (.1);
                                      updated spreadsheet (.3).
03/08/15   M R Dwertman           .10 Reviewed communication from sellers and updated spreadsheet to
                                      reflect confirmations.
03/09/15   B A Day                .10 Discussed status of Fulcrum transfers with M. Dwertman (0.1).
03/09/15   M R Dwertman          1.30 Reviewed documentation for claim group             and communicated
                                      with purchaser (.3); sent notice of transfer re: claim groups
                                              to purchaser and examiner (.1), saved transmittal email, and
                                      moved documents to completed transfer folder (.2); reviewed
                                      certifications for claim groups                     (.1); answered seller
                                      inquiry re: claim group       (.1); reviewed additional documentation
                                      for claim groups                  (.4); sent confirmation request for
                                      claim group          (.1).
03/10/15   M R Dwertman          1.30 Sent confirmation request for claim group        (.1); answered
                                      inquiry from purchaser re: claim group        (.1); sent notice of
                                      transfer for claim group      to purchaser and examiner, saved




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                               Hours                                Description
                                       transmittal e-mail, and moved files to completed transfers folder (.1);
                                       resolved questions concerning foreign documentation for claim group
                                             and sent e-mail to purchaser requesting revised transfer and
                                       additional documentation (.5); review additional documentation re:
                                       claim group        and answer purchaser question (.2); review proof of
                                       claim forms for claim groups                    and respond to
                                       question for examiner (.3).
03/10/15   K M Sadler             .50 Reviewed claims transfer issues (.5)
03/11/15   M R Dwertman           .40 Acknowledged notice and subsequent notice of transfer for claim
                                      group       and sent to Gilardi (.3); updated spreadsheet to reflect
                                      incoming confirmations (.1).
03/16/15   M R Dwertman          3.00 Sent completed transfers for claim groups
                                                                   to purchaser and examiner (.5); saved
                                      transmittal emails, moved files to complete folder, and updated
                                      spreadsheet (.5); drafted acknowledgements for claim groups
                                                                                                (1.9);
                                      reviewed transfer communication from J. Himmel (.1).
03/16/15   J M Himmel            1.40 Reviewed additional documentation provided by purchaser for claim
                                      groups                 to determine whether there is authority to sell
                                      the claim and communicated with M. Dwertman regarding same
                                      (1.3); drafted confirmation requests for claim groups
                                      (.1).
03/17/15   B A Day                .20 Provided guidance to M. Dwertman concerning two Contrarian
                                      notices of transfer and sent her confirmations relating to claims
                                      transferred by                    (0.2).
03/17/15   M R Dwertman          4.40 Drafted acknowledgements for claim groups
                                           (.9) ; sent completed acknowledged transfers for claim groups

                                                           to Gilardi, purchaser, and examiner (1.8); saved
                                       transmittal e-mails, moved completed transfers and updated
                                       spreadsheet (.8); responded to purchaser inquiry re: claim groups
                                                        (.3); drafted confirmation requests for claim groups
                                                                   (.3); reviewed revised transfer for claim
                                       group         (.1); reviewed incoming confirmation e-mails for claim
                                       groups                      (.1); responded to claimant voicemail (.1).
03/18/15   M R Dwertman          1.30 Communicated with                                      (.1);
                                      communicated with purchaser re: claim groups                   (.2);
                                      reviewed revised transfer for claim group        (.1); responded to
                                      inquiry from counsel for claim group      (.1); reviewed transfer
                                      notices for and communicated with Gilardi about claim groups
                                                (.7); updated spreadsheet (.1).
03/19/15   D T Arlington          .10 Communicated with team regarding claims report.
03/19/15   B A Day                .20 Corresponded with D. Arlington regarding status of next claims
                                      report (0.2).
03/19/15   M R Dwertman           .20 Re-sent confirmation request for claim group          (.1); sent




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                               Hours                                 Description
                                       confirmation request for       and updated spreadsheet (.1).
03/23/15   B A Day                .20 Discussed status of Fulcrum notices of transfer with M. Dwertman
                                      (0.2);
03/24/15   B A Day                .10 Briefly discussed issues with respect to notices of transfer with M.
                                      Dwertman (0.1).
03/24/15   M R Dwertman          5.90 Acknowledged transfer for claim group             , sent to Gilardi,
                                      purchaser, and examiner (.4); review subsequent transfers for claim
                                      groups                      (.3); communicated with purchaser re: claim
                                      group          (.1); communicated with seller re: claim group
                                      (.1); sent confirmation requests for claim groups
                                                           (.3); communicated with purchaser re: claim group
                                             (.1); discussed transfer issues with B. Day (.1); communicated
                                      with purchaser re: bulk transfer to CVI AA Lux (.1); reviewed (initial
                                      and revised) bulk transfers from Fulcrum to CVI AA, CVIC, and
                                      CVIC II (2); acknowledged bulk transfers (.7); sent acknowledged
                                      transfers to purchaser and examiner, saved transmittal e-mails, and
                                      moved files to bulk transfer folders (.3); updated spreadsheet (.3);
                                      reviewed subsequent bulk transfer from Fulcrum Distressed to
                                      Wingspan, acknowledged transfer, sent to purchaser and examiner,
                                      and moved files to corresponding bulk transfer folder (1.1).
03/25/15   M R Dwertman          1.60 Reviewed and acknowledged subsequent bulk transfer from Fulcrum
                                      to CVI CVHF (.7); sent completed acknowledgement to Gilardi,
                                      purchaser, examiner, and updated spreadsheet and files (.2);
                                      acknowledged transfer for claim group        and sent to Gilardi,
                                      purchaser, and examiner (.3); acknowledged transfer for claim group
                                           and sent to Gilardi, purchaser, and examiner (.3); updated
                                      spreadsheet (.1).
03/26/15   M R Dwertman          2.90 Reviewed notice of bulk subsequent transfer of 15 claim groups from
                                      Fulcrum to CVI CVF II and drafted notification to Gilardi (1.7);
                                      communicated with purchaser concerning revisions to this proposed
                                      bulk transfer (.2); reviewed revised proposed subsequent bulk transfer
                                      from Fulcrum to CVI CVF II (.2); acknowledged subsequent transfer
                                      (.2); sent to purchaser and examiner (.2); communicated with
                                      purchaser re: claim group        (.1); sent completed
                                      acknowledgement for claim groups                     to purchaser and
                                      examiner (.1); saved transmittal e-mails, updated files and
                                      spreadsheet (.2).
03/27/15   B A Day               4.50 Began drafting 24th claims and distribution report and gathered data
                                      in support of same (4.1); discussed claims-related issues with M.
                                      Dwertman (0.4).
03/27/15   M R Dwertman          1.50 Reviewed communication from B. Day (.2); spoke with Fox Hill
                                      Capital (.1); sent confirmation request for claim group       (.1); re-
                                      sent confirmation request to Galantes seeking clarification (.1);
                                      discussed claim certs with B. Day (.2); e-mailed 40 claim certs to
                                      claim purchasers (.5); updated spreadsheet (.3);
03/30/15   B A Day               3.20 Continued drafting 24th claims report (3.2).




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                                   Hours                                Description
03/30/15     M R Dwertman            6.80 Completed acknowledgements for claim groups
                                                  sent to purchaser and examiner, saved transmittal e-mails, and
                                          updated spreadsheet (1.1); reviewed notice of bulk transfer of 22
                                          claim groups from Fulcrum to Wingspan and communicated with
                                          purchaser regarding revisions (1.9); reviewed first revised notice of
                                          bulk transfer and communicated with purchaser regarding further
                                          revisions (.2); reviewed second revised notice of bulk transfer (.1);
                                          acknowledged notice of subsequent bulk transfer and sent e-mails to
                                          Gilardi, purchaser, and examiner (.6); reviewed notices of transfer for
                                          claim groups                   (.8); communicated with Gilardi re
                                          claim groups                   (.1); drafted and mailed hard copy
                                          confirmation requests for claim groups                    (.5);
                                          completed acknowledgement for claim group              and sent to
                                          Gilardi, purchaser, and examiner; re-sent outstanding confirmation
                                          requests for claim groups                                    and
                                          updated spreadsheet (.2); sent out 68 claim certifications to
                                          purchasers and updated spreadsheet (1.3).
03/31/15     B A Day                  .10 Communicated with S. Sizemore of FTI regarding fees and expenses
                                          for claims/distribution report (0.1).
03/31/15     M R Dwertman            2.90 Reviewed 23 claim certifications (.9); organized claim certifications
                                          previously prepared by Gilardi and sent out all claim certifications
                                          processed through March 31, 2015 (1.7); updated spreadsheet (.3).
             Matter Total          60.70


           079716.0133       Barnes, Ben
                                   Hours                                Description
03/01/15     K M Sadler               .20 Email to Powers regarding pre-trial deadlines and coordination with
                                          OSIC (.2)
03/02/15     D T Arlington            .20 Reviewed issues relating to Barnes pretrial materials.
03/02/15     L E Dodge                .90 Researched whistleblower documents cited in KVT's declarations
                                          (.9).
03/02/15     S D Powers              3.60 Reviewed and commented on pretrial materials (3.0); reviewed
                                          exhibits for possible inclusion on Barnes exhibit list and drafted
                                          emails regarding same (.6).
03/03/15     S D Powers              1.50 Conferred with J. Castillo regarding                and exchanged
                                          emails with K. Sadler regarding same (.3); reviewed and suggested
                                          revisions to MSJ response (1.2).
03/03/15     K M Sadler               .20 Reviewed issues regarding               (.2)
03/04/15     D T Arlington            .20 Reviewed Barnes
03/04/15     K M Sadler               .20 Emails to/from Castillo regarding                    (.2)
03/06/15     K M Sadler               .40 Conference with Examiner and OSIC counsel                    and
                                          review of draft letter (.4)




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                                   Hours                               Description
03/09/15     S D Powers               .70 Reviewed response to plaintiffs' motion for summary judgment (.3);
                                          exchanged emails with R. Janvey regarding preparation for testimony
                                          (.2); exchanged emails with J. Castillo regarding pretrial scheduling
                                          issues (.2).
03/11/15     K M Sadler               .20 Reviewed issues regarding              (.2)
03/12/15     S D Powers               .60 Analyzed trial preparation activities and drafted, reviewed emails
                                          regarding same.
03/12/15     K M Sadler               .30 Conference with counsel and Examiner regarding                     (.3)
03/13/15     D T Arlington            .30 Communicated with team regarding trial witness preparation.
03/13/15     S D Powers               .50 Reviewed and commented on response to motion to realign parties;
                                          reviewed emails regarding
03/16/15     S D Powers               .40 Drafted, reviewed emails regarding                         and trial prep
                                          scheduling issues.
03/16/15     K M Sadler               .80 Emails to/from counsel regarding                                (.4); emails
                                          to/from Alaniz                                (.4)
03/17/15     S D Powers               .10 Drafted, reviewed emails regarding                   and trial preparation
                                          scheduling.
03/17/15     K M Sadler               .60 Reviewed issues regarding              and emails to/from counsel
                                          regarding same (.6)
03/18/15     K M Sadler               .20 Reviewed and responded to emails regarding                           (.2)
03/19/15     S D Powers               .10 Reviewed emails regarding
03/19/15     K M Sadler               .20 Emails to/from Castillo regarding               (.2)
03/25/15     S D Powers               .50 Drafted, reviewed emails regarding Barnes                        and
                                          phone conference with J. Castillo and K. Sadler regarding same (.5).
03/25/15     K M Sadler               .40 Conference with Castillo and Powers regarding
                                          (.4)
03/30/15     S D Powers               .40 Reviewed and commented on Barnes
             Matter Total          13.70


           079716.0134       Wealth Management Services, Ltd./David Nanes
                                   Hours                               Description
03/02/15     D T Arlington           1.60 Reviewed and revised consulting agreement from IHC and addressed
                                          related issues (1.2); communicated with team regarding subpoena
                                          service issues (0.4).
03/02/15     L E Dodge               1.10 Researched
                                                                          (.5); researched unredacted
                                           subpoena served in August 2014 on the Department of State and U.S.
                                           Customs & Border Patrol (.6).




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                               Hours                                Description
03/04/15   D T Arlington          .20 Communicated with team regarding service of DOS subpoena.
03/04/15   L E Dodge             1.60 Prepared Department of State subpoena to send to Jerry Drake (.5);
                                      sent revised subpoena to Special Delivery for service (.1); researched
                                      P. Isler (she accepted service on the U.S. Customs and Border Patrol)
                                      (1.0).
03/04/15   K B Koscheski         1.00 Edited subpoenas to Department of Justice and U.S. Customs Border
                                      Patrol.
03/04/15   K M Sadler             .40 Reviewed Order and emails to/from Powers (.4)
03/09/15   L E Dodge              .20 Communicated with process server regarding status of service of
                                      subpoena on Department of State (.2).
03/12/15   D T Arlington          .20 Reviewed letter regarding subpoena to customs and border patrol and
                                      communicated with team regarding same.
03/13/15   D T Arlington          .70 Reviewed issues relating to DOS subpoena and communicated with
                                      team regarding same.
03/13/15   J M Himmel            1.70 Call with D. Arlington regarding the U.S. Customs and Border
                                      Protection's response to the Receiver's subpoena in the Wealth
                                      Management case (.2); Searched and coordinated with accounting and
                                      E. Reeder to determine which process server was utilized and confirm
                                      the subpoena contained all required appendices and emailed
                                      information regarding same to D. Arlington and K. Sadler (1.5).
03/13/15   E D Reeder            1.40 Researched service of subpoena on U.S. Customs in the 298 case and
                                      located proof of service (1.1); reported status to Janet Himmel and
                                      loaded to electronic file (.3).
03/13/15   K M Sadler             .40 Reviewed issues regarding request for records to CBP (.4)
03/16/15   J M Himmel            1.80 Researched requirements for serving a subpoena on Customs and
                                      Border Patrol under 19 CFR Sections 103.21 - 203.23 and sent email
                                      to D. Arlington summarizing and applying same to the subpoena
                                      previously served (1.6); discussion and emails with E. Reeder
                                      regarding applicability of FRCP 5.2 to subpoenas (.2).
03/16/15   K B Koscheski          .50 Emailed J. Himmel regarding subpoenas to Department of State and
                                      US Customs.
03/16/15   E D Reeder             .50 Research of court rules regarding redacting and privacy and
                                      forwarded findings to Janet Himmel.
03/17/15   D T Arlington          .30 Communicated with team regarding issues relating to amended
                                      Department of State subpoena.
03/17/15   J M Himmel             .60 Research and emails with D. Arlington and E. Reeder regarding the
                                      redaction requirement of FRCP 5.2 as applied to the subpoena to
                                      Customs and Border Patrol for information pertaining to Nanes and
                                      his wife.
03/17/15   E D Reeder            1.00 Reviewed previously filed subpoena notices for examples (.4);
                                      reviewed local rules regarding redacting private information and
                                      filing unredacted under seal (.3); reported findings to Janet Himmel




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                                    Hours                               Description
                                            (.3).
03/20/15     D T Arlington             .80 Communicated with team regarding subpoena request your
                                           department of state (0.2); communicated with team regarding service
                                           on customs and border patrol (0.1); reviewed status of investigation
                                           and communicated with Mendosa regarding same (0.5)
03/20/15     L E Dodge                 .30 Contacted process server for proof of service on Department of State
                                           subpoena (.3).
03/20/15     J M Himmel                .10 Emails to and from D. Arlington and K. Sadler regarding preparing
                                           and serving the amended subpoena to Customs and Border Control.
03/20/15     K M Sadler               1.00 Reviewed and responded to email from Roper (.2); reviewed report
                                           from investigator (.6); reviewed status of discovery requests (.2)
03/22/15     D T Arlington             .20 Reviewed report regarding investigation and communicated with
                                           team regarding related issues.
03/24/15     B A Day                   .10 Corresponded with L. Dodge and D. Arlington concerning WMSL
                                           subpoenas (0.1).
03/24/15     J M Himmel               1.40 Updated Nanes subpoena packet in preparation for service on
                                           Customs and coordinated with D. Arlington and E. Reeder regarding
                                           same.
03/24/15     E D Reeder               2.10 Reviewed subpoena to Department of Homeland Security and
                                           assisted Janet Himmel with redacting same (.4); prepared final
                                           document and forwarded to process server (.4); monitored progress of
                                           service and reported to Kevin Sadler (.3); drafted notice of subpoena
                                           and efilled same (1.0).
03/25/15     J M Himmel                .90 Reviewed declaration provided by Word Processing for accuracy and
                                           updated same for use in the new Nanes subpoena to Customs, sent
                                           same along with new subpoena form to K. Sadler and D. Arlington
                                           for signature.
03/25/15     K M Sadler                .30 Emails to/from Himmel regarding subpoena (.3)
03/26/15     J M Himmel                .10 Updated subpoena and declaration and brought hard copy to D.
                                           Arlington for signature.
03/31/15     J M Himmel                .10 Updated subpoena and declaration with current date and sent same to
                                           D. Arlington for signature.
             Matter Total           22.60


           079716.0136       Janvey, Ralph S., Receiver vs. Dillon Gage, Inc.
                                    Hours                               Description
03/02/15     B A Day                  5.40 Reviewed documents, pleadings, and discovery papers in Dillon Gage
                                           lawsuit and discussed         and logistics with respect to same with
                                           L. Dodge and K. Sadler (5.1); corresponded with L. Fontaine, counsel
                                           for Dillon Gage, concerning prior discovery-related correspondence
                                           (0.3).




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                               Hours                                Description
03/03/15   D T Arlington          .20 Communicated with team regarding summary judgment issues.
03/03/15   B A Day               8.30 Continued reviewing evidence and other materials in the Dillon Gage
                                      lawsuit and discussed issues with respect to same with FTI, K. Sadler,
                                      C. Norfleet, and L. Dodge (8.3).
03/03/15   L E Dodge             1.40 Supervised organization of production from Pre-War and Gagosian
                                      Gallery (.4); performed data recognition service on documents
                                      provided by Dillon Gage (.7); followed up with litigation support
                                      regarding Summation database (.3).
03/03/15   C J Norfleet          1.90 Prepare for and participate in phone conference with Brendan Day
                                      regarding               document review (.6); analyze transcript from
                                      prior litigation to identify relevant admissions and evidence (1.3).
03/03/15   K M Sadler            1.00 Reviewed issues regarding expert report and pre-trial matters (1.0)
03/03/15   K M Sadler             .80 Reviewed issues regarding Dillon Gage discovery and trial prep (.8)
03/04/15   B A Day               8.10 Reviewed P. French and M. Reynolds opposing expert opinions in
                                      preparation for discussion with respect to same with K. Van Tassel
                                      and FTI (3.3); reviewed additional relevant pleadings, orders, and
                                      other evidence for use in Dillon Gage lawsuit

                                       (2.7); prepared for and attended conference call with Stanford staff
                                       and Gilardi to discuss coin & bullion claims (0.6); attended
                                       conference call with K. Van Tassel and FTI concerning supplemental
                                       declaration and expert disclosures in the Dillon Gage lawsuit (1.5).
03/04/15   L E Dodge             1.20 Reviewed unitization of SCB's production (.8); supervised review
                                                                (.2); reviewed
                                                            (.2).
03/04/15   S Faridifar            .70 Provided B. Day with information for KVT declaration.
03/04/15   D K Jackson           7.00 Unitized and indexed Gagosian Gallery and P production on shared
                                      drive (6.20); Created an index for DG telephone conversations (.8)
03/04/15   C J Norfleet          1.70 Analyze documents produced by Dillon Gage to identify relevant
                                      material.
03/04/15   E D Reeder            1.10 Contacted clerk of the court and court reporter regarding order of
                                      record on appeal (.9); met with Brendan Day regarding existing trial
                                      transcripts and updating them with the reporter's record copies (.2).
03/05/15   D T Arlington          .20 Communicated with team and counsel regarding appellate briefing
                                      schedule.
03/05/15   B A Day               4.50 Reviewed and located documents and other information for potential
                                      use in Karyl Van Tassel expert report in Dillon Gage case (4.5).
03/05/15   L E Dodge             1.60 Analyzed production and instructed
                                                                                                      (.7);
                                       sent instructions to FTI to search SCB custodial files for SIB or CD
                                       terms (.6); prepared list of depositions in Dillon Gage and Pre-War
                                       Art matters for B. Day (.3);




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                               Hours                                 Description
03/05/15   D K Jackson           7.00 Reviewed and indexed DG telephone .wav files
03/05/15   C J Norfleet          3.70 Analyze documents produced by Dillon Gage to identify relevant
                                      material.
03/05/15   E D Reeder             .60 Contacted court reporters regarding record on appeal and reported
                                      status to Brendan Day and Stephanie Cagniart.
03/05/15   M P Schwartz           .40 Perform database maintenance.
03/06/15   B A Day               9.70 Reviewed 200 documents
                                                                                      (2.5); updated Dillon Gage
                                       task list in anticipation of and as result of meeting with K. Sadler and
                                       C. Norfleet and discussed related tasks with L. Dodge and M.
                                       Dwertman (2.3); conference call with C. Norfleet concerning status of
                                       reviews and other tasks (0.7); attended conference call with K. Sadler
                                       and C. Norfleet concerning Dillon Gage litigation tasks
                                       (1.0); reviewed 400 documents
                                                                        (3.2).
03/06/15   L E Dodge              .40 Researched Pre-War trial transcripts (.4).
03/06/15   D K Jackson           6.30 Reviewed and indexed DG telephone .wav files with regard to
                                      transcript and audio trial exhibits.
03/06/15   C J Norfleet          5.00 Meet with trial team to develop              document review, expert
                                      disclosures, and additional discovery (1.2); analyze documents
                                      produced by Dillon Gage and prepare timeline of relevant material
                                      (2.8); analyze documents produced by receiver to identify relevant
                                      material (1.0).
03/06/15   A L Payne              .60 Convert key documents into electronic PDF format for attorney
                                      review.
03/06/15   E D Reeder            2.00 Followed up with two court reporters regarding pre-war trial
                                      transcripts and exhibits and ordered same (.7); reviewed transcripts
                                      obtained after the trial and discussed replacement of copies without
                                      "draft" stamp with trial reporter (.5); reviewed the record delivered by
                                      the clerk and loaded onto electronic filing systems (.8).
03/06/15   K M Sadler            1.50 Conference with Norfleet and Day regarding trial prep
                                      and tasks/projects (1.5)
03/06/15   M P Schwartz          1.50 Perform maintenance on the database.
03/07/15   B A Day               7.30 Reviewed 1,800 documents
                                                 (7.3).
03/07/15   C J Norfleet           .50 Analyze transcript from prior litigation to identify relevant admission
                                      and evidence.
03/07/15   M P Schwartz           .80 Create tiff images and load documents into the database.
03/08/15   B A Day               1.50 Reviewed 647 documents
                                                 (1.5).
03/08/15   C J Norfleet          2.20 Analyze receivership produced documents to identify and categorize




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                               Hours                                Description
                                       relevant material.
03/08/15   M P Schwartz           .60 Create images and load images into the database.
03/09/15   B A Day               9.60 Began drafting
                                                               (8.8); provided direction to M. Dwertman
                                       concerning review of documents
                                                        (0.8).
03/09/15   L E Dodge             1.10 Searched
                                            (.8); met with D. Jackson to discuss analysis
                                      (.3).
03/09/15   M R Dwertman          7.10 Reviewed documents with search term "CD" in Stanford Coin &
                                      Bullion custodian files and tagged responsive documents.
03/09/15   D K Jackson           2.60 Indexed DG telephone .wav files with regard to persons on the call
                                      (.8); Saved audio transcripts to DG shared drive folder (.8); Reviewed
                                      and flagged
                                                                     (1.0)
03/09/15   C J Norfleet          2.70 Analyze receivership document production to
                                                                    (2.2); prepare summary of findings
                                      for Brendan Day (0.5).
03/09/15   E D Reeder            2.00 Followed up with court reporters regarding reporter's record delivery
                                      and payment for same (.7); received and reviewed portion of record
                                      prepared by a different reporter and loaded to electronic file (1.1);
                                      contacted second reporter regarding missing files (.2).
03/09/15   M P Schwartz          2.60 Load metadata from spreadsheets into the database.
03/10/15   B A Day              13.10 Continued drafting                                        and
                                      corresponded with K. Sadler, C. Norfleet, FTI, and K. Van Tassel
                                      concerning same (11.0); reviewed approximately 600 documents

                                               (2.1).
03/10/15   L E Dodge              .60 Reviewed Summation database for gaps in production and identified
                                      duplicate documents to be deleted (.6).
03/10/15   M R Dwertman          5.00 Reviewed              documents


03/10/15   A L Payne             1.50 Convert attorney research/background documents into PDF format.
03/10/15   E D Reeder            1.30 Received and reviewed trial transcripts from two different reporters
                                      (.4); sent several emails with court reporter and requested missing
                                      portions (.7); loaded to electronic files (.2).
03/10/15   K M Sadler             .50 Emails to/from Day re                                       (.5)
03/11/15   B A Day              13.90 Continued to draft and revised
                                                  including review and summarization of relevant exhibits
                                      and other materials (13.9).
03/11/15   L E Dodge              .30 Reviewed transcript searches                                       (.3).




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                               Hours                                Description
03/11/15   M R Dwertman          9.10 Reviewed documents
                                                                                                   (9.1).
03/11/15   D K Jackson           3.10 Reviewed


03/11/15   K B Koscheski         4.50 Searched

                                                                         (4.0); emailed and spoke to vendor
                                                                                 (.5).
03/11/15   A L Payne              .70 Format designated documents into PDF format and transfer to
                                      attorney shared drive.
03/11/15   E D Reeder             .60 Reviewed all files containing videos and summaries of same for
                                      mention of key terms pertinent to Stanford Coins and Buillion and
                                      reported findings to Brendan Day.
03/12/15   D T Arlington          .60 Communicated with team regarding                           and Paul
                                      Montgomery deposition request.
03/12/15   B A Day              11.50 Continued editing                              and reviewed exhibits
                                      for inclusion therein (7.9); attended conference call with K. Sadler
                                      and C. Norfleet to discuss Dillon Gage litigation tasks (0.5); attended
                                      conference call with K. Sadler, K. Van Tassel, and FTI to discuss
                                                                                 (0.6); discussed discovery
                                      dispute with Dillon Gage concerning request for testimony from
                                      consultant Paul Montgomery and discussed same with K. Sadler, D.
                                      Arlington, and P. Montgomery (2.0); discussed review of documents
                                      and analyses of recorded Dillon Gage phone calls with M. Dwertman
                                      (0.5).
03/12/15   M R Dwertman          7.80 Listened to 416 recordings of phone calls between Dillon Gage and
                                      Stanford Coins & Bullion, and completed attorney notes in
                                      spreadsheet (7.5); discussed task and summary of call content with B.
                                      Day (.3).
03/12/15   D K Jackson           3.50 Conducted a search for
                                                                    (3.0); Communicated with litigation
                                       support to resolve technical issues with Summation (.5)
03/12/15   K B Koscheski         4.50 Composed email

                                                       (1.0 ); took copies                    to vendor to be
                                       burned on a disc (.50); searched in Summation database
                                              (.50); called and emailed litigation support for help with
                                       technical diificulties with Summation database (1.0); retrieved disc
                                                                   from vendor and saved them to the shared
                                       drive (1.0); emailed path to B. Day along with email
                                                                  (.50).
03/12/15   C J Norfleet           .80 Prepare for and participate in phone conference with Kevin Sadler
                                      and Brendan Day regarding
03/12/15   E D Reeder             .40 Contacted litigation support for assistance with Summation transcript




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                               Hours                               Description
                                       searching problem and reported status to Brendan Day.
03/12/15   K M Sadler            3.10 Reviewed and provided comment on                       (1.9);
                                      conferences with expert and B. Day (.8); conference with Day
                                      regarding P. Montgomery (.4)
03/13/15   B A Day               5.80 Further drafted                                           in
                                      Dillon Gage lawsuit and communicated with FTI and K. Van Tassel
                                      concerning same (5.8).
03/13/15   M R Dwertman          3.10 Listened to audio recordings of phone calls between Dillon Gage and
                                      Stanford Coins & Bullion that were accompanied by metadata and
                                      completed attorney's notes.
03/13/15   S Faridifar           2.90 Met with B. Day regarding                    (.2); conducted online
                                      and Ringtail searches                                        and
                                      addressed related issues (2.7).
03/13/15   K B Koscheski         1.00 Sorted through printed copies of audio transcripts for various Pre-War
                                      Art, Inc. and Gagosian Gallery, Inc cases for most current version.
03/14/15   B A Day               2.30 Further revised                         and discussed same with FTI
                                      (2.3).
03/14/15   S Faridifar           1.00 Continued online search                                         and
                                      drafted email to B. Day regarding same.
03/15/15   B A Day              10.40 Continued to revise draft
                                                 and discussed same with K. Sadler, K. Van Tassel, and M.
                                      Russell (10.4).
03/16/15   B A Day               5.80 Finalized and served expert disclosures in the Dillon Gage lawsuit
                                      and discussed issues with respect to such disclosures with K. Sadler,
                                      K. Van Tassel, and M. Russell (5.8).
03/16/15   K M Sadler            2.90 Reviewed and provided comments on                 and emails
                                      to/from Day regarding same (2.2); reviewed discovery and disclosure
                                      issues (.7)
03/16/15   M P Schwartz          1.50 Load transcripts and render full-page PDF documents.
03/17/15   D T Arlington         1.10 Reviewed expert report and communicated with team regarding same
                                      (0.9); communicated with team regarding deposition requests (0.2).
03/17/15   B A Day               3.20 Corresponded with K. Sadler and opposing counsel regarding Dillon
                                      Gage's refusal to timely disclose its expert witnesses (1.0); attended
                                      conference call with K. Sadler and C. Norfleet concerning deposition
                                      preparation in the Dillon Gage lawsuit (0.3); drafted and filed notice
                                      of appearance in the Dillon Gage lawsuit (0.3); reviewed additional
                                      documents for possible use in the Dillon Gage litigation (0.6);
                                      corresponded with K. Van Tassel and R. Janvey concerning their
                                      availability for depositions in the Dillon Gage matter (0.3);
                                      summarized                                                       and
                                      corresponded with D. Arlington concerning same (0.7).
03/17/15   M R Dwertman           .80 Reviewed KVT expert declaration filed by B. Day.




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                               Hours                                 Description
03/17/15   D K Jackson           1.30 Saved                                   to shared drive


03/17/15   C J Norfleet           .80 Prepare for and participate in phone conference with Kevin Sadler
                                      and Brendan Day regarding               responding to 30(b)(6)
                                      deposition notice.
03/17/15   K M Sadler            3.30 Reviewed discovery, expert witness and                (2.5);
                                      conference with B. Day and C. Norfleet regarding tasks and
                                      assignments (.8)
03/18/15   B A Day               2.60 Discussed deposition scheduling                   with K. Sadler and C.
                                      Norfleet (0.5); corresponded with L. Fontaine concerning deposition
                                      availability for R. Janvey and K. Van Tassel (0.2); reviewed
                                      additional electronic files for potential use in the Dillon Gage lawsuit
                                      (1.9).
03/18/15   D K Jackson           1.10 Renamed                                               PDF's saved on
                                      the shared drive.
03/18/15   K M Sadler            2.50 Conferences with Norfleet and Day regarding discovery and tasks
                                      (1.0); reviewed discovery dispute correspondence (.5); reviewed
                                      issues regarding trial prep (1.0).
03/19/15   D T Arlington          .40 Researched issues relating to
                                                              and communicated with team regarding same.
03/19/15   B A Day               5.40 Provided guidance to C. Norfleet concerning supplement to
                                      Receiver's motion to dismiss and to M. Dwertman concerning bases
                                      for motion to strike Dillon Gage's late-designated experts (0.7);
                                      corresponded with K. Sadler, C. Norfleet, and M. Dwertman
                                      concerning Dillon Gage's "non-retained" and undisclosed experts and
                                      conducted legal research regarding same (0.6); prepared for and
                                      attended conference call with K. Sadler, C. Norfleet, and M.
                                      Dwertman concerning Dillon Gage litigation tasks                  and
                                      updated task list (2.5); corresponded with K. Sadler, C. Norfleet, and
                                      M. Dwertman concerning potential 30(b)(6) designations (0.4);
                                      corresponded with L. Fontaine concerning scheduling of 30(b)(6)
                                      deposition (0.3); reviewed and edited M. Dwertman's draft motion to
                                      strike (0.9).
03/19/15   L E Dodge              .60 Reviewed D. Jackson's research
                                                       (.6).
03/19/15   M R Dwertman          7.90 Participated in status call (.6); discussed motion to strike with B. Day
                                      (.3); drafted motion to exclude and to strike Dillon Gage's experts,
                                      and motion in support (3.9); drafted proposed order (.5); compiled
                                      appendix (.6); discussed drafts with B. Day (.4); revised motion,
                                      order, and appendix (1.1); discussed additional revisions with B. Day,
                                      updated appendix, and circulated to K. Sadler for review (.3);
                                      reviewed K. Sadler red-lines and incorporated revisions to create file-
                                      ready documents (.2).
03/19/15   D K Jackson            .70 Drafted emails to L. Dodge regarding completion of assigned projects
                                      in relation to U Miami and Dillon Gage (.3); Communicated with L.




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                               Hours                                 Description
                                       Dodge regarding
                                                            (.2); Reviewed
                                                (.2)
03/19/15   C J Norfleet          3.70 Phone conference with trial team regarding upcoming expert and
                                      discovery deadlines (0.8); research supplemental motion to dismiss
                                      counterclaims (2.5); phone conference from Brendan Day (0.4).
03/19/15   K M Sadler            2.90 Reviewed discovery dispute issues and deposition schedules (1.3);
                                      reviewed and revised motion to strike (.4); conference with trial team
                                      regarding tasks, assignments              (1.2);
03/20/15   B A Day               6.90 Drafted motion to quash Dillon Gage's subpoena of Paul
                                      Montgomery and conducted legal research relevant to same (4.3);
                                      finalized and filed motion to exclude Dillon Gage's late-disclosed
                                      testifying experts (0.5); drafted supplemental responses, answers, and
                                      objections to Dillon Gage's RFPs and interrogatories (2.1).
03/20/15   L E Dodge              .30 Reviewed research regarding fact witness declarations (.3).
03/20/15   M R Dwertman           .30 Reviewed Dillon Gage's Motion for Extension of Time to Respond to
                                      Receiver's Motion to Exclude or to Strike Dillon Gage's experts, and
                                      B. Day and K. Sadler comments concerning the same.
03/20/15   D K Jackson           4.20 Reviewed court papers and extracted

                                                                 (1.1); Saved
                                                                                                     to
                                       shared drive (3.1)
03/20/15   C J Norfleet          2.10 Research case law regarding motion to dismiss counterclaims (1.1);
                                      analyze
                                               (1.0).
03/20/15   K M Sadler            2.50 Reviewed issues regarding various discovery disputes with DG
                                      counsel (1.5); conference with Day regarding motion to quash
                                              (.5); reviewed issues regarding
                                                       (.5);
03/21/15   B A Day               1.00 Conducted legal research in support of motion to quash P.
                                      Montgomery subpoena served by Dillon Gage (1.0).
03/22/15   D T Arlington          .20 Communicated with team regarding Montgomery deposition.
03/22/15   B A Day               6.30 Conducted further legal research for motion to quash and to transfer
                                      such motion with respect to the P. Montgomery subpoena and
                                      completed draft of such motion (6.3).
03/22/15   M R Dwertman          1.40 Researched
                                                                   and drafted e-mail to B. Day concerning
                                       same.
03/22/15   K M Sadler            1.30 Reviewed issues regarding motion to quesh (.8); emails to/from B.
                                      Day regarding         (.5)
03/23/15   B A Day               7.70 Revised motion to quash, conferred with opposing counsel regarding
                                      same, drafted motions for pro hac vice admission, and filed and




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                               Hours                                Description
                                       served same (6.9); edited C. Norfleet's draft supplement to the
                                       Receiver's motion to strike and to dismiss Dillon Gage's
                                       counterclaims (0.5); corresponded with team concerning deposition
                                       scheduling logistics (0.3).
03/23/15   M R Dwertman           .60 Searched for
                                                                   (.4); reviewed Motion to Quash
                                       subpoena of P. Montgomery (.2).
03/23/15   D K Jackson           2.90 Reviewed court papers and extracted
                                                                                               and saved
                                       them to the shared drive (2.8); Communicated with L. Dodge
                                       regarding completion of the same (.1)
03/23/15   C J Norfleet          1.70 Draft supplemental motion to dismiss counterclaims.
03/23/15   K M Sadler            1.90 Reviewed issues regarding discovery/depositions prep
                                      (1.5); reviewed supplemental motion to dismiss (.4)
03/24/15   S F Cagniart          1.40 For Fifth Circuit appeal against Pre-War Art, gathered materials to
                                      review and began reviewing pleadings.
03/24/15   B A Day               3.50 Finalized and served supplemental objections, answers, responses,
                                      and production concerning Dillon Gage's discovery requests (1.6);
                                      submitted forms of appearance and registration with the Western
                                      District of Oklahoma in conjunction with motion to quash Dillon
                                      Gage's subpoena (1.3); reviewed revised supplement to motion to
                                      dismiss and discussed same with C. Norfleet (0.1); reviewed and
                                      revised response to Dillon Gage's motion for extension and discussed
                                      same with M. Dwertman (0.5).
03/24/15   M R Dwertman          3.10 Reviewed Dillon Gage's Motion for Extension and appendix in
                                      support of same (.3); drafted Receiver's Response to Dillon Gage's
                                      Motion for Extension (2.1); reviewed B. Day edits, made revisions,
                                      and checked document cites (.6); reviewed K. Sadler edits and made
                                      revisions (.1).
03/24/15   D K Jackson            .20 Applied


03/24/15   E D Reeder            2.30 Reviewed local rules and instruction from Brendan Day regarding
                                      same (.3); compiled materials for paper copy of motion to quash
                                      subpoena (.4); made revisions to the copies per instructions from
                                      Brendan Day (1.1); reviewed and finalized the paper pleading and
                                      arranged for delivery of same to court in Oklahoma (.5);
03/24/15   K M Sadler            1.80 Reviewed and provided comments on draft response to motion(.5);
                                      reviewed trial prep and deposition prep issues (1.3)
03/25/15   B A Day                .20 Filed and served K. Sadler's notice of appearance in the Western
                                      District of Oklahoma case concerning Dillon Gage's subpoena (0.2).
03/25/15   L E Dodge              .30 Reviewed                                (.3).
03/25/15   D K Jackson           3.60 Conducted Ringtail and Summation search
                                                             and compiled search results
                                                    in a folder on the shared drive (3.3); Communicated




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                                    Hours                                Description
                                            with K. Koscheski regarding Ringtail and Summation content
                                            searches regarding same (.2) Communicated with L. Dodge regarding
                                            completion of the same (.1)
03/25/15     K M Sadler              1.70 Reviewed trial prep issues             and discovery/deposition prep
                                          (1.2); Emails to/from Day regarding discovery and trial prep issues
                                          (.5).
03/26/15     S F Cagniart             .80 Continued reviewing district court materials in preparation for appeal.
03/26/15     B A Day                 1.10 Prepared for and attended conference call with M. Dwertman and C.
                                          Norfleet concerning Dillon Gage (0.5); discussed potential deposition
                                          preparation materials with D. Arlington (0.1); sent list of potential
                                          deposition preparation materials to K. Sadler (0.5).
03/26/15     M R Dwertman             .40 Participated in Dillon Gage status call (.4).
03/26/15     C J Norfleet            2.20 Phone conference with trial team to discuss upcoming motion and
                                          discovery deadlines (0.7); finalize and file supplement to motion to
                                          dismiss counterclaims (1.2); research documents to use in preparation
                                          for deposition of Ralph Janvey (0.3).
03/26/15     K M Sadler               .50 Reviewed discovery issues and Order (.5)
03/29/15     L E Dodge                .50 Assisted D. Jackson with Ringtail searches
                                                               (.5).
03/30/15     B A Day                 4.30 Revised and updated Dillon Gage task litigation deadlines and task
                                          list (4.3).
03/30/15     D K Jackson              .40 Searched shared drive for correspondence


03/31/15     B A Day                  .30 Corresponded with K. Sadler, C. Norfleet, and M. Dwertman
                                          concerning Dillon Gage litigation tasks (0.3).
             Matter Total         355.70


           079716.0139       Investor Committee Matters
                                    Hours                               Description
03/02/15     D T Arlington           3.50 Reviewed claims information and communicated with team and FTI
                                          regarding same and related requests             (2.1); prepared
                                          summaries regarding data requested           (0.8); reviewed media
                                          reports (0.2); coordinated regarding meeting with               and
                                          addressed related issues (0.4).
03/02/15     B A Day                 1.10 Discussed statistics related to                     and discussed
                                          issues with respect to same with FTI and D. Arlington.
03/02/15     S D Powers               .20 Drafted email to D. Buncher regarding Willis deposition.
03/03/15     D T Arlington           3.10 Communicated with team regarding client deposition in Willis case
                                          (0.1); further researched regarding claims issues in preparation for
                                          meeting with                 (2.9); communicated with team regarding




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                               Hours                                Description
                                       upcoming meeting with                 (0.1).
03/03/15   B A Day                .60 Communicated with FTI and D. Arlington concerning claims
                                      statistics and stratification analyses regarding SIBL accounts for
                                                     (0.6).
03/03/15   S D Powers            5.80 Extensive email correspondence and phone conferences regarding
                                      preparation for Willis deposition and possible agreement to resolve
                                      deposition and drafted, revised answers to deposition on written
                                      questions regarding same.
03/03/15   K M Sadler             .40 Emails to/from Buncher regarding
03/04/15   D T Arlington          .50 Communicated with team regarding                        (0.2);
                                      communicated with team regarding Janvey deposition preparation in
                                      Willis case (0.3).
03/04/15   S D Powers            6.50 Travel to Dallas for deposition prep session (2.5); prepared for Willis
                                      deposition with R. Janvey (4.0).
03/04/15   K M Sadler             .40 Emails to/from Snyder and Buncher regarding OSIC case issues (.4)
03/05/15   D T Arlington         4.30 Gathered and reviewed claim statistics and related information in
                                      preparation for meeting with           communicated with team
                                      regarding same.
03/05/15   B A Day               1.40 Prepared for D. Arlington's meeting with respect
                                                         and continued gathering information for same
                                      (1.4).
03/05/15   S D Powers            5.00 Prepare for and attend Receiver's deposition in Willis case (2.5);
                                      return travel to Austin (2.5).
03/05/15   K M Sadler            4.00 Reviewed                                    , memo from Arlington,
                                      and issues re claims process during travel to Dallas for meeting with
                                      Examiner, opposing counsel and OSIC counsel (4.0)
03/05/15   K M Sadler            1.00 Reviewed issues regarding deposition of Receiver regarding third
                                      party/class action discovery issues (1.0)
03/06/15   D T Arlington         8.10 Traveled to Dallas for meeting with the                (2.5); prepared
                                      for meeting and met with counsel for
                                      issues and related matters (3.0); returned from Dallas (2.6).
03/06/15   S D Powers             .80 Final review of                   and drafted, reviewed emails
                                      regarding same (.5); reviewed draft RFPs to Emageon in Merge case
                                      (.2); drafted email to E. Valdespino regarding status of JRT
                                      scheduling order (.1).
03/06/15   K M Sadler            3.00 Conference with Arlington re                          (1.0);
                                      conference with Examiner, opposing counsel and OSIC counsel re
                                                (2.0)
03/06/15   K M Sadler             .30 Conference with OSIC counsel re negotiations with defendant


03/09/15   B A Day                .20 Reviewed order from Magistrate denying Chadbourne's and




                                                                                   App. 246
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                               Hours                              Description
                                       Proskauer's motion to compel (0.2).
03/09/15   K M Sadler             .30 Emails to/from Powers re                                   (.3)
03/09/15   K M Sadler             .30 Reviewed R&R on motion to compel against Receiver (Chadbourne).
03/10/15   S D Powers             .40 Analyzed status of Merge, ALSAC, and Vingerhoedt matters and
                                      drafted, reviewed emails regarding same.
03/11/15   S D Powers             .10 Reviewed emails regarding Merge motion for continuance.
03/12/15   D T Arlington          .20 Communicated with team and Morgenstern regarding class damages
                                      issues (0.1); addressed media inquiry (0.1).
03/12/15   S D Powers             .10 Exchanged emails with E. Valdespino regarding scheduling and other
                                      issues in ALSAC and Vingerhoedt cases.
03/12/15   K M Sadler             .60 Conference with Examiner and OSIC counsel regarding
03/13/15   S D Powers             .40 Phone conference with E. Valdespino regarding scheduling and other
                                      issues in Vingerhoedt and ALSAC cases; drafted, reviewed emails
                                      regarding
03/13/15   K M Sadler             .20 Emails to/from Snyder regarding               (.2).
03/16/15   S D Powers             .40 Drafted, reviewed emails regarding


03/16/15   K M Sadler             .40 Reveiwed issues regarding                                 per emails
                                      from Powers.
03/16/15   K M Sadler             .10 Emails to/from counsel regarding
03/17/15   S D Powers            2.70 Multiple phone conferences and emails regarding various issues
                                      related to



03/17/15   K M Sadler             .40 Reviewed issues regarding
03/17/15   K M Sadler             .80 Conference with counsel and Examiner and Powers


03/18/15   B A Day                .20 Spoke with M. Hopson and E. Valdespino regarding Tolentino
                                      continuance (0.2).
03/18/15   S D Powers            1.10 Phone conference with OSIC counsel regarding residency of SIB
                                      claimants (.9); exchanged emails with E. Snyder regarding
                                                        (.2).
03/18/15   K M Sadler            2.00 Reviewed issues regarding third party injunction motion (1.0);
                                      conference with Examiner and OSIC counsel regarding class action
                                      issues (1.0)
03/19/15   S D Powers            1.00 Drafted, reviewed emails regarding                                  (.3);
                                      reviewed, edited                               (.3); drafted, reviewed
                                      emails regarding declaration to authenticate class certification
                                      evidence (.4).




                                                                                    App. 247
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                                    Hours                                 Description
03/19/15     K M Sadler               1.30 Conferences with Arlington and Powers (.4); reviewed issues
                                           regarding third party injunction motion (.4); emails to/from Examiner
                                           regarding FA injunction (.2); email to/from Receiver (.3).
03/19/15     K M Sadler                .40 Emails to/from Powers regarding
                                                  (.4)
03/20/15     S D Powers                .70 Drafted, reviewed emails regarding                      ; phone
                                           conference with E. Snyder and Tonarelli's counsel regarding


03/20/15     K M Sadler                .20 Reviewed email from Snyder and Powers                              (.2)
03/24/15     S D Powers                .70 Phone conference with E. Snyder and K. Sadler regarding possible
                                           KVT declaration for class certification and follow-up discussion with
                                           K. Sadler (.5); reviewed final                     (.2).
03/24/15     K M Sadler                .20 Emails to/from Powers regarding
03/26/15     D T Arlington             .20 Communicated with team regarding class counsel requests for data.
03/26/15     L E Dodge                 .30 Compiled SIBL annual reports (1999 to 2007) for E. Snyder (.3).
03/26/15     S D Powers                .80 Conferred with M. Murphy regarding status of
                                                         (.2); provided information to E. Snyder regarding
                                           advertising of SIB CDs and drafted, reviewed emails regarding same
                                           (.3); drafted, reviewed emails regarding requests for information from
                                           Fishman Haygood (.3).
03/27/15     S D Powers                .20 Drafted, reviewed emails regarding execution of


03/30/15     S D Powers                .30 Reviewed emails regarding                    and conferred with K.
                                           Sadler regarding same (.2); drafted, reviewed emails regarding J.
                                           Abraham request for Recommind access (.1).
03/31/15     S D Powers                .80 Reviewed revised                            and exchanged emails
                                           with D. Buncher regarding same (.5); conferred with E. Snyder
                                           regarding claims                 and possibility of cooperation
                                           agreement (.3).
             Matter Total           68.00


           079716.0147       Janvey, Ralph S., Receiver vs. Mauricio Alvarado
                                    Hours                                 Description
03/01/15     A Cuenin                 1.60 Drafted initial disclosures (1.6).
03/02/15     A Cuenin                10.50 Continued drafting initial disclosures (3.0); read and annotated


                                                       (7.2); confirmed transfer of documents to expert (.3).
03/02/15     L E Dodge                 .40 Organized and summarized documents                              (.4).




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                               Hours                                Description
03/02/15   K B Koscheski          .50 Searched 500 STAN production documents for blank pages (.4);
                                      emailed list of blank pages to L. Dodge (.1).
03/02/15   K B Koscheski         4.80 Continued adding descriptions of Bates numbered documents to
                                      index to keep track of when all production has been sent regarding
                                      Hamric, Rigby and Alvarado.
03/02/15   A L Payne              .70 Review prior production/pre-trial materials and format for attorney's
                                      review.
03/02/15   S D Powers             .10 Conferred with L. Dodge regarding document production issues.
03/03/15   A Cuenin              7.50 Continued reading                                   (6.5); called FTI
                                      about locating attachment (.3); set up call with opposing parties about
                                      scheduling order (.2); calculated range of proposed new deadlines to
                                      discuss with opposing counsel (.5).
03/03/15   K B Koscheski         5.80 Continued adding descriptions of Bates numbered documents to
                                      index to keep track of when all production has been sent regarding
                                      Hamric, Rigby and Alvarado.
03/03/15   A L Payne              .50 Review prior production/pre-trial materials and format for attorney's
                                      review.
03/04/15   T M Barnard           6.20 Review trial transcripts and hightlight and bookmark same.
03/04/15   A Cuenin              5.90 Drafted Rule 26(f) report (1.0); conference call with opposing
                                      counsel and preparation for same (1.6); called
                                                           (.1); reviewed receivership case files for
                                      additional materials
                                                               (1.8); continued reviewing
                                                                      (1.4).
03/04/15   A L Payne             1.70 Review prior production/pre-trial materials and format for attorney's
                                      review.
03/04/15   S D Powers             .80 Participated in scheduling conference with defendants and discussed
                                                      with A. Cuenin.
03/05/15   A Cuenin              6.90 Continued drafting Rule 26(f) report (2.2); reviewed and annotated
                                                                                  for use in lawyer
                                      defendants cases (1.2); began reviewing and annotating
                                      and exhibits for use in lawyer defendants cases (2.3); searched
                                      Ringtail                                                 (.5); reviewed
                                                     for possible use in lawyer defendants cases (.7).
03/06/15   A Cuenin              2.40 Continued reviewing and annotating                and exhibits for use
                                      in lawyer defendants cases (2.4).
03/06/15   L E Dodge              .20 Rescheduled court reporter for P. Maldonado's deposition (.2).
03/10/15   A Cuenin              2.20 Revised report of status conference and drafted agreed motion for
                                      continuance (2.2).
03/10/15   S D Powers             .20 Drafted, reviewed emails regarding extension of reply deadline for
                                      Rigby, Hamric.




                                                                                   App. 249
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                                    Hours                               Description
03/11/15     A Cuenin                 .70 Drafted proposed amended order on consolidation (.2); reviewed
                                                                                                      (.5).
03/12/15     K B Koscheski           1.50 Continued adding description of STAN RIGBY production
                                          documents to index.
03/13/15     K B Koscheski           3.50 Continued adding descriptions, dates, Bates ranges and Ringtail ID
                                          numbers to index for production to Alvarado.
03/16/15     K B Koscheski           4.00 Continued adding descriptions of production documents to index.
03/19/15     K B Koscheski           1.00 Continued adding descriptions and Ringtail IDs to production index.
03/20/15     S D Powers               .80 Revised draft motion for continuance and scheduling order report and
                                          forwarded to E. Snyder.
03/24/15     S D Powers               .10 Forwarded draft motion for continuance to defendants' counsel.
             Matter Total           70.50


           079716.0149       Ralph S. Janvey, Receiver vs. Libyan Investment
                                    Hours                               Description
03/20/15     K M Sadler               .40 Reviewed issues regarding supplemental briefing and discovery
                                          compliance with Order
03/23/15     S Faridifar              .70 Call with K. Sadler regarding discovery issues and exchanged emails
                                          regarding same (.2); reviewing LIA's supplemental responses to
                                          Receiver's first set of interrogatories (.5).
03/23/15     K M Sadler               .80 Conference with Court staff regarding motion to dismiss briefing and
                                          supplemental discovery (.2); emails to/from Powers and Faridifar
                                          regarding supplemental discovery and briefing (.4); reviewed LIA
                                          supplemental interrogatories (.2).
03/26/15     S Faridifar              .30 Reviewed LFICO's supplement responses to interrogatories.
03/26/15     S D Powers               .20 Reviewed LFICO interrogatory answers and exchanged emails with
                                          K. Sadler regarding further briefing regarding motion to dismiss.
03/27/15     P K Strebeck             .10 Searched for

             Matter Total            2.50


           079716.0151       Conzelman, James K.
                                    Hours                               Description
03/14/15     D T Arlington            .10 Communicated with team regarding status of litigation in light of
                                          Golf Channel opinion.
03/16/15     S F Cagniart             .20 Sent Golf Channel opinion to counsel for Conzelman and Johnson so
                                          that parties can conference regarding stayed trial date and scheduling
                                          order once the mandate issues in Golf Channel, in accordance with




                                                                                      App. 250
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                                    Hours                                Description
                                            the Court's order.
             Matter Total            0.30


           079716.0152       Distribution Plan Matters
                                    Hours                                Description
03/01/15     D T Arlington             .40 Reviewed distribution status statistics and communicated with team
                                           regarding same.
03/02/15     D T Arlington             .20 Communicated with team regarding request for additional distribution
                                           funds.
03/05/15     B A Day                   .60 Reviewed certification responses from                     and sent
                                           same to Gilardi (0.6).
03/18/15     D T Arlington             .40 Communicated with team and Examiner regarding bulk filer payment
                                           issues and researched same.
03/18/15     B A Day                   .10 Corresponded with               concerning extension request for
                                           claim certifications (0.1).
03/27/15     B A Day                   .50 Discussed certification requests and responses from claim purchasers
                                           with M. Dwertman and corresponded regarding same (0.5).
             Matter Total            2.20


           079716.0155       CD Claims Objections
                                    Hours                                Description
03/02/15     B A Day                   .90 Reviewed 10 objections and provided direction to Stanford staff
                                           concerning same (0.9).
03/06/15     B A Day                   .20 Discussed payee-change request from
                                                                             (0.2).
03/09/15     D T Arlington             .20 Reviewed and communicated with team regarding investor inquiries.
             Matter Total            1.30


           079716.0156       Breach of Fiduciary Duty Claims
                                    Hours                                Description
03/02/15     L E Dodge                 .20 Reviewed and organized LPH court transcript (.2).
03/02/15     M R Dwertman             5.10 Reviewed R. Fusco edits to Receiver's responses to Wingfield's First
                                           Interrogatories, responded to questions, and made revisions (1.9);
                                           reviewed R. Fusco edits to Receiver's responses to Wingfield's First
                                           Requests for Production, responded to questions, and made revisions
                                           (2.2); reviewed R. Fusco second-round edits to responses to
                                           interrogatories and sent to S. Powers for review (.6); reviewed R.
                                           Fusco second-round edits to responses to requests for production and




                                                                                       App. 251
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                               Hours                                Description
                                       sent to S. Powers for review (.4).
03/02/15   R W Fusco             8.50 Revised responses to Wingfield's RFPs and Interrogatories, including
                                      review of documents and pleadings in order to do same (7.5); revised
                                      court ordered status report (1.0).
03/02/15   J M Himmel            2.40 Drafted and edited the joint report of the discovery conference of the
                                      Receiver and defendants in the D&O case per guidance from R.
                                      Fusco and sent same to S. Powers and R. Fusco.
03/03/15   M R Dwertman           .60 Inserted chart of Stanford Financial Group payments to L. Wingfield
                                      into interrogatory responses, adjusted formatting, and sent to R.
                                      Fusco for review.
03/03/15   K M Sadler             .40 Reviewed scheduling issues per emails from Powers (.4).
03/05/15   K M Sadler            1.00 Reviewed discovery and motion to compel issues (1.0)
03/06/15   M R Dwertman          1.10 Reviewed S. Powers revisions to Responses to Wingfield's
                                      interrogatories and RFPs (.3); made edits to reflect comments and
                                      questions (.8).
03/06/15   R W Fusco             1.20 Reviewed and revised draft interrogatory and RFP responses.
03/06/15   S D Powers            1.40 Reviewed and commented on draft Wingfield discovery responses
                                      (1.1); reviewed and commented on draft 26(f) report (.3).
03/07/15   A Cuenin              1.80 Researched                                                        (1.8).
03/07/15   M R Dwertman          3.70 Discussed Receiver's responses to RFPs and Interrogatories with R.
                                      Fusco (.2); revised RFPs and Interrogatories accordingly (2.1);
                                      reviewed documents tagged for production and sent to L. Dodge and
                                      K. Koscheski (1.4).
03/08/15   A Cuenin              3.10 Researched                                              (2.4); revised
                                      status report (.7).
03/08/15   M R Dwertman           .90 Responded to R. Fusco questions concerning Responses to RFPs and
                                      production, and circulated clean copy of interrogatory and RFP
                                      responses to S. Powers.
03/09/15   B Baxter               .40 Finalize production disks.
03/09/15   A Cuenin              4.40 Revised 26(f) report (1.6); contacted clerk's office regarding same
                                      (.6); researched, prepared, and coordinated service of summons and
                                      other papers on Paul Winter (2.2).
03/09/15   L E Dodge              .50 Reviewed and revised letter transmitting production of documents
                                      (.2); coordinated production of documents (.3).
03/09/15   M R Dwertman          5.80 Reviewed federal and local rules to determine which defendants
                                      require service of responses (.3); reviewed multiple rounds of edits
                                      from R. Fusco and S. Powers, answering questions re: production and
                                      making edits to responses as needed (2.9); communicated with K.
                                      Koscheski re: production and transmittal letter (.2); reviewed
                                      additional files from R. Fusco to determine whether to produce (.9);
                                      updated responses to reflect additional production (.4); sent files to K.
                                      Koscheski to add to production (.2); inserted Bates stamp numbers




                                                                                    App. 252
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                               Hours                                  Description
                                       into responses (.3); coordinated with Vivica and M. Depagter to
                                       obtain necessary signatures for resposnes (.1); coordinated with S.
                                       Benson to ensure service on Tillotson (.2); drafted e-mail and sent
                                       files to R. Fusco for service on D. Rollins (.3).
03/09/15   R W Fusco             7.30 Revised and served responses to Linda Wingfield's interrogatories
                                      and RFPs (6.3); revised draft status report and circulated to opposing
                                      counsel (1.0).
03/09/15   K B Koscheski         2.00 Bates labeled 12 documents for Wingfield document production
                                      (1.0); emailed R. Fusco and M. Dwertman regarding same production
                                      (.3); composed transmittal letter for same production (.3); emailed
                                      requesting production be burned onto discs (.2); coordinated with
                                      Stacy Benson regarding certified mail to send production (.2).
03/09/15   S D Powers            2.30 Reviewed and revised Wingfield discovery responses and drafted,
                                      reviewed emails regarding same (1.5); reviewed and revised
                                      scheduling report, drafted and reviewed emails regarding same, and
                                      conferred with R. Fusco regarding same (.8).
03/09/15   K M Sadler             .40 Conference with Powers re                            with counsel for
                                      Defendant Pi (.4)
03/10/15   A Cuenin              2.60 Researched service on substituted party (.5); revised letter regarding
                                      service (.2); coordinated service of documents and process (1.9).
03/10/15   R W Fusco             3.10 Conferred with opposing counsel on draft status report, revised
                                      report, and filed (2.5); reviewed and updated trial plan including plan
                                      for completing Winter MSJ (0.6).
03/10/15   K B Koscheski          .80 Created index of Wingfield production sent to WWH counsel.
03/10/15   S D Powers             .20 Exchanged emails with R. Fusco regarding service of Winter estate
                                      and 26f report.
03/10/15   N M Starbuck           .70 Assistance with service of Summons and requests for production.
03/11/15   T M Barnard           1.70 Request supplemental record on appeal (.4); file and serve service of
                                      process (1.3).
03/11/15   A Cuenin              1.10 Began researching materials for drafting Winter motion for summary
                                      judgment (1.1).
03/11/15   S D Powers             .20 Analyzed issues regarding Winter answer deadline and drafted,
                                      reviewed emails regarding same.
03/12/15   S Faridifar            .30 Addressed issues regarding discovery responses to Wingfield (.1);
                                      exchanged emails with R. Fusco and A. Cuenin regarding MSJ
                                      against Winter and conferred with S. Powers regarding same (.2).
03/13/15   A Cuenin              2.70 Reviewed witness folder for Winter motion for summary judgment
                                      (2.7).
03/13/15   S Faridifar            .70 Prepared for and participated on call with A. Cuenin regarding MSJ
                                      against Winter and related issues.
03/13/15   S D Powers             .30 Reviewed, analyzed                                   and drafted,




                                                                                   App. 253
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                               Hours                               Description
                                       reviewed emails regarding same.
03/16/15   A Cuenin              1.20 Planned discussion topics for Winter summary judgment (.3); review
                                      Winter evidence folder regarding same (.9).
03/16/15   R W Fusco              .80 Reviewed case materials and emailed Karyl Van Tassel regarding
                                      potential expert report.
03/16/15   K M Sadler             .80 Emails to/from Carr and review of issues regarding compensation to
                                      insiders (.8)
03/17/15   A Cuenin              8.80 Reviewed materials for possible use in Winter motion for summary
                                      judgment
                                                                             (1.5); prepared for and called S.
                                      Powers et al. to plan Winter motion for summary judgment (1.3);
                                      drafted chart of possible declaration evidence for same (1.5);
                                      researched competent summary judgment evidence requirements for
                                      sworn testimony from other cases (4.5).
03/17/15   S Faridifar           3.70 Call with S. Powers, R. Fusco, and A. Cuenin regarding Winter MSJ
                                      (1.0); reviewed                               and addressed related
                                      issues (2.5); met with S. Powers regarding           (.2).
03/17/15   R W Fusco             1.90 Reviewed Winter materials and had subsequent call with S. Powers,
                                      A. Cuenin, and S. Faridifar to discuss draft Motion for Summary
                                      Judgment.
03/17/15   S D Powers            1.80 Conferred with A. Cuenin, S. Faridifar, and R. Fusco regarding
                                      Winter MSJ timeline              (1.0); reviewed
                                            and conferred with S. Faridifar regarding same (.8).
03/18/15   A Cuenin              8.30 Interviewed

                                              (1.6); continued researching
                                                 (1.4); drafted                              (1.7);
                                       continued outlining motion for summary judgment and called S.
                                       Powers to plan same (1.3).
03/18/15   S Faridifar           2.70 Continued review of                     and addressed related issues,
                                      including preparing for call with M. Jennings and exchanging emails
                                      with M. Jennings regarding same (1.9); prepared
                                                  and drafted email to S. Powers regarding same (.8).
03/18/15   S D Powers             .50 Conferred with A. Cuenin regarding                    related to Winter
                                      motion for summary judgment.
03/19/15   A Cuenin              6.40 Drafted motion for summary judgment outline and proposed exhibits
                                      for Winter (6.4).
03/19/15   S Faridifar           4.60 Prepared for and participated on call with M. Jennings regarding
                                                 next steps (1.1); continued reviewing             and
                                      addressing related issues (2.6); reviewed outline for MSJ against
                                      Winter and exchanged emails with A. Cuenin and R. Fusco regarding
                                      same (.9).
03/19/15   K M Sadler             .70 Reveiwed and responded to correspondence from counsel for Pi (.4);




                                                                                   App. 254
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                               Hours                                 Description
                                       conference with Powers (.3)
03/20/15   A Cuenin              3.70 Continued drafting summary judgment outline, including call with R.
                                      Fusco and preparation for same (3.7).
03/20/15   S Faridifar           5.30 Exchanged emails with A. Cuenin and R. Fusco regarding issues
                                      related to Winter MSJ and addressed related issues (.5); continued
                                      detailed review of                  and drafted email to M.
                                      Jennings regarding same (4.8).
03/20/15   R W Fusco             1.60 Reviewed MSJ outline and provided comments to A. Cuenin (0.9);
                                      corresponded with Karyl Van Tassel and Mark Russell (forensic
                                      accountant experts) regarding           (0.7).
03/23/15   A Cuenin              2.50 Began drafting Winter motion for summary judgment (2.5).
03/24/15   A Cuenin              3.00 Continued drafting Winter motion for summary judgment (3.0).
03/25/15   A Cuenin              6.20 Call with expert regarding Winter motion for summary judgment and
                                      prepared for same (1.8); continued drafting Winter motion for
                                      summary judgment (3.4); reviewed                     for use in same
                                      (1.0).
03/25/15   R W Fusco             1.00 Reviewed motion for summary judgment materials and discussed
                                      same with A. Cuenin and Mark Russell (forensic expert).
03/26/15   A Cuenin              9.70 Continued drafting Winter motion for summary judgment (7.5);
                                      addressed comments on draft (1.0); reviewed                    for same
                                      (.3); conferred with S. Faridifar et al. regarding same (.5); prepared
                                      for brief-writing planning session (.4).
03/26/15   S Faridifar           4.80 Drafted emails to M. Jennings regarding                  (.2); exchanged
                                      emails with R. Fusco and A. Cuenin regarding Winter MSJ and
                                                              (.2); reviewed                                in
                                      connection with Winter MSJ and exchanged emails with R. Fusco
                                      and A. Cuenin regarding same (.8); call with A. Cuenin and R. Fusco
                                      regarding MSJ (.2); addressed issues regarding providing additional
                                      materials, including internal audit reports, to M. Jennings in
                                      connection with preparing report (.4); began drafting red flags section
                                      of MSJ and reviewed related materials (3.0).
03/26/15   R W Fusco             8.90 Reviewed and edited plan for MSJ writing and filing (0.5);
                                      conversation and emails with Mark Russell regarding
                                             (1.0); conversations with A. Cuenin and S. Faridifar regarding
                                                             and MSJ drafting (0.5); conversation with
                                      James Nestor regarding Winter Estate participation in lawsuit (0.4);
                                      researched and drafted sections of MSJ (6.5).
03/26/15   K B Koscheski         1.30 Searched on the shared drive for STAN INVSTR GENL production
                                      path and provided it to S. Faridifar and M. Fusco.
03/26/15   S D Powers            1.00 Reviewed and commented on Winter MSJ outline and KVT
                                      declaration in support (.6); conferred with K. Sadler and R. Fusco
                                      regarding discussion with estate's counsel (.4).
03/26/15   K M Sadler             .30 Reviewed issues regarding Winter claim (.3)




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                               Hours                                Description
03/27/15   A Cuenin              7.40 Continued drafting Winter motion for summary judgment (7.4).
03/27/15   S Faridifar           5.00 Reviewed updated draft of                  (1.6); continued drafting
                                      red flags section of MSJ and emails with R. Fusco and A. Cuenin
                                      regarding same (3.1); call with R. Fusco regarding                (.3).
03/27/15   R W Fusco             9.20 Drafted,                         and prepared materials for Winter
                                      summary judgment.
03/27/15   S D Powers             .40 Drafted, reviewed emails regarding               for Winter MSJ;
                                      phone conference with J. Nestor and R. Fusco regarding status of
                                      Winter estate's finances, possible appearance in lawsuit.
03/28/15   A Cuenin              2.30 Continued drafting motion for summary judgment, including finding
                                      record citations (2.3).
03/28/15   R W Fusco              .50 Revised Winter motion for summary judgment materials and sent to
                                      S. Powers for review.
03/28/15   K M Sadler             .30 Reviewed issues and email to Powers regarding Winter claim (.3)
03/29/15   A Cuenin              3.80 Continued drafting Winter motion for summary judgment (3.8).
03/29/15   S Faridifar            .70 Reviewed comments from S. Powers on draft MSJ against Winter and
                                                        and exchanged emails with S. Powers, R. Fusco,
                                      and A. Cuenin regarding same.
03/29/15   R W Fusco             1.20 Continued revision of Winter motion for summary judgment
                                      materials.
03/29/15   S D Powers            2.00 Reviewed and commented on draft Winter MSJ and


03/30/15   A Cuenin             12.00 Continued writing and revising Winter motion for summary judgment
                                      (12.0).
03/30/15   S Faridifar           6.80 Reviewed and commented on                                   and
                                      addressed related issues, including exchanging emails with M.
                                      Jennings, S. Powers, R. Fusco, and A. Cuenin regarding same (3.8);
                                      reviewed draft of MSJ and exchanged emails with A. Cuenin
                                      regarding same (.8); reviewed                          regarding
                                      Winter and drafted email to M. Jennings regarding same (.2);
                                      reviewed updated draft of MSJ and exchanged emails with A. Cuenin
                                      and R. Fusco regarding same (.3); reviewed updated draft of
                                                                and provided her with comments regarding
                                      same (1.7).
03/30/15   R W Fusco            10.10 Worked
                                                   (8.0); revised summary judgment draft and sent
                                       comments to A. Cuenin for incorporation (2.1).
03/30/15   S D Powers            3.20 Reviewed and commented on
                                           and drafted, reviewed emails regarding same, and conferred with
                                      K. Sadler and R. Fusco regarding same (2.8); conferred with K.
                                      Lewis regarding Winter MSJ (.4).
03/30/15   K M Sadler            1.30 Reviewed summary judgment and expert witness issues regarding




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                                    Hours                               Description
                                            Winter claim (1.3)
03/31/15     A Cuenin               12.00 Continued revising Winter motion for summary judgment and
                                          responding to comments on same (12.0).
03/31/15     S Faridifar             7.60 Drafted email to M. Jennings regarding Winter tenure as director (.1);
                                          addressed various issues related to                , including
                                          exchanging emails with M. Jennings, A. Cuenin, and R. Fusco
                                          regarding Texas case law and other issues (.8); reviewed

                                                                     regarding same (5.9); conferred with E.
                                            Reeder and S. Powers regarding various issues related to Winter MSJ
                                            and               (.8).
03/31/15     R W Fusco              11.90 Prepared exhibits and affidavits for Winter motion for summary
                                          judgment report (9.0); worked on                         (1.9);
                                          reviewed and revised draft brief (1.0).
03/31/15     S D Powers              4.10 Reviewed and commented on                                 and brief in
                                          support of motion for summary judgment.
03/31/15     E D Reeder              3.10 Reviewed Jennings report for citations to exhibits and other evidence
                                          for accuracy and reported changes to Sherwin Farifidar (1.6);
                                          compiled excerpts of testimony cited in Jennings report for use as
                                          summary judgment exhibits (1.5).
03/31/15     K M Sadler              2.50 Reviewed                     (1.0); reviewed draft motion for
                                          summary judgment (1.2); conference with Powers regarding claims
                                          (.3)
             Matter Total          267.80


           079716.0157       University of Miami
                                    Hours                               Description
03/01/15     S Faridifar             2.20 Continued reviewing UM production (400 documents) and tagging
                                          relevant documents for review by A. Carr and D. Arlington.
03/01/15     J M Himmel              1.70 Reviewed tagged documents pertaining to

                                                                                           and incorporated
                                            these documents and a summary of these documents into the overall
                                            outline and sent same to A. Carr.
03/01/15     K B Koscheski           2.00 Printed production review documents from Summation to PDF and
                                          saved in shared drive in preparation for trial.
03/01/15     M P Schwartz            1.20 Download and extract production volume and load images, OCR, and
                                          metadata.
03/02/15     D T Arlington           4.40 Communicated with team regarding status of document review (0.4);
                                          prepared for and met with team regarding trial logistics and pretrial
                                          materials (1.4); worked on pretrial order and amended interrogatory
                                          responses and conference with A. Carr regarding same (1.0); briefly
                                          reviewed Janvey deposition (0.3); communicated with counsel




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                               Hours                                 Description
                                       regarding stipulation (0.2); communicated with team regarding
                                       designations of Brown deposition (0.2); worked on exhibit list and
                                       communicated with team regarding same (0.9).
03/02/15   A A Carr              7.30 Review of J. Himmel document outline and attached documents (.8);
                                      Prepared for and attended meeting with D. Arlington, L. Dodge to
                                      discuss pretrial tasks (2.1); review of Romero amended disclosures
                                      and pre-trial order in preparation for drafting same (.6) meeting with
                                      D. Arlington regarding pretrial order (.6); drafted pretrial order (1.9);
                                      organized documents for review for exhibit list and reviewed same
                                      (1.3)
03/02/15   L E Dodge             8.40 Sent examples of amended interrogatories and expert disclosures to
                                      D.T. Arlington (.7); reviewed previously missing native files (from
                                      UM's production) (7.1); coordinated with S. Benson regarding hotel
                                      and other trial logistics in Dallas (.6).
03/02/15   S Faridifar          10.70 Continued reviewing UM production (1600 documents) and tagging
                                      relevant documents for review by A. Carr and D. Arlington.
03/02/15   J M Himmel            4.70 Meeting with D. Arlington, A. Carr, and L. Dodge regarding trial
                                      strategy, with focus on document review, exhibit list, demonstratives,
                                      witness list, deposition designations, and joint pretrial order (1.1);
                                      Reviewed documents from July 2007 through August 10, 2007 (3.6).
03/02/15   K B Koscheski         2.80 Swept Summation database for documents flagged by S. Faridifar for
                                      trial preparation and saved them to the shared drive (2.0 ); OCR'd and
                                      zipped file of over 300 documents to send to A. Carr for review (.80).
03/02/15   C J Norfleet          3.50 Research and draft motions in limine.
03/03/15   D T Arlington         6.00 Reviewed results of document review for potential trial exhibits (4.5);
                                      communicated with team regarding document review, trial
                                      preparation and pretrial issues (0.5); reviewed Blaire deposition for
                                      trial designations (1.0).
03/03/15   A A Carr              8.00 Completed draft of pretrial order and circulated same (.2); review of
                                      J. Himmel document summary and attached documents (1.1);
                                      conference with E. Reeder and L. Dodge re:
                                                                                      (.7); continued review
                                      of documents flagged by J. Himmel (1.3); review of McManus
                                      deposition (1.3); began review of Blaire deposition (.7); began
                                      amendments to interrogatory responses, including review of
                                      documents for inclusion in same (2.7)
03/03/15   L E Dodge             7.60 Researched and followed up regarding University of Miami
                                      documents reviewed and flagged by attorneys as potential trial
                                      exhibits (7.0); reviewed
                                                                                 (.6).
03/03/15   J M Himmel            6.60 Reviewed 649 documents and incorporated the most relevant of these
                                      documents into a summary outline and sent same to D. Arlington and
                                      A. Carr for review.
03/03/15   K B Koscheski         1.50 Swept Summation database for documents flagged by S. Faridifar and
                                      J. Himmel for trial preparation and saved them to the shared drive.




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                               Hours                                Description
03/03/15   C J Norfleet          4.00 Research and draft motions in limine (3.1); revise draft jury
                                      instructions (0.9).
03/03/15   E D Reeder            1.70 Reviewed
                                                   (.3); coordinated with video vendor regarding conversion
                                       of same and equipment and time needs (.1.3); reported status to
                                       Ashley Carr (.1).
03/04/15   D T Arlington         8.20 Communicated with counsel regarding trial logistics stipulation (0.1);
                                      investigated issues relating            (0.2); reviewed draft
                                      amended response to interrogatory (0.1); further reviewed documents
                                      for potential trial exhibits and communicated with team regarding
                                      related issues and requirements for exhibit list (7.7); communicated
                                      with team regarding Janvey deposition (0.1).
03/04/15   A A Carr              5.50 Conferences with S. Faridifar, J. Himmel, and D. Arlington regarding
                                      the review of documents flagged by S. Faridifar (1.1); continued
                                      drafting interrogatory responses (1.4); continued review of Blaire
                                      depo (.9); conferences regarding various pre-trial issues and emails
                                      regarding same (1.7); conferences with K. Koscheski regarding
                                      source/attachment issues for exhibit list (.4)
03/04/15   L E Dodge             8.10 Compiled exhibits on Plaintiffs' preliminary exhibit list (1.5);
                                      researched                                                   (.9);
                                      searched
                                                 (2.6); requested export of Ringtail documents from FTI
                                      (.3); reviewed all audio files produced by UM (.9); contacted court
                                      reporter to request exhibits to KVT's deposition (.2); conducted
                                      research to determine                                      (.8);
                                      researched communications
                                                                                (.9).
03/04/15   S Faridifar           1.30 Conferred with A. Carr regarding UM production review (.1);
                                      conducted searches on Ringtail

                                            (1.2).
03/04/15   J M Himmel            3.50 Reviewed documents tagged by S. Faridifar and drafted summaries of
                                      these documents into an outline.
03/04/15   K B Koscheski        11.00 Swept Summation database for documents flagged by S. Faridifar and
                                      J. Himmel for trial preparation and saved them to the shared drive
                                      (8.8); searched Ringtail
                                                                  (2.2).
03/04/15   C J Norfleet          1.70 Revise draft jury instructions in response to comments from David
                                      Arlington and Ashley Carr.
03/04/15   E D Reeder             .50 Office conference with Ashley Carr regarding



03/04/15   K M Sadler            1.00 Reviewed pre-trial                 (1.0)
03/04/15   M P Schwartz          1.40 Extract multimedia files from the database.




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                               Hours                                Description
03/05/15   D T Arlington         4.50 Coordinated with team regarding issues relating to pretrial materials
                                      (0.8); reviewed potential documents for trial exhibits, worked on
                                      exhibit list, and communicated with team regarding related issues
                                      (2.3); addressed production issues and communicated with team
                                      regarding same (0.2); reviewed issues relating to McCarthy
                                      designations (0.3); reviewed Blaire deposition for deposition
                                      designations (0.9).
03/05/15   A A Carr              7.30 Conference with D. Arlington regarding next steps in review of
                                      flagged documents and prepared folder of documents for Arlington's
                                      review (.6); Review of documents flagged by J Himmel and update of
                                      spreadsheet in preparation for final review of exhibit list (6.7)
03/05/15   L E Dodge             7.40 Revised and supplemented preliminary exhibit list (2.5); researched
                                      issues with selected preliminary exhibits (2.9); searched
                                                                                   (1.4); sent email message
                                      to K. Wolber regarding corrupt native files in UM's production (.3);
                                      communicated with M. Schwartz regarding replacement documents
                                      from UM's production (.3).
03/05/15   J M Himmel            7.70 Continued review, analysis, drafting of summaries, and incorporation
                                      into outline of case themes the documents tagged by S. Faridifar.
03/05/15   D K Jackson            .50 Saved OCR searchable hot docs to zipped folder and created an
                                      external transfer link per the request of A. Carr.
03/05/15   K B Koscheski        10.00 Compiled and organized documents for preliminary trial exhibits by
                                      sweeping Summation database for documents flagged by J. Himmel
                                      and saved to shared drive (5); opened each document to check for
                                      corrupt characters (1); searched Ringtail for produced versions of
                                      documents referenced by only Ringtail ID number (1); swept versions
                                      3 and 4 of hot docs index for additional documents to be used in trial
                                      (1.5); composed and sent email to L. Dodge with questions regarding
                                      version 4 of hot docs index (.5); update version 5 with corrected
                                      Bates ranges (1).
03/05/15   C Montalvo             .40 Researched and obtained


03/05/15   E D Reeder            4.90 Drafted pleading for deposition designations and began listing same
                                      (1.9); began marking deposition transcripts for plaintiff's designations
                                      (3.0).
03/05/15   K M Sadler            2.50 Reviewed issues of                trial preparation and emails to/from
                                      Arlington regarding pre-trial stipulation negotiations (2.5)
03/05/15   M P Schwartz           .60 Extract updated documents as Adobe Acrobat and load updated
                                      images.
03/06/15   D T Arlington         4.00 Review Stanford radio interview and other potential trial exhibits and
                                      coordinated with team regarding exhibit list issues (0.8); further
                                      reviewed draft amended interrogatory answers and reviewed related
                                      documents (1.0); reviewed draft motion in limine and communicated
                                      with team regarding same and related issues (0.8); communicated
                                      with team regarding trial planning issues (0.9); communicated with




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                               Hours                                Description
                                        team and counsel regarding trial logistics stipulation (0.5).
03/06/15   A A Carr              7.40 Conferences with D. Arlington, L. Dodge regarding various pre-trial
                                      motions and other issues (1.6); continued review of J. Himmel
                                      documents (5.8)
03/06/15   A A Carr               .80 Edits to interrogatory responses and circulated updated version of
                                      same.
03/06/15   L E Dodge            13.40 Revised and supplemented preliminary exhibit list (2.9); researched
                                      issues with selected preliminary exhibits (3.8); met with K. Koscheski
                                      to resolve document errors with potential trial exhibits (2.6);
                                      transcribed                 (4.1).
03/06/15   J M Himmel            9.10 Coordination with A. Carr, L. Dodge, and K. Koscheski regarding
                                      production of potential exhibit list documents (.5); Continued review,
                                      analysis, drafting of document summaries and incorporation into
                                      themes outline of documents tagged by S. Faridifar (3.8); Determined
                                      which documents should be included for exhibit list production and
                                      input detailed information, including summaries and uses of the
                                      documents, pertaining to these documents in the excel document
                                      tracker (4.8).
03/06/15   D K Jackson           2.50 Saved U of M hot documents to shared drive folder based on J.
                                      Himmel review of S. Faridifar documents.
03/06/15   K B Koscheski        14.00 Swept D. Arlington's, A. Carr's and J. Himmel's hot docs lists for
                                      additional documents to be used in trial (8.3); added same documents
                                      to folder for each attorney in shared drive (3.0); renamed documents
                                      (1.9); emailed L. Dodge and J. Himmel with questions regarding
                                      same documents and lists (.8).
03/06/15   C Montalvo             .80 Researched to obtain


03/06/15   E D Reeder            3.80 Continued marking deposition transcripts for plaintiff's designations
                                      and updating the pleading that lists same.
03/06/15   K M Sadler            2.50 Review of trial prep and                   (2.5)
03/06/15   M P Schwartz          1.60 Re-load images and extract documents as Adobe Acrobat documents
                                      and extract documents in Adobe Acrobat format from the database.
03/06/15   P K Strebeck          1.00




03/07/15   D T Arlington          .20 Coordinated with team regarding exhibit issues.
03/07/15   A A Carr              5.00 Completed draft of interrogatory responses and sent same to D.
                                      Arlington and K. Sadler (1.8); continued reviewing potential exhibits
                                      tagged by J. Himmel and updating exhibit spreadsheet in preparation
                                      for final review (3.2)
03/07/15   L E Dodge             6.50 Prepared potential trial exhibits for attorney review (1.4); completed
                                      transcription                     (.8); contacted court reporter




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                               Hours                                  Description
                                       regarding official transcription of radio interview (.3); prepared
                                       documents for production (1.2); researched                        (.4);
                                       supplemented Ponzi scheme trial exhibits (1.3); researched
                                                                                 (.4); sent preliminary trial
                                       exhibits to vendor to be printed for attorney review (.7).
03/07/15   J M Himmel             .80 Completed review of documents tagged by S. Faridifar and selected
                                      documents for production for the exhibit list and input document
                                      information into the excel tracker.
03/07/15   K B Koscheski         5.00 Reviewed additional potential trial exhibits identified by A. Carr, D.
                                      Arlington and J. Himmel.
03/07/15   M P Schwartz           .60 Extract documents as PDF documents.
03/08/15   D T Arlington         7.60 Communicated with team regarding deposition designations and
                                      reviewed related issues (0.6); further revised stipulation and
                                      communicated with team regarding same (0.3); coordinated with
                                      team regarding exhibit and witness logistical issues (0.7);
                                      communicated with counsel regarding request for continuance (0.2);
                                      reviewed potential trial exhibits and worked on exhibit list (5.4);
                                      reviewed amended interrogatory responses and communicated with
                                      team regarding same (0.4).
03/08/15   A A Carr             11.20 Organized potential exhibits, in preparation for review of same, with
                                      K. Kosccheski (3.3); reviewed exhibits and worked on additional pre-
                                      trial materials and conferences regarding same with D. Arlington
                                      (7.9).
03/08/15   L E Dodge            17.00 Prepared preliminary trial exhibits for attorney review (6.1); reviewed
                                      and revised draft exhibit list (5.8); converted native Excel files to pdf
                                      for trial exhibits (.9); researched
                                                (2.4); prepared subpoena            (.6); researched FTI
                                      analysis of UM payments and determined production status (1.2).
03/08/15   S Faridifar           2.10 Conducted case law research regarding
                                                                                               and exchanged
                                       emails with A. Carr regarding same.
03/08/15   K B Koscheski         5.00 Assisted A. Carr in sorting printed potential trial exhibits into stacks
                                      according to date of document (3); organized file in shared drive
                                      containing said documents (2).
03/08/15   E D Reeder            3.80 Marked deposition transcripts per designations made by David
                                      Arlington and drafted pleading listing same.
03/08/15   K M Sadler            2.00 Reviewed emails and memo from Arlington and Carr re
                                      and evidence issues (1.0); conferences with Arlington re
                                      and witness/evidence issues (1.0)
03/08/15   M P Schwartz           .60 Search for problematic documents.
03/09/15   D T Arlington        13.00 Investigated issues                             and communicated
                                      with team regarding same (0.7); coordinated with team regarding
                                      witness subpoena and service of same (0.9); telephone conference
                                      and other communications with counsel regarding request for




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